Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 1 of 221




         EXHIBIT 1
       Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 2 of 221

                                                                                                     FILED
STATE OF NEW MEXICO                                                         2ND JUDICIAL DISTRICT COURT
                                                                                         Bernalillo County
COUNTY OF BERNALILLO                                                                      2/2/2021 4:56 PM
                                                                                   CLERK OF THE COURT
SECOND JUDICIAL DISTRICT                                                                    Blair Sandoval

       Case No. D-202-CV-2021-00769

 ALBUQUERQUE AMBULATORY EYE
 SURGERY CENTER LLC,

        Plaintiff,

 v.

 TRANSPORTATION INSURANCE COMPANY,
 an Illinois Insurance Company,

        Defendant.

                COMPLAINT FOR BREACH OF CONTRACT, BAD FAITH,
              STATUTORY VIOLATIONS, AND DECLARATORY JUDGMENT

       Plaintiff Albuquerque Ambulatory Eye Surgery Center LLC (“AAESC”), by and through its

counsel, complains and moves for judgment against Defendant Transportation Insurance Company

(hereafter “CNA”), and respectfully alleges as follows:

                                    NATURE OF THE ACTION

       1.      The novel coronavirus SARS-CoV-2 (“Coronavirus”) pandemic has had a devastating

impact on the United States, killing hundreds of thousands, shutting down the country, and crippling

businesses big and small nationwide. New Mexico’s residents and businesses endured and continue to

endure significant harm during the pandemic.       This action is brought by Plaintiff Albuquerque

Ambulatory Eye Surgery Center LLC, an eye surgery center in Albuquerque, New Mexico, against its

insurer, Defendant CNA. Specifically, AAESC seeks coverage from CNA for AAESC’s loss of its

insured premises, lost business income, extra expenses and other business-related losses in light of the

Coronavirus and the governmental authorities’ closure and limitation of its covered business premises.
        Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 3 of 221


        2.     Additionally, AAESC seeks a declaratory judgment that CNA breached its coverage

obligations under the policy. AAESC also seeks damages for CNA’s bad faith conduct in violation of

the New Mexico Insurance Practices Act and the New Mexico Unfair Practices Act.

        3.     On March 16, 2020, AAESC was forced to close its center and cease its normal

operations. Few patients entered Plaintiff’s facilities, and then only if their condition was diagnosed as

urgent and emergent. State and local governments have required Plaintiff and its employees, customers,

and others to “shelter in place” and abide by strict “social distancing” guidelines. The mandated closures

resulted in the immediate loss of income for AAESC, forcing it to lay off 23 employees, almost half its

staff. The employees who kept their jobs reduced hours worked to a maximum of 30 hours to help offset

the losses.

        4.     To protect against these sorts of unanticipated losses, AAESC purchased from CNA a

policy that provided business interruption insurance for all risks that were not expressly excluded.

Importantly, the purchased policy does not exclude losses caused by viruses. Put differently, AAESC

ensured it would be covered in the event of a virus affecting its business. This is critical for companies

like AAESC in the medical and health industry.

        5.     The CNA policy also provided express coverage for losses arising from civil authority

government orders like those issued in New Mexico (the “Government Orders”). Plaintiff therefore

reasonably believed and expected that its CNA policy would cover the extensive losses it sustained due

to the Coronavirus pandemic and the ensuing Government Orders.

        6.     But CNA has not upheld its promise to provide coverage. Instead, CNA summarily

denied coverage – with little to no analysis or review of AAESC’s claim – ignoring that the policy does

not contain a virus exclusion.

        7.     AAESC paid premiums for CNA’s “all risks” policy that covers the Coronavirus risk and

related Government Orders (and all other risks except those expressly excluded). AAESC did not get

what it paid for. CNA refuses to honor its coverage promise. CNA’s interpretation of the policy is
                                                2
        Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 4 of 221


unreasonable, wrong and self-serving; it constitutes a breach of the contract. Accordingly, Plaintiff seeks

compensatory damages, attorneys’ fees and costs, interest, and declaratory relief.

                                               PARTIES

       8.      Albuquerque Ambulatory Eye Surgery Center LLC is a New Mexico company doing

business in Albuquerque, New Mexico.

       9.      Upon information and belief, Defendant Transportation Insurance Company is duly

licensed as an insurance company and authorized to conduct business in the State of New Mexico.

                                     JURISDICTION & VENUE

       10.     AAESC brings this action against CNA for first-party coverage for losses stemming from

the Coronavirus pandemic and Government Orders. The Government Orders include but are not limited

to the March 23, 2020 Executive Order by the Governor of the State of New Mexico and the March 24,

2020, New Mexico Department of Public Health Order. These Government Orders, and others, closed

all non-essential businesses, severely restricted AAESC’s operations to only emergency medical

procedures – a significant reduction from its normal practice – and ordered New Mexico residents to

“shelter in place.”

       11.     AAESC’s losses occurred and continue to occur in Albuquerque.

       12.     Because the insured risk and premises are located in New Mexico, and the policy was

issued in New Mexico, New Mexico law applies.

       13.     Further, the New Mexico Superintendent of Insurance is the statutory registered agent for

CNA.

       14.     NMSA 1978, § 59A-16-20 prohibits certain unfair insurance claims practices which

occur in New Mexico. Likewise, NMSA 1978, §§ 57-12-1, et seq. prohibits certain unfair trade practices

which occur in New Mexico.

       15.     This Court has jurisdiction over this matter and venue is proper in Albuquerque pursuant

to NMSA 1978, § 38-3-1.
                                                    3
          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 5 of 221


                                       FACTUAL BACKGROUND

     I.   AAESC SERVES NEW MEXICO

          16.   AAESC was created in 2002 for the purpose of providing a facility for the delivery of

quality surgical care to the people of New Mexico.

          17.   As a joint venture, out-patient ophthalmology surgical center, AAESC has 25

ophthalmologists and anesthesiologists with privileges and, prior to the Coronavirus pandemic,

employed over 50 healthcare professionals such as nurses, nursing assistants, operating room

technicians, certified registered nurse anesthetists, and clerical staff to work in the facility, Mondays

through Fridays.

          18.   AAESC serves as a resource for its credentialed ophthalmologists throughout New

Mexico who have patients in need of their specialized services and expertise. AAESC is also used by

Presbyterian Health Systems as a center for surgical cases for senior citizens in New Mexico.

          19.   Prior to the Coronavirus pandemic, AAESC performed, on average, over 1,100 surgical

procedures per month. Approximately 66% of the patients AAESC treats are classified as senior

patients, many with underlying health conditions which put them at greater risk.

    II.   THE POLICY

          20.   AAESC recognized that its business needed to be properly protected, so it contracted with

CNA for an all-risk commercial property policy, policy no. 2067314575 (the “Policy”), effective June 1,

2019 to June 1, 2020. Exhibit 1.

          21.   AAESC paid premiums, dutifully making all required payments.

          A. Direct “Loss” Coverage

          22.   The Policy CNA sold AAESC – like most property policies sold in the United States – is

an “all-risk” property damage policy. These types of policies, in contrast to specific peril policies, 1 cover


1
 Specific peril policies cover a risk of loss if that risk is expressly identified as a covered risk (e.g.,
hurricane, earthquake, H1N1).
                                                        4
        Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 6 of 221


all risks of loss except for risks that are expressly and specifically excluded. In short, that which is not

excluded, is covered.

       23.     In line with this, Defendant CNA committed to “pay for direct physical loss of or

damage to Covered Property at the premises [] caused by or resulting from any Covered Cause of

Loss.” Under the Policy, “Covered Causes of Loss” are “risks of direct physical loss unless the loss is

[] excluded or limited.” “Loss” is not defined by the Policy.

       24.     The Policy also fails to define “physical loss” or “damage.” Consistent with New Mexico

contract law, absent a definition in the Policy, words must be accorded their ordinary meaning. Phrases

like “physical loss” must be given a separate meaning from “damage” so that the Policy language can

be read without rendering any words meaningless or surplusage.

       25.     Under the Policy, CNA agrees to pay $1,766,530 for loss and business interruption losses.

       26.     The Policy does not have any applicable exclusions. More specifically, the Policy does

not include a virus exclusion. Nor does the Policy exclude governmental shutdown orders relating to

viruses or public health emergencies.

       27.     Accordingly, loss due to the Coronavirus is a “Covered Cause of Loss” under the Policy

because it is not excluded or limited.

       28.     The Policy also provides certain express coverages, including coverage for Business

Income Loss and Extra Expenses, Civil Authority orders, and Business Income Loss from Dependent

Property.

       B. Business Income and Extra Expense Coverage

       29.     Business interruption and extra expense insurance is critical for businesses like AAESC

when faced with unanticipated losses.

       30.     Under the Business Income coverage that CNA sold AAESC, CNA agrees to “pay for the

actual loss of Business Income you sustain due to the necessary ‘suspension’ of your ‘operations’ during

the ‘period of restoration.’”
                                                     5
        Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 7 of 221


        31.     Under the Extra Expense coverage, CNA agrees to pay the “necessary expenses you incur

during the ‘period of restoration’ that you would not have incurred if there had been no direct physical

loss of or damage to property. . . .” CNA further promises to pay expenses to “avoid or minimize the

‘suspension’ of business and to continue ‘operations’ at the premises . . . or minimize the ‘suspension’

of business if you cannot continue ‘operations.’”

        32.     Under the Policy, “Suspension” means a “partial or complete cessation of your business

activities; or that a part or all of the described premises is rendered untenantable.”

        33.     “Operations” is defined in relevant part as “your business activities occurring at the

described premises and tenantability of the described premises.”

        34.     “Period of restoration” means: “the period of time that: (a) Begins with the date of direct

physical loss or damage caused by or resulting from any Covered Cause of Loss at the described

premises; and (b) Ends on the earlier of: (1) the date when the property at the described premises should

be repaired, rebuilt or replaced with reasonable speed and similar quality; or (2) the date when business

is resumed at a new permanent location.”

        C. Civil Authority Coverage

        35.     The Policy provides an independent basis for coverage for Business Income and Extra

Expense when civil authorities take certain actions. The Civil Authority coverage provides in relevant

part:

        The civil authority action must be due to direct physical loss of or damage to property at
        locations, other than described premises, caused by or resulting from a Covered Cause of
        Loss.

        36.     There are no relevant exclusions to this coverage. The Policy expressly excludes

coverage only for governmental action related to the seizure or destruction of property. That is not at

issue in this action.

        37.     By excluding certain specific government actions, CNA acknowledges that other

government actions are covered perils within the meaning of the Policy.
                                                  6
         Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 8 of 221


         D. Dependent Property Business Income Coverage

         38.       AAESC relies on its credentialed physicians with privileges to schedule patients directly

to its facility.

         39.       Accordingly, the Policy includes an endorsement for additional coverage for Business

Income and Extra Expense – Dependent Property loss.

         40.       Under the Policy, CNA agrees to pay for “the actual loss of Business Income you sustain

and reasonable and necessary Extra Expense you incur due to the ‘suspension’ of your ‘operations’

during the ‘period of restoration.’ The ‘suspension’ must be caused by direct physical loss or damage at

the premises of a Dependent Property, caused by or resulting from any Covered Cause of Loss.”

         41.       “Dependent Property” means “property operated by other whom you depend on to . . . (d)

attract customers to your business.”

III.     THE CORONAVIRUS PANDEMIC

         42.       The Coronavirus is linked to a deadly, infectious disease known as COVID-19.

         43.       According to the United Nations: “People can catch COVID-19 from others who have

the virus. The disease can spread from person to person through small droplets from the nose or mouth

which are spread when a person with COVID-19 coughs or exhales. These droplets land on objects and

surfaces around the person. Other people then catch COVID-19 by touching these objects or surfaces,

then touching their eyes, nose or mouth.” 2

         44.       Researchers estimate the number of people that an individual infected with COVID-19

will go on to infect is between 3.3 and 6.5. 3




2
  See COVID-19 Response General FAQs, “How does COVID-19 spread?,” United Nations, available
at https://www.un.org/en/coronavirus/covid-19-faqs (last visited Nov. 4, 2020).
3
  See Ying Liu et al., The reproductive number of Covid-19 is higher compared to SARS coronavirus,
Journal       of       Travel      Medicine       (Feb.        13,       2020),     available   at
https://academic.oup.com/jtm/article/27/2/taaa021/5735319 (last visited Nov. 4, 2020).
                                                  7
        Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 9 of 221


       45.     For these reasons, “[p]ublic health experts and elected officials have emphasized again

and again that social distancing is the best tool . . . to slow the coronavirus outbreak.” 4

       46.     Although COVID-19 droplets are smaller and less visible than rust, mold, or paint, they

are physical in form and can travel to other objects and cause harm.

       47.     These droplets can spread COVID-19 when they land on habitable surfaces where they

can pass to a potential human host. 5

       48.     Droplets containing COVID-19 infect a variety of surfaces and objects for a period of

hours, days, or weeks, if not longer. For instance, research has shown that COVID-19 can persist on

surfaces for up to 28 days. 6

       49.     In another example, after inspecting a cruise ship inhabited by passengers who carried

COVID-19, the CDC reported that the virus was detectable on surfaces inside the ship up to 17 days

after passengers had vacated the cabins. 7

       50.     Further, recent scientific evidence shows that COVID-19 can survive and remain virulent

on stainless steel and plastic for three to six days; on glass and banknotes for three days; and on wood

and cloth for 24 hours. 8 These materials are prevalent and unavoidable throughout AAESC’s facilities.


4
  See Yuliya Pashina-Kottas, et al., “This 3-D Simulation Shows Why Social Distancing Is So
Important,”       The      New       York    Times     (Apr.     21,     2020),      available     at
https://www.nytimes.com/interactive/2020/04/14/science/coronavirus-transmission-cough-6-feet-ar-
ul.html (last visited Nov. 4, 2020).
5
    See, e.g., “How COVID-19 Spreads,” Centers for Disease Control, available at
https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/how-covid-spreads.html (last visited
Nov. 4, 2020).
6
  Gunter Kampf et al., Persistence of coronaviruses on inanimate surfaces and their inactivation with
biocidal     agents,    104      J.   of  Hospital    Infection   246     (2020),     available    at
https://www.journalofhospitalinfection.com/article/S0195-6701(20)30046-3/fulltext (last visited Nov.
4, 2020).
7
  See Leah E. Moriarty, et al., “Public Health Responses to COVID-19 Outbreaks on Cruise Ships –
Worldwide, February-March 2020,” 69 Morbidity and Mortality Weekly Report 347 (Mar. 23, 2020),
available at https://www.cdc.gov/mmwr/volumes/69/wr/pdfs/mm6912e3-H.pdf (last visited Nov. 4,
2020).
8
  See Neeltje van Doremalen et al., “Aerosol and Surface Stability of SARS-CoV-2 as Compared to
SARS-CoV1,” New England Journal of Medicine (Mar. 17, 2020), available at
https://www.nejm.org/doi/pdf/10.1056/NEJMc2004973 (last visited May 5, 2020); Alex W.H. Chin et
                                                  8
        Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 10 of 221


        51.    In addition to attaching to and infecting surfaces, recent scientific communities report that

the Coronavirus can be airborne, lingering and spreading in the air, particularly in enclosed places like

medical offices. 9

        52.    The first public reports of the Coronavirus infecting humans was issued in December

2019, resulting from an outbreak in Wuhan, China.

        53.    On January 21, 2020, the CDC reported the first American COVID-19 case in the State

of Washington.

        54.    After the virus continued to spread across the country, the United States government

declared the Coronavirus outbreak a national emergency beginning on March 1, 2020. Exhibit 2.

IV.     THE CORONAVIRUS SPREADS TO NEW MEXICO

        55.    The first confirmed cases of COVID-19 in New Mexico were reported on March 11,

2020.

        56.    That same day, on March 11, 2020, because of the Coronavirus’s increasing spread,

Michelle Lujan Grisham, the Governor of the State of New Mexico, declared that a Public Health

Emergency exists in New Mexico under the Public Health Emergency Response Act, and invoked her

authority under the All Hazards Emergency Management Act (“Executive Order 2020-04”). Exhibit 3.

        57.    The purpose of Executive Order 2020-04 was to minimize the spread of COVID-19 and

“the attendant physical and economic harms.”

        58.    On March 12, 2020, Kathyleen Kunkel, the Secretary of State of New Mexico’s

Department of Health, issued the first of multiple public health orders restricting conduct.




al., “Stabilizing of SARS-CoV-2 in different environmental conditions,” The Lancet Microbe (Apr. 2,
2020), available at https://doi.org/10.1016/S2666-5247(20)30003-3 (last visited Nov. 4, 2020).
9
  See “Scientific Brief: SARS-CoV-2 & Potential Airborne Transmission,” Center for Disease Control
and Prevention, available at https://www.cdc.gov/coronavirus/2019-ncov/more/scientific-brief-sars-
cov-2.html (last visited Nov. 4, 2020).
                                                   9
       Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 11 of 221


       59.     On March 16, 2020, New Mexico’s Department of Health issued a second public health

order limiting gatherings of more than 100 people. 10 See Exhibit 4. The order observed that “the further

spread of COVID-19 in the State of New Mexico poses a threat to the health, safety, wellbeing, and

property of the residents in the State, due to, among other things, illness from COVID-19 . . . and

potential closures of schools or other places of public gathering[.]” (Emphasis added).

       60.     The Department of Health further recognized that the Coronavirus “poses an imminent

threat of substantial harm to the population of New Mexico.” Citizens were “strongly advised to stay

at home and undertake only those outings absolutely necessary for their health, safety, or welfare.”

(Emphasis in original).

       61.     On March 18, 2020, the American Academy of Ophthalmology, which provides the

industry standard for proper ophthalmology procedure and due care, also weighed in on the Coronavirus

pandemic, deeming it essential that “all ophthalmologists cease providing any treatment other than

urgent or emergent care immediately.” 11

       62.     On March 19, 2020, New Mexico’s Department of Health issued another Public Health

Order, requiring that “typical business environments that are not engaged in the provision of an essential

service should limit operations to the greatest extent possible and minimize employee contact.”

       63.     Then, on March 23, 2020, New Mexico’s Department of Health issued a Public Health

Order, directing that “all businesses, except those identified as ‘essential businesses’, are hereby directed

to reduce the in-person workforce at each business or business location by 100%. ‘Essential businesses’



10
   The New Mexico Department of Health possesses the legal authority pursuant to the Public Health
Act, NMSA 1978, §§ 24-1 to -40, the Public Health Emergency Response Act, NMSA 1978, §§ 12-10A-
1 to -10, the Department of Health Act, NMSA 1978, §§ 9-7-1 to -18, and inherent constitutional police
powers of the New Mexico state government, to preserve and promote public health and safety, to adopt
isolation and quarantine, and to close public places and forbid gatherings of people when deemed
necessary by the Department for the protection of public health.
11 See “Recommendations for Urgent and Nonurgent Patient Care,” American Academy of

Ophthalmology (Mar. 18, 2020) available at https://www.aao.org/headline/new-recommendations-
urgent-nonurgent-patient-care (last visited Nov. 4, 2020).
                                                   10
       Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 12 of 221


may remain open provided they minimize their operations and staff to the greatest extent possible, adhere

to social distancing protocol and maintain at least six-foot social distancing from other individuals, avoid

person-to-person contact, and direct employees to wash their hands frequently. Further, all essential

businesses shall ensure that all surfaces are cleaned routinely.” See Exhibit 5.

       64.     Under the order, gatherings of five or more individuals in a single room or connected

space where individuals are within six feet of each other was prohibited.

       65.     The next day, on March 24, 2020, the Department of Health issued an order “imposing

temporary restrictions on non-essential health care services, procedures, and surgeries; providing

guidance on those restrictions, and requiring a report from certain health care providers.” This order

prohibited all facilities like AAESC’s from providing non-essential health care services, procedures, and

surgeries. See Exhibit 6.

       66.     The March 23, 2020 order defined “non-essential” services as: “health care services,

procedures, and surgeries’ include those which can be delayed for three (3) months without undue risk

to the patient’s health.” The order included an example of “threat of permanent dysfunction of the . . .

eyes” as what would be deemed essential. Thus, although AAESC was permitted to provide emergency

medical care or surgery, this newest Public Health Order effectively prevented AAESC from using its

space for the vast majority of its services for at least three months.

       67.     On April 6, 2020, the Department of Health issued another Public Health Order declaring

that: “The bottom line is that all New Mexicans should be staying in their homes for all but the

most essential activities and services.” (Emphasis in original). This directive, like the others before

it, prohibited the majority of AAESC’s clientele and staff from entering AAESC’s facilities.

       68.     The order also emphasized that “Social distancing is the sole way New Mexicans can

minimize the spread of COVID-19 and currently constitutes the most effective means of mitigating the

potentially devastating impact of this pandemic in New Mexico.”


                                                     11
        Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 13 of 221


        69.    These orders successively forced AAESC to use less of its premises and greatly minimize

its operations and staffing, which it did. The Government Orders also required AAESC to incur extra

expenses for additional cleaning and protective measures for staff and patients.

        70.    The New Mexico government renewed and expanded on several of its orders over the

next several months. Most recently, on October 16, 2020, the directives in Executive Order 2020-004

declaring the statewide public health emergency in New Mexico were extended through November 13,

2020.

        71.    Local and municipal governments across New Mexico also entered orders mandating that

residents shelter in place and that businesses limit or cease operations as certain areas were particularly

hard hit. At times, these local orders mandated more stringent restrictions on the movement of people

and the use or access to goods, services, and facilities, which directly impacted AAESC’s business.

        72.    The situation in New Mexico continues to worsen. Even after Executive Order 2020-004

and the other Government Orders were issued, COVID-19 infections spread rapidly across New Mexico.

        73.    AAESC took seriously the physical danger presented by the Coronavirus and respected

all Government Orders. On March 16, 2020, AAESC closed its facilities except to provide limited urgent

and emergency services. AAESC did not reopen until April 17, 2020, but then only under strict social

distancing guidelines and at volumes much less than before the Coronavirus pandemic.

        74.    As explained, AAESC’s closures were ordered by state and local governments who

required Plaintiff and their employees, customers, and others to shelter at home, abide by strict “social

distancing” requirements, cease all non-essential activities and adhere to strict affirmative operational

standards (like routine disinfecting cleanings of business premises).

        75.    These Government Orders resulted in losing physical use of, physical access to, and

physical enjoyment of Plaintiff’s property by its owners, patients, employees, and others.             The

Coronavirus and Government Orders also resulted in significant interruption to AAESC’s business

including the suspension of all non-emergency services and a steep reduction of patient services.
                                                 12
       Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 14 of 221


       76.     For instance, in March 2020, after the Government Orders first took effect, appointments

were down substantially. By April and May 2020, appointments were down 96% and 60%, respectively.

The closures and limitations on business – and immediate losses in revenue – also forced Plaintiff to

limit staff onsite (to maintain social distancing and gathering requirements).

       77.     AAESC’s insured premises remain limited to essential activities and minimum necessary

operations, with reduced capacity.

       78.     Even with operations limited to only essential services with reduced staffing, there is still

great risk to AAESC, as it has treated patients with COVID-19, known or unknown, at its insured

premises.

       79.     Since the Coronavirus was announced as a public health emergency, AAESC has had

three employees who have tested positive for COVID-19, with additional employee absences at one time

or another of all of the employees for symptoms or possible exposure to the virus at the facility.

Additionally, AAESC has been informed by six patients that they had visited AAESC’s facilities and

subsequently tested positive for COVID-19.

       80.     In addition to the lost business income from closing most of its locations, and the

dangerous conditions presented from providing limited emergency services, AAESC incurred additional

expenses relating to the health and safety of its staff, physicians and patients’ potential for COVID-19

exposure at its facilities. This includes costs for additional cleaning and protective measures (e.g.,

cleaning supplies, hand sanitizer, additional PPE, thermometers), and building protective, mitigating

measures at AAESC’s facility (e.g., screens and shields).

       81.     To date, AAESC estimates it has spent over $50,000 on extra expenses.

       82.     The period of restoration when this interruption and AAESC’s losses will end is still

unknown. Medical experts have opined that the Coronavirus pandemic and official closures may extend

into 2021.


                                                    13
       Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 15 of 221


       83.    The Coronavirus harmed and continues to harm AAESC, causing physical loss and loss

of intended use and physical damage to the premises, including its air. Medical experts agree that the

Coronavirus attaches and remains on building surfaces. The spread of the virus, both airborne and on

physical surfaces, and the Government Orders caused the closure and drastic reduction of AAESC’s

business.

       84.    Moreover, the same conditions resulted in the closure and restriction of access to other

businesses immediately surrounding Plaintiff’s business, including many “feeder” businesses, i.e.,

businesses and medical practices that depend on the AAESC. That is, the same dangerous conditions

created by the Coronavirus and Government Orders that restricted use, access, and services at AAESC’s

insured premises, also affected the hospitals, doctors’ offices, clinics, and others who would have

referred patients to AAESC in normal times.

       85.    Worse, the Coronavirus is by no means under control in New Mexico. As of January 21,

2021, the Albuquerque Journal shows New Mexico has over 166,823 confirmed COVID-19 cases and

over 3,044 deaths.

       86.    Fortunately, AAESC had the foresight to protect its business from perils and business

interruption through insurance from CNA.

 V.    CNA FAILED TO FAIRLY INVESTIGATE THE CLAIM

       87.    AAESC’s business was directly affected by the Coronavirus and Government Orders.

The presence of the Coronavirus caused “direct physical loss of or damage to” its “covered property” by

denying use of and damaging the Covered Property and by causing a necessary suspension of operations.

       88.    The Coronavirus also presented an imminent risk and dangerous conditions at the

Covered Property, where at least one person had COVID-19.

       89.    The Government Orders prohibited full use of AAESC’s property and the area

immediately surrounding the Covered Property, in response to direct loss and the dangerous physical

conditions resulting from the Coronavirus.
                                                  14
       Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 16 of 221


       90.     Several dependent properties that served as referral sources to AAESC also were shut

down, affecting AAESC’s business.

       91.     Accordingly, as a result of the presence of Coronavirus and the Government Orders,

AAESC lost Business Income and incurred Extra Expense.

       92.     On May 8, 2020, AAESC notified CNA of its claim under the Policy, seeking coverage

for its growing loss.

       93.     That same day, CNA issued a letter to AAESC introducing its claims handler and

informing AAESC that it “can expect next: investigation and fact gathering.” CNA assured AAESC that

its claims handler would “work with you to gather necessary information regarding the incident and

request applicable documentation pertinent to your damaged property.” CNA also noted that as part of

its investigation, AAESC “may receive communications requesting additional information or a follow

up call. I may also take a recorded statement about your loss.”

       94.     CNA, however, failed to do any of this. CNA did not follow up with its insured, request

an interview, or visit the covered location. CNA also failed to review ample publicly available and easily

accessible information regarding AAESC’s claim.

       95.     Instead, before AAESC even submitted its documentation in response to CNA’s May 8

inquiries, on May 22, 2020, without reviewing any facts around the claim or seeking additional

information, CNA denied coverage.

       96.     Still, AAESC knew it was entitled to coverage. Accordingly, on July 10, 2020, AAESC

responded, explaining that the Coronavirus resulted in physical loss, lost business income, and

significant expenses. In support of its claim, AAESC gave estimates of its losses and provided additional

copies of the controlling Executive Orders and Public Health Orders.

       97.     Instead of considering the additional information, however, CNA forced AAESC to chase

a series of claims handlers for a response. Each time AAESC thought its claim was being reconsidered,

it learned that CNA had once again changed claims handlers who were reviewing the claim.
                                                15
          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 17 of 221


          98.      On October 7, 2020, after passing AAESC from claims handler to claims handler, yet

failing to consider any of the policy language, facts, or case law identified by AAESC, CNA confirmed

its denial of coverage.

          99.      Even now, CNA fails to revise its coverage denial in light of multiple court rulings finding

there is coverage for Coronavirus and Government Order business interruption claims under similar

policy language. See Cherokee Nation, et al. v. Lexington Ins. Co., No. CV-2020-150 (Cherokee Cnty.

Okla. Jan. 14, 2021), see Exhibit 7; see North State Deli, LLC, et al. v. The Cincinnati Ins. Co., et al.,

No. 20-CVS-02569 (N.C. Oct. 7, 2020), see Exhibit 8; see also Studio 417, Inc., et al. v. The Cincinnati

Ins. Co., No. 20cv-03127-SRB (W.D. Mo. Aug. 12, 2020), see Exhibit 9.

          100.     In short, despite dragging out the process for months, CNA did not investigate the claim

or properly consider coverage.

VI.       CNA IMPROPERLY DENIED COVERAGE

          101.     CNA’s May 22 and October 7 denial letters ignored several key issues. As a preliminary

matter, CNA ignores that CNA issued an “all risk” policy. That is, the Policy covers AAESC for any

peril, imaginable or unimaginable, unless expressly excluded or limited. Neither the Coronavirus nor

the Government Orders are excluded perils, and thus are covered.

          102.     Yet, CNA improperly denied coverage by claiming (1) that there was no physical damage

or loss to the property; and if there was, (2) the pollution exclusion or the loss of use exclusion would

preclude coverage. CNA is wrong on all fronts.

                A. CNA’s Denial Conflates Physical Damage and Physical Loss Coverage

          103.     The Policy covers “physical loss or damage.” CNA provides no explanation for why

AAESC’s physical loss of its space by Coronavirus and Government Order is not a “loss” under the

Policy.

          104.     CNA ignores that the terms “physical loss” and “damage” are undefined in the Policy.

Undefined phrases must be construed reasonably and within their ordinary meanings.
                                                16
         Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 18 of 221


         105.   Here, the Coronavirus and the Government Orders did cause a physical loss of space and

the ability to use the insured premises for their intended use and capacity. Losing the ability to access,

occupy or use one’s property is a direct loss of physical, material rights and advantages, substantial and

important. Such losses are direct in that ouster of and limitation, prohibition, and/or interdiction of

access and use by all nonessential people resulted directly in a physical loss.

         106.   This physical loss caused the suspension of AAESC’s business operations and rendered

its premises untenantable in whole or in part.

         107.   Although AAESC presented this clear claim for “physical loss” – and the Policy provides

coverage for such “physical loss” – CNA denied coverage on the basis that the Coronavirus does not

result in a “direct physical loss” of AAESC’s property.

         108.   In so doing, CNA failed to distinguish between damage and physical loss. But the phrases

are different and should be treated as having independent meanings. Under basic contract interpretation

principles, policies are to be interpreted so that all words have meaning and nothing is rendered

surplusage.

         109.   In addition, or in the alternative, CNA also ignores that the presence of virus or disease

can constitute physical damage to property – even if not permanent or resulting in a visible deformation.

The Coronavirus affixes to surfaces creating dangerous physical conditions. It also can be airborne, thus

damaging the insured premises with the physical presence of the Coronavirus. That the surfaces can be

repaired by sanitization processes does not disprove that until sanitized, the surfaces are damaged.

         110.   CNA’s conclusory May 22 and October 7 denials do not supersede the Policy’s undefined

terms.

         111.   Accordingly, AAESC has properly noticed a claim for direct loss under the Policy, and

CNA has no basis for denying coverage.

            B. The Policy Has No Applicable Exclusions

         112.   The Policy does not contain a virus exclusion.
                                                   17
       Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 19 of 221


       113.     CNA could have added such an express exclusion to AAESC’s Policy – which was widely

available to the insurance industry when the Policy was issued – but chose not to do so.

       114.     CNA – as sole drafter of the Policy – relied on materials generated by the Insurance

Services Office (“ISO”) in drafting the Policy. The ISO provides standard policy language for use in

insurance contracts.

       115.     The ISO and insurers like CNA became aware of the possibility of virus-related losses

during multiple prior health-related crises across the world, including: the 2002 SARS epidemic; 2009

H1N1 swine flu epidemic; 2012 MERS epidemic; 2014 Ebola epidemic; and the 2016 Zika epidemic,

among others.

       116.     In 2006, after the SARS epidemic, the ISO drafted a new endorsement, CP 01 40 07 06,

entitled “Exclusion of Loss Due to Virus or Bacteria,” acknowledging that claims for business

interruption losses could be filed under existing policy language for losses resulting from pandemics or

the presence of disease-causing agents.

       117.     This new endorsement form was available to the entire insurance market, including CNA.

Other insurers incorporated the exclusion into their policies so that they would not “pay for loss or

damage caused by or resulting from any virus, bacterium or other microorganism that induces or is

capable of inducing physical distress, illness or disease.”

       118.     Despite the widespread recognition of virus-related perils, CNA did not incorporate this

exclusion into the Policy it sold AAESC. Had CNA wanted to exclude coverage for virus-induced

pandemics, it could have done so using this form.

       119.     CNA had ample notice and ability to directly exclude virus-induced Business Interruption

coverage since 2006, but failed to do so in AAESC’s Policy.

       120.     Now, after selling AAESC a policy without a virus exclusion – CNA belatedly tries to

rewrite its Policy to preclude coverage. In its May 22 denial letter, CNA invoked the pollution exclusion

in lieu of a virus exclusion.
                                                    18
       Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 20 of 221


       121.    The pollution exclusion is not a virus exclusion. There is no language in the Policy that

supports interpreting it as broadly as CNA now tries to do. At no point is “virus” or “disease” listed as

excluded – in this exclusion or elsewhere in the Policy.

       122.    In fact, certain pollution exclusions in the insurance market expressly include the word

“virus”; the CNA pollution exclusion does not. The absence of this specific word is significant in an

“all-risk” policy like the one CNA sold AAESC.

       123.    CNA also tries to invoke the “loss of use, delay, or loss of market” exclusion. CNA

ignores that this exclusion applies only to losses that are consequential. That is, those that flow from the

loss of use are excluded – but the loss of use itself caused by Government Orders – is not excluded.

       124.    To interpret this exclusion so broadly would render all coverage under the Policy illusory.

       125.    Accordingly, there is no exclusion – virus, pollution, or loss of use – that would preclude

coverage for AAESC’s claim.

       126.    CNA’s improper denial turns well-established New Mexico law on its head. For an all-

risk policy, AAESC is required only to meet its minimal threshold burden of proving that it suffered a

loss within the scope of the Policy, which AAESC did.

       127.    The burden then shifts to the insurer, CNA, to prove the claim is excluded. CNA cannot

carry this burden.

       128.    There is no legitimate dispute that AAESC lost use of its insured property and its business

was significantly interrupted by the Coronavirus and Government Orders – neither of which are excluded

perils under the Policy. However, CNA improperly refuses to provide coverage – ignoring the extent of

AAESC’s loss from covered causes.

       129.    Instead, CNA incorrectly claims that there is no coverage because AAESC has not

established physical loss. Yet, CNA’s reasoning is based only on whether there was damage – not

physical loss. CNA also improperly denies Civil Authority coverage, ignoring the physical loss pled


                                                    19
          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 21 of 221


and that the Government Orders expressly acknowledge the dangerous physical conditions – the

“attendant harm” – presented by the Coronavirus.

          130.   AAESC provided adequate documentation of its loss, and ample explanation refuting

CNA’s incorrect coverage denial, but CNA continues to withhold coverage.

          131.   Meanwhile, AAESC continues to respect the Government Orders, to the extreme

detriment of its business. To date, AAESC has forecasted over $2.5 million in losses.

          132.   CNA’s repudiation of the insurance contract that AAESC purchased to protect its

business is unlawful.

          133.   CNA’s improper coverage denial follows from its failure to conduct a reasonable and fair

evaluation of AAESC’s coverage. CNA did not conduct a non-biased investigation, nor did they

diligently consider the evidence that supports AAESC’s claim. CNA flouts controlling New Mexico

law in refusing to pay AAESC’s claim, instead only going through the motions of an “investigation.”

          134.   CNA has unreasonably deprived AAESC of insurance benefits to which it is entitled by

purposefully (i) failing to give at least equal regard to AAESC’s interests in being made whole under the

Policy as CNA did to its own interest in attempting to avoid the cost of fulfilling this obligation, and (ii)

disregarding its obligation to refrain from doing anything that would frustrate the agreed upon purposes

of the Policy.

          135.   CNA wrongfully refused to honor its obligations with a reckless disregard for AAESC’s

rights.

          136.   CNA misconduct exposed AAESC to additional damage and expense, forcing AAESC

to bear the burden and impact of its business losses while simultaneously incurring the expense of

pursuing CNA to fully comply with its Policy obligations.

          137.   In addition to the unreasonable conduct described above, upon information and belief,

CNA may have further breached its duty of good faith and fair dealing by other acts or omissions that

AAESC has not yet discovered.
                                                     20
       Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 22 of 221


                                    FIRST CAUSE OF ACTION
                                  (Breach of Contract against CNA)

       138.    Plaintiff incorporates herein the above paragraphs as if fully set forth herein.

       139.    The Policy is a valid contract under which AAESC paid premiums in exchange for CNA’s

promise to pay AAESC for claims covered by the Policy.

       140.    Specifically, CNA agreed to pay AAESC’s claims for direct loss caused by or resulting

from the necessary suspension of its operations caused by physical damage or loss and/or mandated by

civil authority governmental orders, including but not limited to business income and extra expense.

Coverage for these losses is in no way limited or excluded under the Policy’s terms. This loss includes

lost Business Income and Extra Expenses.

       141.    The Policy further requires payment of losses caused by action of civil authority that

prohibits access to premises other than Plaintiff’s premises where the Coronavirus or Government Orders

– covered causes of loss – caused damage or loss to those other premises and where access to the area

immediately surrounding the affected property is prohibited by civil authority as a result of the damage

or dangerous physical conditions.

       142.    The Policy also requires payment of losses associated with dependent properties.

Coverage for these losses is in no way limited or excluded by the Policy’s terms.

       143.    CNA has not honored and has no intention of honoring its obligations under the Policy.

By denying coverage to AAESC, CNA breached the contract.

       144.    CNA’s reasons for refusing to pay the claims of AAESC are frivolous or unfounded.

       145.    CNA’s failure to pay AAESC’s claim is unreasonable.

       146.    As a result of CNA’s breach of the Policy, AAESC has sustained and will continue to

sustain substantial damages for which CNA is liable in an amount to be established at trial.




                                                    21
       Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 23 of 221


        147.    Accordingly, AAESC is entitled to compensatory and consequential damages, loss of

interest (pre-judgment and post-judgment), and statutory attorneys’ fees pursuant to NMSA 1978, § 39-

2-1.

                                  SECOND CAUSE OF ACTION
                    (Breach of Duty of Good Faith and Fair Dealing against CNA)

        148.    Plaintiff incorporates herein the above paragraphs as if fully set forth herein.

        149.    In every insurance policy there is an implied duty for the insurance company to deal fairly

with the policyholder. Fair dealing means to act honestly and in good faith in the performance of the

contract. Here, CNA failed to give equal consideration to its own interests and the interests of its insured,

AAESC.

        150.    CNA’s reasons for refusing to pay the claims of AAESC are frivolous or unfounded.

        151.    CNA breached its duty of good faith and fair dealing by, including but not limited to: (i)

failing to properly investigate AAESC’s claim; (ii) refusing to timely pay the claim; (iii) ignoring and

wrongfully denying AAESC’s claim; (iv) failing to acknowledge coverage within a reasonable time; and

(v) failing to reconsider the claim denial and ignoring AAESC’s assertion that there was coverage under

the Policy. AAESC reserves the right to add further allegations of bad faith as more information is

learned.

        152.    When an insurer delays and fails to timely provide first-party coverage to its insured, it

may be deemed to be acting unreasonably and in bad faith.

        153.    The insurer must give equal consideration to its own interests and the interests of its

policyholder.

        154.    CNA’s misconduct was performed intentionally, willfully, wantonly or with reckless

disregard of the interests of its insured.




                                                     22
       Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 24 of 221


       155.   As a result of CNA’s breach of the duty of good faith and fair dealing, AAESC has

suffered and will continue to suffer damages in an amount to be established at trial, including

noneconomic damages.

       156.   Accordingly, CNA is entitled to compensatory and consequential damages, loss of

interest (pre-judgment and post-judgment), punitive damages and statutory attorneys’ fees pursuant to

NMSA 1978, § 39-2-1.

                                  THIRD CAUSE OF ACTION
                (Violations of New Mexico’s Insurance Practices Act against CNA)

       157.   Plaintiff incorporates herein the above paragraphs as if fully set forth herein.

       158.   CNA is an “insurer” under the meaning of New Mexico’s Trade Practices and Frauds Act

[NMSA 1978, § 59A-16-1, et seq.].

       159.   CNA either knowingly, or with such frequency as to indicate a general business practice,

violated certain portions of the New Mexico Insurance Practices Act, NMSA § 59A-16-20:

           (A) Misrepresenting to insureds pertinent facts or policy provisions relating to coverages at
           issue;

           (B) Failing to acknowledge and act reasonably promptly upon communications with respect
           to claims from insureds arising under policies;

           (C) Failing to adopt and implement reasonable standards for the prompt investigation and
           processing of insureds’ claims arising under policies;

           (D) Failing to affirm or deny coverage of claims of insureds within a reasonable time after
           proof of loss requirements under the policy have been completed and submitted by the
           insured;

           (N) failing to promptly provide an insured a reasonable explanation of the basis relied on in
           the policy in relation to the facts or applicable law for denial of a claim or for the offer of a
           compromise settlement.

       160.   Due to CNA’s violations of NMSA § 59A-16-20, AAESC is entitled to recover actual

damages, attorneys’ fees and costs.




                                                    23
       Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 25 of 221


                                   FOURTH CAUSE OF ACTION
                  (Violation of the New Mexico Unfair Practices Act against CNA)

        161.    Plaintiff incorporates herein the above paragraphs as if fully set forth herein.

        162.    The New Mexico Unfair Trade Practices Act (“UPA”), NMSA 1978, § 57-12-2(D)

prohibits unfair, deceptive or unconscionable sales practices.

        163.    UPA Section 57-12-2(D)(14) prohibits: “using . . . ambiguity as to a material fact or

failing to state a material fact if doing so deceives or tends to deceive.” Ambiguity exists with respect

to coverage offered by CNA.

        164.    UPA Section 57-12-2(D)(17) prohibits: “failing to deliver the quality or quantity of goods

or services contracted for.” CNA promised to indemnify AAESC by offering first-party all-risk

insurance coverage and charging a premium for coverage, and now denies all coverage.

        165.    UPA Section 57-12-2(E) prohibits any person from engaging in any “act or practice in

connection with the sale . . . or in connection with the offering for sale . . . of any goods or services . . .

that to a person’s detriment . . . takes advantage of the lack of knowledge, ability, experience or capacity

of a person to a grossly unfair degree.” The Policy sold by CNA is a first-party commercial property

policy which includes coverage for AAESC, which CNA is now withholding on a basis it failed to

disclose to AAESC when it first sold the Policy.

        166.    CNA thus offered first-party commercial property insurance with an intent not to supply

the reasonably expected coverage.

        167.    At the time and under the circumstances surrounding the sale of the Policy, and thereafter,

CNA knew, or as a professional provider of insurance should have known, that under New Mexico law,

its denial of coverage under the circumstances would amount to a failure to deliver the quality of goods

and/or services promised at the time of sale.




                                                      24
       Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 26 of 221


       168.    At the time of the sale of the Policy, CNA knew, or as a professional provider of

insurance, should have known that under New Mexico law it makes no difference whether it intended to

deceive or defraud AAESC.

       169.    CNA’s acts and omissions were unfair and deceptive trade practices, which proximately

resulted in damages to AAESC, and were otherwise in violation of the UPA Section 57-12-1, et seq.

       170.    CNA has willfully engaged in unfair and deceptive trade practices or unconscionable

trade practices entitling AAESC to an award treble damages.

       171.    Plaintiff additionally seeks recovery of its attorneys’ fees and costs pursuant to NMSA

1978, § 57-12-10(C).

                                    FIFTH CAUSE OF ACTION
                                (Declaratory Judgment against CNA)

       172.    Plaintiff incorporates herein the above paragraphs as if fully set forth herein.

       173.    AAESC seeks a declaratory judgment pursuant to NMSA 1978, §§ 44-6-1, 44-6-2, and

44-6-4, et seq., for the purpose of determining an actual controversy between AAESC and CNA.

       174.    An actual and justiciable controversy exists between AAESC and CNA regarding the

terms and conditions of coverage under the Policy with respect to a proper adjustment of the claim,

including but not limited to, CNA’s wrongful refusal to pay the full business interruption loss due to

AAESC based upon the physical loss of its space and related business interruption and extra expenses

from the Coronavirus and/or the Government Orders.

       175.    As a direct and proximate result of CNA’s coverage denial and its failure to properly

investigate, there exists an actual controversy between the parties that requires an action for declaratory

judgment pursuant to NMSA 1978 §§ 44-6-2 and 44-6-4.

       176.    AAESC’s loss is covered under the Policy. AAESC seeks a judicial determination and

declaration that CNA is obligated to insure the direct physical loss to AAESC under the Policy.



                                                    25
       Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 27 of 221


       177.    This controversy is ripe and of sufficient immediacy to justify the issuance of a

declaratory judgment.

       178.    A judicial declaration is necessary and appropriate at this time because AAESC and CNA

have failed to reach an agreement on CNA’s obligations under the Policy.

       179.    CNA’s acts and omissions warrant the entry of a judgment declaring and determining that

as a matter of law CNA breached their obligations to act reasonably, promptly and fully investigate the

claim, and provide the requisite coverage.

                                       PRAYER FOR RELIEF

WHEREFORE Plaintiff prays for the following judgment in its favor and against Defendant:

   1) An order finding Defendant to have breached the Policy and must promptly provide coverage;

   2) An order finding Defendant to have breached the duty of good faith and fair dealing;

   3) Declaratory relief, as described herein to include that AAESC’s business income, extra expenses,

       civil authority, and dependent properties losses incurred in connection with the Coronavirus and

       Government Orders are insured losses under the Policy, and Defendant is obligated to pay the

       full amount of these losses;

   4) Consequential and compensatory damages;

   5) An award of punitive and exemplary damages;

   6) Treble damages under the New Mexico Unfair Practices Act, NMSA 1978§ 57-12-10;

   7) Statutory damages pursuant to New Mexico’s Trade Practices and Frauds Act;

   8) Attorneys’ fees and costs, as provided by law;

   9) Pre- and post- judgment interest at the highest rate allowed by law; and

   10) Such other and further relief as this Court may deem just, equitable or proper.

                                             JURY DEMAND

       Plaintiff demands a trial by jury of the claims so triable.


                                                    26
Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 28 of 221


                             Respectfully submitted,

                             PEIFER, HANSON, MULLINS & BAKER, P.A.


                             By: /s/ Robert E. Hanson
                                     Robert E. Hanson
                             20 First Plaza, Suite 725
                             Albuquerque, New Mexico 87102
                             Tel: (505) 247-4800
                             Fax: (505) 243-6458
                             Email: rhanson@peiferlaw.com

                             Kristin C. Davis (pro hac vice to be submitted)
                             THOMPSON HAMMERMAN DAVIS LLP
                             1015 15th Street NW, Suite 600
                             Washington, DC 20005
                             Tel: (202) 367-6178
                             Fax: (202) 318-5356
                             kdavis@thompsonhd.com

                             Attorneys for Plaintiff




                                   27
                             Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 29 of 221


                                                                                             Policyholder Notice- Countrywide


                                           IMPORTANT INFORMATION
                                                   REQUEST FOR JURISDICTIONAL
                                                INSPECTION OF PRESSURE EQUIPMENT
                 Many states and some cities issue certificates permitting the continued operation of certain equipment such as boilers,
                 water heaters and pressure vessels. Periodic inspections are required to renew these certificates. In most jurisdictions, as
                 part of an equipment breakdown policy, insurance company employees who have been licensed are authorized to perform
                 these inspections.
                 If:
                       •   You own/operate pressure equipment that requires a certificate from a state, county, city or parish to operate
                           legally, and
                       •   We insure that equipment under this Policy, and
                       •   You would like CNA to perform the next required inspection:
                 Then:

                 Complete the form on page 2 and email, mail or fax as instructed:

                       No need to call or respond if you do not have boilers or pressure vessels that require operating certificates.
                 BY EMAIL:          EBinspections@cna.com (please scan the completed form and attach)

                 BY MAIL:                                                                    BY FAX:     609-524-3649
                 CNA Equipment Breakdown Risk Control
                 184 Liberty Corner Road
                 4th Floor, Suite 402
                 Warren, NJ 07059                                                            BY PHONE:   call 866-262-0540 - press "4"
                 Questions or inquiries can be made via any of the above methods of communication.
                 Please note the following:
                 •     Your jurisdiction(s) may charge you a fee for renewing a certificate. It is your responsibility to pay such a fee.
                 •     If CNA is required to pay the fee on your behalf, CNA will invoice you to recover that fee.
                 •     All the provisions of the INSPECTION AND SURVEYS condition apply to the inspections described in this notice.
                 Failure to notify us can result in fines and penalties being issued to the equipment owner by the governing
                 jurisdiction. CNA is not responsible for said fines or penalties.

                                                                            REMINDER

                 If new equipment is installed or old equipment replaced that requires a jurisdictional inspection, please let us know by
--
iiiiiiii

                 transmitting the new information to the postal address/fax number/email address listed above and on the following page.

 -
!!!!!!!!!!!!!!   If this is a renewal and information (locations) has not changed, please disregard this notice.
                 If inspection and maintenance are outside of your area of responsibility, we would appreciate your forwarding this notice to
                 the appropriate person. If no response is received, we are assuming there are no jurisdictional objects at your
                 location(s) and no inspections are required.
                 Note: Jurisdictional inspections are not conducted outside of the United States, its territories, possessions, or
                 Canada.

=                                                                                                                               EXHIBIT
                                                                                                                                      1
                 CNA62823XX (07-2017)                              Copyright CNA All Rights Reserved.                              Page 1 of2
             Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 30 of 221


                                                                                Policyholder Notice- Countrywide

                              REQUEST FOR JURISDICTIONAL INSPECTION
I Insured Name:
    Facility/Location Name:


I Policy Number:                                                                             I Policy Term:
    Contact Person & Title:
    Contact Phone Number(s)-Office:                                                        Cell:
    Contact Email Address:


                Location Address 1                                   City                          State                    Zip

    1.
    2.
    3.

                Equipment Type2 ·3·4                              Registration                             Certificate Expiration
                                                                    Number                                            Date
               (Boiler. Press1 ...... Vessell                        l~t=ih~ #}




Completed By (Name & Date): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Telephone #/Email Address: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
BY EMAIL:                     EBinspections@cna.com (please scan the completed form and attach)
BY MAIL:                                                                                              BY FAX: 609-524-3649
CNA Equipment Breakdown Risk Control
184 Liberty Corner Road
4th Floor, Suite 402
Warren, NJ 07059                                                                BY PHONE: call 866-262-0540 - press "4"

1   lf multiple objects and/or multiple locations, please list all required information on separate page(s).
2   Boiler is defined as an enclosed vessel heated by fuel or electricity to produce steam or hot water.
3   Pressure Vessel is defined as an enclosed vessel (tank) greater than 6 cubic feet (18 inches x 40 inches) to store liquid
       or gas under pressure for use when needed.
4LPG (ex: propane, propylene, butane & butylenes) Tank with vapor pressures not exceeding that allowed for commercial
propane. California requirement only.




CNA62823XX (07-2017)                                  Copyright CNA All Rights Reserved.                                            Page 2 of2
                           Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 31 of 221


                                                                                         Policy Holder Notice - Countrywide



                                          IMPORTANT INFORMATION
                                           NOTICE - OFFER OF TERRORISM COVERAGE;
                                                    DISCLOSURE OF PREMIUM
                 THIS NOTICE DOES NOT FORM A PART OF THE POLICY, GRANT ANY COVERAGE OR CHANGE THE TERMS
                 AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

                 As used herein, 1) "we" means the insurer listed on the Declarations or the Certificate of Insurance, as applicable; and 2)
                 "you" means the first person or entity named on the Declarations or the Certificate of Insurance, as applicable.

                 You are hereby notified that under the Terrorism Risk Insurance Act, as extended and reauthorized ("Act"), you have a
                 right to purchase insurance coverage of losses arising out of acts of terrorism, as defined in Section 102(1) of the Act,
                 subject to all applicable policy provisions. The Terrorism Risk Insurance Act established a federal program within the
                 Department of the Treasury, under which the federal government shares, with the insurance industry, the risk of loss from
                 future terrorist attacks.

                 This Notice is designed to alert you to coverage restrictions and to certain terrorism provisions in the policy. If there is any
                 conflict between this Notice and the policy (including its endorsements), the provisions of the policy (including its
                 endorsements) apply.

                 CHANGE IN THE DEFINITION OF A CERTIFIED ACT OF TERRORISM

                 The Act applies when the Secretary of the Treasury certifies that an event meets the definition of an act of terrorism.
                 Originally, the Act provided that to be certified, an act of terrorism must cause losses of at least five million dollars and
                 must have been committed by an individual or individuals acting on behalf of any foreign person or foreign interest to
                 coerce the government or population of the United States. However, the 2007 re-authorization of the Act removed the
                 requirement that the act of terrorism must be committed by or on behalf of a foreign interest, and now certified acts of
                 terrorism may encompass, for example, a terrorist act committed against the United States government by a United States
                 citizen, when the act is determined by the federal government to be "a certified act of terrorism."

                 In accordance with the Act, we are required to offer you the ability to purchase coverage for losses resulting from an act of
                 terrorism that is certified under the federal program. The other provisions of this policy, including nuclear, war or military
                 action exclusions, will still apply to such an act.

                 DISCLOSURE OF FEDERAL PARTICIPATION IN PAYMENT OF TERRORISM LOSSES

                 The Department of the Treasury will pay a share of terrorism losses insured under the federal program. In 2015, the
                 federal share equals 85% of that portion of the amount of such insured losses that exceeds the applicable insurer
iiiiiiii
                 retention, and shall decrease by 1 percentage point per calendar year until equal to 80%.

--
!!!!!!!!!!!!!!   LIMITATION ON PAYMENT OF TERRORISM LOSSES

                 If aggregate insured losses attributable to terrorist acts certified under the Terrorism Risk Insurance Act exceed $100
                 billion in a calendar year (January 1 through December 31), the Treasury shall not make any payment for any portion of
                 the amount of such losses that exceeds $100 billion.




=

                 CNA81758XX (Ed. 03-15)                          Copyright CNA All Rights Reserved.                                  Page 1 of2
          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 32 of 221


                                                                       Policy Holder Notice - Countrywide

Further, this coverage is subject to a limit on our liability pursuant to the federal law where, if aggregate insured losses
attributable to terrorist acts certified under the Act exceed $100 billion in a calendar year (January 1 through December 31)
and we have met our insurer deductible under the Act, we shall not be liable for the payment of any portion of the amount
of such losses that exceeds $100 billion. In such case, insured losses up to that amount are subject to pro rata allocation
in accordance with procedures established by the Secretary of the Treasury.

CONFIRMATION OF ACCEPTANCE OF COVERAGE

In accordance with the Act, we offered you coverage for losses resulting from an act of terrorism that is certified under the
federal program. This notice confirms that you have chosen to accept our offer of coverage for certified acts of terrorism.
The policy's other provisions, including nuclear, war or military action exclusions, will still apply to such an act. The
premium charge for terrorism coverage, if any, is shown separately on the Declarations or the Certificate of Insurance, as
applicable.




CNA81758XX (Ed. 03-15)                         Copyright CNA All Rights Reserved.                                Page 2 of2
                           Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 33 of 221




                                               IMPORTANT INFORMATION
                                              TO OUR CNA CONNECT POLICYHOLDERS

                                                    PREMISES INFORMATION UPDATE

                 As your Businessowners insurance carrier, we encourage you to ensure that the information about the premise(s) you own
                 or occupy is current. Specifically, if you, or your landlord, have taken steps to improve the premises, you may be eligible
                 for a premium discount. While we cannot guarantee a discount, make sure to let your agent know if you, or your landlord,
                 have completed any of the following work and provide the year in which it was completed:
                     1.   Roof replacement: The complete removal of the various layers of the roof system, including insulation and
                          decking as needed, followed by the installation of all new materials.
                     2.   Electrical system replacement/update: The complete replacement of the main electrical service, transformers
                          under the care of the insured, sub-electrical panels and wiring.
                     3.   Plumbing system replacement/update: The complete replacement of all pipes & tubing including fittings and
                          valves, fixtures (toilets, sinks, and faucets), water heaters and related hardware
                     4.   Heating and air conditioning system replacement/update: The replacement of the entire system including, but
                          not limited to compressors, air handlers/furnaces/heat pumps, gas/oil lines and thermostats
                 If you own or occupy more than one location, please provide the specific information by location.
                 Please complete the information on Page 2 of this notice and return it to the Agent Name and Address shown in your
                 Renewal Declarations. If you have any questions, please contact your agent.




iiiiiiii



-
-
i iiiiiii
!!!!!!!!!!!!!!




=

                 CNA91765XX (Ed. 03-2018)                          Copyright, CNA All Rights Reserved.                           Page 1 of 3
        Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 34 of 221




CNA91765XX (Ed. 03-2018)          Copyright, CNA All Rights Reserved.       Page 2 of 3
                                Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 35 of 221



                  Named Insured: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Policy Number: _ _ _ _ _ _ _ _ __

                  Location A d d r e s s : - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

                  Year Built:


                                                                                  Year Completed
                   Roof Replacement
                   Electrical System Replacement
                   Plumbing System Replacement
                   HVAC Replacement

                  Location A d d r e s s : - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

                  Year Built:


                                                                                  Year Completed
                   Roof Replacement
                   Electrical System Replacement
                   Plumbing System Replacement
                   HVAC Replacement

                  Location A d d r e s s : - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

                  Year Built:


                                                                                  Year Completed
                   Roof Replacement
                   Electrical System Replacement
                   Plumbing System Replacement
                   HVAC Replacement


                  CNA Agent: Please forward the completed form to:

iiiiiiii
                                                          CNA Commercial Insurance
-
!!!!!!!!!!!!!!!
                                                          500 Colonial Center Parkway

-
i iiiiiii
!!!!!!!!!!!!!!!                                           Suite 400
                                                          Lake Mary, FL 32748

                                                          E-Mail: cnamissinginfo@cna.com




=

                  CNA91765XX (Ed. 03-2018)                     Copyright, CNA All Rights Reserved.   Page 3 of 3
                           Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 36 of 221




                  CNA Connect


                  Renewal Declaration




                  POLICY NUMBER               COVERAGE PROVIDED BY                   FROM - POLICY PERIOD - TO
                  B 2067314575                TRANSPORTATION INSURANCE COMPANY       06/01/2019     06/01/2020
                                              151 N Franklin
                                              CHICAGO, IL 60606

                                              INSURED NAME AND ADDRESS
                                              ALBUQUERQUE AMBULATORY EYE SURGERY CENTER LLC
                                              8801 Horizon Blvd NE

                                              ALBUQUERQUE, NM   87113

                  AGENCY NUMBER               AGENCY NAME AND ADDRESS
                  089080                      WESTERN ASSURANCE CORP .
                                              3701 PASEO DEL NORTE
                                              PO BOX 94600 (87199)
                                              ALBUQUERQUE, NM 87113
                                              Phone Number : (505)265-8481

                  BRANCH NUMBER               BRANCH NAME AND ADDRESS
                  650                         ALBUQUERQUE BRANCH
                                              STE . 6200
                                              2155 LOUISIANA BLVD . , NE
                                              ALBUQUERQUE, NM 87110
                                              Phone Number : (505)271-6500



                  This policy becomes effective and expires at 12 : 01 A . M. standard time at your mailing
                  address on the dates shown above .

                  The Named Insured is a Corporation .

                  Your policy is composed of this Declarations, with the attached Common Policy Conditions,
                  Coverage Forms, and Endorsements, if any . The Policy Forms and Endorsement Schedule shows
                  all forms applicable to this policy at the time of policy issuance .

-
iiiiiii,;

                                  The Estimated Policy Premium Is             $4 , 851.00

-
!!!!!!!!!!!!!!!   Terrorism Risk Insurance Act Premium                            $72. 00

-                 Audit Period is Not Auditable




=

                                                                 INSURED                        Page   1 of      6
POLICY NUMBER
         Case                 INSURED NAMEDocument
                 1:21-cv-00280-KWR-JFR     AND ADDRESS
                                                   1-1 Filed 03/26/21 Page 37 of 221
B 2067314575                 ALBUQUERQUE AMBULATORY EYE SURGERY CENTER LLC
                             8801 Horizon Blvd NE
                             ALBUQUERQUE, NM 87113



PROPERTY COVERAGE                                                         LIMIT OF INSURANCE

The following deductible applies unless a separate deductible is shown on the Schedule of
Locations and Coverage.

Deductible:       $1,000

Business Income and Extra Expense Coverage
  Business Income and Extra Expense                       12 Months Actual Loss Sustained

Business Income and Extra Expense - Dependent Properties                          $10,000

Employee Dishonesty                                                               $25,000

Forgery and Alteration                                                            $25,000

LIABILITY COVERAGE                                                        LIMIT OF INSURANCE

Liability and Medical Expense Limit - Each Occurrence                          $2,000,000

Medical Expense Limit      Per Person                                             $10,000

Personal and Advertising Injury                                                $2,000,000

Products/Completed Operations Aggregate                                        $4,000,000

General Aggregate                                                              $4,000,000

Damage To Premises Rented To You                                                 $300,000

Employment Practices/Fiduciary Liability     Retroactive Date:   06/01/2008       $10,000
  EPLI Deductible: $0

Hired Auto Liability                                                           $1,000,000

Nonowned Auto Liability                                                        $1,000,000

CRIME COVERAGE                                                            LIMIT OF INSURANCE

Welfare and Pension Plan ERISA Compliance                                         $25,000




                                                INSURED                        Page    2 of    6
                  POLICY NUMBER              INSURED NAMEDocument
                           Case 1:21-cv-00280-KWR-JFR     AND ADDRESS
                                                                  1-1 Filed 03/26/21 Page 38 of 221
                  B 2067314575               ALBUQUERQUE AMBULATORY EYE SURGERY CENTER LLC
                                             8801 Horizon Blvd NE
                                             ALBUQUERQUE, NM 87113


                                                      SCHEDULE OF LOCATIONS AND COVERAGE

                  LOCATION       1   BUILDING     1

                  5901 Harper NE
                  Albuquerque, NM      87109

                  Construction: Fire Resistive
                  Class Description: Surgeons Offices
                     Building Glass Deductible: $100

                     Broadened Wind

                  PROPERTY COVERAGE                                                        LIMIT OF INSURANCE

                    Accounts Receivable                                                            $25,000

                     Building                                                                  Not Covered

                     Business Income for Interruption of Practice                                  $10,000

                     Business Personal Property                                                 $1,766,530

                     Electronic Data Processing                                                    $50,000

                     Equipment Breakdown                                                        $1,766,530

                     Fine Arts                                                                     $25,000
                     Ordinance or Law - Demolition Cost, Increased Cost of Construction            $25,000

                     Seasonal Increase: 25%

                     Sewer or Drain Back Up                                                        $25,000

                     Spoilage Coverage
                        Description of Property:   Perishable Stock
                        Limit of Insurance                                                         $10,000
                        Deductible:      $1,000
                        Refrigeration Maintenance Agreement       X
                        Causes of Loss
                        Breakdown of Contamination                X
                        Power Outage                              X
                        Selling Price                             X

                     Valuable Papers    &   Records                                                $25,000
iiiiiii,;




-
!!!!!!!!!!!!!!!



-

=

                                                                      INSURED                   Page   3   of   6
POLICY NUMBER
         Case                 INSURED NAMEDocument
                 1:21-cv-00280-KWR-JFR     AND ADDRESS
                                                   1-1 Filed 03/26/21 Page 39 of 221
B 2067314575                 ALBUQUERQUE AMBULATORY EYE SURGERY CENTER LLC
                             8801 Horizon Blvd NE
                             ALBUQUERQUE, NM 87113



                                  ADDITIONAL INTEREST SCHEDULE

LOCATION     1   BUILDING     1

   Type: Owners , Lessees or Contractors
   Additional Interest Name and Address:
   AAESC LLC INVESTORS
   8801 Horizon Blvd NE
   Suie 360
   ALBUQUERQUE                   , NM 8 7113

   Type: Owners , Lessees or Contractors
   Additional Interest Name and Address:
   Presbyterian Healthcare Service Attn : Real Estate Department
   PO BOX 26666
   ALBUQUERQUE                   , NM 87125-6666

   Type: Owners , Lessees or Contractors
   Additional Interest Name and Address:
   EYE ASSOCIATES OF NEW MEXICO
   317 Commercial NE
   Suite 100-G
   ALBUQUERQUE                   , NM 8 7102

   Type: Owners , Lessees or Contractors
   Additional Interest Name and Address:
   SOUTHWEST HEALTH FOUNDATION
   8801 Horizon Blvd. NE
   Suite 360
   Albuquerque                   , NM 87113


                                      LOSS PAYEE SCHEDULE

All loss payees as their interests may appear in the Covered Property .

The following provisions apply in accordance with the insurable interest of the loss
payee : Loss Payee

Description of Property : Any Covered Property in which a loss payee, creditor or lender
holds an interest, including any person or organization you have entered a contract with
for the sale of Covered Property .




                                                INSURED                       Page     4 of   6
                  POLICY NUMBER
                           Case                INSURED NAMEDocument
                                  1:21-cv-00280-KWR-JFR     AND ADDRESS
                                                                    1-1 Filed 03/26/21 Page 40 of 221
                  B 2067314575                ALBUQUERQUE AMBULATORY EYE SURGERY CENTER LLC
                                              8801 Horizon Blvd NE
                                              ALBUQUERQUE, NM 87113



                                                 FORMS AND ENDORSEMENTS SCHEDULE

                  The following list shows the Forms, Schedules and Endorsements by Line of Business that are
                  a part of this policy .


                  COMMON

                  FORM NUMBER                FORM TITLE
                  CNA79203XX      06/2014   Exclusion - Access or Disclosure of Confidential
                  CNA80103XX      09/2014   Primary and Non Contributory - Other Ins Condition
                  CNA81751XX      03/2015   Cap on Losses from Certified Acts of Terrorism
                  CNA91765XX      03/2018   Policyholder Notice - Premises Information
                  SB147001C       05/2015   New Mexico Changes
                  SB147005A       01/2006   NM Changes -Property Claim Settlmnt in Catastrophe
                  SB147044A       01/2006   Important Information - New Mexico Businessowners
                  SB147075A       01/2006   Economic and Trade Sanctions Condition
                  SB147082E       04/2014   Businessowners Common Policy Conditions
                  SB147086B       04/2010   Loss Payable Provisions

                  COMMERCIAL PROPERTY

                  FORM NUMBER               FORM TITLE
                  SB146801I       04/2014   Businessowners Special Property Coverage Form
                  SB146802E       06/2016   Business Income and Extra Expense
                  SB146803A       01/2006   Seasonal Increase
                  SB146804A       01/2006   Arson and Theft Reward
                  SB146805B       06/2016   Claim Data Expense
                  SB146806B       01/2008   Debris Removal
                  SB146807E       06/2016   Employee Dishonesty
                  SB146808A       01/2006   Expediting Expenses
                  SB146809C       07/2009   Fine Arts
                  SB146810A       01/2006   Fire Department Service Charge
                  SB146811A       01/2006   Fire Protective Equipment Discharge
                  SB146812C       04/2010   Forgery and Alteration
                  SB146813B       01/2008   Newly Acquired or Constructed Property
                  SB146814B       03/2006   Ordinance or Law
                  SB146815A       01/2006   Outdoor Trees, Shrubs, Plants and Lawns
                  SB146816A       01/2006   Pollutant Clean Up and Removal
                  SB146817A       01/2006   Preservation of Property
                  SB146818A       01/2006   Temporary Relocation of Property
                  SB146819A       01/2006   Water Damage, Other Liquids, Solder, Molten Damage
                  SB146820C       06/2011   Accounts Receivable
                  SB146821A       01/2006   Appurtenant Buildings and Structures
                  SB146822A       01/2006   Building Glass
                  SB146823B       01/2008   Business Income Extra Expense - Dependent Property
                  SB146824B       01/2008   Business Income Extra Expense-Newly Acquired Locs
                  SB146825C       06/2011   Business Personal Property Off Premises
                  SB146826B       01/2008   Civil Authority
iiiiiii,;
                  SB146827F       06/2011   Electronic Data Processing
                  SB146828E       04/2014   Equipment Breakdown
-
iiiiiii,;


!!!!!!!!!!!!!!!   SB146830B       01/2008   Money Orders and Counterfeit Paper Currency
                  SB146831B       06/2011   Nonowned Detached Trailers

-                 SB146832B
                  SB146833A
                  SB146834A
                                  01/2008
                                  01/2006
                                  01/2006
                                            Ordinance or Law-Increased Period of Restoration
                                            Outdoor Property
                                            Personal Effects
                  SB146835A       01/2006   Signs
                  SB146836A       01/2006   Spoilage Consequential Loss
                  SB146837A       01/2006   Theft Damage to Rented Property


=

                                                                 INSURED                         Page   5 of   6
POLICY NUMBER
         Case                INSURED NAMEDocument
                1:21-cv-00280-KWR-JFR     AND ADDRESS
                                                  1-1 Filed 03/26/21 Page 41 of 221
B 2067314575                ALBUQUERQUE AMBULATORY EYE SURGERY CENTER LLC
                            8801 Horizon Blvd NE
                            ALBUQUERQUE, NM 87113



                               FORMS AND ENDORSEMENTS SCHEDULE

COMMERCIAL PROPERTY

FORM NUMBER               FORM TITLE
SB146838C       06/2011   Valuable Papers and Records
SB146839F       06/2011   Sewer or Drain Back Up
SB146841B       06/2011   Broadened Wind Coverage
SB146843E       04/2014   Business Income For Interruption of Practice
SB146855B       01/2008   Spoilage Coverage
SB146856D       07/2009   Utility Services - Direct Damage
SB146857D       07/2009   Utility Services - Time Element
SB146997B       07/2009   Fungus, Wet Rot, Dry Rot and Bacteria Exclusion
SB300129B       01/2008   Targeted Hacker Attack
SB300456A       07/2007   Concurrent Causation, Earth Movmnt, Water Exel Chg
SB300596A       01/2008   Identity Theft/Recovery Services Endorsement

COMMERCIAL GENERAL LIABILITY

FORM NUMBER               FORM TITLE
SB146902G       06/2016   Hired Auto and Non-owned Auto Liability
SB146932F       06/2016   Blanket Additional Insured - Liability Extension
SB147023A       01/2006   Fungi/ Mold/ Mildew/ Yeast/ Microbe Exclusion
SB147079A       01/2006   War Liability Exclusion
SB147080A       01/2006   Exclusion - Silica
SB147088A       01/2006   Exclusion - Asbestos
SB147089A       01/2006   Employment - Related Practices Exclusion
SB300000D       04/2014   Businessowners Liability Coverage Form
SB300120C       06/2011   Additional Insured - Owners, Lessees or Contractor
SB300441A       01/2007   Fiduciary Liability Coverage Form
SB300449A       01/2007   Single Limit of Insurance Endorsement
SB300450A       01/2007   Employment Practices Liability Coverage Form
SB300849A       07/2009   Recd and Distribution of Material or information

COMMERCIAL CRIME

FORM NUMBER               FORM TITLE
SB300043D       06/2011   Welfare and Pension Plan ERISA Compliance



         ***   PLEASE READ THE ENCLOSED IMPORTANT NOTICES CONCERNING YOUR POLICY***

FORM NUMBER               FORM TITLE
CNA62823XX      07/2017   Reg For Jurisdictional Inspection Of Pressure Equp
CNA81758XX      03/2015   Notice - Offer of Terrorism Disclosure of Premium




                                                                  Countersignature



                                                                       ~~   Secretary




SB-146895-A (Ed. 01/06)                        INSURED                         Page     6 of   6
                            Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 42 of 221
                                                                                                                               CNA79203XX
                                                                                                                                    (06-14)



                      EXCLUSION -ACCESS OR DISCLOSURE OF CONFIDENTIAL OR PERSONAL
                       INFORMATION AND DATA-RELATED LIABILITY - WITH LIMITED BODILY
                                            INJURY EXCEPTION
                 It is understood and agreed that this endorsement amends the BUSINESSOWNERS LIABILITY COVERAGE FORM as
                 follows:
                 Under Exclusions, the exclusions Applicable to Business Liability Coverage are amended to:
                 I.   Delete the exclusion entitled Electronic Data and replace it with the following:
                      This insurance does not apply to:
                      Access or Disclosure Of Confidential Or Personal Information And Data-related Liability
                      (1) Damages, other than damages because of "personal and advertising injury," arising out of any access to or
                          disclosure of any person's or organization's confidential or personal information, including patents, trade secrets,
                          processing methods, customer lists, financial information, credit card information, health information or any other
                          type of nonpublic information; or
                      (2) Damages arising out of the loss of, loss of use of, damage to, corruption of, inability to access, or inability to
                          manipulate electronic data.
                      This exclusion applies even if damages are claimed for notification costs, credit monitoring expenses, forensic
                      expenses, public relations expenses or any other loss, cost or expense incurred by you or others arising out of that
                      which is described in Paragraph (1) or (2) above.
                      However, unless Paragraph (1) above applies, this exclusion does not apply to damages because of "bodily injury."
                      As used in this exclusion, electronic data means information, facts or programs stored as or on, created or used on, or
                      transmitted to or from computer software, including systems and applications software, hard or floppy disks, CD-
                      ROMs, tapes, drives, cells, data processing devices or any other media which are used with electronically controlled
                      equipment.
                 II. Add the following to the exclusion entitled Personal and Advertising Injury:
                      This insurance does not apply to:
                      Personal And Advertising Injury
                      "Personal and advertising injury":
                      Arising out of any access to or disclosure of any person's or organization's confidential or personal information,
                      including patents, trade secrets, processing methods, customer lists, financial information, credit card information,
                      health information or any other type of nonpublic information.
                      This exclusion applies even if damages are claimed for notification costs, credit monitoring expenses, forensic
                      expenses, public relations expenses or any other loss, cost or expense incurred by you or others arising out of any
                      person's or organization's confidential or personal information.



iiiiiiii



-                All other terms and conditions of the Policy remain unchanged.

-
!!!!!!!!!!!!!!




=
                 CNA79203XX (06-14)
                 Page 1 of 1

                                                                  Copyright, CNA All Rights Reserved.
          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 43 of 221
                                                                                                                                             CNA80103XX
                                                                                                                                                  (09-14)



THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                     PRIMARY AND NONCONTRIBUTORY-
                                       OTHER INSURANCE CONDITION
This endorsement modifies insurance provided under the following:
    BUSINESSOWNERS COMMON POLICY CONDITIONS
The following is added to Paragraph H. Other Insurance and supersedes any provision to the contrary:
    Primary And Noncontributory Insurance
    This insurance is primary to and will not seek contribution from any other insurance available to an additional insured
    under your policy provided that:
    1. The additional insured is a Named Insured under such other insurance; and
    2. You have agreed in writing in a contract or agreement that this insurance would be primary and would not seek
        contribution from any other insurance available to the additional insured.




All other terms and conditions of the Policy remain unchanged.




CNA80103XX (09-14)
Page 1 of 1

                 Copyright, CNA All Rights Reserved. Includes copyrighted material of Insurance Services Office, Inc., with its permission
                           Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 44 of 221
                                                                                                                                    CNA81751XX
                                                                                                                                       (Ed. 3-15)



                                  CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
                                                  ENDORSEMENT
                                                                          SCHEDULE


                 Solely with respect to any Coverage Part set forth in the Schedule, it is understood and agreed as follows:
                 Whenever used in this endorsement, 1) "we" means the insurer listed on the Declarations or the Certificate of Insurance,
                 as applicable; and 2) "you" means the first person or entity named on the Declarations or the Certificate of Insurance, as
                 applicable.
                 A. Cap on Certified Terrorism Losses
                     "Certified act of terrorism" means an act that is certified by the Secretary of the Treasury, in consultation with the
                     Secretary of Homeland Security and the Attorney General of the United States, to be an act of terrorism pursuant to
                     the Terrorism Risk Insurance Act, as extended and reauthorized (the "Act"). The criteria contained in the Act for a
                     "certified act of terrorism" include the following:
                     1.   The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all types of insurance
                          subject to the Terrorism Risk Insurance Act; and
                     2.   The act is a violent act or an act that is dangerous to human life, property or infrastructure and is committed by an
                          individual or individuals as part of an effort to coerce the civilian population of the United States or to influence the
                          policy or affect the conduct of the United States Government by coercion.
                     If aggregate insured losses attributable to terrorist acts certified under the Act exceed $100 billion in a calendar year
                     (January 1 through December 31) and we have met our insurer deductible under the Act, we shall not be liable for the
                     payment of any portion of the amount of such losses that exceeds $100 billion, and in such case insured losses up to
                     that amount are subject to pro rata allocation in accordance with procedures established by the Secretary of the
                     Treasury.
                 B. Application of Exclusions
                     The terms and limitations of any terrorism exclusion, or the inapplicability or omission of a terrorism exclusion, do not
                     serve to create coverage for any loss which would otherwise be excluded under this Policy, such as losses excluded
                     by the Nuclear Hazard Exclusion or the War And Military Action Exclusion.




                 All other terms and conditions of the Policy remain unchanged.




-
iiiiiiii




--
i iiiiiii

!!!!!!!!!!!!!!




=
                 CNA81751XX (Ed. 3-15)
                 Page 1 of 1

                                                                 Copyright, CNA All Rights Reserved.
              Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 45 of 221
                                                                                                                              SB-146801-I
                                                                                                                               (Ed. 04-14)



                                         BUSINESSOWNERS
                                 SPECIAL PROPERTY COVERAGE FORM
Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and what is
and is not covered.
Throughout this policy the words "you" and "your'' refer to the Named Insured shown in the Declarations. The words "we,"
"us" and "our'' refer to the company providing the insurance.
Other words and phrases that appear in quotation marks have special meaning. Refer to SECTION G - PROPERTY
DEFINITIONS, and SECTION H - MALICIOUS CODE, SYSTEM PENETRATION, AND DENIAL OF SERVICE
DEFINITIONS.

A. COVERAGE                                                                                     (f) Alarm systems;
    We will pay for direct physical loss of or damage to                                   (8) If not covered by other insurance:
    Covered Property at the premises described in the
                                                                                                (a) Alterations and repairs to the building
    Declarations caused by or resulting from a Covered
                                                                                                    structure;
    Cause Of Loss.
                                                                                                (b) Materials, equipment, supplies and
    1.   Covered Property
                                                                                                    temporary structures, on or within
         Covered Property includes Buildings as described                                           1,000 feet of the described premises,
         under a. below, Business Personal Property as                                              used for making alterations or repairs
         described under b. below, or both, depending on                                            to the building or structure.
         whether a Limit of Insurance is shown in the
                                                                                      b.   Business Personal Property located in or on
         Declarations for the type of property. Regardless
                                                                                           the buildings at the described premises or in
         of whether coverage is shown in the Declarations
                                                                                           the open (or in a vehicle) within 1,000 feet of
         for Buildings, Business Personal Property, or both,
         there is no coverage for property described under                                 the described premises, including;
         Paragraph A.2. Property Not Covered.                                              (1) Property that you own that is used in your
         a.    Buildings, meaning the buildings and                                            business;
               structures at the premises described in the                                 (2) Property of others that is in your care,
               Declarations, including:                                                        custody or control;
               (1) Completed Additions;                                                    (3) Your use interest as tenant in
               (2) Fences                                                                      improvements        and     betterments.
                                                                                               Improvements and betterments are
               (3) Fixtures, including outdoor fixtures;                                       fixtures, alterations, installations or
                                                                                               additions:
               (4) Retaining walls, whether or not attached;
                                                                                                (a) Made a part of the building or
               (5) Permanently installed:
                                                                                                    structure you occupy or lease but do
                   (a) Machinery; and                                                               not own; and
                   (b) Equipment;                                                               (b) You acquired or made at your
                                                                                                    expense but are not permitted to
               (6) Outdoor swimming pools;                                                          remove;
               (7) Personal Property owned by you that is                                  (4) Leased personal property for which you
                   used to maintain or service the building or                                 have a contractual responsibility to
                   structure or the premises, including:                                       insure, unless otherwise provided for
                   (a) Fire extinguishing equipment;                                           under Paragraph A.1.b.(2).;

                   (b) Outdoor furniture;                                                  (5) Your leasehold interest in improvements
                                                                                               and betterments which are not damaged
                   (c) Floor coverings;                                                        or destroyed, but which you lose because
                   (d) Appliances used for refrigerating,                                      your lease is cancelled by the lessor as a
                       ventilating, cooking, dishwashing or                                    result of damage to the building from a
                       laundering;                                                             Covered Cause of Loss. When this
                                                                                               occurs, we will calculate the value of your
                   (e) Lawn    maintenance    and              snow                            interest in the improvements and
                       removal equipment; and
SB-146801-I                   Includes copyrighted material of Insurance Services Office, Inc., with its permission           Page 1 of22
(Ed. 04-14)
                              Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 46 of 221
                                                                                                                                               SB-146801-I
                                                                                                                                                (Ed. 04-14)


                                   betterments as though they had been                                     (2) Outdoor radio or television antennas
                                   damaged or destroyed and not repaired                                       (including satellite dishes) and including
                                   or replaced promptly, as provided In the                                    their lead-in wiring, masts or towers;
                                   Valuation Loss Condition;
                                                                                                           Except as provided in the Outdoor Property
                               (6) Your "money" and "securities";                                          Coverage Extension;
                               (7) "Stock."                                                          j.    Watercraft (including motors, equipment and
                                                                                                           accessories) while afloat;
                               (8) Tools and equipment owned by your
                                   employees which are used in your                                   k. Accounts and bills, except as provided in the
                                   business operations.                                                    Accounts Receivable Coverage Extension;
                    2.   Property Not Covered                                                         I.   "Valuable Papers and Records," except as
                                                                                                           provided in the Valuable Papers and Records
                         Covered Property does not include:                                                Coverage Extension;
                         a. Aircraft;                                                                 m.   Property that is covered under another
                         b. Automobiles held for sale;                                                     Coverage Form of this or any other policy in
                                                                                                           which it is more specifically described, except
                         c. Vehicles or self-propelled machines that are:                                  for the excess of the amount due (whether
                               (1) Licensed for use on public roads (subject                               you can collect on it or not) from that other
                                   to motor vehicle registration); or                                      insurance;

                               (2) Operated principally        away      from    the                  n.   "Fine Arts," except as provided in the Fine
                                   described premises;                                                     Arts Additional Coverage;

                         This paragraph does not apply to:                                            o. Bullion, gold, silver, platinum and other
                                                                                                           precious alloys or metals, unless they are
                               (1) Vehicles or self-propelled machines or                                  used in your "operations" (theft limitation
                                   autos that you manufacture, process or                                  applies);
                                   warehouse;
                                                                                                      p. "Electronic data processing equipment" and
                               (2) Vehicles or self-propelled machines, other                              "Electronic media and data" (not including
                                   than autos, that you hold for sale; or                                  "stock"),except as provided in the Electronic
                               (3) Trailers or semi-trailers, except as                                    Data Processing Equipment, Electronic Media
                                   provided in the Non-Owned Detached                                      and Data and Electronic Data (EDP Coverage
                                   Trailers Coverage.                                                      Form) Coverage Extension, the Business
                                                                                                           Income And Extra Expense Coverage
                         d.    Dams or dikes;                                                              Extension,    the    Accounts     Receivable
                                                                                                           Coverage Extension or the Targeted Hacker
                         e.    Contraband, or property in the course of
                                                                                                           Attack Coverage Extension;
                               illegal transportation or trade;
                                                                                                           Your Business Personal Property coverage is
                         f.    The cost of excavating, grading, backfilling or
                                                                                                           extended to provide excess coverage for loss
                               filling (except those costs necessary due to
                                                                                                           to the Electronic Data Processing Equipment
                               repair of buildings insured under this
                                                                                                           and Electronic Media and Data (EDP
                               Coverage Form from a Covered Cause of
                                                                                                           Coverage Form) located only at the described
                               Loss), reclaiming or restoring land or water;
                                                                                                           premises and resulting from a covered cause
                         g. Water or land whether in its natural state or                                  of loss. All exclusions applicable to Business
                               otherwise (including land on which the                                      Personal Property apply to this excess

--
iiiiiiii
                               property is located), land improvements,                                    coverage. This excess coverage is included in
                               growing crops or standing timber;                                           and is not in addition to the limits applicable to

 -
!!!!!!!!!!!!!!
                         h. Outdoor trees, shrubs, plants and lawns, other
                            than "stock" except as provided in the                                    q.
                                                                                                           your Business Personal Property.
                                                                                                           Outdoor signs, except as provided in the
                                                                                                           Signs Coverage Extension.
                            Outdoor Trees, Shrubs, Plants and Lawns
                            Additional Coverage;
                                                                                                3.    Covered Causes of Loss
                         i.    The following property while outside of the
                                                                                                      RISKS OF DIRECT PHYSICAL LOSS unless the
                               buildings:
                                                                                                      loss is:
                               (1) Bridges, walks, roadways, patios or other
                                                                                                      a. Excluded in section B. EXCLUSIONS;
=                                  paved surfaces; or
                                                                                                      b. Limited in paragraph A.4. Limitations; or

                 SB-146801-I                  Includes copyrighted material of Insurance Services Office, Inc., with its permission            Page 2 of22
                 (Ed. 04-14)
             Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 47 of 221
                                                                                                                            SB-146801-I
                                                                                                                             (Ed. 04-14)


        c.    Excluded or limited by other provisions of this                                 (c) Photographic or scientific instrument
              policy.                                                                               lenses.
   4.   Limitations                                                                 c. For loss or damage by theft, the following
                                                                                         types of property are covered only up to the
        a. We will not pay for loss of or damage to:                                     limits shown:
              (1) The "interior of any building or structure"
                                                                                         (1) $2,500 for furs, fur garments,           and
                  or to personal property in the building or
                                                                                             garments trimmed with fur.
                  structure, caused by rain, snow, sleet or
                  ice whether driven by wind or not, unless:                             (2) $5,000     for jewelry, watches, watch
                                                                                              movements, jewels, pearls, precious and
                  (a) The building or structure first sustains
                                                                                              semi-precious stones, bullion, gold, silver,
                      actual damage to the roof or walls by
                                                                                              platinum and other precious alloys or
                      wind or hail and then we will pay only
                                                                                              metals. This limit does not apply to
                      for the loss to the "interior of the                                    jewelry and watches worth $500 or less
                      building or structure" or the personal
                                                                                              per item.
                      property in the building or structure
                      that is caused by rain, snow, sleet,                               (3) $25,000 for patterns, dies, molds and
                      sand or dust entering the building(s)                                   forms.
                      or structure(s) through openings in
                                                                                    d.   We will not pay for any loss or damage
                      the roof or walls made by direct
                                                                                         caused by any of the following even if they
                      action of wind; or
                                                                                         are Covered Causes of Loss if the building
                  (b) The loss or damage is caused by or                                 where loss or damage occurs has been
                      results from thawing of snow, sleet or                             "vacant" for more than 60 consecutive days
                      ice on the building or structure.                                  before that loss or damage occurs:
              (2) Steam    boilers, steam pipes, steam                                   (1) Vandalism;
                  engines or steam turbines caused by or
                                                                                         (2) Sprinkler leakage, unless you have
                  resulting from any condition or event
                                                                                             protected the system against freezing;
                  inside such equipment. But we will pay for
                  loss of or damage to such equipment                                    (3) Building glass breakage;
                  caused by or resulting from an explosion
                  of gasses or fuel within the furnace of any                            (4) Discharge or leakage of water;
                  fired vessel or within the flues or                                    (5) "Theft"; or
                  passages through which the gasses of
                  combustion pass.                                                       (6) Attempted "theft."

              (3) Hot water boilers or other water heating                               With respect to Covered Causes of Loss other
                  equipment caused by or resulting from                                  than those listed in 4.d.(1) through 4.d.(6)
                  any condition or event inside such boilers                             above, we will reduce the amount we would
                  or equipment, other than an explosion.                                 otherwise pay for the loss or damage by 15%.

        b. We will not pay for loss of or damage to the                       5.    Additional Coverages
              following types of property unless caused by                         Additional Coverages may be attached to this
              any of the "specified causes of loss" or                             Policy (designation would appear in the attached
              building glass breakage                                              form(s)). Unless otherwise stated, payments made
              (1) Live animals, birds or fish, and then only                       under these Additional Coverages are in addition
                  if they are killed or their destruction is                       to the applicable Limits of Insurance.
                  made necessary. This limitation does not                    6.    Coverage Extensions
                  apply to animals, birds or fish owned by
                  you and held as "stock."                                          Coverage forms may be attached to this Policy
                                                                                    and designated as Coverage Extensions (such
              (2) Fragile   articles such as glassware,                             designation would appear in the attached form(s)).
                  statuary,     marbles,   chinaware      and                       Unless otherwise stated, payments made under
                  porcelains, if broken. This limitation does                       these Coverage Extensions are subject to and not
                  not apply to:                                                     in addition to the applicable Limits of Insurance in
                  (a) Glass that is part of the exterior or                         this Coverage Form.
                      interior of a building or structure;               B. EXCLUSIONS
                  (b) Containers or property held for sale;                   1.    We will not pay for loss or damage caused directly
                      or                                                            or indirectly by any of the following. Such loss or

SB-146801-I                 Includes copyrighted material of Insurance Services Office, Inc., with its permission           Page 3 of22
(Ed. 04-14)
                             Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 48 of 221
                                                                                                                                              SB-146801-I
                                                                                                                                               (Ed. 04-14)


                        damage is excluded regardless of any other cause                                        Volcanic action means direct loss or
                        or event that contributes concurrently or in any                                        damage resulting from the eruption of a
                        sequence to the loss.                                                                   volcano when the loss or damage is
                                                                                                                caused by:
                        a.     Ordinance or Law
                                                                                                                (a) Airborne volcanic blast or airborne
                               (1) The enforcement of any ordinance or law:
                                                                                                                      shock waves;
                                   (a) Regulating the construction, use or
                                                                                                                (b) Ash, dust or particulate matter; or
                                       repair of any property; or
                                                                                                                (c) Lava flow.
                                   (b) Requiring the tearing down of any
                                       property, including         the    cost     of                           All volcanic eruptions that occur within
                                       removing its debris.                                                     any 168 hour period will constitute a
                                                                                                                single occurrence.
                               (2) This exclusion applies whether the loss
                                   results from:                                                                Volcanic action does not include the cost
                                                                                                                to remove ash, dust or particulate matter
                                   (a) An ordinance or law that is enforced
                                                                                                                that does not cause direct physical loss of
                                       even if the property has not been                                        or damage to Covered Property.
                                       damaged; or
                                                                                                      c.   Governmental Action
                                   (b) The    increased costs incurred to
                                       comply with an ordinance or law in                                  Seizure or destruction of property by order of
                                       the course of construction, repair,                                 governmental authority.
                                       renovation, remodeling or demolition
                                       of property, or removal of its debris,                              But we will pay for loss or damage caused by
                                       following a physical loss to that                                   or resulting from acts of destruction ordered
                                       property.                                                           by governmental authority and taken at the
                                                                                                           time of a fire to prevent its spread, if the fire
                        b.     Earth Movement                                                              would be covered under this policy.
                               (1) Earthquake, including any earth sinking,                           d.   Nuclear Hazard
                                   rising or shifting related to such event;
                                                                                                           Nuclear reaction or radiation, or radioactive
                               (2) Landslide, including any earth sinking,                                 contamination, however caused.
                                   rising or shifting related to such event;
                                                                                                           But if nuclear reaction or radiation, or
                               (3) Mine subsidence, meaning subsidence of                                  radioactive contamination, results in fire, we
                                   a man-made mine, whether or not mining                                  will pay for the loss or damage caused by that
                                   activity has ceased;                                                    fire.
                               (4) Earth   sinking (other than sinkhole                               e.   Power Failure or Fluctuation
                                   collapse), rising or shifting including soil
                                   conditions which cause settling, cracking                               The failure or fluctuation of power or other
                                   or other disarrangement of foundations or                               utility service supplied to the described
                                   other parts of realty. Soil conditions                                  premises, however caused, if the cause of the
                                   include contraction, expansion, freezing,                               failure or fluctuation occurs away from the
                                   thawing, erosion, improperly compacted                                  described premises.
                                   soil and the action of water under the                                  But if the failure or fluctuation of power or
                                   ground surface.                                                         other utility service results in a Covered
                                   But if Earth Movement, as described in                                  Cause of Loss, we will pay for the loss or
iiiiiiii
                                   Paragraphs (1) through (4) above, results                               damage caused by that covered cause of
                                                                                                           Loss.
--
!!!!!!!!!!!!!!
                                   in fire or explosion, we will pay for the
                                   loss or damage caused by that fire or
                                   explosion.
                                                                                                      f.   War And Military Action
                                                                                                           (1) War, including undeclared or civil war;
                               (5) Volcanic eruption, explosion or effusion.
                                   But if volcanic eruption, explosion or                                  (2) Warlike action by a military force,
                                   effusion results in fire, building glass                                    including action in hindering or defending
                                   breakage or volcanic action, we will pay                                    against an actual or expected attack, by
                                   for the loss or damage caused by that                                       any government, sovereign or other
                                   fire, or volcanic action.                                                   authority using military personnel or other
                                                                                                               agents; or
=

                 SB-146801-I                  Includes copyrighted material of Insurance Services Office, Inc., with its permission           Page 4 of22
                 (Ed. 04-14)
            Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 49 of 221
                                                                                                                                SB-146801-I
                                                                                                                                 (Ed. 04-14)


              (3) Insurrection, rebellion, revolution, usurped                                        renovation if the collapse occurs
                  power, or action taken by governmental                                              during the course of construction,
                  authority in hindering or defending against                                         remodeling or renovation; or
                  any of these.
                                                                                                (f) Use of defective material or methods
       g. Water                                                                                     in construction,       remodeling    or
                                                                                                    renovation if the collapse occurs after
              (1) "Flood," surface water, waves, tides, tidal
                                                                                                    construction,       remodeling       or
                  waves, overflow of any body of water, or                                          renovation is complete and is caused
                  their spray, all whether driven by wind or
                                                                                                    in part by a cause of loss listed in
                  not;                                                                              Paragraphs (a) through (d) above.
              (2) Mudslide or mudflow;
                                                                                                In the event collapse results in a Covered
              (3) Water or sewage that backs up or                                              Cause of Loss, we will only pay for the
                  overflows from a sewer, drain or sump; or                                     resulting loss or damage by that Covered
                                                                                                Cause of Loss.
              (4) Water under the ground surface pressing
                  on, or flowing or seeping through:                                       (2) We will not pay for loss of or damage to
                                                                                                the following types of property, if
                  (a) Foundations, walls, floors or paved                                       otherwise covered in this Coverage Form
                        surfaces;                                                               under Paragraphs (1 )(b) through (1 )(f)
                  (b) Basements, whether paved or not; or                                       above, unless the loss or damage is a
                                                                                                direct result of the collapse of a building:
                  (c) Doors, windows or other openings.
                                                                                                (a) Awnings, gutters and downspouts;
                  But if Water, as described in Paragraphs
                  (1) through (4), results in fire, explosion or                                (b) Outdoor radio or television antennas
                  sprinkler leakage, we will pay for the loss                                         (including microwave or satellite
                  or damage caused by that fire, explosion                                            dishes) and their lead-in wiring,
                  or sprinkler leakage.                                                               masts or towers;

       h.     Neglect                                                                           (c) Fences;

              Neglect of an insured to use reasonable                                           (d) Piers, wharves and docks;
              means to save and preserve property from                                          (e) Beach      or diving      platforms   or
              further damage at and after the time of loss.                                           appurtenances;
       i.     Collapse of Buildings                                                             (f) Retaining walls;
              Collapse of buildings meaning an abrupt                                           (g) Walks, roadway and other paved
              falling down or caving in of a building or any                                          surfaces;
              part of a building with the result being that the
              building or part of a building cannot be                                          (h) Yard fixtures; or
              occupied for its intended purpose.                                                (i) Outdoor swimming pools.
              (1) This exclusion does not apply to collapse
                                                                                           (3) A building or part of a building that:
                  of buildings if caused only by one or more
                  of the following:                                                             (a) Is in imminent danger of abruptly
                                                                                                      falling down or caving in; or
                  (a) A    "specified cause of loss"               or
                        breakage of building glass;                                             (b) Suffers a substantial impairment of
                                                                                                    structural integrity;
                  (b) Decay, insect or vermin damage that
                        is hidden from view, unless the                                         is not considered to have collapsed but is
                        presence of such decay or insect or                                     considered to be in a state of imminent
                        vermin damage is known to an                                            collapse.
                        insured prior to collapse;
                                                                                           (4) With respect to buildings in a state of
                  (c) Weight of         people      or     personal                            imminent collapse, we will not pay for loss
                      property;                                                                or damage unless the state of imminent
                                                                                               collapse first manifests itself during the
                  (d) Weight of rain that collects on a roof;
                                                                                               policy period and is cause only by one or
                        or
                                                                                               more of the following which occurs during
                  (e) Use of defective material or methods                                     the policy period:
                        in   construction,       remodeling        or

SB-146801-I                   Includes copyrighted material of Insurance Services Office, Inc., with its permission             Page 5 of22
(Ed. 04-14)
                              Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 50 of 221
                                                                                                                                              SB-146801-I
                                                                                                                                               (Ed. 04-14)


                                   (a) A "specified cause           of    loss"    or                      (7) The following causes of loss to personal
                                       breakage of glass                                                        property:
                                   (b) Weight       of    people    or     personal                             (a) Dampness or dryness of atmosphere;
                                        property;
                                                                                                                (b) Changes       in  or     extremes   of
                                   (c) Weight of rain that collects on a roof;                                        temperature; or
                                       or
                                                                                                                (c) Marring or scratching.
                                   (d) Use of defective material or methods
                                                                                                                (d) Changes in flavor, color, texture or
                                        in construction,     remodeling   or
                                        renovation if the state of imminent                                           finish;
                                        collapse occurs during the course of                                    (e) Evaporation or leakage; or
                                        construction,     remodeling      or
                                        renovation.                                                        (8) Contamination by other than "pollutants."

                         j.    Malicious Code                                                                   But if an excluded cause of loss that is
                                                                                                                listed in Paragraphs (1) through (8) above
                               Any "malicious code."                                                            results in a "specified cause of loss,"
                         k.    System Penetration                                                               building glass breakage, or "breakdown"
                                                                                                                to "covered equipment" (only if otherwise
                               Any "system penetration."                                                        a Covered Cause of Loss), we will pay for
                                                                                                                the loss or damage caused by that
                         I.    Denial of Service
                                                                                                                "specified cause of loss," building glass
                               Any "denial of service."                                                         breakage or "breakdown" to "covered
                                                                                                                equipment" (only if otherwise a Covered
                    2.   We will not pay for loss or damage caused by or                                        Cause of Loss).
                         resulting from any of the following:
                                                                                                      e.   Steam Apparatus
                         a.    Electrical Apparatus
                                                                                                           Explosion of steam boilers, steam pipes,
                               Artificially generated      electrical current,                             steam engines or steam turbines owned or
                               including electric arcing, that disturbs                                    leased by you, or operated under your control.
                               electrical devices, appliances or wires.                                    But if explosion of steam boilers, steam pipes,
                               But if artificially generated electrical current                            steam engines or steam turbines results in fire
                               results in fire, we will pay for the loss or                                or combustion explosion, we will pay for the
                               damage caused by fire.                                                      loss or damage caused by that fire or
                                                                                                           combustion explosion. We will also pay for
                         b.    Consequential Loss                                                          loss or damage caused by or resulting from
                               Delay, loss of use or loss of market.                                       the explosion of gases or fuel within the
                                                                                                           furnace of any fired vessel or within the flues
                         c.    Smoke, Vapor, Gas                                                           or passages through which the gases of
                                                                                                           combustion pass.
                               Smoke, vapor or gas from agricultural
                               smudging or industrial operations.                                     f.   Seepage
                         d.    Other Types Of Loss                                                         Continuous or repeated seepage or leakage
                                                                                                           of water, or the presence of condensation of
                               (1) Wear and tear;
                                                                                                           humidity, moisture or vapor, that occurs over
                               (2) Rust,     corrosion,    fungus,   decay,                                a period of 14 days or more.
                                   deterioration, hidden or latent defect or
iiiiiiii                                                                                              g.   Frozen Plumbing
iiiiiiii                           any quality in property that causes it to
--
!!!!!!!!!!!!!!
                                   damage or destroy itself;
                               (3) Smog;
                                                                                                           Water, other liquids, powder or molten
                                                                                                           material that leaks or flows from plumbing,
                                                                                                           heating, air conditioning or other equipment
                               (4) Settling, cracking, shrinking or expansion;                             (except fire protective systems) caused by or
                                                                                                           resulting from freezing, unless:
                               (5) Nesting or infestation, or discharge or
                                   release of waste products or secretions,                                (1) You do your best to maintain heat in the
                                   by insects, birds, rodents or other                                          building or structure; or
                                   animals;
                                                                                                           (2) You drain the equipment and shut off the
                               (6) Mechanical breakdown, including rupture                                      supply if the heat is not maintained.
=                                  or bursting caused by centrifugal force.

                 SB-146801-I                  Includes copyrighted material of Insurance Services Office, Inc., with its permission           Page 6 of22
                 (Ed. 04-14)
            Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 51 of 221
                                                                                                                             SB-146801-I
                                                                                                                              (Ed. 04-14)


       h.     Dishonesty                                                             m. Inventory Computation
              Dishonest or criminal acts by you, or any of                                Loss of property or that part of any loss, the
              your      partners,    "members,"     officers,                             proof of which as to its existence or amount is
              "managers," "employees" (including leased                                   dependent on:
              employees), directors, trustees, authorized
                                                                                          (1) Any inventory computation; or
              representatives or anyone to whom you
              entrust the property for any purpose:                                       (2) A profit and loss computation.
              (1) Acting alone or in collusion with others;                          n.   Transfer of Property
              (2) Whether or not occurring during the hours                               The transfer of property to a person or to a
                  of employment.                                                          place outside the described premises, on the
              This exclusion does not apply to acts of                                    basis of unauthorized instructions.
              destruction to your property, or your                                  o.   Accounting Errors
              "Electronic data processing equipment,"
              "Electronic media and data," and "Electronic                                Loss of "money" or "securities" caused by or
              data," by your "employees" (including leased                                resulting from accounting or arithmetic errors
              employees); but theft by employees (including                               or omissions.
              leased employees) is not covered, except as                            p.   Cost of Correction
              provided in the Employee Dishonesty
              Additional Coverage.                                                        The cost of correcting or making good the
                                                                                          damage to personal property attributable to
       i.     False Pretense                                                              such      property     being      processed,
              Voluntary parting with any property by you or                               manufactured, tested, repaired, restored,
              anyone else to whom you have entrusted the                                  retouched or otherwise being worked on.
              property if induced to do so by any fraudulent                   3.    We will not pay for loss or damage caused by or
              scheme, trick, device or false pretense.                               resulting from any of the following Paragraphs a.
       j.     Exposed property                                                       through c. But if an excluded cause of loss that is
                                                                                     listed in Paragraphs a. through c. results in a
              Rain, snow, sand, dust, ice or sleet to                                Covered Cause of Loss, we will pay for the loss or
              personal property in the open, except as                               damage caused by that Covered Cause of Loss.
              provided in the Coverage Extension for
              Outdoor Property.                                                      a.   Weather Conditions

       k.     Pollution                                                                   Weather conditions. But this exclusion only
                                                                                          applies if weather conditions contribute in any
              Discharge, dispersal, seepage, migration,                                   way with a cause or event excluded in
              release or escape of "pollutants" unless the                                Paragraph 8.1. above to produce the loss or
              discharge, dispersal, seepage, migration,                                   damage.
              release or escape is itself caused by any of
              the "specified causes of loss." But if the                             b.   Acts or Decisions
              discharge, dispersal, seepage, migration,                                   Acts or decisions, including the failure to act
              release or escape of "pollutants" results in a                              or decide, of any person, group, organization
              "specified cause of loss," we will pay for the                              or governmental body.
              loss or damage caused by that "specified
              cause of loss"                                                         c.   Negligent Work
       I.     Inventory     Shortage,                mysterious                           Faulty, inadequate or defective:
              disappearance                                                               (1) Planning,       zoning,        development,
              Property that is missing, where the only                                        surveying, siting;
              evidence of the loss or damage is a shortage                                (2) Design, specifications, workmanship,
              disclosed on taking inventory, or other                                         repair,     construction,     renovation,
              instances where there is no physical evidence                                   remodeling, grading, compaction;
              to show what happened to the property. This
              exclusion does not apply to "money" and                                     (3) Materials used in repair, construction,
              "securities"                                                                    renovation or remodeling; or
                                                                                          (4) Maintenance;
                                                                                          of part or all of any property on or off the
                                                                                          described premises.

SB-146801-I                  Includes copyrighted material of Insurance Services Office, Inc., with its permission           Page 7 of22
(Ed. 04-14)
                           Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 52 of 221
                                                                                                                                                SB-146801-I
                                                                                                                                                 (Ed. 04-14)


                                If an excluded cause of loss that is listed in                              (1) The Limit of Insurance that applied on the
                                Paragraphs (1) through (4) above results in a                                    most recent of the policy inception date,
                                Covered Cause of Loss, we will pay for the                                       the policy anniversary date, or any other
                                resulting loss or damage caused by that                                          policy change amending the Limit of
                                Covered Cause of Loss. But we will not pay                                       Insurance, multiplied by
                                for:
                                                                                                            (2) The percentage of annual increase shown
                                (1) Any cost of correcting or making good the                                   in the Declarations, expressed as a
                                    fault, inadequacy or defect itself, including                               decimal (example: 5% is .05), multiplied
                                    any cost incurred to tear down, tear out,                                   by
                                    repair or replace any part of any property
                                                                                                            (3) The number of days since the beginning
                                    to correct the fault, inadequacy or defect;
                                    or                                                                          of the current policy year or the effective
                                                                                                                date of the most recent policy change
                                (2) Any resulting loss or damage by a                                           amending the Limit of Insurance, divided
                                    Covered Cause of Loss to the property                                       by 365.
                                    that has the fault, inadequacy or defect
                                    until the fault, inadequacy or defect is                                     Example:
                                    corrected.                                                                   If:
                     4.   Business   Income           and      Extra       Expense                               The applicable Building
                          Exclusions                                                                             limit is                         $100,000
                          a. We will not pay for:                                                                The annual percentage
                                                                                                                 increase is                            5%
                                (1) Any Extra Expense, or increase of
                                    Business Income loss, caused by or                                           The number of days since
                                    resulting from:                                                              the beginning of the policy
                                                                                                                 year (or last policy change)
                                    (a) Delay in rebuilding, repairing or                                         ~                                     1~
                                        replacing the property or resuming
                                        "operations," due to interference at                                     The amount of increase is
                                        the location of the rebuilding, repair                                   $100,000 X .05 X (146/365) =        $2,000
                                        or replacement by strikers or other
                                        persons; or                                         D. DEDUCTIBLES

                                    (b) Suspension, lapse or cancellation of                     1.    We will not pay for loss or damage in any one
                                        any license, lease or contract. But if                         occurrence until the amount of loss or damage
                                        the suspension, lapse or cancellation                          exceeds the Businessowners Property Coverage
                                        is directly caused by the suspension                           Deductible amount shown in the Declarations. We
                                        of "operations," we will cover such                            will then pay the amount of loss or damage in
                                        loss that affects your Business                                excess of the Deductible up to the applicable Limit
                                        Income during the "period of                                   of Insurance.
                                        restoration."                                            2.    Regardless of the amount of the Businessowners
                          b. Any other consequential loss.                                             Property Coverage Deductible, the most we will
                                                                                                       deduct from any loss or damage under the
                  C. Limits of Insurance                                                               Building Glass Coverage Extension in any one
                     1.   Unless otherwise stated, the most we will pay for                            occurrence is the Building Glass Deductible
                          loss or damage in any one occurrence is the                                  shown in the Declarations.
iiiiiiii                  applicable Limit of Insurance shown in the                             3.    The     Businessowners        Property    Coverage

-=
iiiiiiiiiiiiiii           Declarations, Schedules, Coverage Forms, or
                          endorsements.
                                                                                                       Deductible does not apply to any of the following if
                                                                                                       they are included as part of this policy:
-
i iiiiiii


                     2.   Inflation Guard                                                              a. Fire Department Service Charge
                          a. When a percentage for Inflation Guard is                                  b. Business Income and Extra Expense
                                shown in the Declarations, the Limit of
                                Insurance for property to which this coverage                          c.   Arson and Theft Reward; and
                                applies will automatically increase by that                            d. Accounts Receivable;
                                annual percentage.
                                                                                                       e. Any other property coverage with a specific
                          b. The amount of increase will be:                                                deductible amount shown in the coverage
=                                                                                                           form or declaration.

                  SB-146801-I                  Includes copyrighted material of Insurance Services Office, Inc., with its permission            Page 8 of22
                  (Ed. 04-14)
         Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 53 of 221
                                                                                                                                  SB-146801-I
                                                                                                                                   (Ed. 04-14)


   4.   If more than one deductible applies to loss or                                    (5) At our request, give us complete
        damage in any one occurrence, we will apply each                                      inventories of the damaged and
        deductible separately. But the total of all                                           undamaged property. Include quantities,
        deductible amounts applied in any one occurrence                                      costs, values and amount of loss claimed.
        will not exceed the largest applicable deductible.
                                                                                          (6) As often as may be reasonably required,
E. PROPERTY LOSS CONDITIONS                                                                   permit us to inspect the property proving
                                                                                              the loss or damage and examine your
   1.   Abandonment
                                                                                              books and records.
        There can be no abandonment of any property to                                         Also permit us to take samples of
        us.                                                                                    damaged and undamaged property for
   2.   Appraisal                                                                              inspection, testing an analysis, and permit
                                                                                               us to make copies from your books and
        If we and you disagree on the amount of loss,                                          records.
        either may make written demand for an appraisal
        of the loss. In this event, each party will select a                              (7) Send us a signed, sworn proof of loss
        competent and impartial appraiser. The two                                            containing the information we request to
        appraisers will select an umpire. If they cannot                                      investigate the claim. You must do this
        agree, either may request that selection be made                                      within 60 days after our request. We will
        by a judge of a court having jurisdiction. The                                        supply you with the necessary forms.
        appraisers will state separately the amount of                                    (8) Cooperate with us in the investigation or
        loss. If they fail to agree, they will submit their                                   settlement of the claim.
        differences to the umpire. A decision agreed to by
        any two will be binding. Each party will:                                         (9) Resume all or part of your "operations" as
                                                                                              quickly as possible.
        a. Pay its chosen appraiser; and
                                                                                     b. We may examine any insured under oath,
        b. Bear the other expenses of the appraisal and                                   while not in the presence of any other insured
              umpire equally.                                                             and at such times as may be reasonably
        If there is an appraisal, we will still retain our right                          required, about any matter relating to this
        to deny the claim.                                                                insurance or the claim, including an insured's
                                                                                          books and records. In the event of an
   3.   Duties In The Event Of Loss Or Damage                                             examination, an insured's answers must be
        a. You must see that the following are done in                                    signed.
              the event of loss or damage to Covered                           4.    Loss Payment            -       Building   and   Personal
              Property:                                                              Property
              (1) Notify the police if a law may have been                           a. In the event of loss or damage covered by this
                  broken.                                                                 Coverage Form, at our option, we will either:
              (2) Give us prompt notice of the loss or                                    (1) Pay the value of lost or damaged
                  damage. Include a description of the                                        property;
                  property involved.
                                                                                          (2) Pay the cost of repairing or replacing the
              (3) As soon as possible, give us a description                                  lost or damaged property, subject to b.
                  of how, when and where the loss or                                          below;
                  damage occurred.
                                                                                          (3) Take all or any part of the property at an
              (4) Take all reasonable steps to protect the                                     agreed or appraised value; or
                  Covered Property from further damage,
                  and keep a record of your expenses                                      (4) Repair, rebuild or replace the property
                  necessary to protect the Covered                                            with other property of like kind and
                  Property, for consideration in the                                          quality, subject to b. below.
                  settlement of the claim. This will not                                  We will determine the value of lost or
                  increase the Limits of Insurance.                                       damaged property, or the cost of its repair or
                  However, we will not pay for any loss or                                replacement, in accordance with the
                  damage from a cause of loss that is not a                               applicable terms of 4.e. below or any
                  Covered Cause of Loss. Also, if feasible,                               applicable provision which amends or
                  set the damaged property aside and in                                   supersedes the value of Covered Property.
                  the best possible order for examination.
                                                                                     b. The cost to repair, rebuild or replace does not
                                                                                          include the increased cost attributable to

SB-146801-I                  Includes copyrighted material of Insurance Services Office, Inc., with its permission                Page 9 of22
(Ed. 04-14)
                        Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 54 of 221
                                                                                                                                            SB-146801-I
                                                                                                                                             (Ed. 04-14)


                          enforcement of any ordinance or law                                                         (i) The Limit of Insurance
                          regulating the construction, use or repair of                                                   applicable to the lost or
                          any property, except as provided in the                                                         damaged property;
                          Ordinance or Law Additional Coverage.
                                                                                                                      (ii) The cost to replace the lost
                   c.     We will give notice of our intentions within 30                                                  or damaged property with
                          days after we receive the proof of loss.                                                         other property:
                   d. We will not pay you more than your financial                                                          a)   Of comparable material
                      interest in the Covered Property.                                                                          and quality; and
                   e.     We will determine the value of Covered                                                            b)   Used for the       same
                          Property as follows:                                                                                   purpose; or
                          (1) At replacement cost (without deduction                                                  (iii) The amount actually spent
                              for depreciation), except as provided in                                                      that is necessary to repair or
                              (2) through (18) below.                                                                       replace the lost or damaged
                                                                                                                            property.
                              (a) You may make a claim for loss or
                                  damage covered by this insurance on                                                 If a building is rebuilt at a new
                                  an actual cash value basis instead of                                               premises, the cost described in
                                  on a replacement cost basis. In the                                                 (c)(ii) above is limited to the cost
                                  event you elect to have loss or                                                     which would have been incurred
                                  damage settled on an actual cash                                                    if the building had been rebuilt at
                                  value basis, you may still make a                                                   the original premises.
                                  claim on a replacement cost basis if
                                                                                                                 (d) The cost of repair or replacement
                                  you notify us of your intent to do so
                                  within 180 days after the loss or                                                   does not include the increased
                                  damage.                                                                             cost attributable to enforcement
                                                                                                                      of any ordinance or law
                              (b) We will not pay on a replacement                                                    regulating the construction, use
                                  cost basis for any loss or damage:                                                  or repair of any property.
                                  (i) Until the lost or damaged                                       (2) If the Declarations indicate that Actual
                                      property is actually repaired or                                     Cash Value applies to Buildings or
                                      replaced; and                                                        Business Personal Property, paragraph
                                                                                                           (1) above does not apply to the property
                                  (ii) Unless     the    repairs     or
                                                                                                           for which Actual Cash Value is indicated.
                                       replacement are made as soon
                                       as reasonably possible after the                               (3) Property of others at the amount you are
                                       loss or damage.                                                    liable plus the cost of labor, materials, or
                                                                                                          services furnished or arranged by you on
                                  With      respect       to tenants'                                     personal property of others, not to exceed
                                  improvements and betterment's, the                                      the replacement cost.
                                  following also applies:
                                                                                                      (4) The following property at actual cash
                                  a)   If the conditions in (b)(i) and
                                                                                                           value:
                                       (b)(ii) above are not met, the
                                       value of tenants' improvements                                      (a) Used or second-hand merchandise
                                       and      betterments   will  be                                           held in storage or for sale;
                                       determined as a proportion of
                                                                                                           (b) Household furnishings;
                                       your original cost, as set forth

-=
iiiiiiii
                                       under 4e.(7) below; and                                             (c) Personal effects.

-=
i iiiiiii
                                  b)   We will not       pay for loss or                              (5) "Fine Arts" as follows:
                                       damage             to       tenants'
                                       improvements      and betterments if                                (a) If there is a schedule of "fine arts" on
                                       others pay         for repairs or                                         file which includes a description and
                                       replacement.                                                              value of the lost or damaged item, we
                                                                                                                 will pay the value as stated in the
                                  c)   We will not pay more for loss or                                          schedule for that item if there is a
                                       damage on a replacement cost                                              total loss to that item. If there is a
                                       basis than the least of (i), (ii), or                                     partial loss to an item, we will pay the
=                                      (iii) subject to (d) below:                                               cost of reasonably restoring or
                                                                                                                 repairing that item.

            SB-146801-I                  Includes copyrighted material of Insurance Services Office, Inc., with its permission            Page 10 of 22
            (Ed. 04-14)
         Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 55 of 221
                                                                                                                              SB-146801-I
                                                                                                                               (Ed. 04-14)


                  (b) For "fine arts" without a schedule on                                    charges and other charges which may
                      file as described in paragraph (a)                                       have accrued or become legally due from
                      above, the value of "fine arts" will be                                  you since the shipment. If you have no
                      the least of the following amounts:                                      invoice, the actual cash value will apply.
                      (i)   Market value of the lost or                                   (11)"Money" at its face value.
                            damaged item at the time and
                                                                                          (12)"Securities" at their value at the close of
                            place of loss;
                                                                                              business on the day the loss is
                      (ii) The cost of reasonably restoring                                   discovered.
                            the lost or damaged item; or
                                                                                          (13)Accounts Receivable as follows:
                      (iii) The cost of replacing that lost or
                                                                                               (a) If you cannot accurately establish the
                            damaged item with             property
                            substantially the same.                                                  amount of Accounts Receivable
                                                                                                     outstanding as of the time of loss, we
              (6) Glass at the cost of replacement with                                              will:
                  safety glazing material if required by law.
                                                                                                     (i)   Determine the total of the
              (7) Tenants' Improvements and Betterments                                                    average monthly amounts of
                  at:                                                                                      Accounts Receivable for the 12
                                                                                                           months immediately preceding
                  (a) Replacement     cost       if you      make
                                                                                                           the month in which the loss
                      repairs promptly.                                                                    occurs; and
                  (b) A proportion of your original cost if
                                                                                                     (ii) Adjust that total for any normal
                      you do not make repairs promptly.                                                    fluctuations in the amount for
                      We will determine the proportionate                                                  Accounts Receivable for the
                      value as follows:                                                                    month in which the loss occurred
                      (i) Multiply the original cost by the                                                or for any demonstrated variance
                          number of days from the loss or                                                  from the average for that month.
                          damage to the expiration date of                                     (b) If you can accurately establish the
                          the lease; and                                                             amount of Accounts Receivable
                      (ii) Divide the amount determined in                                           outstanding, that amount will be used
                            (i) above by the number of days                                          in the determination of loss.
                            from     the    installation   of                                  (c) The following will be deducted from
                            improvements to the expiration of                                      the total amount of Accounts
                            the lease.                                                             Receivable, however that amount is
                      If your lease contains a renewal                                             established:
                      option, the expiration of the renewal                                          (i) The amount of the accounts for
                      option period will replace the                                                     which there was no loss;
                      expiration of the lease in this
                      procedure.                                                                     (ii) The amount of the accounts that
                                                                                                           you are able to reestablish or
                  (c) Nothing, if others pay for repairs or
                                                                                                           collect;
                      replacement.
                                                                                                     (iii) An amount to allow for probable
              (8) "Valuable Papers and Records" at the
                                                                                                           bad debts that you are normally
                  cost of restoration or replacement. To the                                               unable to collect; and
                  extent that the contents of the "valuable
                  papers and records" are not restored or                                            (iv) All unearned interest and service
                  replaced, the "valuable papers and                                                      charges.
                  records" will be valued at the cost of
                  replacement with blank material of                                      (14)"Electronic Data Processing Equipment"
                  substantially identical type.                                               at replacement cost as of the time and
                                                                                              place of loss, without deduction for
              (9) "Stock" you have sold but not delivered at                                  physical    deterioration,  depreciation,
                  the selling price less discounts and                                        obsolescence or depletion. However, in
                  expenses you otherwise would have had.                                      the event of replacement of "electronic
                                                                                              data processing equipment" with identical
              (10)Property in transit (other than "stock" you                                 property is impossible, the replacement
                  have sold) at the amount of invoice,                                        cost will be the cost of items that are
                  including your prepaid or advanced freight

SB-146801-I                  Includes copyrighted material of Insurance Services Office, Inc., with its permission           Page 11 of 22
(Ed. 04-14)
                    Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 56 of 221
                                                                                                                                          SB-146801-I
                                                                                                                                           (Ed. 04-14)


                             similar to the damaged or destroyed                                 f.   Our payment for loss of or damage to
                             equipment and intended to perform the                                    personal property of others will only be for the
                             same function, but which may include                                     account of the owners of the property. We
                             technological advances.                                                  may adjust losses with the owners of lost or
                                                                                                      damaged property, if other than you. If we pay
                             "Electronic data processing equipment"                                   the owners, such payments will satisfy your
                             that is obsolete or no longer used by you                                claims against us for the owners' property. We
                             will be valued at actual cash value.                                     will not pay the owners more than their
                         (15) "Electronic Media and Data" at the cost of                              financial interest in the Covered Property.
                              the same or similar blank media.                                   g.   We may elect to defend you against suits
                         (16) "Electronic Data":                                                      arising from claims of owners of property. We
                                                                                                      will do so at our expense.
                             (a) For which duplicates or back-ups do
                                 not exist, will be valued at your cost                          h. We will pay for covered loss or damage within
                                 to research, replace or restore the                                30 days after we receive the sworn proof of
                                 "electronic data," but only if the                                 loss provided you have complied with all of
                                 "electronic data" is actually replaced                             the terms of this policy; and
                                 or restored.                                                         (1) We have reached agreement with you on
                             (b) For which full duplicates or back-ups                                    the amount of loss; or
                                 exist, will be valued at your cost of                                (2) An appraisal award has been made.
                                 labor to copy the "electronic data"
                                 from such duplicates or back-ups, but                           i.   At our option, we may make a partial payment
                                 only if the "electronic data" is actually                            toward any claims, subject to the policy
                                 copied.                                                              provisions and our normal adjustment
                                                                                                      process. To be considered for partial claim
                             (c) For which partial duplicates or back-
                                                                                                      payment, you must submit a partial sworn
                                 ups exist, will be valued at your cost                               proof of loss with supporting documentation.
                                 of labor to copy the partial "electronic                             Any applicable policy deductibles must be
                                 data" from such duplicates or back-                                  satisfied before any partial payments are
                                 ups, and your cost to research,                                      made.
                                 replace or restore the remaining
                                 "electronic data," but only if the                             j.    Pair, Sets or Parts
                                 "electronic data" is actually copied
                                 and replaced or restored.                                            1.   Pair or Set. In case of "loss" to any part of
                                                                                                           a pair or set we may:
                             (d) In the event that you are not able to
                                                                                                           (a) Repair or replace any part to restore
                                 copy "electronic data" from back-ups,
                                 or replace or restore, "electronic                                            the pair or set to its value before the
                                 data" will be valued at your cost of                                          "loss"; or
                                 labor up to the point in time that you                                    (b) Pay the difference between the value
                                 reach that determination.                                                     of the pair or set before and after the
                         (17)The value of United States Government                                             "loss."
                             Internal Revenue taxes and custom                                        2.   Parts. In case of "loss" to any part of
                             duties and refundable state and local                                         Covered Property consisting of several
                             taxes paid or fully determined on the                                         parts when complete, we will only pay for
                             following property held for sale will not be                                  the value of the lost or damaged part.
iiiiiiii                     considered in determining the value of
                                                                                                 k.   Commodity Stock
-=                           Covered Property:
                                                                                                      We will determine the value of merchandise
-                            (a) Distilled spirits;
                             (b) Wines;
                                                                                                      and raw materials that are bought and sold at
                                                                                                      an established market exchange. We will
                             (c) Rectified products; or
                                                                                                      determine the value at:
                                                                                                      (1) The posted market price as of the time
                             (d) Beer.
                                                                                                          and place of loss;
                         (18) Lottery tickets at their initial cost to you
                             except for winning           tickets    at    their                      (2) Less discounts and expenses              you
                             redeemed value.                                                              otherwise would have had.
=

           SB-146801-I                   Includes copyrighted material of Insurance Services Office, Inc., with its permission          Page 12 of 22
           (Ed. 04-14)
             Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 57 of 221
                                                                                                                             SB-146801-I
                                                                                                                              (Ed. 04-14)


   5.   Loss Payment - Business Income and Extra                                    c. We will reduce the amount of your:
        Expense
                                                                                         (1) Business Income loss, other than Extra
        a.    If the Declarations indicate that Business                                     Expense, to the extent you can resume
              Income and Extra Expense applies to                                            your "operations," in whole or in part, by
              Buildings or Business Personal Property, the                                   using damaged or undamaged property
              amount of Business Income loss will be                                         (including merchandise or "stock") at the
              determined based on:                                                           described premises or elsewhere; or
              (1) The Net Income of the business before                                  (2) Extra Expense loss to the extent you can
                  the direct physical loss or damage                                         return "operations" to normal and
                  occurred;                                                                  discontinue such Extra Expense.
              (2) The likely Net Income of the business if                          d.   If you do not resume "operations," or do not
                  no physical loss or damage occurred, but                               resume "operations" as quickly as possible,
                  not including any likely increase in Net                               we will pay based on the length of time it
                  Income attributable to an increase in the                              would have taken to resume "operations" as
                  volume of business as a result if                                      quickly as possible.
                  favorable business conditions caused by
                  the impact of the Covered Cause of Loss
                                                                                    e. We will pay for covered loss or damage within
                                                                                         30 days after we receive your sworn proof of
                  on customers or on other businesses;
                                                                                         loss provided you have complied with all of
              (3) The operating expenses, including payroll                              the terms of this policy; and
                  expenses,      necessary     to    resume
                                                                                         (1) We have reached agreement with you on
                  "operations" with the same quality of
                                                                                             the amount of loss; or
                  service that existed just before the direct
                  physical loss or damage; and                                           (2) An appraisal award has been made.
              (4) Other relevant sources of information,                      6.    Vacancy
                  including:
                                                                                    a.   Description of Terms
                  (a) Your financial records and accounting
                      procedures;                                                        (1) As used in this Vacancy Condition, the
                                                                                             term building and the term vacant have
                  (b) Bills, invoices and other vouchers;                                    the meanings set forth in Paragraphs (a)
                      and                                                                    and (b) below:
                  (c) Deeds, liens or contracts.                                              (a) When this policy is issued to a
        b. The amount of Extra Expense will be                                                    tenant, and with respect to that
                                                                                                  tenant's interest in Covered Property,
              determined based on:
                                                                                                  building means the unit or suite
              (1) All reasonable and necessary expenses                                           rented or leased to the tenant. Such
                  that exceed the normal operating                                                building is vacant when it does not
                  expenses that would have been incurred                                          contain enough business personal
                  by "operations" during the "period of                                           property to conduct customary
                  restoration" if no direct physical loss or                                      operations.
                  damage had occurred. We will deduct
                                                                                              (b) When this policy is issued to the
                  from the total of such expenses:
                                                                                                  owner or general lessee of a building,
                  (a) The salvage value that remains of                                           building means the entire building.
                      any property bought for temporary                                           Such building is vacant unless at
                      use during the "period of restoration,"                                     least 31% of its total square footage
                      once "operations" are resumed; and                                          is:
                  (b) Any Extra Expense that is paid for by                                         i.    Rented to a lessee or sub-lessee
                      other insurance, except for insurance                                               and used by the lessee or sub-
                      that is written subject to the same                                                 lessee to conduct its customary
                      plan,    terms,      conditions   and                                               operations; and/or
                      provisions as this insurance; and
                                                                                                    ii.   Used by the building owner to
              (2) All reasonable and necessary expenses                                                   conduct customary operations.
                  that reduce the Business Income loss that
                  otherwise would have been incurred.
                                                                                         (2) Buildings    under     construction        or
                                                                                             renovation are not considered vacant.


SB-146801-I                 Includes copyrighted material of Insurance Services Office, Inc., with its permission           Page 13 of 22
(Ed. 04-14)
                          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 58 of 221
                                                                                                                                          SB-146801-I
                                                                                                                                           (Ed. 04-14)


                     b.    Vacancy Provisions                                                     The breach of any condition of this Coverage
                                                                                                  Form at any one or more premises will not affect
                           If the building where loss or damage occurs
                                                                                                  coverage at any premises where, at the time of
                           has been vacant for more than 60 consecutive                           loss or damage, the breach of condition does not
                           days before that loss or damage occurs:                                exist.
                           (1) We will not pay for any loss or damage
                                                                                            3.    Insurance Under Two or More Coverages
                               caused by any of the following even if
                               they are Covered Causes of Loss:                                   If two or more of this policy's coverages apply to
                                                                                                  the same loss or damage, we will not pay more
                               (a) Vandalism;
                                                                                                  than the actual amount of the loss or damage.
                               (b) Sprinkler leakage, unless you have
                                                                                            4.    Legal Action Against Us
                                    protected     the      system       against
                                    freezing;                                                     No one may bring a legal action against us under
                                                                                                  this Coverage Form unless:
                               (c) Building glass breakage;
                                                                                                  a. There has been full compliance with all of the
                               (d) Water damage;
                                                                                                       terms of this Coverage Form; and
                               (e) Theft; or
                                                                                                  b. The action is brought within 2 years after the
                               (f) Attempted theft.                                                    date on which the direct physical loss or
                                                                                                       damage occurred.
                With respect to Covered Causes of Loss other than
                those listed in paragraphs (1 )(a) through (1 )(f) above,                   5.    Liberalization
                we will reduce the amount we would otherwise pay for
                                                                                                  If, during your policy period, we adopt any revision
                the loss or damage by 15%.
                                                                                                  that would broaden the coverage under this policy
                7.   Recovered Property                                                           without additional premium the broadened
                                                                                                  coverage will immediately apply to this policy.
                     If either you or we recover any property after loss                          The broadened coverage will also apply to the
                     settlement, that party must give the other prompt                            renewal of this policy if such renewal was in
                     notice. At your option, you may retain the property.                         process, or was mailed prior to the date we
                     But then you must return to us the amount we paid                            adopted such revision.
                     to you for the property. We will pay the recovery
                     expenses and the expenses to repair the                                6.    No Benefit to Bailee
                     recovered property, subject to the applicable Limit                          No person or organization, other than you, having
                     of Insurance.
                                                                                                  custody of Covered Property will benefit from this
                8.   Noncumulative Limit                                                          insurance.
                     No Limit of Insurance cumulates from policy                            7.    Other Insurance
                     period to policy period.                                                     a. You may have other insurance subject to the
           F.   COMMERCIAL PROPERTY CONDITIONS                                                         same plan, terms, conditions and provisions
                                                                                                       as the insurance under this Coverage Form. If
                1.   Concealment, Misrepresentation or Fraud                                           you do, we will pay our share of the covered
                     This policy is void in any case of fraud by you as it                             loss or damage. Our share is the proportion
                     relates to this policy at any time. It is also void if                            that the applicable Limit of Insurance under
                     you or any other insured, at any time, intentionally                              this Coverage Form bears to the Limits of
                     conceal or misrepresent a material fact                                           Insurance of all insurance covering on the
                     concerning:                                                                       same basis.

--
iiiiiiii
                     a.    This policy;                                                           b. If you have other insurance covering the same
                                                                                                       loss or damage, other than that described in

 -=                  b. The Covered Property;
                     c.    Your interest in the Covered Property; or
                                                                                                       Paragraph a. above, we will pay only for the
                                                                                                       amount of covered loss or damage in excess
                                                                                                       of the amount due from that other insurance,
                     d. A claim under this policy.                                                     whether you can collect on it or not. But we
                                                                                                       will not pay more than the applicable Limit of
                2.   Control of Property
                                                                                                       Insurance.
                     Any act or neglect of any person other than you
                                                                                            8.    Policy Period, Coverage Territory
                     beyond your direction or control will not affect this
                     insurance.                                                                   Under this Coverage Form:
=

           SB-146801-I                    Includes copyrighted material of Insurance Services Office, Inc., with its permission        Page 14 of 22
           (Ed. 04-14)
         Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 59 of 221
                                                                                                                              SB-146801-I
                                                                                                                               (Ed. 04-14)


        a. We cover loss or damage you sustain through                                    (2) Divide the Limit of Insurance of the
              acts committed or events occurring:                                             property by the figure determined in step
                                                                                              (1);
              (1) During the policy period shown in the
                  Declarations; and                                                       (3) Multiply the total amount of the covered
                                                                                              loss, before the application of any
              (2) Within the coverage territory; and
                                                                                              deductible, by the figure determined in
        b. The coverage territory is:                                                         step (2) above; and
              (1) The United States of America (including                                 (4) Subtract the deductible from the figure
                  its territories and possessions);                                           determined in step (3).
              (2) Puerto Rico; and                                                        We will pay the amount determined in step (4)
                                                                                          or the limit of insurance, whichever is less.
              (3) Canada
                                                                                          For the remainder, you will either have to rely
   9.   Transfer of Rights of Recovery Against Others                                     on other insurance or absorb the loss
        To Us                                                                             yourself.
        Applicable     to   the   Businessowners          Property                        Example No. 1 (Under Insurance):
        coverage:
                                                                                          When:
        If any person or organization to or for whom we
        make payment under this policy has rights to                                      The value of the property is          $250,000
        recover damages from another, those rights are
                                                                                          The coinsurance percent for
        transferred to us to the extent of our payment.                                                                              90%
                                                                                          it is
        That person or organization must do everything
        necessary to secure our rights and must do                                        The Limit of Insurance for
        nothing after loss to impair them. But you may                                    it is                                 $112,500
        waive your rights against another party in writing.                               The Deductible is                         $250
        a. Prior to a loss to your Covered Property or                                    The amount of loss is                  $40,000
              Covered Income; or
                                                                                          Step (1): $250,000 x 90% = $225,000 (the
        b. After a loss to your Covered Property only if,                                 minimum amount of insurance to meet your
              at the time of loss, that party is one of the                               Coinsurance requirements)
              following:
                                                                                          Step (2): $112,500/$225,000 = .50
              (1) Someone insured by this insurance;
                                                                                          Step (3): $40,000 x .50 = $20,000
              (2) A business firm:
                                                                                          Step (4): $20,000 - $250 = $19,750
                  (a) Owned or controlled by you; or
                                                                                          We will pay no more than $19,750. The
                  (b) That owns or controls you; or                                       remaining $20,250 is not covered.
              (3) Your tenant.                                                            Example No. 2 (Adequate Insurance):
              This will not restrict your insurance.                                      When:
   10. Coinsurance                                                                        The value of the property is          $250,000
        If a Coinsurance percentage is shown in the                                       The Coinsurance percentage
        Declarations, the following condition applies.                                    for it is                                  90%
        a. We will not pay the full amount of any loss if                                 The Limit of Insurance for
              the value of Covered Property at the time of
                                                                                          it is                                 $225,000
              loss multiplied by the Coinsurance percentage
              shown for it in the Declarations is greater than                            The Deductible is                         $250
              the Limit of Insurance for the property                                     The amount of loss is                  $40,000
              Instead, we will determine the most we will                                 The minimum amount of insurance to meet
              pay using the following steps:                                              your Coinsurance requirement is $225,000
              (1) Multiply the value of Covered Property at                               ($250,000 X 90%).
                  the time of loss by the Coinsurance                                     Therefore, the Limit of Insurance in this
                  Percentage;                                                             Example is adequate and no penalty applies.


SB-146801-I                  Includes copyrighted material of Insurance Services Office, Inc., with its permission        Page 15 of 22
(Ed. 04-14)
                       Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 60 of 221
                                                                                                                                        SB-146801-I
                                                                                                                                         (Ed. 04-14)


                         We will pay no more than $39,750 ($40,000                                       transferred to us and you will pay your
                         amount of loss minus the deductible of $250).                                   remaining mortgage debt to us.
                  b. Coinsurance does not apply to:                                            f.   If we cancel this policy we will give written
                                                                                                    notice to the mortgageholder at least:
                         (1) "Money" and "securities";
                                                                                                    (1) 10 days before the effective date of
                         (2) Additional Coverages;
                                                                                                        cancellation if we cancel for your non-
                         (3) Coverage Extensions; or                                                    payment of premium; or
                         (4) Loss or damage in any one occurrence                                   (2) 30 days before the effective date of
                             totaling less than $2,500.                                                  cancellation if we cancel for any other
                                                                                                         reason.
              11. Mortgageholders
                                                                                               g. If we elect not to renew this policy, we will
                  a.     The term, mortgageholder, includes trustee.                                give written notice to the mortgageholder at
                  b. We will pay for covered loss of or damage to                                   least 10 days before the expiration date of this
                         buildings    or     structures   to    each                                policy.
                         mortgageholder shown in the Declarations in                G. PROPERTY DEFINITIONS
                         their order of precedence, as interests may
                         appear.                                                         1.    "Banking Premises" means the interior of that
                                                                                               portion of any building which is occupied by a
                  c.     The mortgageholder has the right to receive                           banking institution or similar safe depository.
                         loss payment even if the mortgageholder has
                         started foreclosure or similar action on the                    2.    "Breakdown"
                         building or structure.                                                a.   Means:
                  d.     If we deny your claim because of your acts or                              (1) Failure of pressure or vacuum equipment;
                         because you have failed to comply with the
                         terms of this Coverage Form,              the                              (2) Mechanical failure, including rupture or
                         mortgageholder will still have the right to                                    bursting caused by centrifugal force; or
                         receive loss payment if the mortgageholder:
                                                                                                    (3) Electrical failure including arcing;
                         (1) Pays     any premium due under this
                             Coverage Form at our request if you have                               That causes physical damage to "covered
                             failed to do so;                                                       equipment" and necessitates its repair or
                                                                                                    replacement; and
                         (2) Submits a signed, sworn proof of loss
                             within 60 days after receiving notice from
                                                                                               b. Does not mean:
                             us of your failure to do so; and                                       (1) Malfunction, including but not limited to
                         (3) Has notified us of any change in                                           adjustment,     alignment,    calibration,
                             ownership or occupancy or substantial                                      cleaning or modification;
                             change    in    risk known  to   the                                   (2) Leakage at any valve, fitting, shaft seal,
                             mortgageholder.                                                            gland packing, joint or connection;
                         All of the terms of this Coverage Form will                                (3) Damage to any vacuum tube, gas tube, or
                         then apply directly to the mortgageholder.                                     brush;
                  e.     If we pay the mortgageholder for any loss or                               (4) Damage to any structure or foundation
                         damage and deny payment to you because of                                       supporting the "covered equipment" or
                         your acts or because you have failed to                                         any of its parts;
--
iiiiiiii
                         comply with the terms of this Coverage Form:
                                                                                                    (5) The functioning of any safety or protective

 -=                      (1) The mortgageholder's rights under the
                             mortgage will be transferred to us to the
                             extent of the amount we pay; and
                                                                                                         device; or
                                                                                                    (6) The cracking of any part on any internal
                                                                                                        combustion gas turbine exposed to the
                         (2) The mortgageholder's rights to recover                                     products of combustion.
                             the full amount of the mortgageholder's
                             claim will not be impaired.                                 3.    "Communication Supply Services"

                             At our option, we may pay to the                                  a. Means property supplying communication
                             mortgageholder the whole principal on the                              services,    including   telephone, radio,
=                            mortgage plus any accrued interest. In                                 microwave or television services to the
                             this event, your mortgage and note will be                             described premises, such as:

           SB-146801-I                 Includes copyrighted material of Insurance Services Office, Inc., with its permission          Page 16 of 22
           (Ed. 04-14)
         Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 61 of 221
                                                                                                                               SB-146801-I
                                                                                                                                (Ed. 04-14)


              (1) Communication         transmission     lines,                      b. Apparatus;
                  including fiber optic transmission lines;
                                                                                     used solely for research, diagnostic, medical,
              (2) Coaxial cables; and                                                surgical, therapeutic, dental or pathological
                                                                                     purposes.
              (3) Microwave radio relays, except satellites
                  and;                                                         6.    "Electronic Data"
        b. Does not mean overhead transmission lines.                                a. Means information reduced to an electronic
                                                                                          format for processing with and storage in
   4.   "Covered Equipment"
                                                                                          "electronic data processing equipment,"
        a. Means the following types of equipment:                                        software and programming records and
                                                                                          instructions used for "electronic data
              (1) Equipment designed and built to operate                                 processing equipment."
                  under internal pressure or vacuum other
                  than weight of contents;                                           b. Any reference to your "electronic data" means
                                                                                          "electronic data" owned or licensed by you
              (2) Electrical or mechanical equipment that is                              and stored on your "electronic data
                  used in the generation, transmission or                                 processing equipment."
                  utilization of energy;
                                                                                     c. Does not mean "valuable papers and
              (3) Refrigeration or Air Conditioning systems;                              records."
              (4) Fiber optic cable; and                                       7.    "Electronic Media and Data"
              (5) Hoists and cranes;                                                 a. Means physical media on which "electronic
        b. Does not mean any                                                              data" is stored, and the "electronic data"
                                                                                          stored thereon, including without limitation,
              (1) "Electronic data processing equipment";                                 hard or floppy disks, CD-ROMS, tapes,
              (2) "Electronic media and data" or "electronic                              drives, cells, data processing devices or any
                  data";                                                                  other repositories used with electronically
                                                                                          controlled equipment.
              (3) Part of pressure or vacuum equipment
                  that is not under internal pressure of its                         b. Any reference to your "electronic media and
                  contents or internal vacuum;                                            data" means "electronic media and data"
                                                                                          owned by you and stored on your "electronic
              (4) Insulating or refractory material;                                      data processing equipment."
              (5) Pressure vessels and piping that are                               c. "Electronic media and data" does not mean
                  buried below ground and require the                                     any "valuable papers & records."
                  excavation of materials to inspect,
                  remove, repair, or replace;                                  8.    "Electronic Data Processing Equipment"

              (6) Structure,     foundation,  cabinet   or                           a. Means any of the following equipment:
                  compartment supporting or containing the                                (1) Computers, facsimile machines, word
                  "covered equipment" or part of the                                          processors, multi-functional telephones
                  "covered equipment" including pen-stock,                                    and computer servers, and
                  draft tube or well casing;
                                                                                          (2) Any component parts and peripherals of
              (7) Vehicle, aircraft, self-propelled equipment                                 such equipment, including related surge
                  or floating vessel,       including any                                     protection devices.
                  equipment mounted on or used solely
                  with any vehicle, aircraft, self-propelled                              (3) Laptops and personal digital assistants.
                  equipment or floating vessel;                                           (4) "Diagnostic Equipment"
              (8) Elevator or escalator, but not excluding                           b. "Electronic data processing equipment" does
                  any electrical machine or apparatus                                     not mean equipment           used    to   operate
                  mounted on or used with this equipment;                                 production type of:
                  or
                                                                                          (1) Machinery; or
              (9) Equipment or any part of such equipment
                  manufactured by you for sale.                                           (2) Equipment.
   5.   "Diagnostic Equipment" means any:                                            c. Any reference to your "electronic data
                                                                                          processing equipment" means "electronic
        a. Equipment; or                                                                  data processing equipment" used in your

SB-146801-I                  Includes copyrighted material of Insurance Services Office, Inc., with its permission            Page 17 of 22
(Ed. 04-14)
                    Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 62 of 221
                                                                                                                                       SB-146801-I
                                                                                                                                        (Ed. 04-14)


                         "operations" and controlled and operated by                            b. Does not mean any glass that is a part of a
                         you, and includes any "electronic data                                      building or structure.
                         processing equipment" controlled or operated
                                                                                          12. "Flood" means a general and temporary condition
                         by a third party on your behalf.
                                                                                              of partial or complete inundation of normally dry
              9.   "Employee(s)" means:                                                       land areas, whether caused by natural
                                                                                              occurrences, acts or omissions of man or any
                   a. Any natural person:                                                     other cause or combination of causes.
                         (1) While in your service (and for 30 days
                                                                                                All flooding in a continuous or protracted event will
                             after termination of service); and
                                                                                                constitute a single "flood."
                         (2) Whom you compensate directly by salary,
                                                                                          13. "Forgery" means the signing of the name of
                             wages or commissions; and                                        another person or organization with intent to
                         (3) Whom you have the right to direct and                            deceive. "Forgery" does not mean a signature
                             control while performing services for you.                       which consists in whole or in part of one's own
                                                                                              name signed with or without authority, in any
                   b. Any      natural person employed by an                                  capacity for any purpose.
                         employment contractor while that person is
                         subject to your direction and control and                        14. "Interior of any building or structure" as used in
                         performing services for you excluding,                               this policy means all portions of the structure that
                         however, any such person while having care                           are within the exterior skin of the structure's walls
                         and custody of property outside the premises.                        and roof, including, but not limited to lathe, sand
                                                                                              paper, framing, wallboard and tarpaper.
                   c. Your directors or trustees while acting as a
                         member of any of your elected or appointed                       15. "Maintenance Fees" means the regular payment
                         committees to perform on your behalf specific,                       made to you by unit-owners and used to service
                         as distinguished from general, directorial acts.                     the common property.
                   But "employee" does not mean any agent, broker,                        16. "Manager" means a person serving in a
                   factor,  commission     merchant,    consignee,                            directorial capacity for a limited liability company.
                   independent contractor or representative of the                        17. "Member" means an owner of a limited liability
                   same general character.                                                    company represented by its membership interest,
              10. "Employee Dishonesty" means only dishonest                                  who also may serve as a "manager."
                  acts, committed by an "employee," whether                               18. "Money" means currency and coins in current
                  identified or not, acting alone or in collusion with
                                                                                              use, bank notes, travelers checks, register checks
                  other persons, except you, a partner, a "member"
                                                                                              and money orders held for sale to the public.
                  or a "manager," including the "theft" of Personal
                  Property of Others in your care custody or control                      19. "Operations" means the type of your business
                  by an "employee," with the manifest intent to:                              activities occurring at the described premises and
                                                                                              tenantability of the described premises.
                   a. Cause you, your customers or clients to
                         sustain loss; and also                                           20. "Period of restoration" means the period of time
                                                                                              that:
                   b. Obtain financial benefit (other than salaries,
                         commissions, fees, bonuses, promotions,                                a. Begins with the date of direct physical loss or
                         awards, profit sharing, pensions or other                                   damage caused by or resulting from any
                         employee benefits earned in the normal                                      Covered Cause of Loss at the described
                         course of employment) for:                                                  premises; and
iiiiiiii                 (1) The "employee"; or                                                 b. Ends on the earlier of:

-=                       (2) Any person or organization intended by                                  (1) The date when the property at the

-             11. "Fine Arts"
                             the "employee" to receive that benefit.                                     described premises should be repaired,
                                                                                                         rebuilt or replaced with reasonable speed
                                                                                                         and similar quality; or
                   a. Means          paintings,      etchings,    pictures,
                                                                                                     (2) The date when business is resumed at a
                         tapestries, art glass windows, valuable rugs,                                   new permanent location.
                         statuary, marbles, bronzes, antique furniture,
                         rare books, antique silver, porcelains, rare                                "Period of restoration" does not include any
                         glass, bric-a-brac, and similar property with                               increased period required due to the
                         historical value, or artistic merit; and                                    enforcement of any law that:
=

           SB-146801-I                  Includes copyrighted material of Insurance Services Office, Inc., with its permission         Page 18 of 22
           (Ed. 04-14)
         Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 63 of 221
                                                                                                                                 SB-146801-I
                                                                                                                                  (Ed. 04-14)


                  (a) Regulates the construction, use or                                b. Includes "covered equipment" that is used
                        repair, or requires the tearing down of                              solely with or forms an integral part of the:
                        any property; or
                                                                                             (1) Production;
                  (b) Regulates the prevention,    control,
                        repair, clean-up or restoration of
                                                                                             (2) Process; or
                        environmental damage.                                                (3) Apparatus.
              The expiration date of this policy will not cut                     25. "Rental Value" means Business Income that
              short the "period of restoration."                                        consist of:
   21. "Pollutants" means any solid, liquid, gaseous or                                 a. Net income (Net Profit or Loss before income
       thermal irritant or contaminant, including smoke,                                     taxes) that would have been earned or
       vapor, soot, fumes, acids, alkalis, chemicals,                                        incurred as rental income from tenant
       waste, and any unhealthful or hazardous building                                      occupancy of the premises described in the
       materials (including but not limited to asbestos                                      Declarations as furnished and equipped by
       and lead products or materials containing lead).                                      you, including the fair rental value of any
       Waste includes materials to be recycled,                                              portion of the described premises which is
       reconditioned or reclaimed.                                                           occupied by you; and
   22. "Power Generating Equipment"                                                     b. Continuing     normal operating expenses
       a. Means the following types of equipment or                                          incurred in connection with that premises,
              apparatus:                                                                     including:
                                                                                             (1) Payroll; and
              (1) Pressure;
                                                                                             (2) The amount of charges which are the
              (2) Mechanical; or
                                                                                                 legal obligation of the tenant(s) but would
              (3) Electrical;                                                                    otherwise be your obligations.
              Used in or associated with the generation of                        26. "Securities" means negotiable and nonnegotiable
              electrical power; and                                                     instruments or contracts representing           either
                                                                                        "money" or other property and includes:
       b. Does not mean such equipment that is used
              solely to generate emergency power that is                                a. Tokens, tickets except lottery tickets, revenue
              less than or equal to 1OOOKW                                                   and other non-postage stamps whether or not
                                                                                             in current use; and
   23. "Power Supply Services"
                                                                                        b. Evidences of debt issued in connection with
       a. Means the following types of property                                              credit or charge cards, which are not of your
              supplying electricity, steam or gas to the
                                                                                             own issue;
              described premises:
                                                                                        but does not include "money." Lottery tickets held
              (1) Utility generating plants;
                                                                                        for sale are not securities.
              (2) Switching stations;
                                                                                  27. "Specified causes of loss" means the following:
              (3) Substations;
                                                                                        Fire; lightning; explosion; windstorm or hail;
              (4) Transformers; and                                                     smoke; aircraft or vehicles; riot or civil commotion;
                                                                                        vandalism; leakage from fire extinguishing
              (5) Transmission Lines; and                                               equipment; sinkhole collapse; volcanic action;
       b. Does not mean overhead transmission lines.                                    falling objects; weight of snow, ice or sleet; water
                                                                                        damage.
   24. "Production Equipment"
                                                                                        a. Sinkhole collapse means the sudden sinking
       a. Means any:                                                                         or collapse of land into underground empty
              (1) Production machinery; or                                                   spaces created by the action of water on
                                                                                             limestone or dolomite. This cause of loss
              (2) Process    machinery that               processes,                         does not include:
                  shapes, forms or grinds:
                                                                                             (1) The cost of filling sinkholes; or
                  i.    Raw materials;
                                                                                             (2) Sinking or collapse of land into man-made
                  ii.   Materials in process; or                                                  underground cavities.
                  iii. Finished products; and                                           b. Falling objects does not include loss of or
                                                                                             damage to:

SB-146801-I                     Includes copyrighted material of Insurance Services Office, Inc., with its permission          Page 19 of 22
(Ed. 04-14)
                       Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 64 of 221
                                                                                                                                      SB-146801-I
                                                                                                                                       (Ed. 04-14)


                         (1) Personal Property in the open; or                           30. "Theft" means any act of stealing.
                         (2) The interior of a building or structure, or                 31. "Vacant" means the following
                             property inside a building or structure,
                             unless the roof or an outside wall of the
                                                                                               a. When this policy is issued to a tenant, and
                             building or structure is first damaged by a                            with respect to that tenant's interest in
                             falling object.                                                        Covered Property, building means the unit or
                                                                                                    suite rented or leased to the tenant. Such
                  c. Water damage means:                                                            building is vacant when it does not contain
                                                                                                    enough business personal property to conduct
                         (1) Accidental discharge or leakage of water
                                                                                                    customary operation.
                             or steam as the direct result of the
                             breaking apart or cracking of any part of a                       b. When this policy is issued to the owner or
                             system or appliance (other than a sump                                 general lessee of a building, building means
                             system including its related equipment                                 the entire building. Such building is vacant
                             and parts) containing water or steam; and                              unless at least 31% of its total square footage
                                                                                                    is:
                         (2) Accidental discharge or leakage of water
                             or waterborne material as the direct result                            (1) Rented to a lessee or sub-lessee and
                             of the breaking apart or cracking of a                                     used by the lessee or sub-lessee to
                             water or sewer pipe that is located off the                                conduct its customary operations; and/or
                             described premises and is part of a
                                                                                                    (2) Used by the building owner to conduct
                             municipal potable water supply system or
                             municipal sanitary sewer system, if the                                    customary operations.
                             breakage or cracking is caused by wear                      32. "Valuable papers and records" means inscribed,
                             and tear.                                                         printed or written:
                         But water damage does not include loss or                             a. Documents;
                         damage otherwise excluded under the terms
                         of the Water Exclusion. Therefore, for                                b. Manuscripts; and
                         example, there is no coverage in the situation                        c. Records;
                         in which discharge or leakage of water results
                         from the breaking apart or cracking of a pipe                         Including abstracts, books, deeds, drawings, films,
                         which was caused by or related to weather-                            maps or mortgages.
                         induced flooding, even if wear and tear                               But "valuable papers and records" does not mean:
                         contributed to the breakage or cracking. As
                         another example, and also in accordance with                          a. "Money" or securities";
                         the terms of the Water Exclusion, there is no
                         coverage for loss or damage caused by or
                                                                                               b. "Electronic data";
                         related to weather-induced flooding which                             c.   "Electronic media and data";
                         follows or is exacerbated by pipe breakage or
                         cracking attributable to wear and tear.                         33. "Water Supply Services" means the following
                                                                                               types of property supplying water to the described
                         To the extent that accidental discharge or                            premises:
                         leakage of water falls within the criteria set
                         forth in c.(1) or c.(2) of this definition of                         a. Pumping stations; and
                         "specified causes of loss," such water is not                         b. Water mains.
                         subject to the provisions of the Water
                         Exclusion which preclude coverage for                      H. MALICIOUS CODE, SYSTEM PENETRATION AND
                         surface water or water under the ground                       DENIAL OF SERVICE DEFINITIONS:
iiiiiiii
                         surface.                                                        1.    "Denial of Service" means any failure or inability
--=
iiiiiiii
iiiiiiii
              28. "Stock" means merchandise held in storage or for                             of any person, user, customer, "electronic data
                  sale, raw materials and in-process or finished                               processing equipment," computer system or
                  goods, including supplies used in their packing or                           computer network to communicate with, gain
                  shipping.                                                                    access to, or use, any "electronic data processing
                                                                                               equipment," computer system, computer network,
              29. "Suspension" means:                                                          "electronic media and data" or "electronic data"
                  a.     The partial or complete cessation of your                             because an excessive volume of data, requests or
                         business activities; or                                               communications is sent to, received by or
                                                                                               processed by such "electronic data processing
=                 b. That a part or all of the described premises is                           equipment," computer system or computer
                         rendered untenantable.                                                network, and depletes the bandwidth, capacity or

           SB-146801-I                 Includes copyrighted material of Insurance Services Office, Inc., with its permission        Page 20 of22
           (Ed. 04-14)
         Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 65 of 221
                                                                                                                             SB-146801-I
                                                                                                                              (Ed. 04-14)


        computational resources thereof, including without                     5.    "Mass System Penetration" means any "system
        limitation, any business interruption caused by the                          penetration" that:
        foregoing.
                                                                                     a. Exploits, or is designed to exploit, a
   2.   "Electronic Data Peril" means:                                                    vulnerability that is common to or present on
                                                                                          more than one "electronic data processing
        a. Corruption,       unauthorized use, distortion,
                                                                                          equipment," "electronic media and data,"
              deletion, damage, destruction or any other                                  "electronic data," electronic devices, media,
              harm to, or misappropriation or copying of,                                 computer systems, equipment or computer
              "electronic data" or information;                                           networks; or
        b. Interruption, delay, disruption, suspension,                              b. Targets or exploits more than one "electron~c
              loss of functionality of, inaccessibility to,                               data processing equipment," "electronic
              unauthorized access to or inability to use or                               media and data," "electronic data," electronic
              communicate       with,    "electronic    data                              device, media, computer system, equipment
              processing equipment," "electronic media and                                or computer network.
              data," "electronic data," computer resources,
              electronic    devices,    computer     system,                   6.    "System Penetration" means any access to_ or
              computer network or equipment; or                                      use of any "electronic data processing
                                                                                     equipment," "electronic media and data,"
        c. Misappropriation, transfer or copying of any                              "electronic data," electronic device, computer
              property, "money," "securities" or "stock,"                            system, equipment or computer network intended
              including without limitation, the use of any                           to cause or result in, or that does cause or result
              computer to cause such misappropriation,                               in, any "electronic data peril," which is not directly
              transfer or copying;                                                   or indirectly enabled by "malicious code" and
   3.   "Malicious Code" means any data, computer                                    which is achieved by a person without the use or
        program, software, firmware or computer code                                 assistance, directly or indirectly, of "malicious
        designed to cause or result in, or that does cause                           code."
        or result in (whether designed to do so or not), any                   7.    "Targeted Hacker Attack" means the corruption,
        "electronic data peril," including without limitation,                       distortion, damaging, deletion or destruction of
        computer viruses, worms or Trojan horses.                                    your "electronic data" resulting from "targeted
   4.   "Mass Attack Malware" means any "malicious                                   system penetration" or "targeted malware."
        code":                                                                 8.    "Targeted Malware" means any "malicious code"
        a. Capable of replicating or mutating;                                       that:
        b. Propagating, spreading or moving to other                                 a. Is intended by a hacker to specifically infect,
              "electronic data processing equipment,"                                     or be stored or reside on, only your "electronic
              "electronic media and data," "electronic data,"                             data processing equipment";
              electronic devices, media, computer systems,                           b. Is     incapable of replicating,       mutating,
              equipment or computer networks, including                                   propagating, spreading or moving to other
              without limitation, by attaching to applications,                           "electronic data processing equipment,"
              e-mails, e-mail attachments or otherwise;                                   "electronic media and data," "electronic data,"
        c. Designed to exploit a vulnerability that is                                    electronic devices, media, computer systems
              common to or present on more than one                                       or computer networks;
              "electronic data processing equipment,"                                c. Does not infect or reside on any other
              "electronic media and data," "electronic data,"                             "electronic data processing equipment,"
              electronic devices, media, computer systems,                                "electronic media and data," "electronic data,"
              equipment or computer networks; or                                          computer system, electronic device, or
        d. That infects, is stored upon, exists within or                                 computer network that is not yours; and
           resides on more than one "electronic data                                 d.   Exploits a vulnerability that is unique to, and
           processing equipment," "electronic media and
                                                                                          present on, only your "electronic d~ta
           data," "electronic data," electronic device,                                   processing equipment," and such vulnerability
           media, computer system, equipment or                                           is not common to or present on any other
           computer network.                                                              "electronic data processing equipment,"
                                                                                          computer,    electronic     device,    medium,
                                                                                          computer system, equipment or computer
                                                                                          network.



SB-146801-I                  Includes copyrighted material of Insurance Services Office, Inc., with its permission         Page 21 of 22
(Ed. 04-14)
                    Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 66 of 221
                                                                                                                                 SB-146801-I
                                                                                                                                  (Ed. 04-14)


              9.   "Targeted System Penetration" means "system                                vulnerability is not common to or present on any
                   penetration" that is designed to target and exploit,                       other "electronic data processing equipment,"
                   and that does target and exploit, a vulnerability                          computer, electronic device, medium, computer
                   that is unique to, and present on, only your                               system, equipment or computer network.
                   "electronic data processing equipment," and such




iiiiiiii




=

           SB-146801-I                Includes copyrighted material of Insurance Services Office, Inc., with its permission     Page 22 of22
           (Ed. 04-14)
           Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 67 of 221
                                                                                                                 SB146802E
                                                                                                                  (Ed. 6-16)


                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                        BUSINESS INCOME AND EXTRA EXPENSE

This endorsement modifies insurance provided under the following:
     BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
The following coverage is added to your Businessowners Special Property Coverage Form under Paragraph A. Coverage.
Business Income and Extra Expense
Business Income and Extra Expense is provided at the premises described in the Declarations when the Declarations
show that you have coverage for Business Income and Extra Expense.
1.   Business Income
     a. Business Income means:
          (1) Net Income (Net Profit or Loss before Income taxes) that would have been earned or incurred, including:
              (a) "Rental Value"; and
              (b) "Maintenance Fees," if you are a condominium association; and
          (2) Continuing normal operating expenses incurred, including payroll, subject to 90 day limitation if indicated on
              the Declaration page.
     b. We will pay for the actual loss of Business Income you sustain due to the necessary "suspension" of your
        "operations" during the "period of restoration." The "suspension" must be caused by direct physical loss of or
        damage to property at the described premises. The loss or damage must be caused by or result from a Covered
        Cause of Loss. With respect to loss of or damage to personal property in the open or personal property in a
        vehicle, the described premises include the area within 1,000 feet of the site at which the described premises are
        located.
     c. Your loss of Business Income is covered up to 30 consecutive days when caused as a direct result of damage, by
          a Covered Cause of Loss, to property adjacent to your premises.
     d. With respect to the requirements set forth in Paragraph b. above, if you rent, lease or occupy only part of the site
        at which the described premises are located, the described premises means:
          (1) The portion of the building which you rent, lease or occupy; and
          (2) Any area within the building or on the site at which the described premises are located, if that area services,
              or is used to gain access to, the described premises.
     e.   Property in Transit
          (1) We will pay for the actual loss of Business Income you sustain and necessary Extra Expense you incur during
              the "period of restoration" due to direct physical loss of or damage to:
              (a) Your business personal property; or
              (b) Personal property of others in your care, custody or control;
              while such property in the due course of transit.
              If caused by such loss or damage to property in the due course of transit, we will also pay for the actual loss
              of Business Income you sustain during the additional period of coverage provided under the Extended
              Business Income Additional Coverage.
          (2) Insurance under this Additional Coverage applies only if the loss or damage to the property in transit is
              caused by a Covered Cause of Loss. Insurance under this Additional Coverage does not apply to any loss of
              Business Income or Extra Expense due to loss of or damage to:



SB146802E (Ed. 6-16)
Page 1 of 3


                                                Copyright, CNA All Rights Reserved.
                      Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 68 of 221
                                                                                                                            SB146802E
           ~NA                                                                                                               (Ed. 6-16)


                         (a) Vehicles or self propelled machines (including motor vehicles, trailers, aircraft, watercraft and similar
                             conveyances) unless such vehicles are themselves in the due course of transit in or on another
                             transporting conveyance;
                         (b) Property while waterborne, except in regular ferry operations in the course being moved by other means
                             of transportation;
                         (c) Property shipped by mail;
                         (d) Contraband, or property in the course of illegal transportation or trade;
                         (e) Import shipments that have not been unloaded from any importing aircraft or watercraft, or that are under
                             the protection of marine insurance;
                         (f) Export shipments once loaded on board exporting aircraft or watercraft, or under the protection of marine
                             insurance; or
                         (g) Properly sold by you under conditional sale, trust agreement, installment payment or other deferred
                             payment plan, after delivery to customers.
                     (3) The most we will pay for loss under this Additional Coverage is $10,000 unless a different Limit of Insurance
                         is shown in the Declarations for Property in Transit - Business Income and Extra Expense.
           2.   Extra Expense
                a. Extra Expense means reasonable and necessary expenses you incur during the "period of restoration" that you
                     would not have incurred if there had been no direct physical loss of or damage to property caused by or resulting
                     from a Covered Cause of Loss.
                b. We will pay Extra Expense (other than the expense to repair or replace property) to:
                     (1) Avoid or minimize the "suspension" of business and to continue "operations" at the described premises or at
                         replacement premises or temporary locations, including relocation expenses and costs to equip and operate
                         the replacement premises or temporary locations; or
                     (2) Minimize the "suspension" of business if you cannot continue "operations."
                c.   We will also pay Extra Expense (including Expediting Expenses) to repair or replace the property, but only to the
                     extent it reduces the amount of loss that otherwise would have been payable under Paragraph 1. Business
                     Income above.
           3.   Extended Business Income
                If the necessary "suspension" of your "operations" produces a Business Income loss payable under Paragraph 1.
                Business Income above, we will also pay for the actual loss of Business Income you sustain during the period that:
                a. Begins on the date property is actually repaired, rebuilt or replaced and "operations are resumed; and
                b. Ends on the earlier of:
                     (1) The date you could restore your "operations" with reasonable speed, to the level which would generate the
                         Business Income amount that would have existed if no direct physical loss or damage occurred; or
                     (2) Sixty consecutive days after the date determined in paragraph       a. above.
                     However, this extended Business Income does not apply to loss of Business Income incurred as a result of
--
iiiiiiii
                     unfavorable business conditions caused by the impact of the Covered Cause of loss in the area where the
                     described premises are located.

-=         4.   If the Declarations show for Business Income and Extra Expense:
                a. Actual loss sustained for 12 consecutive months, then we will pay for loss of Business Income and Extra Expense
                   that occurs within 12 consecutive months following the date of direct physical loss or damage; or actual loss
                   sustained for the number of months shown on the Declaration page; or
                b. Subject to a. above, if a maximum dollar limit is shown on the Declarations page, then we will pay actual loss
                   sustained up to a maximum dollar limit, for the loss of Business Income and Extra Expense.

=          SB146802E (Ed. 6-16)
           Page 2 of 3


                                                           Copyright, CNA All Rights Reserved.
          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 69 of 221
                                                                                                               SB146802E
                                                                                                                (Ed. 6-16)


5.   "Electronic Data Processing Equipment" and "Electronic Media and Data"
     a. "Electronic data processing equipment" and "electronic media and data" shall be considered covered property as
         referenced in this Coverage Part.
     b. We shall not be liable for any payment for the Extra Expense you incur, and loss of Business Income you sustain,
        during the first 12 hours following the start of a necessary "suspension" of your "operations" during the "period of
        restoration" that is caused by direct physical loss of or damage to "electronic data processing equipment" or
        "electronic data and media" at the described premises; or at the premises of a 3rd party vendor who is managing
        or controlling your "electronic data processing equipment" on your behalf, provided, however, if the Business
        Income And Extra Expense - 72 Hour Deductible endorsement is part of this policy, the 72 hour deductible stated
        in that endorsement shall apply with respect to this sub-paragraph 5.b. instead of the 12 hour deductible set forth
        above.




All other terms and conditions of the Policy remain unchanged.




SB146802E (Ed. 6-16)
Page 3 of 3


                                              Copyright, CNA All Rights Reserved.
                     Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 70 of 221
                                                                                                                      SB-146803-A
                                                                                                                        (Ed. 01/06)



                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                     SEASONAL INCREASE
           This endorsement modifies insurance provided under the following:

               BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

           The following coverage is added to your Businessowners                 shown in the Declarations to provide for seasonal
           Special Property Coverage Form:                                        variations.

               Subject to the Exclusions, Conditions and Limitations           2. This increase will apply only if the Limit of
               of this policy, you may extend this insurance as                   Insurance shown for Business Personal Property
               indicated below.                                                   in the Declarations is at least 100% of your
                                                                                  average monthly values during the lesser of:
               Unless otherwise stated, payments made under the
               following coverage will not increase the applicable                a.   The 12 months immediately preceding the
               Limits of Insurance.                                                    date of the loss or damage occurs; or

               1. The Limit of Insurance for Business Personal                    b. The period of time you have been in business
                   Property shown in the Declarations will                             at the location where the loss or damage
                   automatically increase by 25%, or the amount                        occurs, on the date the loss or damage
                                                                                       occurs.




iiiiiiii
iiiiiiii

--=


=

           SB-146803-A                                                                                                 Page 1 of 1
           (Ed. 01/06)
          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 71 of 221
                                                                                                                  SB-146804-A
                                                                                                                    (Ed. 01/06)



          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                       ARSON & THEFT REWARD
This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

The following coverage is added to your Businessowners                   a. An arson conviction in connection with a
Special Property Coverage Form under Section A.5.                            covered fire or explosion loss; or
Additional Coverages.
                                                                         b. A "theft" conviction in connection with a
Unless otherwise stated, payments made under the                             covered "theft" loss.
following Additional Coverage is in addition to the
applicable Limits of Insurance.                                     2.   The most we will pay under this Additional
                                                                         Coverage in connection with a particular loss is
Arson and Theft Reward                                                   $5,000.

    1.   We will pay for reasonable expenses you incur for
         rewards that lead to:




SB-146804-A                                                                                                        Page 1 of 1
(Ed. 01/06)
                      Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 72 of 221
                                                                                                                               SB146805B
                                                                                                                                (Ed. 6-16)


                               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                          CLAIM DATA EXPENSE
            This endorsement modifies insurance provided under the following:
                BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
            The following coverage is added to your Businessowners Special Property Coverage under Section A.5. Additional
            Coverages:
            Unless otherwise stated, payments made under the following Additional Coverage is in addition to the applicable Limit of
            Insurance.
            Claim Data Expense
                1. We will pay the reasonable and necessary expenses you incur in preparing claim data when we require such data
                   or we request you prepare income statements to show the extent of covered loss or damage. This includes the
                   cost of taking inventories, making appraisals, preparing income statements, and preparing other documentation.
                2.   Under this Additional Coverage, we will not pay for:
                     a. Any fees, costs or expenses incurred, directed or billed by or payable to:
                         (1) attorneys, public adjusters, loss adjusters, loss consultants or their associates or subsidiaries; or
                         (2) insurance brokers or agents, or their associates or subsidiaries, including related forensic accounting
                             services, without our written consent prior to such expenses being incurred.
                     b. Any costs incurred in connection with Paragraph E.2. Appraisal.
                3.   The most we will pay for preparation of claim data under this Additional Coverage in any one occurrence is $5,000
                     regardless of the number of premises involved.




            All other terms and conditions of the Policy remain unchanged.




iiiiiiii



---==
i iiiiiii




=           SB146805B (Ed. 6-16)
            Page 1 of 1


                                                           Copyright, CNA All Rights Reserved.
          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 73 of 221
                                                                                                               SB-146806-8
                                                                                                                 (Ed. 01/08)



          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                               DEBRIS REMOVAL
This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

The following coverage is added to your Businessowners                   b. Remove, restore or replace polluted land or
Special Property Coverage Form under Paragraph A.5.                           water.
Additional Coverages.
                                                                    3.   Except as provided in Paragraph 4. below,
Unless otherwise stated, payments made under the                         payment for Debris Removal is included within the
following Additional Coverage is in addition to the                      applicable Limit of Insurance shown in the
applicable Limit of Insurance.                                           Declarations. The most we will pay under this
                                                                         Additional Coverage is 25% of:
Debris Removal
                                                                         a.   The amount we pay for the direct physical
    1.   We will pay your expense to remove debris of
                                                                              loss or damage to Covered Property; plus
         Covered Property, other than outdoor trees,
         shrubs, plants and lawns as described in the                    b. The deductible in this Coverage Form
         Outdoor Trees, Shrubs, Plants and Lawns                              applicable to that loss or damage.
         Coverage Extension, caused by or resulting from
                                                                    4.   When the debris removal expense exceeds the
         a Covered Cause of Loss that occurs during the
                                                                         25% limitation in Paragraph 3. above or when the
         policy period. The expenses will be paid only if
         they are reported to us within 180 days of the date             sum of the debris removal expense and the
         of direct physical loss or damage                               amount we pay for the direct physical loss of or
                                                                         damage to Covered Property exceeds the
    2.   Debris Removal does not apply to costs to:                      applicable Limit of Insurance, we will pay up to an
                                                                         additional $25,000, or the limit shown in the
         a. Extract "pollutants" from land or water; or                  Declarations, for debris removal expense in any
                                                                         one occurrence, at each described premises.




SB-146806-8                                                                                                        Page 1 of 1
(Ed. 01/08)
                          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 74 of 221
                                                                                                                           SB146807E
                                                                                                                            (Ed. 6-16)


                                                                    EMPLOYEE DISHONESTY

            This endorsement modifies insurance provided under the following:
                BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
            The following coverage is added to your Businessowners Special Property Coverage Form under Paragraph A.5.
            Additional Coverages:
            Unless otherwise stated, payments under the following Additional Coverage are in addition to the applicable Limit of
            Insurance.
            Employee Dishonesty
                1.   We will pay for loss of or damage to Business Personal Property resulting directly from "employee dishonesty."
                     We will pay for loss or damage you sustain through acts committed or events occurring during the Policy Period.
                     Regardless of the number of years this insurance remains in force or the number of premiums paid, no Limit of
                     Insurance cumulates from year to year or period to period.
                2.   Paragraphs A.2.m., A.2.n., A.2.p., B.1.k., B.2.h., B.2.i., B.2.n. and B.2.o. do not apply to this Additional
                     Coverage.
                3.   We will not pay for loss resulting from the dishonest acts of any "employee" if coverage for that "employee" was
                     either cancelled or excluded from any previous insurance of yours providing "employee dishonesty" coverage.
                4.   This Additional Coverage is cancelled as to any "employee" immediately upon discovery by:
                     a. You; or
                     b. Any of your partners, "members," "managers," officers, directors or trustees not in collusion with the
                        "employee,"
                     of any fraudulent dishonest act committed by that "employee" before or after being employed by you.
                5.   We will pay for covered loss or damage only if discovered no later than one year from the end of the Policy
                     Period.
                6.   The most we will pay for loss under this Additional Coverage in any one occurrence is the limit shown on the
                     Declarations regardless of the number of premises involved.
                7.   With respect to this Additional Coverage, occurrence means all loss or damage caused by or involving the same
                     "employee(s)" whether the result of a single act or series of acts.
                8.   If, during the period of any prior "Employee Dishonesty" insurance, you (or any predecessor in interest) sustained
                     loss or damage that you could have recovered under that insurance, except that the time within which to discover
                     loss or damage has expired, we will pay for it under this Additional Coverage, subject to the following:
                     a. This insurance became effective at the time of cancellation or termination of the prior insurance; and
                     b. The loss or damage would have been covered by this insurance had it been in effect when the acts or events
                        causing the loss or damage were committed or occurred.
                9.   The insurance provide under paragraph 8. above is part of, not in addition to the Limit of Insurance described in
                     Paragraph 6. above and is limited to the lesser of the amount recoverable under:
iiiiiiii
                     a.    This Additional Coverage, as of its effective date; or

---
i iiiiiii
                     b. The prior "Employee Dishonesty" insurance, had it remained in effect.
                1O. We will not pay for loss or damage under this endorsement until the amount of loss or damage in any one
                    occurrence exceeds $250. We will then pay the amount of loss or damage in excess of the $250 up to the Limit of
                    Insurance.




=           SB146807E (Ed. 6-16):
            Page 1 of2


                                                             Copyright, CNA All Rights Reserved.
             Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 75 of 221
                                                                                                         S8146807E
                                                                                                          (Ed. 6-16)


    11. Under PROPERTY DEFINITIONS, and only for the purpose of the coverage provided by this Employee
        Dishonesty Additional Coverage, the definition of "employee" is deleted and replaced by the following:
        "Employee(s)" means:
        a. Any natural person:
              (1) While in your service (and for 30 days after termination of service); and
              (2) Whom you compensate directly by salary, wages or commissions; and
              (3) Whom you have the right to direct and control while performing services for you.
        b. Any natural person employed by an employment contractor while that person is subject to your direction and
              control and performing services for you excluding, however, any such person while having custody of
              property outside the premises.
        c.    Any natural person, whether or not compensated, while performing services for you as a member or
              chairperson of any committee.
        d. Your natural person director or trustee while acting as a member of any of your elected or appointed
           committees to perform on your behalf specific, as distinguished from general, directorial acts.
        But "employee" does not mean any agent, broker, factor, commission merchant, consignee, independent
        contractor or representative of the same general character.




All other terms and conditions of the Policy remain unchanged.




S8146807E (Ed. 6-16):
Page 2 of2


                                               Copyright, CNA All Rights Reserved.
                     Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 76 of 221
                                                                                                                        SB-146808-A
                                                                                                                          (Ed. 01/06)



                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                       EXPEDITING EXPENSES
           This endorsement modifies insurance provided under the following:

               BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

           The following coverage is added to your Businessowners                   replacement, at the premises sustaining loss or
           Special Property Coverage Form under Paragraph A.5.                      damage. Expediting expenses include overtime
           Additional Coverages.                                                    wages and the extra cost of express or other rapid
                                                                                    means of transportation. Expediting expenses do
           Unless otherwise stated, payments made under the                         not include expenses you incur for the temporary
           following Additional Coverage is in addition to the                      rental of property or temporary replacement of
           applicable Limits of Insurance.                                          damaged property.

           Expediting Expenses                                                 2.   With respect to this Additional Coverages,
                                                                                    "breakdown" to "covered equipment" will not be
               1.   In the event of direct physical loss of or damage to            considered a Covered Cause of Loss, even if
                    Covered Property caused by or resulting from a                  otherwise covered elsewhere in this Policy.
                    Covered Cause of Loss, we will pay for the
                    reasonable and necessary additional expenses               3.   The most we will pay under this Additional
                    you incur to make temporary repairs, expedite                   Coverage in any one occurrence is $25,000,
                    permanent repairs, or expedite permanent                        regardless of the number of premises involved.




 --
iiiiiiii




--

=

           SB-146808-A                                                                                                    Page 1 of 1
           (Ed. 01/06)
            Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 77 of 221
                                                                                                                  SB-146809-C
                                                                                                                    (Ed. 07/09)



            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                      FINE ARTS
This endorsement modifies insurance provided under the following:

    BUSINESS OWNERS SPECIAL PROPERTY COVERAGE FORM

The following coverage is added to your Businessowners                   c.   We will not pay for loss or damage cause by
Special Property Coverage Form under Paragraph A.5.                           or resulting from any repairing, restoration or
Additional Coverages.                                                         retouching process;

Unless otherwise stated, payments made under the                         d. We will not pay for loss or damage cause by
following Additional Coverage is in addition to the                           or resulting from faulty packing;
applicable Limits of Insurance.                                          e.   Paragraph 8.1.b. Earth Movement;
Fine Arts                                                                f.   Paragraph 8.1.c. Governmental Action;

    1. When a Limit of Insurance is shown in the                         g. Paragraph 8.1.d. Nuclear Hazard;
         Declarations for Building or Business Personal                  h. Paragraph B.1.f. War and Military Action;
         Property at any described premises, we will pay
         for direct physical loss of or damage to "fine arts"            i.   Paragraph B.1.g. (1 ), (2) and (4) Water;
         which are owned by:
                                                                         j.   Paragraph B.1.h. Neglect; and
         a. You; or                                                      k.   Paragraph 8.2.g. Frozen Plumbing
         b. Others and in your care, custody or control;
                                                                         No other exclusions in Paragraph B. Exclusions
         caused by or resulting from a Covered Cause of                  apply to this Additional Coverage. However, if any
         Loss, including while on exhibit, or in transit,                exclusions are added by endorsement to this
         anywhere within the Coverage Territory.                         policy, such exclusions will apply to this Additional
                                                                         Coverage.
    2.   The breakage limitation under Paragraph A.4.b.(2)
         does not apply to this Additional Coverage.                4. The most we pay for loss or damage under this
                                                                         Additional Coverage in any one occurrence is
    3.   The following exclusions apply to this Additional               $25,000, or the amount shown in the Declarations
         Coverage:                                                       for "fine arts," whichever is greater.
         a. We will not pay for loss or damage caused by            5.   This Additional Coverage does not apply to
             or resulting from wear and tear, any quality in             property:
             the property that causes it to damage or                    a. While in the custody of the United States
             destroy itself, gradual deterioration, insects,                  Postal Service;
             birds, rodents or other animals;
                                                                         b. After delivery to customers.
         b. We will not pay for loss or damage caused by
             or resulting from dampness or dryness of
             atmosphere, or changes in extremes of
             temperature;




SB-146809-C                                                                                                         Page 1 of 1
(Ed. 07/09)
                     Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 78 of 221
                                                                                                                      SB-146810-A
                                                                                                                        (Ed. 01/06)



                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                         FIRE DEPARTMENT SERVICE CHARGE
           This endorsement modifies insurance provided under the following:

               BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

           The following coverage is added to your Businessowners              When the fire department is called to save or protect
           Special Property Coverage Form under Paragraph A.5.                 Covered Property from a Covered Cause of loss, we
           Additional Coverages.                                               will pay up to $25,000 for your liability for fire
                                                                               department service charges:
           Unless otherwise stated, payments made under this
           following Additional Coverage is in addition to the                 1. Assumed by contract or agreement prior to loss;
           applicable Limit of Insurance.                                           or
                                                                               2.   Required by local ordinance.




 --
iiiiiiii




--

=

           SB-146810-A                                                                                                  Page 1 of 1
           (Ed. 01/06)
          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 79 of 221
                                                                                                            SB-146811-A
                                                                                                              (Ed. 01/06)



          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          FIRE PROTECTIVE EQUIPMENT DISCHARGE
This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

The following coverage is added to your Businessowners                   a.   Refill or recharge the system with the
Special Property Coverage Form under Paragraph A.5.                           extinguishing agents that were discharged;
Additional Coverages.                                                         and
Unless otherwise stated, payments made under the                         b. Replace or repair faulty valves or controls
following Additional Coverage is in addition to the                           which caused the discharge.
Applicable Limits of Insurance.
                                                                    2.   The most we will pay under this Additional
    1.   If   fire   protective   equipment  discharges                  Coverage in any one occurrence is $10,000,
         accidentally or to control a Covered Cause of                   regardless of the number of premises involved.
         Loss, we will pay your cost to:




SB-146811-A                                                                                                  Page 1 of 1
(Ed. 01/06)
                      Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 80 of 221
                                                                                                                           SB-146812-C
                                                                                                                             (Ed. 04/10)



                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                   FORGERY AND ALTERATION
           This endorsement modifies insurance provided under the following:

                BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

           The following coverage is added to your Businessowners           6.   If, during the period of any prior Forgery or Alteration
           Special Property Coverage Form under Paragraph A.5.                   insurance, you (or any predecessor in interest)
           Additional Coverages.                                                 sustained loss or damage that you could have
                                                                                 recovered under that insurance, except that the time
           Unless otherwise stated, payment made under the
                                                                                 within which to discover loss or damage has expired,
           following Additional Coverage is in addition to the
                                                                                 we will pay for it under this Additional Coverage
           applicable Limits of Insurance.
                                                                                 provided:
           Forgery and Alteration
                                                                                 a. This insurance became effective at the time of
           1.   We will pay for loss resulting directly from "forgery" or            cancellation or termination of the prior insurance;
                alteration of, on, or in any check, draft, promissory                and
                note, bill of exchange, or similar written promise, order        b. The loss would have been covered by this
                or direction to pay a sum certain money, made or
                                                                                     insurance had it been in effect when the acts or
                drawn by or drawn upon you, or made or drawn by one                  events causing the loss were committed or
                acting as an agent or claiming to have been so made                  occurred.
                or drawn.
                                                                            7.   The insurance provided under Paragraph 6. above is
                We will consider signatures that are produced or
                                                                                 part of, and not in addition to the limit described in
                reproduced electronically, mechanically or by facsimile          Paragraph 4. above and is limited to the lesser of the
                the same as handwritten signatures.                              amount recoverable under:
                We will pay for loss that you sustain through acts               a. This Additional Coverage up to the applicable
                committed or events occurring during the Policy                      Limit of Insurance under this Policy, as of its
                Period. Regardless of the number of years this
                                                                                     effective date; or
                insurance remains in force or the number of premiums
                paid, no Limit of Insurance cumulates from year to               b. The prior Forgery or Alteration insurance, had it
                year or period to period.                                            remained in effect.
           2. We will not pay for loss resulting from any dishonest or      8.   If you are sued for refusing to pay any covered
                criminal acts committed by your or any of your                   instrument described in Paragraph 1. above on the
                partners, "employees," "members," "managers,"                    basis that it has been forged or altered, and you have
                officers, directors or trustees whether acting alone or          our written consent to defend against the suit, we will
                in collusion with other persons.                                 pay any reasonable legal expenses that you incur and
                                                                                 pay in that defense. The amount we pay for these
           3.   We will pay for covered loss discovered no later than
                                                                                 legal expenses will be part of and not in addition to the
                one year from the end of the Policy Period.                      limit described in Paragraph 4. above.
           4.   The most we will pay for loss under this Additional
                                                                            9.   The following definition is added:
                Coverage in any one occurrence is the limit shown on
                the Declarations regardless of the number of premises            "Forgery" means the signing of the name of another
                involved.                                                        person or organization with intent to deceive; it does
                                                                                 not mean a signature which consists in whole or in
iiiiiiii
           5. With respect to this Additional Coverage, occurrence

----
                                                                                 part of one's own name signed with or without
                means all loss caused by any person, or in which that            authority, in any capacity for any purpose.
                person is concerned or implicated, either resulting
                from a single act or any number of such acts, whether       10. Paragraphs 8.2.i., and 8.2.n. do not apply to this
                the loss involves one or more instruments.                      Additional Coverage.




=

           SB-146812-C                                                                                                        Page 1 of 1
           (Ed. 04/10)
          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 81 of 221
                                                                                                            SB-146813-B
                                                                                                              (Ed. 01/08)



          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                     NEWLY ACQUIRED OR CONSTRUCTED PROPERTY
This endorsement modifies insurance provided under the following:

     BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

The following coverage is added to your Businessowners        2.    Business Personal Property
Special Property Coverage Form under Paragraph A.5.
Additional Coverages.
                                                                    a. When a Limit of Insurance is shown in the
                                                                       Declarations for Business Personal Property at
Unless otherwise stated, payments made under the                       any described premises, we will pay for direct
following Additional Coverage is in addition to the                    physical loss of or damage to the following
applicable Limits of Insurance.                                        property caused by or resulting from a Covered
                                                                       Cause of Loss:
Newly Acquired or Constructed Property
                                                                       (1) Business Personal Property, including such
1.   Buildings                                                             property that you newly acquire, at a building
     a. We will pay for direct physical loss of or damage                  you acquire by purchase or lease at any
         to the following property caused by or resulting                  premises, including those premises shown in
         from a Covered Cause of Loss:                                     the Declarations; and
         (1) Your:                                                     (2) Business Personal Property that you newly
                                                                           acquire at a described premises.
             (a) New buildings while being built on a
                 premises shown in the Declarations;                b. The most we will pay for loss of or damage to
                                                                       Business Personal Property under this Additional
             (b) New buildings while being built on newly              Coverage in any once occurrence is $250,000 at
                 acquired premises; and                                each premises.
                 (i) intended for similar use as a building   3.    Period of Coverage
                     described in the Declarations; or
                                                                    a. With respect to insurance under this Additional
                 (ii) used as a warehouse                              Coverage, coverage will end when any of the
             (c) Materials, equipment, supplies and                    following first occurs:
                 temporary structures used in connection               (1) This policy expires;
                 with such buildings while they are being
                 built; or                                             (2) 180 days expire after you acquire the property
                                                                           or begin to construct the property;
         (2) Buildings you acquire by purchase or lease at
             any premises, including those premises                    (3) You report values to us; or
             shown in the Declarations.                                (4) The property is more specifically insured.
     b. The most we will pay for loss of or damage to               b. We will charge you additional premium for values
         newly constructed buildings or newly acquired
                                                                       reported to us from the date construction begins or
         buildings under this Additional Coverage in any               you acquire the property.
         one occurrence is $1,000,000 at each premises.




SB-146813-B                                                                                                   Page 1 of 1
(Ed. 01/08)
                         Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 82 of 221
                                                                                                                             SB-146814-8
                                                                                                                               (Ed. 03/06)



                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                          ORDINANCE OR LAW
           This endorsement modifies insurance provided under the following:

               BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

           The following coverage is added to your Businessowners                        (1) You were required to comply with before
           Special Property Coverage Form under Section A.5.                                 the loss, even if the building was
           Additional Coverages.                                                             undamaged; and
           Unless otherwise stated, payments made under the                              (2) You failed to comply with; or
           following Additional Coverage is in addition to the
           applicable Limits of Insurance.
                                                                                    b. Costs associated with the enforcement of any
                                                                                         ordinance or law that requires any insured or
               1.   In the event of damage by a Covered Cause of                         other to test for, monitor, clean up, remove,
                    Loss to a building that is Covered Property, we will                 contain, treat, detoxify or neutralize, or in any
                    pay for:                                                             way respond to, or assess the effects of
                                                                                         "pollutants."
                    a.    Loss in value of the undamaged portion of the
                          building as a consequence of enforcement of          4.   Paragraph B.1.a. does not apply to this Additional
                          the minimum requirements of any ordinance                 Coverage.
                          or law that requires the demolition of
                          undamaged parts of the same building;
                                                                               5.   Subject to the limit described in Paragraph 6.
                                                                                    below:
                    b. Demolition cost, meaning the cost to demolish
                          and clear the site of undamaged parts of the
                                                                                    a.   The insurance provided under this Additional
                                                                                         Coverage for loss in value to the undamaged
                          same building as a consequence of
                                                                                         portion of the building is limited as follows:
                          enforcement of the minimum requirements of
                          any ordinance or law that required demolition                  (1) If Replacement Cost Coverage applies
                          of such undamaged property; and                                    and the building is repaired or replaced
                                                                                             on the same or another premises, we will
                    c.    The increased cost of construction, meaning
                                                                                             not pay more than the lesser of:
                          the increased cost to repair, rebuild or
                          reconstruct the property as a consequence of                       (a) The amount you actually spend to
                          enforcement of the minimum requirements of                             repair, rebuild or reconstruct the
                          any ordinance or law. This increased cost of                           undamaged portion of the building; or
                          construction coverage applies only if:
                                                                                             (b) The amount it would cost to restore
                          (1) The building is insured for replacement                            the undamaged portion of the
                              cost;                                                              building on the same premises and to
                                                                                                 the same height, floor area, style and
                          (2) The building is repaired,       rebuilt   or
                                                                                                 comparable quality of the original
                              reconstructed; and
                                                                                                 undamaged portion of the building; or
                          (3) The repaired, rebuilt or reconstructed
                                                                                         (2) If Replacement Cost Coverage applies
                              building is intended for similar occupancy
                                                                                             and the building is not repaired or
                              as the current building, unless otherwise
                                                                                             replaced, or if Replacement Cost
                              required by zoning or land use ordinance
                                                                                             Coverage does not apply, we will not pay
                              or law.

 --
iiiiiiii
                                                                                             more than the actual cash value of the


--             2.   The ordinance or law referred to in this Additional
                    Coverage is an ordinance or law that:
                    a.    Regulates the demolition, construction or
                          repair of buildings, or establishes zoning or
                                                                                             undamaged portion of the building at the
                                                                                             time of loss.
                                                                                    b. We will not pay more for demolition costs than
                                                                                         the amount you actually spend to demolish
                          land use requirements at the described                         and clear the site of the described premises.
                          premises; and
                                                                                    c.   The insurance provided under this Additional
                    b. Is in force at the time of the loss.                              Coverage for increased cost of construction is
                                                                                         limited as follows:
               3. We will not pay under this Additional Coverage for:
=                                                                                        (1) If the building is repaired or replaced at
                    a.    Loss due to any ordinance or law that:
                                                                                             the same premises, or if you elect to

           SB-146814-8                                                                                                        Page 1 of2
           (Ed. 03/06)                                                                                                       (Version 1.0)
         Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 83 of 221
                                                                                                   SB-146814-8
                                                                                                     (Ed. 03/06)


                rebuild at another premises, the most we      a.   Paragraph 1.a. above in any one occurrence
                will pay is the increased cost of                  is the Building Limit at each described
                construction at the same premises; or              premises shown in the Declarations, if this
                                                                   coverage has been selected and is indicated
            (2) If the ordinance or law requires relocation
                                                                   on the Declarations.
                to another premises, the most we will pay
                is the increased cost of construction at      b.   Paragraph 1.b. and 1.c. above in any one
                the new premises.                                  occurrence is $25,000 or the limit shown in
                                                                   the Declarations, whichever is greater at each
   6.   The most we will pay for loss under this Additional
                                                                   described premises.
        Coverage for the total of all coverages described
        in:




SB-146814-8                                                                                          Page 2 of2
(Ed. 03/06)                                                                                         (Version 1.0)
                     Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 84 of 221
                                                                                                                          SB-146815-A
                                                                                                                            (Ed. 01/06)



                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                OUTDOOR TREES, SHRUBS, PLANTS AND LAWNS
           This endorsement modifies insurance provided under the following:

               BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

           The following coverage is added to your Businessowners                   of trees, shrubs or plants) and lawns located at the
           Special Property Coverage Form under Section A.5.                        described premises caused by or resulting from a
           Additional Coverages.                                                    Covered Cause of Loss.

           Unless otherwise stated, payments made under the                    2.   The most we will pay for loss or damage under
           following Additional Coverage is in addition to the                      this Additional Coverage in any one occurrence is
           applicable Limits of Insurance.                                          $3,000 at each described premises.

           Outdoor Trees, Shrubs, Plants and Lawns                             3.   Debris removal, because of covered loss or
                                                                                    damage to outdoor trees, shrubs, plants and
               1. We will pay for direct physical loss of or damage                 lawns, is included within the limits described in
                   to outdoor trees, shrubs, plants (other than "stock"             Paragraph 2. above.




iiiiiiii




---
iiiiiiii




=

           SB-146815-A                                                                                                      Page 1 of 1
           (Ed. 01/06)
          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 85 of 221
                                                                                                               SB-146816-A
                                                                                                                 (Ed. 01/06)



          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                              POLLUTANT CLEAN UP AND REMOVAL
This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

The following coverage is added to your Businessowners                   c. During the policy period.
Property Coverage Form under Paragraph A.5. Additional
                                                                    2.   The expenses will be paid only if they are reported
Coverages.
                                                                         to us in writing within 180 days of the date on
Unless otherwise stated, payments made under the                         which the "specified cause of loss" occurs.
following Additional Coverage is in addition to the
                                                                    3.   This Additional Coverage does not apply to costs
applicable Limits of Insurance.
                                                                         to test for, monitor or assess the existence,
Pollutant Clean Up and Removal                                           concentration or effects of "pollutants." But we will
                                                                         pay for testing which is performed in the course of
    1.   We will pay your necessary and reasonable
                                                                         extracting the "pollutants" from the land or water.
         expense to extract "pollutants" from land or water
         at the described premises if the discharge,                4.   The most we will pay under this Additional
         dispersal, seepage, migration, release or escape                Coverage is $25,000 for the sum of all covered
         of the "pollutants" is caused by or results from                expenses arising out of all Covered Causes of
         "specified causes of loss" that occurs:                         Loss occurring during each separate 12 month
                                                                         period of this policy beginning with the effective
         a. On the described premises;                                   date of this policy. This amount applies regardless
         b. To Covered Property; and                                     of the number of premises involved.




SB-146816-A                                                                                                      Page 1 of 1
(Ed. 01/06)
                     Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 86 of 221
                                                                                                                         SB-146817-A
                                                                                                                           (Ed. 01/06)



                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                PRESERVATION OF PROPERTY
           This endorsement modifies insurance provided under the following:

               BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

           The following coverage is added to your Businessowners              2.   Coverage under this Additional Coverage will end
           Special Property Coverage Form under Paragraph A.5.                      when any of the following first occurs:
           Additional Coverages.
                                                                                    a. When the policy is amended to provide
           Unless otherwise stated, payments made under the                             insurance at the new location;
           following Additional Coverage is in addition to the
           applicable Limits of Insurance.
                                                                                    b. The property is returned to the original
                                                                                        described premises;
           Preservation of Property
                                                                                    c. 90 days expire after the property is first
               1.   If it is necessary to move Covered Property from                    moved; or
                    the described premises to preserve it from loss or
                    damage by a Covered Cause of Loss, we will pay
                                                                                    d. This policy expires.
                    for:                                                       3.   Payments under this Additional Coverage are
                    a. Any direct physical loss or damage to this                   subject to and not in addition to the applicable
                        property:                                                   Limit of Insurance.

                        (1) While it is being moved; or
                        (2) Temporarily stored at another location
                            only if the loss or damage occurs within
                            90 days after the property is first moved;
                            and
                    b. The costs incurred to:
                        (1) Remove such property from the described
                            premises; and
                        (2) Return such property to the described
                            premises.




iiiiiiii




----

=

           SB-146817-A                                                                                                    Page 1 of 1
           (Ed. 01/06)
          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 87 of 221
                                                                                                             SB-146818-A
                                                                                                               (Ed. 01/06)



          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           TEMPORARY RELOCATION OF PROPERTY
This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

The following coverage is added to your Businessowners                 premises is being renovated or remodeled, we will
Special Property Coverage Form under Paragraph A.5.                    pay for loss or damage to that stored property:
Additional Coverages.                                                  a. Caused by or resulting from a Covered Cause
Unless otherwise stated, payments made under the                           of Loss;
following Additional Coverage is in addition to the                    b. Up to $50,000 at each temporary location;
applicable Limits of Insurance.                                            and
Temporary Relocation of Property                                       c. During the storage period of up to 90
    1.   If Covered Property is removed from the described                 consecutive days but not beyond expiration of
         premises and stored temporarily at a location you                 this policy.
         own, lease or operate while the described                  2. This Additional Coverage does not apply if the
                                                                       stored property is more specifically insured.




SB-146818-A                                                                                                    Page 1 of 1
(Ed. 01/06)
                     Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 88 of 221
                                                                                                                          SB-146819-A
                                                                                                                            (Ed. 01/06)



                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

           WATER DAMAGE, OTHER LIQUIDS, SOLDER OR MOLTEN MATERIAL DAMAGE
           This endorsement modifies insurance provided under the following:

               BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

           The following coverage is added to your Businessowners                   system or appliance from which the water or other
           Special Property Coverage Form under Paragraph A.5.                      substance escapes.
           Additional Coverages.                                               2. We will not pay the cost to repair any defect to a
           Unless otherwise stated, payments made under the                         system or appliance from which the water, other
           following Additional Coverage is in addition to the                      liquid, solder or molten material escapes. But we
           applicable Limits of Insurance.                                          will pay the cost to repair or replace damaged
                                                                                    parts of fire extinguishing equipment if the
           Water Damage, Other Liquids, Solder or Molten                            damage:
           Material Damage
                                                                                    a. Results in discharge of any substance from
               1.   If loss or damage caused by or resulting from                       an automatic fire protection system; or
                    covered water or other liquid, solder or molten
                    material damage loss occurs, we will also pay the               b. Is directly caused by freezing.
                    cost to tear out and replace any part of the               3.   Payments made under this Additional Coverage
                    building or structure to repair damage to the                   are subject to and not in addition to the applicable
                                                                                    Limit of Insurance.




iiiiiiii




=

           SB-146819-A                                                                                                      Page 1 of 1
           (Ed. 01/06)
              Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 89 of 221
                                                                                                                SB-146820-C
                                                                                                                  (Ed. 06/11)



          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                           ACCOUNTS RECEIVABLE
This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

The following coverage is added to your Businessowners                   b. We will not pay for loss that requires an audit
Special Property Coverage Form under Paragraph A.6.                           of records or any inventory computation to
Coverage Extensions.                                                          prove its factual existence;
Unless otherwise stated, payments made under the                         c.   We will not pay for loss caused by or resulting
following Coverage Extension is subject to and not in                         from alteration, falsification, concealment or
addition to the applicable Limits of Insurance.                               destruction of records of accounts receivable
                                                                              done to conceal the wrongful giving, taking or
Accounts Receivable                                                           withholding of money, securities or other
    1.   When a Limit of Insurance is shown in the                            property. But this exclusion applies only to the
         Declarations for Building or Business Personal                       extent of wrongful giving, taking or
         Property at the described premises, you may                          withholding;
         extend that insurance to apply to loss, as                      d. Paragraph 8.1.b. Earth Movement;
         described in Paragraph 2. below, due to direct
         physical loss of or damage to your records of                   e. Paragraph 8.1.c. Governmental Action;
         accounts receivable (including those on electronic
         data processing media) caused by or resulting                   f.   Paragraph 8.1.d. Nuclear Hazard;
         from a Covered Cause of Loss. Credit card                       g. Paragraph B.1.f. War and Military Action;
         company media will be considered accounts
         receivable until delivered to the credit card                   h.   Paragraph B.1.g. (1 ), (2), and (4) Water;
         company.                                                        i.   Paragraph B.1.h. Neglect; and
    2.   We will pay for:                                                j.   Paragraph B.2.i. False Pretense;
         a. All amounts due from your customers that you                 No other exclusions in Paragraph B. Exclusions
               were unable to collect;                                   apply to this Coverage Extension. However, if any
         b. Interest charges on any loan required to offset              exclusions are added by endorsement to this
               amounts you are unable to collect pending our             Policy, such exclusions will apply to this Coverage
               payment of these amounts;                                 Extension.

         c.    Collection expenses in excess of your normal         4.   The most we will pay under this Coverage
               collection expenses that are made necessary               Extension for loss of or damage to records of
               by the loss or damage; and                                accounts receivable in any one occurrence while
                                                                         in transit or at a premises other than the described
         d.    Other reasonable expenses that you incur to               premises is $25,000.
               re-establish your records of accounts
               receivable.                                          5.   The most we will pay under this Coverage
                                                                         Extension for loss of or damage to records of
    3.   The following exclusions apply to this Coverage                 accounts receivable in any one occurrence at
         Extension:                                                      each described premises is $25,000 or the
         a. We will not pay for loss caused by or resulting              amount shown in the Declarations for Accounts
                                                                         Receivable, whichever is greater.
               from bookkeeping, accounting or billing errors
               or omissions;                                        6.   Payments made under this Coverage Extension
                                                                         are in addition to the applicable Limits of
                                                                         Insurance.




SB-146820-C                                                                                                       Page 1 of 1
(Ed. 06/11)
                     Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 90 of 221
                                                                                                                         SB-146821-A
                                                                                                                           (Ed. 01/06)



                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                   APPURTENANT BUILDINGS AND STRUCTURES
           This endorsement modifies insurance provided under the following:

                BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

           The following coverage is added to your Businessowners              described premises, caused by or resulting from a
           Special Property Coverage Form under Paragraph A.6.                 Covered Cause of Loss.
           Coverage Extensions.                                          3.    Incidental appurtenant buildings or structures include:
           Unless otherwise stated, payments made under the                    a. Storage buildings;
           following Coverage Extension is subject to and not in
           addition to the applicable Limits of Insurance.                     b. Carports;
           Appurtenant Buildings and Structures                                c. Garages;
           1.   When a Limit of Insurance is shown in the                      d.   Pump houses; or
                Declarations for Building at the described premises,           e. Above ground tanks;
                you may extend that insurance to apply to direct
                physical loss of or damage to incidental appurtenant           Which have not been specifically described in the
                buildings or structures, within 1,000 feet of that             Declarations.
                described premises, caused by or resulting from a
                                                                         4.    The most we will pay for loss or damage under this
                Covered Cause of Loss.
                                                                               Coverage Extension in any one occurrence for any
           2.   When a Limit of Insurance is shown in the                      combination of loss of or damage to Building and
                Declarations for Business Personal Property at the             Business Personal Property is $50,000, regardless of
                described premises, you may extend that insurance to           the number of described premises involved.
                apply to direct physical loss of or damage to Business
                                                                         5.    Payments made under this Coverage Extension are in
                Personal Property within incidental appurtenant
                                                                               addition to the applicable Limits of Insurance.
                buildings or structures within 1,000 feet of that




iiiiiiii




---

=

           SB-146821-A                                                                                                     Page 1 of 1
           (Ed. 01/06)
           Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 91 of 221
                                                                                                               SB-146822-A
                                                                                                                 (Ed. 01/06)



           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                 BUILDING GLASS
This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

The following coverage is added to your Businessowners                   breakage and damage to glass by chemicals
Special Property Coverage Form under Paragraph A.6.                      accidentally or maliciously applied to glass. If a
Coverage Extensions.                                                     specific deductible has been selected for building
                                                                         glass as shown on the Declarations we will apply
Unless otherwise stated, payments made under the                         that deductible to any covered loss. If no
following Coverage Extension is subject to and not in                    deductible is selected for building glass, the policy
addition to the applicable Limits of Insurance.                          deductible will be applied to covered building
Building Glass                                                           glass losses.

    1.   If:                                                        3.   We will also pay for necessary expenses in
                                                                         connection with loss or damage covered in
         a. You are the building owner; and                              Paragraphs 1. or 2. above, incurred by you to:
         b. A Limit of Insurance is shown in the                         a. Put up temporary plates or board up
               Declarations for Building at the described                     openings;
               premises;
                                                                         b. Repair or replace encasing frames; and
         you may extend that insurance to apply to direct
         physical loss of or damage to all exterior and                  c. Remove or replace obstructions.
         interior building glass caused by or resulting from        4.   The following exclusions apply to this Coverage
         a Covered Cause of Loss, including glass                        Extension:
         breakage and damage to glass by chemicals
         accidentally or maliciously applied to glass. If a              a. We will not pay for loss or damage caused by
         specific deductible has been selected for building                   or resulting from:
         glass as shown on the Declarations we will apply                     (1) Wear and tear;
         that deductible to any covered loss. If no
         deductible is selected for building glass, the policy                (2) Hidden or latent defect;
         deductible will be applied to covered building                       (3) Corrosion; or
         glass losses.
                                                                              (4) Rust;
    2.   If:
                                                                         b.   Paragraph 8.1.b. Earth Movement;
         a. You are a tenant;
                                                                         c. Paragraph 8.1.c. Governmental Action;
         b. A      Limit of Insurance shown in the
               Declarations for Building or Business                     d.   Paragraph 8.1.d. Nuclear Hazard;
               Personal Property at the described premises;
               and
                                                                         e. Paragraph B.1.f. War and Military Action; and
                                                                         f.   Paragraph B.1.g. Water.
         c. You are contractually obligated to repair or
               replace building glass at the       described             No other exclusions in Paragraph B. Exclusions
               premises;                                                 apply to this Coverage Extension. However, if any
                                                                         exclusions are added by endorsement to this
         you may extend that insurance to apply to direct
                                                                         Policy, such exclusions will apply to this Coverage
         physical loss of or damage to all exterior and
                                                                         Extension.
         interior building glass caused by or resulting from
         a Covered Cause of Loss, including glass




SB-146822-A                                                                                                      Page 1 of 1
(Ed. 01/06)
                           Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 92 of 221
                                                                                                                                 SB-146825-C
                                                                                                                                   (Ed. 06/11)



                           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                       BUSINESS PERSONAL PROPERTY OFF PREMISES
                 This endorsement modifies insurance provided under the following:

                     BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

                 The following coverage is added to your Businessowners              2.   This Coverage Extension does not apply to
                 Special Property Coverage Form under Paragraph A.6.                      property:
                 Coverage Extensions.
                                                                                          a.   While in the custody of the United States
                 Unless otherwise stated, payments made under the                              Postal Service;
                 following Coverage Extension is subject to and not in
                 addition to the applicable Limits of Insurance.
                                                                                          b. Rented or leased to others;
                                                                                          c.   After delivery to customers;
                 Business Personal Property Off Premises
                     1.   When a Limit of Insurance is shown in the                       d. Temporarily at a premises for more than 60
                                                                                             consecutive days, except "money" and
                          Declarations for Business Personal Property at the
                                                                                             "securities" at a "banking premises";
                          described premises, you may extend that
                          insurance to apply to direct physical loss of or                e. Otherwise covered under the Fine Arts
                          damage to such property caused by or resulting                       Additional Coverage; or
                          from a Covered Cause of Loss while:
                                                                                          f.   Otherwise covered under        the    following
                          a. In the course of transit, more than 1,000 feet                    Coverage Extensions:
                              from the described premises;
                                                                                               (1) Accounts Receivable;
                          b. Temporarily      away   from    the   described
                              premises and:                                                    (2) Electronic Data Processing;

                              (1) At a premises you do not own, lease or                       (3) Personal Effects; or
                                  operate; or                                                  (4) Valuable Papers and Records.
                              (2) At any fair, trade show or exhibition at a
                                  premises you do not own or regularly
                                  occupy.




iiiiiiii



--
iiiiiiii
iiiiiiii

i iiiiiii
!!!!!!!!!!!!!!




=

                 SB-146825-C                                                                                                       Page 1 of 1
                 (Ed. 06/11)
          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 93 of 221
                                                                                                                SB-146826-B
                                                                                                                  (Ed. 01/08)



          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                              CIVIL AUTHORITY
This endorsement modifies insurance provided under the following:

    BUSINESS INCOME AND EXTRA EXPENSE COVERAGE FORM
    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

The following coverage is added to your Businessowners                   prohibits access to the described premises. The
Special Property Coverage Form under Paragraph A.6.                      civil authority action must be due to direct physical
Coverage Extensions.                                                     loss of or damage to property at locations, other
                                                                         than described premises, caused by or resulting
Unless otherwise stated, payments made under the                         from a Covered Cause of Loss.
following Coverage Extension is subject to and not in
addition to the applicable Limits of Insurance.                     2.   The coverage for Business Income will begin 24
                                                                         hours after the time of that action and will apply for
Civil Authority                                                          a period of four consecutive weeks after coverage
                                                                         begins.
    1.   When the Declarations show that you have
         coverage for Business Income and Extra                     3.   The coverage for Extra Expense will begin
         Expense, you may extend that insurance to apply                 immediately after the time of that action and will
         to the actual loss of Business Income you sustain               end when your Business Income coverages ends
         and reasonable and necessary Extra Expense you                  for this Coverage Extension.
         incur caused by action of civil authority that




SB-146826-B                                                                                                       Page 1 of 1
(Ed. 01/08)
                               Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 94 of 221
                                                                                                                                 SB-146827-F
                                                                                                                                   (Ed. 06/11)



                           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           ELECTRONIC DATA PROCESSING EQUIPMENT AND ELECTRONIC
                                              MEDIA AND DATA
                                           (EDP COVERAGE FORM)
                 This endorsement modifies insurance provided under the following:

                     BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

                     The following coverage is added to your                         5.   The following additional exclusions apply:
                     Businessowners Special Property Coverage Form
                     under Paragraph A.6. Coverage Extension:                             With respect to this Coverage Extension, we will
                                                                                          not pay for loss or damage caused directly or
                     Electronic Data Processing                                           indirectly by any of the following. Such loss or
                                                                                          damage is excluded regardless of any other cause
                     1. When a Limit of Insurance is shown in the                         or event that contributes concurrently or in any
                          Declarations for Electronic Data Processing at the              sequence to the loss:
                          described premises, that insurance applies to:
                                                                                          a. Programming errors or omissions, or incorrect
                          a. Direct physical loss of or damage to your                         instructions to a machine, including without
                                "electronic data processing equipment"                         limitation, incorrect instructions to "electronic
                                caused by or resulting from a Covered Cause                    data processing equipment" from a user
                                of Loss; and                                                   incorrectly operating with, or committing an
                                                                                               error using an input device (including, without
                          b. Direct physical loss of or damage to your                         limitation, a keyboard, mouse or touchpad)
                                "electronic media and data" caused by or                       and corrupting, distorting, deleting, damaging
                                resulting from a Covered Cause of Loss.                        or destroying "electronic data"; provided,
                                                                                               however, that this exclusion shall not apply to
                     2.   Worldwide coverage is provided under this
                                                                                               an otherwise covered mechanical breakdown
                          Coverage Extension. The coverage territory as
                                                                                               of "electronic data processing equipment"
                          described in Paragraph F.8.b does not apply to
                                                                                               under the Insuring Agreement set forth in
                          this Coverage Extension.
                                                                                               Paragraph 1.a. of this Coverage Extension.
                     3.   This Coverage Extension does not apply to:
                                                                                          b. Unauthorized viewing, copying or use of
                          a. "Stock"; or                                                       "Electronic Media and Data" or "Electronic
                                                                                               Data" (or any proprietary or confidential
                          b. Property that is leased or rented to others.                      information or intellectual property) by any
                                                                                               person, even if such activity is characterized
                     4.   The following exclusions as described in Section                     as "theft."
                          B., Exclusions, of the Businessowners Special
                          Property Coverage Form do not apply to the                      c.   Errors or deficiency in design, installation,
                          Insuring Agreement set forth in Paragraph 1.a. or                    maintenance, repair or modification of your
                          1.b. of this Coverage Extension:                                     "electronic data processing equipment,"
                                                                                               "electronic media and data" or "electronic
                          a. Paragraph 1.e.; and                                               data" or any "electronic data processing
iiiiiiii
                                                                                               equipment," electronic devices, computer
                          b. Paragraph 1.g.(3); and                                            system or network to which your "electronic
--
i iiiiiii
!!!!!!!!!!!!!!            c.    Paragraph 2.a.
                                                                                               data processing equipment" "electronic media
                                                                                               and data" or "electronic data" is connected or
                                                                                               dependent; provided, however, that this
                          The following exclusion as described in Section                      exclusion shall not apply to an otherwise
                          B., Exclusions, of the Businessowners Special                        covered mechanical breakdown of "electronic
                          Property Coverage Form does not apply to the                         data processing equipment" under the
                          Insuring Agreement set forth in Paragraph 1.a. of                    Insuring Agreement set forth in Paragraph 1.a.
                          this Coverage Extension: Paragraph 2.d.(6).                          of this Coverage Extension.


=

                 SB-146827-F                                                                                                       Page 1 of2
                 (Ed. 06/11)
         Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 95 of 221
                                                                                                          SB-146827-F
                                                                                                            (Ed. 06/11)


        d.   Unexplained or indeterminable failure,                  equipment" or "electronic media and data "
             malfunction or slowdown of a "electronic data           coverage will end on the date and time that any ~f
             processing equipment" "electronic media and             the following first occurs:
             data" or "electronic data."
                                                                     a. This policy expires;
   6.   The most we will pay under this Coverage
        Extension for all direct physical loss of or damage          b. 180 days after you acquire the "electronic
        to "electronic data processing equipment" and                    data processing equipment" or "electronic
        "electronic media and data" (combined) in any one                media and data"; or
        occurrence while in transit or at a premises other
        than the described premises is $25,000, or the               c. You report values to us.
        limit shown in the Declarations.
                                                                9.   The most we will pay under this Coverage
   7.   The most we will pay under this Coverage                     Extension for all direct physical loss of or damage
        Extension for loss of or damage to "Electronic               to "electronic data processing equipment" and
        Media and Data" while stored at a separate                   "electronic media and data" (combined) at the
        premises from where your original "Electronic                described premises in any one occurrence is the
        ~edia and Data" are kept, in any one occurrence,             Limit of Insurance shown in the Declarations or
        IS $25,000.
                                                                     $50,000, whichever is greater.

   8.   The most we will pay under this Coverage                10. A separate Blanket Limit of Insurance applies to
        Extension for all direct physical loss or damage to         "electronic data processing equipment" and
        "electronic data processing equipment" and                  "electronic media and data" at all scheduled
        "electronic media and data" (combined) you                  premises, if indicated in the declarations as
        acquire after the inception date of the policy in any       Blanket Electronic Data Processing
        one occurrence is $25,000.
                                                                11. Payments made under this Coverage Extension
        Provided, however, with respect to insurance                are in addition to the applicable Limits of
        coverage under this Coverage Extension on any               Insurance.
        such newly acquired "electronic data processing




SB-146827-F                                                                                                 Page 2 of2
(Ed. 06/11)
                           Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 96 of 221
                                                                                                                                                        SB146828E
                                                                                                                                                         (Ed. 04/14)


                           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                                EQUIPMENT BREAKDOWN
                 This endorsement modifies insurance provided under the following:
                     BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
                 The following coverage is added to your Businessowners Special Property Coverage Form under Paragraph A.6.
                 Coverage Extensions.
                 Unless otherwise stated, payments made under the following Coverage Extension are subject to and not in addition to the
                 applicable Limits of Insurance.
                 Equipment Breakdown
                     1.   When a Limit of Insurance is shown in the Declarations for Equipment Breakdown, at the described premises, the
                          limit applies to direct physical loss of or damage to Covered Property at the described premises caused by or
                          resulting from a "breakdown" to "covered equipment."
                          For the purposes of this coverage form, "covered equipment" includes, but is not limited to, the following:
                          a. "Diagnostic Equipment";
                          b. "Power Generating Equipment";
                          c. "Production Equipment."
                          With respect to otherwise covered Business Income and Extra Expense, "breakdown" to "covered equipment" will
                          be considered a Covered Cause of Loss.
                          If an initial "breakdown" causes other "breakdowns," all will be considered one "breakdown." All "breakdowns" that
                          manifest themselves at the same time and are the result of the same cause will also be considered one
                          "breakdown."
                     2.   Under this Coverage Extension, the following coverages also apply:
                          a. Expediting Expenses
                              (1) In the event of direct physical loss of or damage to Covered Property caused by or resulting from a
                                   "breakdown" to "covered equipment," we will pay for the reasonable additional expenses you necessarily
                                   incur to make temporary repairs to, or expedite the permanent repair or replacement of, the lost or
                                   damaged Covered Property.
                              (2) Expediting expenses include overtime wages and the extra cost of express or other rapid means of
                                   transportation.
                              (3) The most we will pay under this Coverage Extension for all Expediting Expenses arising out of any one
                                  "breakdown" is $25,000. This limit is part of and not in addition to the Limit of Insurance that applies to
                                  lost or damage Covered Property.
                          b. "Pollutants"
                              (1) In the event of direct physical loss of or damage to Covered Property caused by or resulting from a
iiiiiiii
                                   "breakdown" to "covered equipment," we will pay for the additional cost to repair or replace Covered
                                   Property because of contamination by "pollutants." This includes the additional expenses to clean up or
--==
!!!!!!!!!!!!!!
                                   dispose of such property. Additional costs mean those beyond what would have been required had no
                                   "pollutants" been involved.

 ---                          (2) The most we will pay under this Coverage Extension for loss or damage to Covered Property caused by
                                   contamination by "pollutants" arising out of any one "breakdown" is $25,000. This limit is subject to and
                                   not in addition to the Limit of Insurance that applies to lost or damaged Covered Property.
-
-
=
                 SB146828E (Ed. 04/14)
                 Page 1 of 3

                             Copyright CNA All Rights Reserved. lndudes copyrighted material of Insurance Services Office, Inc., with its permission.
             Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 97 of 221
                                                                                                                                        SB146828E
                                                                                                                                         (Ed. 04/14)


        c. Service Interruption
              When the Declarations show that you have coverage for Business Income and Extra Expense, you may
              extend that insurance to apply to loss caused by or resulting from a "breakdown" to equipment that is owned,
              operated or controlled by a local public or private utility or distributor that directly generates, transmits,
              distributes or provides the following utility services:
              (1) "Water Supply Services";
              (2) "Communication Supply Services"; or
              (3) "Power Supply Services."
        d. Data Restoration
              We will pay for your cost to research, replace and restore "electronic data" and "electronic media and data"
              that is lost as a result due to a "breakdown" to "Covered Equipment." The most we will pay for loss or
              expenses under this coverage is $100,000 or the limit shown in the Declarations for Equipment Breakdown
              Coverage at the described premises, whichever is less.
              The limit provided for the Data Restoration Coverage is a part of, and does not increase the Limit of
              Insurance for Equipment Breakdown Coverage.
   3.   We will not pay under this Coverage Extension for loss or damage caused by or resulting from any of the following
        tests:
        a. A hydrostatic, pneumatic or gas pressure test of any boiler or pressure vessel; or
        b. An insulation breakdown test of any type of electrical equipment.
   4.   We will not pay under this Coverage Extension for loss or damage caused by or resulting from a change in:
        a. Temperature; or
        b. Humidity;
        as a consequence of "breakdown" to "covered equipment."
   5.   The following limitations in Paragraph A.4. do not apply to this Coverage Extension:
        a.    Paragraph a.(2); and
        b.    Paragraph a.(3).
   6.   The following exclusions in Paragraph B. Exclusions do not apply to this Coverage Extension:
        a.    Paragraph 2.a.;
        b. Paragraph 2.d.(6); and
        c. Paragraph 2.e.
   7.   With respect to this Coverage Extension, the following condition is added to Paragraph F. Commercial Property
        Conditions:
        Suspension
        If any "covered equipment" is found to be in or exposed to a dangerous condition, any of our representatives may
        immediately suspend the insurance provided by this Coverage Form for loss or damage caused by or resulting
        from a "breakdown" to that "covered equipment." This can be done by delivering or mailing a notice of suspension
        to:
        a. Your last known address; or
        b. The address where the "covered equipment" is located.
        Once suspended in this way, such insurance can only be reinstated by a written endorsement issued by us. If we
        suspend your insurance, you will get a pro rata refund of premium for that "covered equipment." But the
        suspension will be effective even ifwe have not yet made or offered a refund.

SB146828E (Ed. 04/14)
Page 2 of 3

             Copyright CNA All Rights Reserved. lndudes copyrighted material of Insurance Services Office, Inc., with its permission.
                           Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 98 of 221
                                                                                                                                                       SB146828E
                                                                                                                                                        (Ed. 04/14)


                     8.   The following Loss Payment Condition is added under E.4.e. Loss Payment Building and Personal Property of
                          the Businessowners Special Property Coverage Form:
                          (19) "Covered Equipment" as follows:
                              If Equipment Breakdown Property requires replacement due to an Equipment Breakdown, we will pay your
                              additional cost to replace it with equipment that is better for the environment, safer or more efficient than the
                              equipment being replaced. However, we will not pay more than 125% of what the cost would have been to
                              repair or replace with property of comparable material and quality. This coverage does not increase any of the
                              applicable limits. This coverage does not apply to any property indicated as being valued on an Actual Cash
                              Value basis.
                              If you wish to retrofit air conditioning or refrigeration equipment that utilizes a refrigerant containing CFC
                              (chlorofluorocarbon) substances to accept a non-CFC refrigerant, we will consider this better for the
                              environment. Any associated Business Income or Extra Expense will be included, in determining the
                              additional cost, if Business Income and Extra Expense apply to this policy.




                 All other terms and conditions of the Policy remain unchanged.




iiiiiiii


--
 -
!!!!!!!!!!!!!!




=
                 SB146828E (Ed. 04/14)
                 Page 3 of 3

                            Copyright CNA All Rights Reserved. lndudes copyrighted material of Insurance Services Office, Inc., with its permission.
          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 99 of 221
                                                                                                            SB-146830-8
                                                                                                              (Ed. 01/08)



         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                MONEY ORDERS AND COUNTERFEIT PAPER CURRENCY
This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

The following coverage is added to your Businessowners              1. Any U.S. or Canadian post office or express
Special Property Coverage Form under Paragraph A.6.                      money order, issued or claiming to have been
Coverage Extensions:                                                     issued by any post office or express company, if
                                                                         the money order is not paid upon presentation; or
Unless otherwise stated, payments made under this
Coverage Extension are subject to and not in addition to            2.   Counterfeit United States or Canadian paper
the applicable Limits of Insurance.                                      currency.

    When a Limit of Insurance is shown in the                       in exchange for merchandise, "money" or services or
    Declarations for Business Personal Property at the              as part of a normal business transaction.
    described premises, you may extend that insurance to
    apply to loss due to the good faith acceptance of:




SB-146830-8                                                                                                   Page 1 of 1
(Ed. 01/08)
                          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 100 of 221
                                                                                                                              SB-146831-B
                                                                                                                                (Ed. 06/11)



                          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                   NON-OWNED DETACHED TRAILERS
                 This endorsement modifies insurance provided under the following:

                     BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

                 The following coverage is added to your Businessowners              2.   We will not pay for any loss or damage that
                 Special Property Coverage Form under Paragraph A.6.                      occurs:
                 Coverage Extensions.
                                                                                          a.   While the trailer is attached to any motor
                 Unless otherwise stated, payments made under the                              vehicle or motorized conveyance, whether or
                 following Coverage Extension is subject to and not in                         not the motor vehicle or motorized
                 addition to the applicable Limits of Insurance.                               conveyance is in motion;
                     1. When a Limit of Insurance is shown in the                         b. During hitching or unhitching operations, or
                         Declarations for Building or Business Personal                        when a trailer becomes accidentally unhitched
                         Property at the described premises you may                            from a motor vehicle or motorized
                         extend the insurance that applies to your Business                    conveyance.
                         Personal Property to apply to loss or damage to
                                                                                     3.   The most we will pay for loss or damage under
                         trailers or semi-trailers that you do not own,
                         provided that:                                                   this Coverage Extension in any one occurrence is
                                                                                          $5,000 regardless of the number of described
                         a.   The trailer is used in your business;                       premises, trailers or semi-trailers involved.
                         b. The trailer is in your care, custody or control          4.   This insurance is excess over the amount due
                              at the premises described in the Declarations;              (whether you can collect on it or not) from any
                              and                                                         other insurance covering such property.
                         c. You have a contractual responsibility to pay
                              for loss or damage to the trailer.




--
iiiiiiii




 --
!!!!!!!!!!!!!!




=

                 SB-146831-B                                                                                                    Page 1 of 1
                 (Ed. 06/11)
         Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 101 of 221
                                                                                                                 SB-146832-B
                                                                                                                   (Ed. 01/08)



         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

             ORDINANCE OR LAW - INCREASED PERIOD OF RESTORATION
This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
    BUSINESS INCOME AND EXTRA EXPENSE COVERAGE FORM

The following coverage is added to your Businessowners              2. This Coverage Extension applies only to the
Special Property Coverage Form under Paragraph A.6.                      period that would be required, with reasonable
Coverage Extensions.                                                     speed, to reconstruct, repair or replace the
                                                                         property to comply with the minimum requirements
Unless otherwise stated, payments made under the
                                                                         of the ordinance or law.
following Coverage Extension is subject to and not in
addition to the applicable Limits of Insurance.                     3.   This Coverage Extension does not apply to:
Ordinance or Law- Increased Period of Restoration                        a. Loss due to an ordinance or law that:
    1. When:                                                                 (1) You were required to comply with before
                                                                                 the loss, even if the property was
        a.   A Covered Cause of Loss occurs to property
                                                                                 undamaged; and
             at the described premises; and
                                                                             (2) You failed to comply with; or
        b. The Declarations shown that you have
             coverage for Business Income and Extra                      b. Costs associated with the enforcement of any
             Expense;                                                        ordinance or law that requires any insured or
                                                                             others to test for, monitor, clean up, remove,
        you may extend that insurance to apply to the
                                                                             contain, treat, detoxify or neutralize, or in any
        amount of actual loss of Business Income you
                                                                             way respond to or assess the effects of
        sustain and reasonable and necessary Extra                           "pollutants."
        Expense you incur during the increased period of
        "suspension" of "operations" caused by or                   4.   Paragraph 8.1.a., does not apply to this Coverage
        resulting from the enforcement of any ordinance or               Extension.
        law that:
                                                                    5.   The most we will pay for loss under this Coverage
             (1) Regulates the construction,        repair or            Extension in any one occurrence is $25,000 at
                 replacement of any property;                            each described premises.
             (2) Requires the tearing down or replacement           6.   Payments made under this Coverage Extension
                 of any parts of property not damaged by a               are in addition to the applicable Limits of
                 Covered Cause of Loss; and                              Insurance.
             (3) Is in force at the time of loss.




SB-146832-B                                                                                                       Page 1 of 1
(Ed. 01/08)
                          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 102 of 221
                                                                                                                               SB-146833-A
                                                                                                                                 (Ed. 01/06)



                           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                            OUTDOOR PROPERTY
                 This endorsement modifies insurance provided under the following:

                     BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

                 The following coverage is added to your Businessowners                   loss of or damage to the following types of outdoor
                 Special Property Coverage Form under Paragraph A.6.                      property at that described premises caused by or
                 Coverage Extensions.                                                     resulting from a Covered Cause of Loss:

                 Unless otherwise stated, payments made under the                         a. Radio or television antennas (including
                 following Coverage Extension is subject to and not in                        microwave or satellite dishes) and their lead
                 addition to the applicable Limits of Insurance.                              in wiring, masts or towers; or

                 Outdoor Property                                                         b. Bridges, walks, roadways, patios and other
                                                                                              paved surfaces.
                     1.   When a Limit of Insurance is shown in the
                          Declarations for Building or Business Personal             2.   The most we will pay for loss or damage under
                          Property at the described premises, you may                     this Coverage Extension in any one occurrence is
                          extend that insurance to apply to direct physical               $10,000 at each described premises.




iiiiiiii



--
!!!!!!!!!!!!!!




=

                 SB-146833-A                                                                                                     Page 1 of 1
                 (Ed. 01/06)
         Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 103 of 221
                                                                                                             SB-146834-A
                                                                                                               (Ed. 01/06)



          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                            PERSONAL EFFECTS
This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

The following coverage is added to your Businessowners                   b. Your       officers,    partners,    "members",
Special Property Coverage Form under Paragraph A.6.                          "managers",       "employees",   directors  or
Coverage Extensions.                                                         trustees;
Unless otherwise stated, payments made under the                         caused by or resulting from a Covered Cause of
following Coverage Extension is subject to and not in                    Loss.
addition to the applicable Limits of Insurance.
                                                                    2.   Such property must be located at a described
Personal Effects                                                         premises.
    1.   When a Limit of Insurance is shown in the                  3.   The most we will pay for loss or damage under
         Declarations for Building or Business Personal                  this Coverage Extension in any one occurrence is
         Property at the described premises, you may                     $25,000 at each described premises.
         extend that insurance to apply to direct physical
                                                                    4.   Payments under this Coverage Extension are in
         loss of or damage to personal effects owned by:
                                                                         addition to the applicable Limits of Insurance.
         a. You; or




SB-146834-A                                                                                                    Page 1 of 1
(Ed. 01/06)
                          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 104 of 221
                                                                                                                              SB-146835-A
                                                                                                                                (Ed. 01/06)



                           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                                          SIGNS
                 This endorsement modifies insurance provided under the following:

                     BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

                 Subject to the Exclusions, Conditions and Limitations of        Your Building or Business Personal Property insurance is
                 this policy, you may extend this insurance as indicated         extended to cover outdoor signs attached to the building or
                 below.                                                          on or within 1,000 feet of the described premises.
                 Unless otherwise stated, payments made under the
                 following coverage will not increase the applicable Limits of
                 Insurance.




iiiiiiii




--
iiiiiiii

!!!!!!!!!!!!!!




=

                 SB-146835-A                                                                                                    Page 1 of 1
                 (Ed. 01/06)
         Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 105 of 221
                                                                                                             SB-146836-A
                                                                                                               (Ed. 01/06)



          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                SPOILAGE - CONSEQUENTIAL LOSS
This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

The following coverage is added to your Businessowners                   situated within the building at the described
Special Property Coverage Form under Paragraph A.6.                      premises:
Coverage Extensions.                                                     a. Refrigerating;
Unless otherwise stated, payments made under the                         b. Cooling;
following Coverage Extension is subject to and not in
addition to the applicable Limits of Insurance.                          c.   Humidifying;
Spoilage - Consequential Loss                                            d. Air conditioning;
    1.   When a Limit of Insurance is shown in the                       e.   Heating;
         Declarations for Business Personal Property at the              f.   Generating or converting power; or
         described premises, you may extend that
         insurance to apply to consequential loss to your                g. Connections, supply or transmission lines and
         Business Personal Property caused by a change                        pipes associated with the above equipment.
         in:
                                                                    2.   With respect to this Coverage Extension,
         a. Temperature; or                                              "breakdown" to "covered equipment" will not be
                                                                         considered a Covered Cause of Loss, even if
         b. Humidity;                                                    otherwise covered elsewhere in this Policy.
         caused by or resulting from a Covered Cause of             3.   Paragraphs B.2.d.(7)(a) and B.2.d.(7)(b) do not
         loss to any of the following types of equipment                 apply to this Coverage Extension.




SB-146836-A                                                                                                    Page 1 of 1
(Ed. 01/06)
                          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 106 of 221
                                                                                                                             SB-146837-A
                                                                                                                               (Ed. 01/06)



                           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                              THEFT DAMAGE TO RENTED PROPERTY
                 This endorsement modifies insurance provided under the following:

                     BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

                 The following coverage is added to your Businessowners                  b. Property within such non-owned building used
                 Special Property Coverage Form under Paragraph A.6.                         for maintenance or service of such non-owned
                 Coverage Extensions.                                                        building.
                 Unless otherwise stated, payments made under the                    2. We will not pay under this Coverage Extension for
                 following Coverage Extension is subject to and not in                   loss or damage:
                 addition to the applicable Limits of Insurance.
                                                                                         a. Caused by or resulting from fire or explosion;
                 Theft Damage to Rented Property                                             or
                     1.   When a Limit of Insurance is shown in the                      b. To glass (other than glass building blocks) or
                          Declarations for Business Personal Property at the                 to any lettering, ornamentation or burglar
                          described premises, you may extend that                            alarm tape on glass.
                          insurance to apply to direct physical loss of or
                          damage to the following caused by or resulting by
                                                                                     3. This Coverage Extension applies only if you are a
                                                                                         tenant and you are contractually obligated to
                          "theft" or attempted "theft'':
                                                                                         insure this exposure.
                          a. That part of a building you occupy, but do not
                              own, which contains Covered Property; and




iiiiiiii




-
!!!!!!!!!!!!!!




=

                 SB-146837-A                                                                                                   Page 1 of 1
                 (Ed. 01/06)
         Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 107 of 221
                                                                                                               SB-146838-C
                                                                                                                 (Ed. 06/11)



          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                   VALUABLE PAPERS AND RECORDS
This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

The following coverage is added to your Businessowners                   b. Paragraph 8.1.b. Earth Movement;
Special Property Coverage Form under Paragraph A.6.
                                                                         c.   Paragraph 8.1.c. Governmental Action;
Coverage Extensions.
Unless otherwise stated, payments made under the
                                                                         d. Paragraph 8.1.d. Nuclear Hazard;
following Coverage Extension is subject to and not in                    e.   Paragraph B.1.f. War and Military Action;
addition to the applicable Limits of Insurance.
                                                                         f.   Paragraph B.1.g. (1 ), (2) and (4) Water;
Valuable Papers and Records
                                                                         g. Paragraph B.1.h. Neglect;
    1.   When a Limit of Insurance is shown in the
         Declarations for Building or Business Personal                  h. Paragraph 8.2.g. Frozen plumbing.
         Property at the described premises, you may                     No other exclusions in Paragraph B. Exclusions
         extend that insurance to apply to loss, as                      apply to this Coverage Extension. However, if any
         described in Paragraph 2. below, due to direct                  exclusions are added by endorsement to this
         physical loss of or damage to "valuable papers                  Coverage Form, such exclusions will apply to this
         and records" that:                                              Coverage Extension.
         a. You own; or                                             4.   The most we will pay under this Coverage
         b. Are owned by others, but in your care,                       Extension for loss of or damage to "valuable
             custody or control;                                         papers and records" in any one occurrence while
                                                                         in transit or at a premises other than the described
         caused by or resulting from a Covered Cause of                  premises is $25,000.
         loss.
                                                                    5.   The most we will pay under this Coverage
    2. This Coverage Extension includes the cost to                      Extension for loss of or damage to "valuable
         research, replace or restore the lost information on            papers and records" in any one occurrence at
         "valuable papers and records" for which duplicates              each described premises is $25,000 or the
         do not exist.                                                   amount shown in the Declarations for Valuable
    3.   The following exclusions apply to this Coverage                 Papers and Records, whichever is greater.
         Extension:                                                 6.   Payments made under this Coverage Extension
         a. We will not pay for any loss or damage to                    are in addition to the applicable Limits of
             "valuable papers and records" caused by or                  Insurance.
             resulting from any errors or omissions in
             processing or copying. But if errors or
             omissions in processing or copying results in
             fire or explosion, we will pay for the resulting
             loss or damage caused by that fire or
             explosion.




SB-146838-C                                                                                                       Page 1 of 1
(Ed. 06/11)
                            Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 108 of 221
                                                                                                                                 SB-146839-F
                                                                                                                                   (Ed. 06/11)



                            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                          SEWER OR DRAIN BACK UP
                  This endorsement modifies insurance provided under the following:

                       BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
                       CONCURRENT CAUSATION, EARTH MOVEMENT & WATER EXCLUSION CHANGES

                  The following coverage is added to your Businessowners                   (i) "Flood," surface water, waves, tides, tidal
                  Special Property Coverage Form:                                              waves, overflow of any body of water, or their
                                                                                               spray, all whether driven by wind or not;
                  Unless otherwise stated, payments made under the
                  following coverage will not increase the applicable Limits of            (ii) Mudslide or mudflow.
                  Insurance.
                                                                                       b. The most we will pay for direct physical damage is
                  Subject to the Exclusions, Conditions and Limitations of                 the limit of insurance shown in the Declarations for
                  this policy, you may extend this insurance as indicated                  Sewer or Drain Back Up.
                  below.
                                                                                  2.   With respect to otherwise covered Business Income
                  1.   We will pay for loss or damage to covered property              and Extra Expense, loss or damage to covered
                       caused by water that backs up or overflows from a               property caused by water that backs up or overflows
                       sewer, drain, sump, or from water that overflows due            from a sewer, drain, sump, or from water that
                       to the failure of a sump pump, sump pump well, or any           overflows due to the failure of a sump pump, sump
                       other type of system designed to remove subsurface              pump well, or any other type of system designed to
                       water from the foundation area, subject to the following        remove subsurface water from the foundation area,
                       limitations:                                                    will be considered a Covered Cause of Loss.
                       a. We will not pay for loss or damage under this           3.   Exclusion 8.1.g. (3) of the Businessowners Special
                           Additional Coverage caused by the emanation of              Property Coverage Form does not apply to this
                           water from a sewer or drain, sump, sump pump,               Additional Coverage.
                           sump pump well, or any other type of system
                           designed to remove subsurface water from the
                           foundation area, that itself caused by, or is the
                           result of:




-
iiiiiiii




--
iiiiiiiiiiiiiii

!!!!!!!!!!!!!!




=

                  SB-146839-F                                                                                                      Page 1 of 1
                  (Ed. 06/11)
          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 109 of 221
                                                                             SB-146841-8
                                                                               (Ed. 06/11)



          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                    BROADENED WIND COVERAGE
This endorsement modifies insurance provided under the following:

     BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
The Businessowners Special Property            Coverage
Special Form is changed as follows:
When Broadened Wind coverage is indicated in the
declarations at the described premises, the following is
changed:
1.   Paragraph A.4.a.(1) does not apply.




SB-146841-8                                                                   Page 1 of 1
(Ed. 06/11)
                           Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 110 of 221
                                                                                                                                                          SB146843E
                                                                                                                                                           (Ed. 04/14)


                           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                       BUSINESS INCOME FOR INTERRUPTION OF PRACTICE
                 This endorsement modifies insurance provided under the following:
                     BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
                     BUSINESS INCOME AND EXTRA EXPENSE
                 The following coverage is added to your Businessowners Special Property Coverage Form:
                 Except at otherwise stated in this endorsement, the terms and conditions of the policy apply to the insurance stated below.
                 This insurance applies only when Business Income Coverage is included with the policy.
                     1. The following changes are made to the coverages of Business Income and Extra Expense, Civil Authority, and
                        Utility Services - Time Element, if attached to this policy:
                          For Loss of Business Income at each scheduled location affected by the suspension of your "operations" we will
                          pay:
                          a.    The daily limit shown in the Declarations without reduction for discontinuing expenses or rescheduled clients,
                                but only for the initial 30 days of loss, or portion of a day, for each occurrence, or
                          b. The actual loss of Business Income during the "period of restoration."
                             For each occurrence you can select either a. or b. above. When b., actual loss of Business Income is
                             selected, all payment for one occurrence will be made based on actual loss of Business Income. When a.,
                             daily limit is selected, payment for loss after the initial 30 days will be made based on actual loss of Business
                             Income.
                             Payment of the daily limit in a. covers full payment for Loss of Business Income continuing normal operating
                             expenses incurred including payroll, Extra Expense, Civil Authority and Extended Business Income.
                                The 12 hour waiting period in the coverage for Utility Services - Time Element applies to both a. daily limit, or
                                b. actual loss of business income.
                                A day means a period of 24 hours, beginning at 12:01 AM. and during which your practice was or would be
                                conducted.
                                The portion of a day shall be calculated as the ratio of reduced practice hours compared to normal daily
                                practice hours.
                     2.   Business Income Extension for Drinkable Water
                          (This applies only to water provided by a water supply company. Private water systems are not applicable.)
                          The following coverage is added:
                          We will pay up to the daily limit shown in the Declarations at each described premises to cover loss of Business
                          Income you sustain due to the interruption of business resulting from your inability to obtain drinkable water as
                          determined by the public health authority. The determination must be made during the policy period by any public
                          health authority having jurisdiction.
                          This additional coverage will apply during the period that:
                          a. Begins 12 hours after the time the determination by the public health authority is made; and
--
iiiiiiii
                          b. Ends on the earlier of:

 -
!!!!!!!!!!!!!!                  (1) The time when the property at the described premises should be repaired or restored with reasonable
                                     speed and quality; or
                                (2) 30 consecutive days after the time determined in             a. above.
                          All other terms and conditions are applicable to this additional coverage.



                 All other terms and conditions of the Policy remain unchanged.
=
                 SB146843E (Ed. 04/14)
                 Page 1 of 1

                               Copyright CNA All Rights Reserved. lndudes copyrighted material of Insurance Services Office, Inc., with its permission.
         Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 111 of 221
                                                                                                            SB-146855-B
                                                                                                              (Ed. 01/08)



         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                             SPOILAGE COVERAGE
This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

                                                         SCHEDULE
 Premises         Description of Property
 Location
 Number



                                                                        Causes of Loss
 Limit of              Deductible           Refrigeration        Breakdown or     Power           Selling Price
 Insurance                                  Maintenance          Contamination    Outage
                                            Agreement
 $                  $
* Information required to complete the Schedule, if not shown on this endorsement, will be shown in the
   Declarations.
A. The Businessowners Special Property Coverage Form                      equipment or apparatus is at the
    is changed as follows:                                                described premises; or

    1. The following is added to Paragraph A.6:                      (ii) Contamination by a refrigerant, only
                                                                          while the refrigerating apparatus or
         Spoilage Coverage                                                equipment is at the described
         (1) When a Limit of Insurance is shown in the
                                                                          premises shown in the schedule; or
             Declarations for Business Personal Property                    b. Power Outage,      meaning change in
             at the described premises and such described                      temperature or humidity resulting from
             premises is shown in the Declaration or in the                    complete or partial interruption of
             Schedule above, you may extend that                               electrical power, either on or off the
             insurance to apply to direct physical loss of or                  described premises, due to conditions
             damage to Perishable Stock caused by or                           beyond your control.
             resulting from a covered cause of loss
             described in Paragraph (3) below and not                   (4) With respect to otherwise covered Business
             excluded in Paragraph (5) below.                               Income and Extra Expense, loss or damage to
                                                                            covered property caused by Spoilage will be
        (2) This Coverage Extension does not apply to                       considered a Covered Cause of Loss
            Perishable Stock while located:
                                                                        (5) The following exclusions     apply    to   this
             a. On buildings;                                               Coverage Extension:
             b. In the open; or                                             a. We will not pay for loss or damage
             c.    In vehicles.                                                caused directly or indirectly by any of the
                                                                               following, regardless of any other cause
        (3) With respect to this Coverage Extension,                           or event that contributes concurrently or
            covered cause of loss means the following                          in any sequence to the loss:
            only if indicated by an "X" in the schedule
                                                                               (i) Manual      disconnecting   of any
            above or if the coverages appear in the
                                                                                   refrigeration, cooling, heating or
            Declarations:
                                                                                   humidity control system from the
             a. Breakdown or Contamination, meaning:                               source of electrical power;
                   (i) Change in temperature or humidity                       (ii) Terminating of electric power due to
                       resulting from mechanical breakdown                         throwing or turning off any switch or
                       or failure of refrigeration, cooling or                     other device usual to the shutting off
                       humidity     control    apparatus    or                     of electric power on the premises
                       equipment,      only      while    such                     shown in the schedule above; or


SB-146855-B                                                                                                   Page 1 of2
(Ed. 01/08)
                   Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 112 of 221
                                                                                                                SB-146855-B
                                                                                                                  (Ed. 01/08)


                           (iii) Intentional decision of an electric         b. Less    discounts and expenses             you
                                utility company or other source of               otherwise would have had.
                                electric power not to provide
                                                                         (8) With respect to this Coverage Extension,
                                sufficient power or the inability of
                                such company or source to provide            Perishable Stock means personal property:
                                sufficient power, due to lack of fuel,       a. Maintained under controlled conditions for
                                governmental order or lack of                    its preservation; and
                                generating capacity to meet the
                                demand.                                      b. Susceptible to loss or damage if the
                                                                                 controlled temperature         or     humidity
                       b. In addition, the following exclusions,                 conditions change.
                           found in the Businessowners Special
                           Property Coverage Form, also apply to         (9) Subject to Paragraph (10) below, the most we
                           this coverage extension:                          will pay for loss or damage under this
                                                                             Coverage Extension in any one occurrence is
                           1.   Paragraph 8.1.b. Earth Movement;             the Limit of Insurance shown in the
                           2.   Paragraph      8.1.c.   Governmental         Declaration.
                                Action;                                  (10) Regardless    of the       amount of the
                           3.   Paragraph 8.1.d. Nuclear Hazard;              Businessowners         Property       Coverage
                                                                              Deductible, we will not pay for loss or damage
                           4.   Paragraph B.1.f. War and Military             under this Coverage Extension in any one
                                Action;                                       occurrence until the amount of loss or
                                                                              damage exceeds the Deductible shown in the
                           5.   Paragraph B.1.g. Water; and                   schedule above. We will then pay the amount
                           6.   Paragraph B.1.h. Neglect.                     of loss or damage in excess of this
                                                                              Deductible, up to the applicable Limit of
                           No other exclusions in Paragraph B.                Insurance.
                           Exclusions apply to this Coverage
                           Extension. However, if any exclusions are     (11) Paragraph C.2. does not apply to this
                           added by endorsement to this Policy,               Coverage Extension.
                           such exclusions will apply to this            (12) Refrigeration Maintenance Agreement
                           Coverage Extension.
                                                                             a. If:
                   (6) Under this Coverage Extension, the following
                       coverages also apply:                                     (i)   Breakdown or Contamination is
                                                                                       designated by an "X" as a covered
                       a. Claim Mitigation Expense                                     cause of loss in the schedule above
                           We will pay the reasonable expenses you                     or in the Declarations; and
                           incur to prevent or reduce loss or damage             (ii) Refrigeration             Maintenance
                           to the extent that such loss or damage is                   Agreement is shown as applicable by
                           reduced, but such payment will not                          an "X" in the schedule above;
                           increase the applicable Limit of
                           Insurance.                                                  then the following condition applies:
                       b. Clean-up and Disposal                                        You must maintain a Refrigeration
                                                                                       Maintenance         Agreement       as
                           We will pay your expenses to clean-up                       described in Paragraph b. below. If
                           and dispose of spoiled Covered Property.                    you     voluntarily   terminate    this
                           Payment for Clean up and Disposal is                        agreement and do not notify us, the
                           included within the Limit of Insurance                      insurance      provided     by     this
iiiiiiii                   shown in the schedule above.                                endorsement under the Breakdown


--                 (7) With respect to this Coverage Extension, if                     or Contamination covered cause of
i iiiiiii
                       Selling price is indicated by an "X" in the                     loss will be automatically suspended
i iiiiiii
                       schedule above or the coverage appears in                       at the describe premises involved.
                       the Declarations, the following is added to           b. Refrigeration    Maintenance Agreement
                       Paragraph E.4.:                                           means a written service contract,
                       We will determine the value of finished                   between you and the refrigeration service
                       Perishable Stock in the event of loss or                  organization, which provides for regular
                       damage at:                                                periodic inspection of the refrigeration
                                                                                 equipment at the insured location, and the
                       a. The selling price, as if no loss or damage             servicing and repair of equipment,
=                          had occurred;                                         including emergency response at the
                                                                                 insured location.

            SB-146855-B                                                                                              Page 2 of2
            (Ed. 01/08)
         Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 113 of 221
                                                                                                                SB-146856-D
                                                                                                                  (Ed. 07/09)



         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               UTILITY SERVICES - DIRECT DAMAGE
This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
Prem.     Utility Services      Water       Communication       Communication          Power Supply          Power Supply
Loe.      Limit of Insurance    Supply      Supply Property     Supply Property        Property              Property
No.                                         (not including      (including             (not including        (including
                                            overhead            overhead               overhead              overhead
                                            transmission        transmission           transmission          transmission
                                            lines)              lines)                 lines)                lines)
 001      $      25,000        X                                X                                       X
 * Information required to complete the Schedule, if not shown on this endorsement, will be shown in the Declarations.


A. The Businessowners Special Property Coverage Form                         It does not include overhead transmission
    is changed as follows:                                                   lines unless indicated by an "X" in the
                                                                             Schedule.
    1. The following is added to Paragraph A.6.:
                                                                         (3) If there is an "X" in the schedule above under
        Utility Services - Direct Damage                                     Power Supply Property (including overhead
        (1) We will pay for loss of or damage to Covered                     transmission lines) for the described
            Property caused by the interruption of                           premises, then Paragraph G.23.b. is deleted
            services to the described premises. The                          with respect to this endorsement for such
            interruption must result from direct physical                    described premises and replaced with the
            loss or damage by a Covered Cause of Loss                        following:
            to the following property not on the described                   Power Supply Services, meaning the
            premises if such property is indicated by an
                                                                             following types of property supplying
            "X" in the schedule above.                                       electricity, steam or gas to the described
            (a) "Water Supply Services";                                     premises:
            (b) "Communication Supply Services"; or                          a. Utility generating plants;
            (c) "Power Supply Services."                                     b. Switching stations;
        (2) If there is an "X" in the schedule above under                   c. Substations;
            Communication Supply Property (including
                                                                             d. Transformers; and
            overhead transmission lines) for the described
            premises, then Paragraph G.3.b. is deleted                       e. Transmission lines.
            with respect to this endorsement for such
                                                                             It does not include overhead transmission
            described premises and replaced with the
            following:                                                       lines unless indicated by an "X" in the
                                                                             Schedule.
            Communication Supply Services, meaning,
                                                                         (4) The most we will pay for loss under this
            property supplying communication services,
                                                                             Coverage Extension in any one occurrence
            including telephone, radio, microwave or
            television services to the described premises,                   for the described premises is the Utility
            such as:                                                         Services Limit of Insurance shown in the
                                                                             schedule above or in the Declarations for
            a. Communication          transmission     lines,                such described premises.
                including optic fiber transmission lines;
                                                                         (5) Payments under this Additional Coverage are
            b. Coaxial cables; and                                           subject to and not in addition to the applicable
                                                                             Limit of Insurance.
            c. Microwave radio relays except satellites.
                                                                    2.   For the coverage provided by this endorsement,
                                                                         exclusions B.1.e. and B.2.a, do not apply.




SB-146856-D                                                                                                       Page 1 of 1
(Ed. 07/09)
                       Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 114 of 221
                                                                                                                            SB-146857-D
                                                                                                                              (Ed. 07/09)



                       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                              UTILITY SERVICES - TIME ELEMENT
            This endorsement modifies insurance provided under the following:

                  BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

            Prem. Loe.     Utility           Water        Communication         Communication         Power             Power
            No.            Services Limit    Supply       Supply Property       Supply Property       Supply            Supply
                           of Insurance                   (not including        (including            Property (not     Property
                                                          overhead              overhead              including         (including
                                                          transmission lines)   transmission lines)   overhead          overhead
                                                                                                      transmission      transmission
                                                                                                      lines)            lines)

            001            $      25,000     X                                  X                                       X

            * Information required to complete the Schedule, if not shown on this endorsement, will be shown in the Declarations.


            A. The Businessowners Property Coverage Special Form                    (3) If there is an "X" in the schedule above under
                  is changed as follows:                                                Communication Supply Property (including
                                                                                        overhead transmission lines) for the described
                  1. The following is added to Paragraph A.6.:                          premises, then Paragraph G.3.b. is deleted
                      Utility Services - Time Element                                   with respect to this endorsement for such
                                                                                        described premises and replaced with the
                      (1) When the Declarations show that you have                      following:
                          coverage for Business Income and Extra
                          Expense, you may extend that insurance to                     Communication Supply Services, meaning,
                          apply to the loss of Business Income or Extra                 property supplying communication services,
                          Expense caused by the interruption of                         including telephone, radio, microwave or
                          services to the described premises. The                       television services to the described premises,
                          interruption must result from direct physical                 such as:
                          loss or damage by a Covered Cause of Loss                     a. Communication          transmission     lines,
                          to the following property not on the described
                                                                                            including optic fiber transmission lines;
                          premises if such property is indicated by an
                          "X" in the schedule above.                                    b. Coaxial cables; and
                          (a) "Water Supply Services";                                  c. Microwave radio relays except satellites.
                          (b) "Communication Supply Services"; or                       It does not include overhead transmission
                                                                                        lines unless indicated by an "X" in the
                          (c) "Power Supply Services."
                                                                                        Schedule.
                      (2) We will pay the actual loss sustained from the
                                                                                    (4) If there is an "X" in the schedule above under
                          initial time of service(s) failure at the
                                                                                        Power Supply Property (including overhead
                          described premises but only when the service
                                                                                        transmission lines) for the described
iiiiiiii
                          interruptions at the described premises                       premises, then Paragraph G.23.b. is deleted

--
iiiiiiii
                          exceed 24 hours immediately following the
                                                                                        with respect to this endorsement for such
i iiiiiii                 direct physical loss or damage. Coverage
i iiiiiii                                                                               described premises and replaced with the
                          does not apply to any reduction of income                     following:
                          after service has been restored to your
                          premises.                                                     Power Supply Services, meaning the
                                                                                        following types of property supplying
                                                                                        electricity, steam or gas to the described
                                                                                        premises:


=

            SB-146857-D                                                                                                       Page 1 of2
            (Ed. 07/09)
       Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 115 of 221
                                                                                             SB-146857-D
                                                                                               (Ed. 07/09)


          a. Utility generating plants;                    (5) The most we will pay for loss under this
                                                               Coverage Extension in any one occurrence
          b. Switching stations;                               for the described premises is the Utility
          c. Substations;                                      Services Limit of Insurance shown in the
                                                               schedule above for such described premises.
          d. Transformers; and
                                                      2.   For the coverage provided by this endorsement,
          e. Transmission lines.                           exclusion 8.1.e. does not apply.
          It does not include overhead transmission
          lines unless indicated by an "X" in the
          Schedule.




SB-146857-D                                                                                    Page 2 of2
(Ed. 07/09)
                      Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 116 of 221
                                                                                                                              SB146902G
                                                                                                                                (Ed. 6-16)


                                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                HIRED AUTO AND NON-OWNED AUTO LIABILITY

            This endorsement modifies insurance provided under the following:
                BUSINESSOWNERS LIABILITY COVERAGE FORM
                BUSINESSOWNERS COMMON POLICY CONDITIONS
                                                                     SCHEDULE
                           Insurance is provided only with respect to those coverages for which a specific limit is shown:
                                                    COVERAGE                      LIMIT
                                           Hired Auto Liability:            $
                                           Non-owned Auto Liability:        $
                (If no entry appears above, information required to complete this endorsement will be shown in the Declarations as
                applicable to this endorsement.)
            PROVISIONS
            A. COVERAGE
                With respect only to the Coverage(s) for which a limit is shown in the SCHEDULE above, the insurance provided
                under Coverage A.1. Business Liability for "bodily injury" and "property damage" also applies to "bodily injury" or
                "property damage" arising out of the maintenance or use of a:
                •    "Hired auto" used by you or your "employee" in the course of your business; and/or
                •    "Non-owned auto" used in the course of your business. Maintenance or use of a "non-owned auto" includes test
                     driving in connection with an "auto business."
                With respect only to the coverage provided by this endorsement, under Coverages, coverage A.1. Business Liability
                is amended to:
                1.   Delete paragraph A.1.b.(1 )(b) and replace it with the following:
                     b. This insurance applies:
                          (1) To "bodily injury" and "property damage" only if:
                               (b) The "occurrence" occurs during the policy period; and
                2.   Delete paragraph A.1.b.(2),.
            B. LIMITS OF INSURANCE
                With respect only to the coverage provided by this endorsement, SECTION D. Liability And Medical Expenses
                Limits of Insurance is deleted in its entirety and replaced with the following:
                D. Limits Of Insurance
                     1.   Regardless of the number of:
iiiiiiii
                          a. Insureds;

--
i iiiiiii
                          b. Claims made or "suits" brought;
                          c. Persons or organizations making claims or bringing "suits"; or
                          d.   "Autos,"
                          the applicable Hired Auto Liability limit or Non-Owned Auto Liability limit shown in the Declarations is the most
                          we will pay for damages under SECTION A. Coverages because of all "bodily injury" and "property damage"
                          resulting from any one "occurrence" arising out of the maintenance or use of a "hired auto" or "non-owned
                          auto."

=           SB146902G (Ed. 6-16)
            Page 1 of 3


                                                           Copyright, CNA All Rights Reserved.
            Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 117 of 221
                                                                                                                SB146902G
                                                                                                                  (Ed. 6-16)


C. EXCLUSIONS
   With respect only to the insurance provided by this endorsement:
   1.   Under Exclusions, the paragraph entitled Applicable to Business Liability Coverage is amended to delete all
        exclusions except exclusions a., b., d., e., f. and i. and to add the following exclusions:
        This insurance does not apply to:
        •     Fellow Employee
              "Bodily injury" to:
              (1) Any fellow "employee" of the insured arising out of and in the course of employment by the insured or
                  while performing duties related to the conduct of the insured's business; or
              (2) The spouse, child, parent, brother or sister of that fellow "employee" while as a consequence of
                  Paragraph (1) above.
        •     Care, Custody or Control
              "Property Damage" to:
              (1) Property owned or being transported by, or rented or loaned to the insured; or
              (2) Property in the care, custody or control of the insured.
D. WHO IS AN INSURED
   With respect only to the insurance provided by this endorsement, Who Is An Insured is replaced by the following:
   Each of the following is an insured under this insurance to the extent set forth below:
   1.   You;
   2.   Subject to paragraph 3.c. below, your "employee" while operating an "auto" hired or rented under a contract or
        agreement, with your permission, in that "employee's" name, while performing duties related to the conduct of
        your business.
   3. Anyone else including any partner or "executive officer'' of yours while using with your permission a "hired auto" or
      a "non-owned auto" except:
        a.    The owner or lessee (of whom you are a sublessee) of a "hired auto" or the owner or lessee of a "non-owned
              auto" or any agent or "employee" of any such owner or lessee;
        b. Your "employee" if the covered "auto" is owned by that "employee" or a member of his or her household;
        c. Your "employee" if the covered "auto" is leased, hired or rented by him or her or a member of his or her
              household under a lease or rental agreement for a period of 180 days or more;
        d. Any partner or "executive officer'' with respect to any "auto" owned by such partner or officer or a member of
           his or her household;
        e. Any partner or "executive officer'' with respect to any "auto" leased or rented to such partner or officer or a
              member of his or her household under a lease or rental agreement for a period of 180 days or more;
        f.    Any person while employed in or otherwise engaged in duties in connection with an "auto business," other
              than an "auto business" you operate;
        g. Anyone other than your "employees," partners, a lessee or borrower or any of their "employees," while
              moving property to or from a "hired auto" or a "non-owned auto"; or
   4.   Any other person or organization, but only with respect to their liability because of acts or omissions of an insured
        under 1., 2. or 3. above.
E. AMENDED DEFINITION
   The Definition of "insured contract" in Section F - Definitions is amended by the addition of the following exceptions to
   paragraph f.:
SB146902G (Ed. 6-16)
Page 2 of 3


                                                Copyright, CNA All Rights Reserved.
                      Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 118 of 221
                                                                                                                            58146902G
                                                                                                                              (Ed. 6-16)


                 Paragraph f. does not include that part of any contract or agreement:
                 •   That pertains to the loan, lease or rental of an "auto" to you or any of your "employees," if the "auto" is loaned,
                     leased or rented with a driver; or
                 •   That holds a person or organization engaged in the business of transporting property by "auto" for hire harmless
                     for your use of a covered "auto" over a route or territory that person or organization is authorized to serve by
                     public authority.
            F.   ADDITIONAL DEFINITIONS
                 Section F. Definitions is amended by the addition of the following definitions:
                 a. "Auto Business" means the business or occupation of selling, repairing, servicing, storing or parking "autos."
                 b. "Hired auto" means any "auto" you or your "employee" lease, hire, rent or borrow in the course of your business.
                    This does not include:
                     i.   Any "auto" you lease, hire or rent under a lease or rental agreement for a period of 180 days or more, or
                     ii. Any "auto" you lease, hire, rent or borrow from any of your "employees," partners, stockholders, or members
                         of their households.
                 c. "Non-owned auto" means any "autos" you do not own, lease, hire, rent or borrow that are being used in the
                     course and scope of your business at the time of the "occurrence." This includes "autos" owned by your
                     "employees" or partners or members of their households but only while being used in the course and scope of
                     your business at the time of the "occurrence."
                     If you are a sole proprietor, "non-owned auto" means any "autos" you do not own, lease, hire, rent or borrow that
                     are being used in the course and scope of your business or personal affairs at the time of the "occurrence."
            G. With respect only to the operation of a "hired auto" or "non-owned auto," Paragraph H, of the Businessowners
                 Common Policy Conditions is deleted and replaced with the following:
                 H. Other Insurance
                     1.   Except for any liability assumed under an "insured contract" the insurance provided by this Coverage Form is
                          excess over any other collectible insurance.
                          However, if your business is the selling, servicing, repairing, parking or storage of "autos," the insurance
                          provided by this endorsement is primary when covered "bodily injury" or "property damage" arises out of the
                          operation of a customer's "auto" by you or your "employee."
                     2.   When this Coverage Form and any other Coverage Form or policy covers on the same basis, either excess or
                          primary, we will pay only our share. Our share is the proportion that the Limit of Insurance of our Coverage
                          Form bears to the total of the limits of all the Coverage Forms and policies covering on the same basis.




            All other terms and conditions of the Policy remain unchanged.




---
iiiiiiii




-
i iiiiiii




=           58146902G (Ed. 6-16)
            Page 3 of 3


                                                            Copyright, CNA All Rights Reserved.
            Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 119 of 221
                                                                                                                    SB146932F
                                                                                                                     (Ed. 6-16)


                                             BLANKET ADDITIONAL INSURED
                                                        AND
                                      LIABILITY EXTENSION ENDORSEMENT
This endorsement modifies insurance provided under the following:

BUSINESSOWNERS LIABILITY COVERAGE FORM
BUSINESSOWNERS COMMON POLICY CONDITIONS


                                                        TABLE OF CONTENTS
     I.    Blanket Additional Insured Provisions
           A. Additional Insured - Blanket Vendors
           B. Miscellaneous Additional Insureds
           C. Additional Provisions Pertinent to Additional Insured Coverage
               1.   Primacx - Noncontributocx grovision
               2.   Definition of "written contract."
     II.   Liabmix Extension Coverages
           A. Bodilx lnjucx - Exganded Definition
           B. Broad Knowledge of Occurrence
           C. Estates 1 Legal Regresentatives and Sgouses
           D. Legal Liabmix - Damage to Premises
           E. Personal and Advertising lnju[X - Discrimination or Humiliation
           F. Personal and Advertising lnju[X - Broadened Eviction
           G. Waiver of Subrogation - Blanket

I.   BLANKET ADDITIONAL INSURED PROVISIONS
     A. ADDITIONAL INSURED - BLANKET VENDORS
           Who Is An Insured is amended to include as an additional insured any person or organization (referred to below
           as vendor) with whom you agreed under a "written contract" to provide insurance, but only with respect to "bodily
           injury" or "property damage" arising out of "your products" which are distributed or sold in the regular course of the
           vendor's business, subject to the following additional exclusions:
           1. The insurance afforded the vendor does not apply to:
               a. "Bodily injury" or "property damage" for which the vendor is obligated to pay damages by reason of the
                    assumption of liability in a contract or agreement. This exclusion does not apply to liability for damages
                    that the vendor would have in the absence of the contract or agreement;
               b. Any express warranty unauthorized by you;
               c.   Any physical or chemical change in the product made intentionally by the vendor;
               d. Repackaging, except when unpacked solely for the purpose of inspection, demonstration, testing, or the
                    substitution of parts under instructions from the manufacturer, and then repackaged in the original
                    container;

SB146932F (6-16)
Page 1 of7


                                                 Copyright, CNA All Rights Reserved.
                    Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 120 of 221
                                                                                                                                SB146932F
                                                                                                                                 (Ed. 6-16)


                        e. Any failure to make such inspections, adjustments, tests or servicing as the vendor has agreed to make
                             or normally undertakes to make in the usual course of business, in connection with the distribution or sale
                             of the products;
                        f.   Demonstration, installation, servicing or repair operations, except such operations performed at the
                             vendor's premises in connection with the sale of the product;
                        g. Products which, after distribution or sale by you, have been labeled or relabeled or used as a container,
                             part or ingredient of any other thing or substance by or for the vendor; or
                        h. "Bodily injury" or "property damage" arising out of the sole negligence of the vendor for its own acts or
                             omissions or those of its employees or anyone else acting on its behalf. However, this exclusion does not
                             apply to:
                             (1) The exceptions contained in Subparagraphs d. or f.; or
                             (2) Such inspections, adjustments, tests or servicing as the vendor has agreed to make or normally
                                 undertakes to make in the usual course of business, in connection with the distribution or sale of the
                                 products.
                   2. This insurance does not apply to any insured person or organization, from whom you have acquired such
                        products, or any ingredient, part or container, entering into, accompanying or containing such products.
                   3.   This provision 2. does not apply to any vendor included as an insured by an endorsement issued by us and
                        made a part of this Policy.
                   4.   This provision 2. does not apply if "bodily injury" or "property damage" included within the "products-
                        completed operations hazard" is excluded either by the provisions of the Policy or by endorsement.
               B. MISCELLANEOUS ADDITIONAL INSUREDS
                   1.   Who Is An Insured is amended to include as an insured any person or organization (called additional
                        insured) described in paragraphs 3.a. through 3.j. below whom you are required to add as an additional
                        insured on this policy under a "written contract.":
                   2.   However, subject always to the terms and conditions of this policy, including the limits of insurance, we will
                        not provide the additional insured with:
                        a. A higher limit of insurance than required by such "written contract";
                        b. Coverage broader than required by such "written contract" and in no event greater than that described by
                             the applicable paragraph a. through k. below; or
                        c.   Coverage for "bodily injury" or "property damage" included within the "products-completed operations
                             hazard." But this paragraph c. does not apply to the extent coverage for such liability is provided by
                             paragraph 3.j. below.
                   Any coverage granted by this endorsement shall apply only to the extent permitted by law.
                   3.   Only the following persons or organizations can qualify as additional insureds under this endorsement:
                        a.   Controlling Interest
                             Any persons or organizations with a controlling interest in you but only with respect to their liability arising
                             out of:
iiiiiiii




---
                             (1) such person or organization's financial control of you; or

i iiiiiii                    (2) Premises such person or organization owns, maintains or controls while you lease or occupy these
                                 premises;
                             provided that the coverage granted to such additional insureds does not apply to structural alterations,
                             new construction or demolition operations performed by or for such additional insured.




=           SB146932F (6-16)
            Page 2 of7


                                                           Copyright, CNA All Rights Reserved.
        Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 121 of 221
                                                                                                                  SB146932F
                                                                                                                   (Ed. 6-16)


           b.   Co-owner of Insured Premises
                A co-owner of a premises co-owned by you and covered under this insurance but only with respect to the
                co-owners liability for "bodily injury", "property damage" or "personal and advertising injury" as co-owner
                of such premises.
           c.   Grantor of Franchise
                Any person or organization that has granted a franchise to you, but only with respect to such person or
                organization's liability for "bodily injury", "property damage", or "personal and advertising injury" as
                granter of a franchise to you.
           d.   Lessor of Equipment
                Any person or organization from whom you lease equipment, but only with respect to liability for "bodily
                injury", "property damage" or "personal and advertising injury" caused in whole or in part by your
                maintenance, operation or use of such equipment, provided that the "occurrence" giving rise to such
                "bodily injury" or "property damage" or the offense giving rise to such "personal and advertising injury"
                takes place prior to the termination of such lease.
           e.   Lessor of Land
                Any person or organization from whom you lease land, but only with respect to liability for "bodily injury",
                "property damage" or "personal and advertising injury" arising out of the ownership, maintenance or use
                of that specific part of the land leased to you, provided that the "occurrence" giving rise to such "bodily
                injury" or "property damage" or the offense giving rise to such "personal and advertising injury", takes
                place prior to the termination of such lease. The insurance hereby afforded to the additional insured does
                not apply to structural alterations, new construction or demolition operations performed by, on behalf of or
                for such additional insured.
           f.   Lessor of Premises
                An owner or lessor of premises leased to you, or such owner or lessor's real estate manager, but only
                with respect to liability for "bodily injury", "property damage" or "personal and advertising injury" arising
                out of the ownership, maintenance or use of such part of the premises leased to you, and provided that
                the "occurrence" giving rise to such "bodily injury" or "property damage" or the offense giving rise to such
                "personal and advertising injury", takes place prior to the termination of such lease. The insurance hereby
                afforded to the additional insured does not apply to structural alterations, new construction or demolition
                operations performed by, on behalf of or for such additional insured.
           g.   Mortgagee, Assignee or Receiver
                A mortgagee, assignee or receiver of premises but only with respect to such mortgagee, assignee, or
                receiver's liability for "bodily injury", "property damage" or "personal and advertising injury" arising out of
                the ownership, maintenance, or use of a premises by you.
                This insurance does not apply to structural alterations, new construction or demolition operations
                performed by, on behalf of or for such additional insured.
           h.   State or Political Subdivisions
                A state or government agency or subdivision or political subdivision that has issued a permit or
                authorization, but only with respect to such government agency or subdivision or political subdivision's
                liability for "bodily injury", "property damage" or "personal and advertising injury" arising out of:
                (1) The following hazards in connection with premises you own, rent, or control and to which this
                    insurance applies:
                    (a) The existence, maintenance, repair, construction, erection, or removal of advertising signs,
                        awnings, canopies, cellar entrances, coal holes, driveways, manholes, marquees, hoistaway
                        openings, sidewalk vaults, street banners, or decorations and similar exposures; or
                    (b) The construction, erection, or removal of elevators; or
                    (c) The ownership, maintenance or use of any elevators covered by this insurance; or

SB146932F (6-16)
Page 3 of7


                                              Copyright, CNA All Rights Reserved.
                    Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 122 of 221
                                                                                                                             SB146932F
                                                                                                                              (Ed. 6-16)


                             (2) The permitted or authorized operations performed by you or on your behalf. But the coverage granted
                                 by this paragraph does not apply to:
                                 (a) "Bodily injury", "property damage" or "personal and advertising injury" arising out of operations
                                     performed for the state or government agency or subdivision or political subdivision; or
                                 (b) "Bodily injury" or "property damage" included within the "products-completed operations hazard."
                                 With respect to this provision's requirement that additional insured status must be requested under a
                                 "written contract", we will treat as a "written contract" any governmental permit that requires you to
                                 add the governmental entity as an additional insured.
                        i.   Trade Show Event Lessor
                             With respect to your participation in a trade show event as an exhibitor, presenter or displayer, any
                             person or organization .whom you are required to include as an additional insured, but only with respect
                             to such person or organization's liability for "bodily injury", "property damage", or "personal and
                             advertising injury" cause by:
                             a. Your acts or omissions; or
                             b. Acts or omissions of those acting on your behalf;
                             in the performance of your ongoing operations at the trade show premises during the trade show event.
                        j.   Other Person or Organization
                             Any person or organization who is not an additional insured under paragraphs a. through i. above. Such
                             additional insured is an insured solely for "bodily injury", "property damage" or "personal and advertising
                             injury" for which such additional insured is liable because of your acts or omissions.
                             The coverage granted by this paragraph does not apply to any person or organization:
                             (1) For "bodily injury," "property damage," or "personal and advertising injury" arising out of the rendering
                                 or failure to render any professional services;
                             (2) For "bodily injury" or "property damage" included in the "products-completed operations hazard." But
                                 this provision (2) does not apply to such "bodily injury" or "property damage" if:
                                 (a) It is entirely due to your negligence and specifically results from your work for the additional
                                     insured which is the subject to the "written contract"; and
                                 (b) The "written contract" requires you to make the person or organization an additional insured for
                                     such "bodily injury" or "property damage"; or
                             (3) Who is afforded additional insured coverage under another endorsement attached to this policy.
               C. ADDITIONAL PROVISIONS PERTINENT TO ADDITIONAL INSURED COVERAGE
                   With respect only to additional insured coverage provided under paragraphs A. and B. above:
                   1.   The BUSINESSOWNERS COMMON POLICY CONDITIONS are amended to add the following to the
                        Condition entitled Other Insurance:
                        This insurance is excess of all other insurance available to an additional insured whether primary, excess,
iiiiiiii
                        contingent or on any other basis. However, if a "written contract" requires that this insurance be either primary
                        or primary and noncontributing, then this insurance will be primary and non-contributory relative solely to

--
i iiiiiii
                   2.
                        insurance on which the additional insured is a named insured.
                        Under Liability and Medical Expense Definitions, the following definition is added:
                        "Written contract" means a written contract or agreement that requires you to make a person or organization
                        an additional insured on this policy, provided the contract or agreement:
                        a. Is currently in effect or becomes effective during the term of this policy; and
                        b. Was executed prior to:

=           SB146932F (6-16)
            Page 4 of7


                                                          Copyright, CNA All Rights Reserved.
           Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 123 of 221
                                                                                                                       SB146932F
                                                                                                                        (Ed. 6-16)


                    (1) The "bodily injury" or "property damage"; or
                    (2) The offense that caused the "personal and advertising injury";
                    for which the additional insured seeks coverage.
II.   LIABILITY EXTENSION COVERAGES
      It is understood and agreed that this endorsement amends the Businessowners Liability Coverage Form. If any
      other endorsement attached to this policy amends any provision also amended by this endorsement, then that other
      endorsement controls with respect to such provision, and the changes made by this endorsement to such provision do
      not apply.
      A. Bodily Injury - Expanded Definition
          Under Liability and Medical Expenses Definitions, the definition of "Bodily injury" is deleted and replaced by the
          following:
          "Bodily injury" means physical injury, sickness or disease sustained by a person, including death, humiliation,
          shock, mental anguish or mental injury by that person at any time which results as a consequence of the physical
          injury, sickness or disease.
      B. Broad Knowledge of Occurrence
          Under Businessowners Liability Conditions, the Condition entitled Duties In The Event of Occurrence, Offense,
          Claim or Suit is amended to add the following:
          Paragraphs a. and b. above apply to you or to any additional insured only when such "occurrence," offense, claim
          or "suit" is known to:
          (1) You or any additional insured that is an individual;
          (2) Any partner, if you or an additional insured is a partnership;
          (3) Any manager, if you or an additional insured is a limited liability company;
          (4) Any "executive officer'' or insurance manager, if you or an additional insured is a corporation;
          (5) Any trustee, if you or an additional insured is a trust; or
          (6) Any elected or appointed official, if you or an additional insured is a political subdivision or public entity.
          This paragraph applies separately to you and any additional insured.
      C. Estates, Legal Representatives and Spouses
          The estates, heirs, legal representatives and spouses of any natural person insured shall also be insured under
          this policy; provided, however, coverage is afforded to such estates, heirs, legal representatives and spouses only
          for claims arising solely out of their capacity as such and, in the case of a spouse, where such claim seeks
          damages from marital common property, jointly held property, or property transferred from such natural person
          insured to such spouse. No coverage is provided for any act, error or omission of an estate, heir, legal
          representative or spouse outside the scope of such person's capacity as such, provided however that the spouse
          of a natural person Named Insured and the spouses of members or partners of joint venture or partnership
          Named Insureds are insureds with respect to such spouses' acts, errors or omissions in the conduct of the Named
          lnsured's business.
      D. Legal Liability - Damage To Premises
          1.   Under B. Exclusions, 1. Applicable to Business Liability Coverage, Exclusion k. Damage To Property, is
               replaced by the following:
               k.   Damage To Property
                    "Property damage" to:
                    1.   Property you own, rent or occupy, including any costs or expenses incurred by you, or any other
                         person, organization or entity, for repair, replacement, enhancement, restoration or maintenance of

SB146932F (6-16)
Page 5 of7


                                                  Copyright, CNA All Rights Reserved.
                    Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 124 of 221
                                                                                                                              SB146932F
                                                                                                                               (Ed. 6-16)


                                 such property for any reason, including prevention of injury to a person or damage to another's
                                 property;
                            2.   Premises you sell, give away or abandon, if the "property damage" arises out of any part of those
                                 premises;
                            3.   Property loaned to you;
                            4.   Personal property in the care, custody or control of the insured;
                            5.   That particular part of any real property on which you or any contractors or subcontractors working
                                 directly or indirectly in your behalf are performing operations, if the "property damage" arises out of
                                 those operations; or
                            6.   That particular part of any property that must be restored, repaired or replaced because "your work"
                                 was incorrectly performed on it.
                            Paragraph 2 of this exclusion does not apply if the premises are "your work" and were never occupied,
                            rented or held for rental by you.
                            Paragraphs 1, 3, and 4, of this exclusion do not apply to "property damage" (other than damage by fire or
                            explosion) to premises:
                            (1) rented to you:
                            (2) temporarily occupied by you with the permission of the owner, or
                            (3) to the contents of premises rented to you for a period of 7 or fewer consecutive days.
                            A separate limit of insurance applies to Damage To Premises Rented To You as described in Section D -
                            Liability and Medical Expenses Limits of Insurance.
                            Paragraphs 3, 4, 5, and 6 of this exclusion do not apply to liability assumed under a sidetrack agreement.
                            Paragraph 6 of this exclusion does not apply to "property damage" included in the "products-completed
                            operations hazard."
                   2.   Under B. Exclusions, 1. Applicable to Business Liability Coverage, the following paragraph is added, and
                        replaces the similar paragraph, if any, beneath paragraph (14) of the exclusion entitled Personal and
                        Advertising injury:
                        Exclusions c, d, e, f, g, h, i, k, I, m, n, and o, do not apply to damage by fire to premises while rented to you
                        or temporarily occupied by you with permission of the owner or to the contents of premises rented to you for a
                        period of 7 or fewer consecutive days. A separate limit of insurance applies to this coverage as described in
                        Section D. Liability And Medical Expenses Limits Of Insurance.
                   3.   The first Paragraph under item 5. Damage To Premises Rented To You Limit of the section entitled Liability
                        And Medical Expenses Limits Of Insurance is replaced by the following:
                        The most we will pay under Business Liability for damages because of "property damage" to any one
                        premises, while rented to you or temporarily occupied by you with the permission of the owner, including
                        contents of such premises rented to you for a period of 7 or fewer consecutive days, is the Damage to
                        Premises Rented to You limit shown in the Declaration.
               E. Personal and Advertising Injury - Discrimination or Humiliation

---
iiiiiiii


i iiiiiii

i iiiiiii
                   1.   Under Liability and Medical Expenses Definitions, the definition of "personal and advertising injury" is
                        amended to add the following:
                        h. Discrimination or humiliation that results in injury to the feelings or reputation of a natural person, but only
                            if such discrimination or humiliation is:
                            (1) Not done intentionally by or at the direction of:
                                 (a) The insured; or


=           SB146932F (6-16)
            Page 6 of7


                                                           Copyright, CNA All Rights Reserved.
          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 125 of 221
                                                                                                                   SB146932F
                                                                                                                    (Ed. 6-16)


                      (b) Any "executive officer," director, stockholder, partner, member or manager (if you are a limited
                          liability company) of the insured; and
                  (2) Not directly or indirectly related to the employment, prospective employment, past employment or
                      termination of employment of any person or person by any insured.
         2.   Under B. Exclusions, 1. Applicable to Business Liability Coverage, the exclusion entitled Personal and
              Advertising injury is amended to add the following additional exclusions:
              (15)Discrimination Relating to Room, Dwelling or Premises
                  Caused by discrimination directly or indirectly related to the sale, rental, lease or sub-lease or prospective
                  sale, rental, lease or sub-lease of any room, dwelling or premises by or at the direction of any insured.
              (16)Employment Related Discrimination
                  Discrimination or humiliation directly or indirectly related to the employment, prospective employment,
                  past employment or termination of employment of any person by any insured.
              (17) Fines or Penalties
                  Fines or penalties levied or imposed by a governmental entity because of discrimination.
         3.   This provision (Personal and Advertising Injury - Discrimination or Humiliation) does not apply if
              Personal and Advertising Injury Liability is excluded either by the provisions of the Policy or by
              endorsement.
    F.   Personal and Advertising Injury - Broadened Eviction
         Under Liability and Medical Expenses Definitions, the definition of "Personal and advertising injury" is
         amended to delete Paragraph c. and replace it with the following:
         c.   The wrongful eviction from, wrongful entry into, or invasion of the right of private occupancy of a room
              dwelling or premises that a person or organization occupies committed by or on behalf of its owner, landlord
              or lessor.
    G. Waiver of Subrogation - Blanket
         We waive any right of recovery we may have against:
         a. Any person or organization with whom you have a written contract that requires such a waiver.



All other terms and conditions of the Policy remain unchanged.




SB146932F (6-16)
Page 7 of7


                                               Copyright, CNA All Rights Reserved.
                     Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 126 of 221
                                                                                                                             SB-146997-B
                                                                                                                               (Ed. 07/09)



                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                     "FUNGUS," WET ROT, DRY ROT AND BACTERIA
                                          EXCLUSION/LIMITED COVERAGE
            This endorsement modifies insurance provided under the following:

                BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

            A. The following is added to Section 8.1., EXCLUSIONS:                   bacteria is the result of Covered Causes of Loss
                                                                                     other than fire or lightning that occur during the
                m. "Fungus," Wet Rot, Dry Rot And Bacteria                           policy period and only if all reasonable means
                    Presence, growth, proliferation, spread or any                   were used to save and preserve the property from
                    activity of "fungus," wet or dry rot or bacteria.                further damage at the time of and after that
                                                                                     occurrence.
                    But if "fungus," wet or dry rot or bacteria results in
                    a "specified cause of loss," we will pay for the loss       2. We will pay for loss or damage by "fungus," wet or
                    or damage caused by that "specified cause of                     dry rot or bacteria. As used in this Limited
                    loss."                                                           Coverage, the term loss or damage means:

                    This exclusion does not apply:
                                                                                     a. Direct physical loss or damage to Covered
                                                                                          Property caused by "fungus," wet or dry rot or
                    1. When "fungus," wet or dry rot or bacteria                          bacteria, including the cost of removal of the
                         results from fire or lightning; or                               "fungus," wet or dry rot or bacteria;
                    2.   To the extent that coverage is provided in the              b. The cost to tear out and replace any part of
                         Additional Coverage - Limited Coverage For                       the building or other property as needed to
                         "Fungus," Wet Rot, Dry Rot And Bacteria                          gain access to the "fungus," wet or dry rot or
                         Section of this endorsement.                                     bacteria; and
            B. Section 8.2., EXCLUSIONS, Paragraph 2.d.(2), is                       c.   The cost of testing performed after removal,
               deleted in its entirety and replaced by the following:                     repair, replacement or restoration of the
                                                                                          damaged property is completed, provided
                         (2) Rust    or other corrosion,       decay,
                                                                                          there is a reason to believe that "fungus," wet
                             deterioration, hidden or latent defect or
                                                                                          or dry rot or bacteria are present.
                             any quality in property that causes it to
                             damage or destroy itself;                          3.   The coverage described under paragraph D.2. of
                                                                                     this Limited Coverage endorsement is limited to
            C. Section 8.1.,EXCLUSIONS, Paragraph g. Water, is
                                                                                     $25,000, unless a different limit is shown in the
               deleted in its entirety and replaced by the following:
                                                                                     Declarations. Regardless of the number of claims,
                    g.   Water                                                       this limit is the most we will pay for the total of all
                                                                                     loss or damage arising out of all occurrences of
                         Continuous or repeated seepage or leakage                   Covered Causes of Loss (other than fire or
                         of water, or the presence or condensation of                lightning) which take place in a 12-month period
                         humidity, moisture or vapor, that occurs over               (starting with the beginning of the present annual
                         a period of 14 days or more. But if the                     policy period). With respect to a particular
                         continuous or repeated seepage or leakage of                occurrence of loss which results in "fungus," wet
                         water, or the presence or condensation of                   or dry rot or bacteria, we will not pay more than a
                         humidity, moisture or vapor results in                      total of $25,000 (unless a different limit is shown

----
iiiiiiii




i iiiiiii
                         Equipment      Breakdown     not    otherwise
                         excluded, we will pay for the loss or damage
                         caused by that Equipment Breakdown.
                                                                                     in the Declarations), even if the "fungus," wet or
                                                                                     dry rot or bacteria continues to be present or
                                                                                     active, or recurs, in a later policy period.
            D. The following is added to Section A. COVERAGE,                   4.   The coverage provided under this Limited
               Paragraph 5. of the ADDITIONAL COVERAGES                              Coverage does not increase the applicable Limit
               section:                                                              of Insurance on any Covered Property. If a
                Additional Coverage - Limited Coverage                for            particular occurrence results in loss or damage by
                "Fungus," Wet Rot, Dry Rot and Bacteria                              "fungus," wet or dry rot or bacteria, and other loss
                                                                                     or damage, we will not pay more, for the total of all
                1. The coverage described below in paragraphs D.2.                   loss or damage, than the applicable Limit of
                   and D.6. of this Limited Coverage endorsement                     Insurance on the affected Covered Property.
=                   only applies when the "fungus," wet or dry rot or


            SB-146997-B                                                                                                        Page 1 of2
            (Ed. 07/09)
         Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 127 of 221
                                                                                                              SB-146997-B
                                                                                                                (Ed. 07/09)


        If there is covered loss or damage to Covered                   b. If a covered suspension of "operations" was
        Property, not caused by "fungus," wet or dry rot or                 caused by loss or damage other than
        bacteria, loss payment will not be limited by the                   "fungus," wet or dry rot or bacteria but
        terms of this Limited Coverage, except to the                       remediation of "fungus," wet or dry rot or
        extent that "fungus," wet or dry rot or bacteria                    bacteria prolongs the "period of restoration,"
        causes an increase in the loss. Any such increase                   we will pay for loss and/or expense sustained
        in the loss will be subject to the terms of this                    during the delay (regardless of when such a
        Limited Coverage.                                                   delay occurs during the "period of
                                                                            restoration"), but such coverage is limited to
   5.   The terms of this Limited Coverage do not
                                                                            30 days. The days need not be consecutive.
        increase or reduce the coverage provided under
        the Additional Coverages Section of the Special       E. Under this policy, we will not pay under the Ordinance
        Property Coverage Forms.                                   Or Law Coverage for:
   6.   The following paragraphs, 6.a. or 6.b. applies to          1.   Loss or expense sustained due to the
        the Business Income and Extra Expense coverage                  enforcement of any ordinance or law which
        and only if the suspension (slowdown or                         requires the demolition, repair, replacement,
        cessation) of "operations" satisfies all terms and              reconstruction, remodeling or remediation of
        conditions of the applicable Business Income and                property due to the presence, growth, proliferation,
        Extra Expense coverage. The coverage provided                   spread or any activity of "fungus," wet or dry rot or
        under this Limited Coverage is part of and does                 bacteria; or
        not increase the applicable Limit of Insurance on
                                                                   2.   The costs associated with the enforcement of any
        the Business Income and Extra Expense
        coverage.                                                       ordinance or law which requires any insured or
                                                                        others to test for, monitor, clean up, remove,
        a. If the loss which resulted in "fungus," wet or               contain, treat, detoxify or neutralize, or in any way
            dry rot or bacteria does not in itself                      respond to, or assess the effects of "fungus," wet
            necessitate a suspension of "operations," but               or dry rot or bacteria.
            such suspension is necessary due to loss or
                                                              F.   The following is added to Section G. PROPERTY
            damage to property caused by "fungus," wet
                                                                   DEFINITIONS:
            or dry rot or bacteria, then our payment under
            Business Income and/or Extra Expense is                "Fungus" means any type or form of fungus, including
            limited to the amount of loss and/or expense           mold or mildew, and any mycotoxins, spores, scents
            sustained in a period of not more than 30              or by-products produced or released by fungi.
            days. The days need not be consecutive.




SB-146997-B                                                                                                     Page 2 of2
(Ed. 07/09)
                      Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 128 of 221
                                                                                                                           SB147001C
                                                                                                                            (Ed. 05/15)



                                                        NEW MEXICO CHANGES
            This endorsement modifies insurance provided under the following:
                BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
                BUSINESSOWNERS COMMON POLICY CONDITIONS
            A. The Businessowners Special Property Coverage Form is amended as follows:
                1.   The following exclusion and related provisions are added to Paragraph 8.2. Exclusions:
                     r.   We will not pay for loss or damage arising out of any act committed:
                          (1) By or at the direction of any insured; and
                          (2) With the intent to cause a loss.
                     s.   However, this exclusion will not apply to deny coverage to an innocent co-insured victim of "domestic abuse"
                          who did not cooperate in or contribute to the creation of the loss provided that the loss is otherwise covered
                          under this Coverage Form and is proximately related to and in furtherance of "domestic abuse."
                     t.   If we pay a claim pursuant to Paragraph 1.b., our payment to the insured is limited to the extent of that
                          person's interest in the property. In no event will we pay more than the Limit of Insurance.
                2.   With respect to coverage provided under this Policy for one through four family residential buildings which you
                     own and lease to others for use as a residence, the following is added to Paragraph E.4. Loss Payment Property
                     Loss Condition and supersedes any provision to the contrary:
                     a. We will pay, subject to the Limit of Insurance, no more than the actual cash value of the damaged residential
                          building until the actual repair or replacement is complete. However, if the actual cash value amount is
                          insufficient to initiate repair or replacement of the damaged residential building, we will advance to you the
                          amount necessary for you to initiate such repair or replacement. After the payment of actual cash value or
                          such greater amount as described above, we will advance further amounts as necessary to continue the
                          repair or replacement. The total of all advances and other payments hereunder will not exceed the amount
                          allowed under Paragraph 4.e.(1 )(c), nor will that total exceed the amount of loss payment we agree upon.
                          Under this loss settlement procedure, the following special provisions apply:
                          (1) You shall promptly forward to us evidence of the agreement with the party repairing or replacing the
                              damaged residential building, showing the cost and estimated completion date of the repairs to the
                              building; and
                          (2) We will send to you the balance, if any, of the loss payment previously agreed upon when you forward to
                              us evidence of the completion of the repairs to the damaged residential building.
                     b.   Paragraph 4.e.(2) concerning the "Actual Cash Value Buildings" option does not apply.
            B. The Businessowners Common Policy Conditions are amended as follows:
                1.   Paragraph A.2. Cancellation is replaced by the following:
                2.   Permissible Reasons And Notice Period
                     a. If this policy has been in effect less than 60 days and is not a renewal of a policy we issued, we may cancel
iiiiiiii                  for any reason by mailing or delivering to the first Named Insured written notice of cancellation at least 1O
                          days before the effective date of cancellation, provided that the cancellation becomes effective before the

--
i iiiiiii
                          Policy has been in effect for 60 days.
                     b. If Paragraph a. does not apply, we may cancel only for one or more of the following reasons:
                          (1) Nonpayment of premium.
                          (2) There has been a substantial change in the risk assumed by us since the policy was issued.
                          (3) The policy was obtained through material misrepresentation, fraudulent statements, omissions or
                              concealment of fact material to the acceptance of the risk or to the hazard assumed by us.

=
            SB147001C(Ed.0~1~
            Page 1 of2

                                                            Copyright, CNA All Rights Reserved.
          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 129 of 221
                                                                                                                     SB147001C
                                                                                                                      (Ed. 05/15)


              (4) Willful and negligent acts or omissions by the insured have substantially increased the hazards insured
                  against.
              (5) You presented a claim based on fraud or material misrepresentation.
         c.   If we cancel subject to 2.b. above, we will mail or deliver to the first Named Insured written notice of
              cancellation at least:
              (1) 10 days before the effective date of cancellation, for the reason set forth in 2.b.(1 ).
              (2) 30 days before the effective date of cancellation, for the reason set forth in 2.b.(2).
              (3) 15 days before the effective date of cancellation, for a reason set forth in 2.b.(3), 2.b.(4) or 2.b.(5).
              The written notice will state the reason for cancellation, except that such statement may be omitted from a
              notice mailed to an additional insured or lienholder under this policy.
    2.   The following is added to Paragraph K. Transfer Of Rights Of Recovery Against Others To Us:
         If we pay an innocent co-insured victim of "domestic abuse" for loss arising out of an act of "domestic abuse" by
         another insured, the rights of the innocent co-insured to recover damages from the perpetrator of the "domestic
         abuse" are transferred to us to the extent of our payment. Following the loss, the innocent co-insured may not
         waive such rights to recover against the perpetrator of the "domestic abuse."
    3.   The following paragraph is added and supercedes any provision to the contrary:
         M. Nonrenewal
              If we decide not to renew this policy, we will mail or deliver to the first Named Insured written notice of the
              nonrenewal not less than 30 days before the expiration date of the policy.
              Proof of mailing will be sufficient proof of notice.
C. In Paragraphs A.1. and 8.2 of this endorsement, "domestic abuse" means attempting to cause or intentionally,
   knowingly or recklessly causing damage to property for the purpose of intimidating or attempting to control the
   behavior of another person, including a minor.




All other terms and conditions of the Policy remain unchanged.




SB147001C(Ed.0~1~
Page 2 of2

                                                  Copyright, CNA All Rights Reserved.
                     Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 130 of 221
                                                                                                                             SB-147005-A
                                                                                                                               (Ed. 01/06)



                      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                    NEW MEXICO CHANGES - PROPERTY CL.AIMS
                                   SETTLEMENT IN THE EVENT OF A CATASTROPHE
            This endorsement modifies insurance provided under the following:

                BUSINESSOWNERS POLICY

            A. The provisions of this endorsement apply to a claim for           2.   However, the time periods specified in 8.1. above
                direct physical loss or damage to Covered Property,                   will be extended by the period of time taken to
                provided that:                                                        resolve the following situations:
                1. The claim is for loss or damage that results from a                a. We suspect the claim is fraudulent and
                     catastrophe declared by the Superintendent of                         commence an investigation to make such a
                     Insurance; and                                                        determination;
                2.   The catastrophic event is a Covered Cause of                     b. You do not provide the necessary information
                     Loss.                                                                 regarding the nature of the claim, following
                                                                                           our request for such information, or
            8. The following provisions, 8.1. and 8.2., are added to
                the policy and supersede any provisions to the                        c.   You filed suit against us in connection with the
                contrary:                                                                  claim before expiration of the applicable
                                                                                           90-day period.
                1.   If you reported your claim to us:
                                                                             C. All other provisions of this policy continue to apply in
                     a. Before the catastrophe was declared, we will            the event of a catastrophe, including the Legal Action
                         reach agreement with you on the amount of
                                                                                Against Us and Appraisal conditions.
                         loss within 90 days after the date the
                         catastrophe was declared;                           D. This endorsement does not invalidate our right to deny
                                                                                 your claim, nor the right of either party to seek
                     b. After the catastrophe was declared, we will              judgment in a court having jurisdiction
                         reach agreement with you on the amount of
                         loss within 90 days after the date on which
                         you reported the claim.




--
iiiiiiii




-
i iiiiiii




=

            SB-147005-A                            Copyright, Insurance Services Office, Inc., 1993                            Page 1 of 1
            (Ed. 01/06)
         Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 131 of 221
                                                                                                                           SB-147023-A
                                                                                                                             (Ed. 01/06)



          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     FUNGI/ MOLD/ MILDEW/ YEAST/ MICROBE EXCLUSION WITH LIMITED
             PROPERTY DAMAGE EXCEPTION ENDORSEMENT
This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS LIABILITY COVERAGE FORM

A. The following exclusion is added to SECTION B. 1.,                               contact with, exposure to, existence of, or growth
   EXCLUSIONS - Applicable to Business Liability                                    or presence of any "fungi" or "microbes."
   Coverage:                                                                   (2) Any loss, cost or expense arising out of or relating
    This insurance does not apply to:                                              to the testing for, monitoring, cleaning up,
                                                                                   removing,      containing,   treating,  detoxifying,
    Fungi and Microbes                                                             neutralizing, remediating, or disposing of, or in any
    (1) "Bodily injury" arising out of or relating to, in whole                    way responding to or assessing the effects of
        or in part, the actual, alleged or threatened                              "fungi" or "microbes" by any insured or by anyone
        inhalation of, ingestion of, contact with, exposure                        else.
        to, existence of, or growth or presence of any                         This exclusion applies regardless of any other cause
        "fungi" or "microbes." This exclusion applies                          or event that contributes concurrently or in any
        regardless of any other cause or event that                            sequence to such injury, loss, cost or expense.
        contributes concurrently or in any sequence to
        such injury or damage, loss, cost or expense. But                 C. SECTION D., LIMITS OF INSURANCE is amended to
        this exclusion does not apply where your business                    append the following paragraph:
        is food processing, sales, or serving, and the                         Subject to 2., or 3. above, whichever applies, $25,000
        "bodily injury" is caused solely by food poisoning                     is the most we will pay under SECTION A for
        in connection with such processing, sales, or                          damages because of "property damage" arising out of
        serving.                                                               or relating to the actual, alleged or threatened contact
    (2) "Property damage" arising out of or related to the                     with, exposure to, existence of, or growth or presence
        actual, alleged or threatened contact with,                            of any "fungi" or "microbes."
        exposure to, existence of, or growth or presence                  D. The following definitions are added to SECTION F.,
        of any "fungi" or "microbes." But this exclusion                     DEFINITIONS:
        does not apply to the first $25,000 of "property
        damage" that would be covered by this policy but                       "Fungi" means any form of fungus, including but not
        for the operation of this exclusion. Refer to the                      limited to, yeast, mold, mildew, rust, smut or
        Limits section as revised by this endorsement (in                      mushroom, and including any spores, mycotoxins,
        Paragraph C., below).                                                  odors, or any other substances, products, or
                                                                               byproducts produced by, released by, or arising out of
    (3) Any loss, cost or expense (other than the first                        the current or past presence of fungi. But "fungi" does
        $25,000 of "property damage" as described                              not include any fungi intended by the insured for
        above) arising out of or relating to the testing for,                  consumption.
        monitoring, cleaning up, removing, containing,
        treating, detoxifying, neutralizing, remediating, or                   "Microbe(s)" means any non-fungal microorganism or
        disposing of, or in any way responding to or                           non-fungal, colony-form organism that causes infection
        assessing the effects of "fungi" or "microbes" by                      or disease. "Microbe" includes any spores,
        any insured or by anyone else.                                         mycotoxins, odors, or any other substances, products,
                                                                               or byproducts produced by, released by, or arising out
B. The following exclusion is added to SECTION B.1.q.                          of the current or past presence of microbes. But
   and B.1.r., EXCLUSIONS - Applicable to Business                             "microbe" does not mean microbes that were
   Liability Coverage / "Personal injury" or                                   transmitted directly from person to person.
   "advertising injury":
                                                                          E.   The following condition is added to SECTION E,
    This insurance does not apply to:                                          GENERAL CONDITIONS:
    Fungi and Microbes                                                         Arbitration
    (1) "Personal injury" or "advertising injury" arising out                  For "property damage," the determination of what
        of or relating to, in whole or in part, the actual,                    portion of a loss is attributable to "fungi" and
        alleged or threatened inhalation of, ingestion of,                     "microbes," and what portion is not, shall be made by
                                                                               us. If you disagree with that determination, you and we

SB-147023-A            Incorporates materials copyrighted by Insurance Services Office, reprinted with their permission.    Page 1 of2
(Ed. 01/06)
                         Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 132 of 221
                                                                                                                                         SB-147023-A
                                                                                                                                           (Ed. 01/06)


                    agree to submit to binding arbitration according to the                  shall be non-binding, and shall only proceed if both
                    Commercial Arbitration Rules of the American                             you and we agree to enter into it. The arbitration will
                    Arbitration Association, or according to such other                      be held in the county where you are headquartered, or
                    rules as you and we agree to. If binding arbitration of                  at such other location as may be jointly agreed to by
                    insurance disputes is not allowed in the state where                     the arbitrators. Each party will bear its own arbitration
                    you are incorporated (or, if you are not a corporation,                  costs.
                    the state where you are domiciled), then arbitration




--
iiiiiiii




 -
i iiiiiii
!!!!!!!!!!!!!!




=

                 SB-147023-A         Incorporates materials copyrighted by Insurance Services Office, reprinted with their permission.    Page 2 of2
                 (Ed. 01/06)
Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 133 of 221




              IMPORTANT INFORMATION
                FOR OUR NEW MEXICO BUSINESSOWNERS
                          POLICYHOLDERS

      ]NEW POLICY
       With respect to Rate Modification Plans, the New Mexico Rate Modification Plan Rule
       provides that, at the time a new policy is issued, the policyholder must be notified, in
       writing, of the factors, whether credits or debits, which resulted in the rating modification
       applied. If your policy is eligible for application of the Individual Risk Premium
       Modification Rating Plan, the factors used in the development of the Individual Risk
       Premium Modification are indicated below.

   [ X ] RENEWAL POLICY
       With respect to Rate Modification Plans, the New Mexico Rate Modification Plan Rule
       provides that, at the time a renewal policy is issued, the policyholder must be notified, in
       writing, of the removal of credits or the addition of debits in the rating modification, and
       the reason the credits have been removed or the debits have been added. If credits have
       been removed or debits have been added in the application of the Individual Risk
       Premium Modification Rating Plan, these changed factors and the reason for the changes
       are indicated below.

   INDIVIDUAL RISK MODIFICATION RATING PLAN
                                                  Renewal Policy Reason For Modification
     Characteristic       Credit      Debit                      Change
   Management

   Location

   Building Features
   Premises and
   Equipment
   Employees

   Protection

   If you have any questions regarding this modification, please contact your CNA independent
   agent.




   SB-147044-A                                                                          Page 1 of 1
   (Ed. 01/06)
                           Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 134 of 221
                                                                                                                                  SB-147075-A
                                                                                                                                    (Ed. 01/06)



                           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                         ECONOMIC AND TRADE SANCTIONS CONDITION
                 The following condition is added to the COMMON POLICY             4.   Property that is located in a Sanctioned Country or that
                 CONDITIONS:                                                            is owned by, rented to or in the care, custody or
                                                                                        control of a Sanctioned Country Government, where
                 ECONOMIC AND TRADE SANCTIONS CONDITION                                 any activities related to such property are prohibited by
                 In accordance with laws and regulations of the United                  U.S. economic or trade sanctions; or
                 States concerning economic and trade embargoes, this              5.   Property that is owned by, rented to or in the care,
                 policy is void ab initio (void from its inception) with respect
                                                                                        custody or control of a Specially Designated National
                 to any term or condition of this policy that viol~tes any la~s
                                                                                        or Blocked Person, or any person or entity who is
                 or regulations of the United States concerning economic
                                                                                        otherwise subject to U.S. economic or trade sanctions.
                 and trade embargoes including, but not limited to the
                 following:                                                        As used in this endorsement a Specially Designated
                                                                                   National or Blocked Person is any person or entity that is
                 1.   Any insured, or any person or entity claiming _the
                                                                                   on the list of Specially Designated Nationals and Blocked
                      benefits of an insured, who is or becomes a Specially
                                                                                   Persons issued by the U.S. Treasury Department's Office
                      Designated National or Blocked Person or who is              of Foreign Asset Control (O.F.A.C.) as it may be from time
                      otherwise subject to U.S. economic or trade sanctions;       to time amended.
                 2. Any claim or "suit" that is brought in a Sanctioned            As used in this endorsement a Sanctioned Country is any
                      Country or by a Sanctioned Country Government,
                                                                                   country that is the subject of trade or economic embargoes
                      where any action in connection with such claim or suit
                                                                                   imposed by the laws or regulations of the United States of
                      is prohibited by U.S. economic or trade sanctions;           America.
                 3.   Any claim or "suit" that is brought by any Specially
                      Designated National or Blocked Person or any pe~son
                      or entity who is otherwise subject to U.S. economic or
                      trade sanctions;




iiiiiiii



-
-
i iiiiiii
!!!!!!!!!!!!!!




=

                 SB-147075-A                                                                                                        Page 1 of 1
                 (Ed. 01/06)
         Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 135 of 221
                                                                                                                        SB-147079-A
                                                                                                                          (Ed. 01/06)



          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                          WAR LIABILITY EXCLUSION
This endorsement modifies insurance provided under the following:

     BUSINESSOWNERS LIABILITY COVERAGE FORM

I.   The following provisions are added to the Business                                  sovereign or other authority using military
     Liability Coverage Forms:                                                           personnel or other agents; or

     A. War Exclusion i. under Paragraph 8.1.,                                     (3) Insurrection, rebellion, revolution, usurped
        Exclusions - Applicable to Business Liability                                  power, or action taken by governmental
        Coverage is replaced by the following:                                         authority in hindering or defending against any
                                                                                       of these.
        This insurance does not apply to War.
                                                                        II. The following provision is added to the Business
        "Bodily injury," "property damage," "personal and                   Liability Coverage Form:
        advertising injury," however caused, arising,
        directly or indirectly, out of:                                       A. Exclusion h. under Paragraph 8.2., Exclusions -
                                                                                 Applicable To Medical Expenses Coverage
        (1) War, including undeclared or civil war; or                           does not apply. Medical Expenses due to war are
        (2) Warlike action by a military force, including                        now subject to Exclusion g. of Paragraph 8.2.,
            action in hindering or defending against an                          since "bodily injury" arising out of war is now
                                                                                 excluded under Paragraph 8.1., Exclusions -
            actual or expected attack, by any government,
                                                                                 Applicable To Business Liability Coverage.




SB-147079-A                Includes copyrighted material of Insurance Services Office, Inc., with its permission.         Page 1 of 1
(Ed. 01/06)                                  Copyright, Insurance Services Office, Inc., 2003
                           Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 136 of 221
                                                                                                                                   SB-147080-A
                                                                                                                                     (Ed. 01/06)



                           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                                EXCLUSION - SILICA
                 This endorsement modifies insurance provided under the following:

                     BUSINESSOWNERS LIABILITY COVERAGE FORM
                 A. The following exclusion is added to Section 8.1.                   3.   This insurance does not apply to "personal and
                    EXCLUSIONS - Applicable to Business Liability                           advertising injury" arising in whole or in part out of
                    Coverage:                                                               the actual, alleged or threatened exposure at any
                                                                                            time to or the presence of "silica."
                     This insurance does not apply to:
                                                                                   B. The following definition is added:
                     1.   "Bodily injury" arising in whole or in part out of the
                          actual, alleged or threatened respiration or                 "Silica" means the chemical compound silicon dioxide
                          ingestion at any time of "silica"; or                        (Si02) in any form, including dust which contains
                                                                                       "silica."
                     2.   "Property damage" arising in whole or in part out
                          of the actual, alleged or threatened presence of
                          "silica."




--
iiiiiiii




 -
!!!!!!!!!!!!!!




=

                 SB-147080-A                                                                                                         Page 1 of 1
                 (Ed. 01/06)
          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 137 of 221
                                                                                                                              SB-147082-E
                                                                                                                                (Ed. 04/14)



                      BUSINESSOWNERS COMMON POLICY CONDITIONS
All Coverage Parts included in this policy are subject to the following conditions:
A. Cancellation                                                                                  (b) Pay property taxes that are owing
                                                                                                     and have been outstanding for more
    1.   The first Named Insured shown in the
                                                                                                     than one year following the date due,
         Declarations may cancel this policy by mailing or                                           except that this provision will not
         delivering to us advance written notice of                                                  apply where you are in a bona fide
         cancellation.                                                                               dispute with the taxing authority
    2.   We may cancel this policy by mailing or delivering                                          regarding payment of such taxes.
         to the first Named Insured written notice of                                  b. 10 days       before the effective date of
         cancellation at least:                                                             cancellation if we cancel for nonpayment of
         a. 5 days before the effective date of                                             premium.
             cancellation if any one of the following                                  c. 30 days before the effective date of
             conditions exists at any building that is                                      cancellation if we cancel for any other reason.
             Covered Property in this policy.
                                                                                 3.    We will mail or deliver our notice to the first
             (1) The building has been vacant or
                                                                                       Named lnsured's last mailing address known to
                 unoccupied 60 or more consecutive days.                               us.
                 This does not apply to:
                                                                                 4.    Notice of cancellation will state the effective date
                 (a) Seasonalunoccupancy; or
                                                                                       of cancellation. The policy period will end on that
                 (b) Buildings    in   the     course      of                          date.
                     construction, renovation or addition.                       5.    If this policy is cancelled, we will send the first
                 Buildings with 65% or more of the rental                              Named Insured any premium refund due. If we
                 units or floor area vacant or unoccupied                              cancel, the refund will be pro rata. If the first
                 are considered unoccupied under this                                  Named Insured cancels, the refund may be less
                 provision.                                                            than pro rata. The cancellation will be effective
                                                                                       even if we have not made or offered a refund.
             (2) After damage by a covered cause of loss,
                 permanent repairs to the building:                              6.    If notice is mailed, proof of mailing will be
                                                                                       sufficient proof of notice.
                 (a) Have not started, and
                                                                            B. Changes
                 (b) Have not been contracted for,
                                                                                 This policy contains all the agreements between you
                 within 30 days of initial payment of loss.                      and us concerning the insurance afforded. The first
             (3) The building has:                                               Named Insured shown in the Declarations is
                                                                                 authorized to make changes in the terms of this policy
                 (a) An outstanding order to vacate;                             with our consent. This policy's terms can be amended
                 (b) An outstanding demolition order; or                         or waived only by endorsement issued by us and
                                                                                 made a part of this policy.
                 (c) Been    declared        unsafe                by
                     governmental authority.                                C. Concealment, Misrepresentation Or Fraud

             (4) Fixed and salvageable items have been                           This policy is void in any case of fraud by you as it
                 or are being removed from the building                          relates to this policy at any time. It is also void if you or
                 and are not being replaced. This does not                       any other insured, at any time, intentionally conceal or
                 apply to such removal that is necessary                         misrepresent a material fact concerning:
                 or incidental to any renovation or                              1.    This policy;
                 remodeling.
                                                                                 2.    The Covered Property;
             (5) Failure to:
                                                                                 3.    Your interest in the Covered Property; or
                 (a) Furnish necessary heat, water, sewer
                     service   or electricity    for   30                        4.   A claim under this policy.
                     consecutive days or more, except                       D. Examination Of Your Books And Records
                     during a period of seasonal
                     unoccupancy; or                                             We may examine and audit your books and records as
                                                                                 they relate to this policy at any time during the policy
                                                                                 period and up to three years afterward.

SB-147082-E                                                                                                                      Page 1 of 3
(Ed. 04/14)                    Includes copyrighted material of Insurance Services Office, Inc., with its permission
                            Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 138 of 221
                                                                                                                                                  SB-147082-E
                                                                                                                                                    (Ed. 04/14)


                 E. Inspections And Surveys                                                           undertake to do so; but we will be entitled to the
                                                                                                      insured's rights against all those other insurers.
                      We have the right but are not obligated to:
                                                                                           I.   Premiums
                      1.   Make inspections and surveys at any time;
                                                                                                1. The      first Named               Insured   shown   in   the
                      2.   Give you reports on the conditions we find; and
                                                                                                      Declarations:
                      3.   Recommend changes.
                                                                                                      a. Is responsible for the payment of all
                      Any inspections, surveys, reports or recommendations                                 premiums; and
                      relate only to insurability and the premiums to be                              b. Will be the payee for any return premiums we
                      charged. We do not make safety inspections. We do                                    pay.
                      not undertake to perform the duty of any person or
                      organization to provide for the health or safety of                       2.    The premium shown in the Declarations was
                      workers or the public. And we do not warrant that                               computed based on rates in effect at the time the
                      conditions:                                                                     policy was issued. On each renewal, continuation
                                                                                                      or anniversary of the effective date of this policy,
                      1. Are safe or healthful; or                                                    we will compute the premium in accordance with
                      2.   Comply with      laws,     regulations,      codes      or                 our rates and rules then in effect.
                           standards.                                                           3.    With our consent, you may continue this policy in
                      This condition applies not only to us, but also to any                          force by paying a continuation premium for each
                      rating, advisory, rate service or similar organization                          successive one-year period. The premium must
                      which makes insurance inspections, surveys, reports                             be:
                      or recommendations.                                                             a. Paid to us prior to the anniversary date; and
                 F.   Insurance Under Two Or More Coverages
                                                                                                      b. Determined in accordance with Paragraph 2.
                      If two or more of this policy's coverages apply to the                               above.
                      same loss or damage, we will not pay more than the                              Our forms then in effect will apply. If you do not
                      actual amount of the loss or damage.
                                                                                                      pay the continuation premium, this policy will
                 G. Liberalization                                                                    expire on the first anniversary date that we have
                                                                                                      not received the premium.
                      If, during your policy period, we adopt any revision that
                      would broaden the coverage under this policy without                      4.    Undeclared exposures or change in your business
                      additional premium the broadened coverage will                                  operation, acquisition or use of locations may
                      immediately apply to this policy. The broadened                                 occur during the policy period that are not shown
                      coverage will also apply to the renewal of this policy if                       in the Declarations. If so, we may require an
                      such renewal was in process or was mailed prior to                              additional premium. That premium will be
                      the date we adopted such revision.                                              determined in accordance with our rates and rules
                                                                                                      then in effect.
                 H. Other Insurance
                                                                                           J.   Premium Audit
                      1.   If you have other insurance covering the same
                           loss or damage, we will pay only for the amount of                   1. This policy is subject to audit if the Declarations
                           covered loss or damage in excess of the amount                             show an Audit Period other than 'Not Auditable.'
                           due from that other insurance, whether you can                             We will compute the final premium due when we
                           collect on it or not. But we will not pay more than                        determine your actual exposures.
                           the applicable Limit of Insurance.                                   2.    Premium shown in this policy as advance
                      2.   Business Liability Coverage is excess over:                                premium is a deposit premium only. At the close of

--
iiiiiiii
                                                                                                      each audit period we will compute the earned
                           a.   Any other insurance that insures for direct                           premium for that period. Audit premiums are due

 -
!!!!!!!!!!!!!!                  physical loss or damage; or
                           b. Any other primary insurance available to you
                                covering liability for damages arising out of
                                                                                                      and payable on notice to the first Named Insured.
                                                                                                      If the sum of the advance and audit premiums
                                                                                                      paid for the policy period is greater than the
                                the premises or operations for which you have                         earned premium, we will return the excess to the
                                been added as an additional insured.                                  first Named Insured.

                      3.   When this insurance is excess, we will have no                       3.    The first Named Insured must keep records of the
                           duty under Business Liability Coverage to defend                           information we need for premium computation,
                           any claim or "suit" that any other insurer has a                           and send us copies at such times as we may
=                          duty to defend. If no other insurer defends, we will                       request.


                 SB-147082-E                                                                                                                        Page 2 of 3
                 (Ed. 04/14)                  Includes copyrighted material of Insurance Services Office, Inc., with its permission
         Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 139 of 221
                                                                                                                            SB-147082-E
                                                                                                                              (Ed. 04/14)


K. Transfer Of Rights Of Recovery Against Others To                                This will not restrict your insurance.
   Us
                                                                             2.   Applicable to Businessowners Liability Coverage:
   1.   Applicable to Businessowners Property Coverage:
                                                                                   If the insured has rights to recover all or part of
        If any person or organization to or for whom we                            any payment we have made under this policy,
        make payment under this policy has rights to                               those rights are transferred to us. The insured
        recover damages from another, those rights are                             must do nothing after loss to impair them. At our
        transferred to us to the extent of our payment.                            request, the insured will bring "suit" or transfer
        That person or organization must do everything                             those rights to us and help us enforce them. This
        necessary to secure our rights and must do                                 condition does not apply to Medical Expenses
        nothing after loss to impair them. But you may                             Coverage.
        waive your rights against another party in writing:
                                                                        L.   Transfer Of Your Rights And Duties Under This
        a. Prior to a loss to your Covered Property.                         Policy
        b. After a loss to your Covered Property only if,                    Your rights and duties under this policy may not be
            at time of loss, that party is one of the                        transferred without our written consent except in the
            following:                                                       case of death of an individual Named Insured.
            (1) Someone insured by this insurance;                           If you die, your rights and duties will be transferred to
                                                                             your legal representative but only while acting within
            (2) A business firm:
                                                                             the scope of duties as your legal representative. Until
                 (a) Owned or controlled by you; or                          your legal representative is appointed, anyone having
                                                                             proper temporary custody of your property will have
                 (b) That owns or controls you; or                           your rights and duties but only with respect to that
            (3) Your tenant.                                                 property.

        You may also accept the usual bills of lading or
        shipping receipts limiting the liability of carriers.




SB-147082-E                                                                                                                  Page 3 of 3
(Ed. 04/14)                Includes copyrighted material of Insurance Services Office, Inc., with its permission
                              Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 140 of 221
                                                                                                                                  SB-147086-8
                                                                                                                                    (Ed. 04/10)



                              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                               LOSS PAYABLE CLAUSES
                 This endorsement modifies insurance provided under the following:

                       BUSINESSOWNERS POLICY

                                                                           SCHEDULE*
                                                                                                                  Provision Applicable
                     Prem.                       Description                     Loss Payee                       (Indicate Paragraph
                      No.                        of Property                  (Name & Address)                        A, B, C orD)


                                                                REFER TO LOSS PAYEE SCHEDULE
                 *     Information required to complete this Schedule, if not shown on this endorsement, will be shown in the Declarations.

                 The following is added to the Businessowners Special                           have the right to receive loss payment if the
                 Property Coverage Form LOSS PAYMENT Loss Condition,                            Loss Payee:
                 as shown in the Declarations or by an "A," "B" "C," or "D"                     (1) Pays any premium due under this policy
                 in the Schedule:                                                                   at our request if you have failed to do so;
                 A. LOSS PAYABLE CLAUSE                                                         (2) Submits a signed, sworn proof of loss
                       For Covered Property in which both you and a Loss                            within 60 days after receiving notice from
                       Payee shown in the Schedule or in the Declarations                           us of your failure to do so; and
                       have an insurable interest, we will:                                     (3) Has notified us of any change in
                       1. Adjust losses with you; and                                               ownership, occupancy or substantial
                                                                                                    change in risk known to the Loss Payee.
                       2.    Pay any claim for loss or damage jointly to you
                             and the Loss Payee, as interests may appear.                       All of the terms of the Businessowners
                                                                                                Special Property Coverage Form will then
                 B. LENDER'S LOSS PAYABLE CLAUSE                                                apply directly to the Loss Payee.
                       1.    The Loss Payee shown in the Schedule or in the                d.   If we pay the Loss Payee for any loss or
                             Declarations is a creditor (including           a                  damage and deny payment to you because of
                             mortgageholder or trustee) with whom you have                      your acts or because you have failed to
                             entered a contract for the sale of Covered                         comply with the terms of this policy:
                             Property, whose interest in that Covered Property
                             is established by such written contracts as:                       (1) The    Loss Payee's rights will be
                                                                                                    transferred to us to the extent of the
                             a. Warehouse receipts;                                                 amount we pay; and
                             b. A contract for deed;                                            (2) The Loss Payee's right to recover the full
                             c. Bills of lading; or                                                 amount of the Loss Payee's claim will not
                                                                                                    be impaired.
                             d. Financing statements.
                                                                                                    At our option, we may pay to the Loss
iiiiiiii
                       2.    For Covered Property in which both you and a                           Payee the whole principal on the debt
                             Loss Payee have an insurable interest:                                 plus any accrued interest. In this event,

--
iiiiiiii

!!!!!!!!!!!!!!               a. We will pay for covered loss or damage to
                                 each Loss Payee in their order of precedence,        3.
                                                                                                    you will pay your remaining debt to us.
                                                                                           If we cancel this policy, we will give written notice
                                 as interests may appear.                                  to the Loss Payee at least:
                             b. The Loss Payee has the right to receive loss               a. 10 days before the effective date of
                                 payment even if the Loss Payee has started                     cancellation if we cancel for your nonpayment
                                 foreclosure for similar action on the Covered                  of premium; or
                                 Property.
                                                                                           b. 30    days before the effective date of
                             c. If we deny your claim because of your acts or                   cancellation if we cancel for any other reason.
=                                because you have failed to comply with the
                                 terms of this policy, the Loss Payee will still

                 SB-147086-8                                                                                                        Page 1 of2
                 (Ed. 04/10)
         Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 141 of 221
                                                                                                           SB-147086-8
                                                                                                             (Ed. 04/10)


   4.   If we do not renew this policy, we will give written     3. The       following is added to the OTHER
        notice to the Loss Payee at least 1O days before               INSURANCE Businessowners Common Policy
        the expiration date of this policy.                            Condition:
C. CONTRACT OF SALE CLAUSE                                                 For Covered Property that is the subject of a
                                                                           contract of sale, the word "you" includes the
   1.   The Loss Payee shown in the Schedule or in the
                                                                           Loss Payee.
        Declarations is a person or organization you have
        entered a contract with for the sale of Covered        D. BUILDING OWNER LOSS PAYABLE CLAUSE
        Property.
                                                                  1.   The Loss Payee shown in the Schedule or in the
   2.   For Covered Property in which both you and the                 Declarations is the owner of the described
        Loss Payee have an insurable interest, we will:                building, in which you are a tenant.
        a. Adjust losses with you; and                           2. We will adjust losses to the described building
                                                                       with the Loss Payee. Any loss payment made to
        b. Pay any claim for loss or damage jointly to                 the Loss Payee will satisfy your claims against us
            you and the Loss Payee, as interests may                   for the owner's property.
            appear.
                                                                 3.    We will adjust losses to tenant's improvements
                                                                       and betterments with you, unless the lease
                                                                       provides otherwise.




SB-147086-8                                                                                                  Page 2 of2
(Ed. 04/10)
                          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 142 of 221
                                                                                                                                SB-147088-A
                                                                                                                                  (Ed. 01/06)



                           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                           EXCLUSION - ASBESTOS
                 This endorsement modifies insurance provided under the following:

                     BUSINESSOWNERS POLICY
                 This insurance does not apply to:                               Asbestos means the mineral in any form whether or not the
                                                                                 asbestos was at any time:
                 (1) "Bodily injury", "property damage" or "personal and
                     advertising injury" arising out of the actual, alleged or   (1) airborne as a fiber, particle or dust;
                     threatened exposure at any time to asbestos; or
                                                                                 (2) contained in, or formed a part of a product, structure or
                 (2) Any loss, cost or expense that may be awarded or                other real or personal property;
                     incurred:
                                                                                 (3) carried on clothing;
                     (a) by reason of a claim or "suit" for any such injury or
                                                                                 (4) inhaled or ingested; or
                         damage; or
                                                                                 (5) transmitted by any other means.
                     (b) in complying with a governmental direction or
                         request to test for, monitor, clean up, remove,
                         contain or dispose of asbestos.




--
iiiiiiii




-
!!!!!!!!!!!!!!




=

                 SB-147088-A                                                                                                      Page 1 of 1
                 (Ed. 01/06)
              Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 143 of 221
                                                                                                                              SB-147089-A
                                                                                                                                (Ed. 01/06)



              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          EMPLOYMENT - RELATED PRACTICES EXCLUSION
This endorsement modifies insurance provided under the following:

      BUSINESSOWNERS LIABILITY COVERAGE FORM

The        following   exclusion   is   added      to   Section      B.                            humiliation or discrimination directed at
EXCLUSIONS of the Businessowners Liability Coverage                                                that person; or
Form:                                                                                   (2) The spouse, child, parent, brother or sister of
This insurance does not apply to:                                                           that person as a consequence of "bodily
                                                                                            injury" or "personal and advertising injury" to
      r.     "Bodily injury" or "personal and advertising injury"                           that person at whom any of the employment-
             to:                                                                            related practices described in paragraphs (1),
             (1) A person arising out of any;                                               (2) or (3) above is directed.

                 (a) Refusal to employ that person;                                     This exclusion applies:

                 (b) Termination of that person's employment;                           a. Whether the insured may be liable as an
                     or                                                                       employer or in any other capacity; and

                 (c) Employment-related practices, policies,                            b. To any obligation to share damages with or
                     acts or omissions, such as coercion,                                     repay someone else who must pay damages
                     demotion,   evaluation,  reassignment,                                   because of the injury.
                     discipline, defamation,    harassment,




SB-147089-A                   Includes copyrighted material of the Insurance Services Office, Inc., with its permission.        Page 1 of 1
(Ed. 01/06)                                      Copyright, Insurance Services Office, Inc., 1996
                           Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 144 of 221
                                                                                                                                            SB-300000-D
                                                                                                                                              (Ed. 04/14)



                                          BUSINESSOWNERS LIABILITY COVERAGE FORM
                  Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and what is
                  and is not covered.
                  Throughout this policy the words "you" and "your'' refer to the Named Insured shown in the Declarations. The words "we,"
                  "us" and "our'' refer to the company providing the insurance.
                  The word "insured" means any person or organization qualifying as such under Section C. - Who Is An Insured.
                  Other words and phrases that appear in quotation marks have special meaning. Refer to SECTION F - LIABILITY
                  DEFINITIONS.

                  A. Coverages                                                                                  (c) Prior to the policy period, no insured
                                                                                                                    listed under Paragraph C.1. Who Is
                      1.   Business Liability (Bodily Injury, Property
                                                                                                                    An Insured and no "employee"
                           Damage, Personal and Advertising Injury)
                                                                                                                    authorized by you to give or receive
                           a. We will pay those sums that the insured                                               notice of an "occurrence" or claim,
                               becomes legally obligated to pay as damages                                          knew that the "bodily injury" or
                               because of "bodily injury," "property damage"                                        "property damage" had occurred, in
                               or "personal and advertising injury" to which                                        whole or in part. If such a listed
                               this insurance applies. We will have the right                                       insured or authorized "employee"
                               and duty to defend the insured against any                                           knew, prior to the policy period, that
                               "suit" seeking those damages. However, we                                            the "bodily injury" or "property
                               will have no duty to defend the insured                                              damage"      occurred,     then    any
                               against any "suit" seeking damages for "bodily                                       continuation, change or resumption of
                               injury," "property damage" or "personal and                                          such "bodily injury" or "property
                               advertising injury," to which this insurance                                         damage" during or after the policy
                               does not apply. We may at our discretion,                                            period will be deemed to have been
                               investigate any "occurrence" or any offense                                          known before the policy period.
                               and settle any claim or "suit" that may result.                             (2) To "personal and advertising injury"
                               But:                                                                            caused by an offense arising out of your
                               (1) The amount we will pay for damages is                                       business, but only if the offense was
                                   limited as described in Section D -                                         committed in the "coverage territory"
                                   Liability And Medical Expenses Limits Of                                    during the policy period.
                                   Insurance; and                                                     c. "Bodily injury" or "property damage" which
                               (2) Our right and duty to defend ends when                                  occurs during the policy period and was not,
                                   we have used up the applicable limit of                                 prior to the policy period, known to have
                                   insurance in the payment of judgments or                                occurred by any insured listed under Section
                                   settlements or medical expenses to which                                C.1. Who Is An Insured or any "employee"
                                   this insurance applies.                                                 authorized by you to give or receive notice of
                                                                                                           an "occurrence" or claim, includes any
                               No other obligation or liability to pay sums or                             continuation, change or resumption of "bodily
                               perform acts or services is covered unless                                  injury" or "property damage" after the end of
                               explicitly provided for under Coverage                                      the policy period.
                               Extension - Supplementary Payments.
                                                                                                      d.   "Bodily injury" or "property damage" will be
iiiiiiii                   b. This insurance applies:                                                      deemed to have been known to have
                                                                                                           occurred at the earliest time when any insured
--
iiiiiiiiiiiiiii
iiiiiiii                       (1) To "bodily injury" and "property damage"
!!!!!!!!!!!!!!                     only if:                                                                listed under Section C.1. Who Is An Insured
                                                                                                           or any "employee" authorized by you to give
                                   (a) The "bodily injury" or "property                                    or receive notice of an "occurrence" or claim:
                                       damage"     is     caused   by    an
                                       "occurrence" that takes place in the                                (1) Reports all, or any part, of the "bodily
                                       "coverage territory";                                                   injury" or "property damage" to us or any
                                                                                                               other insurer;
                                   (b) The "bodily injury" or "property
                                       damage" occurs during the policy                                    (2) Receives a written or verbal demand or
                                       period; and                                                              claim for damages because of the "bodily
=                                                                                                               injury" or "property damage"; or


                  SB-300000-D                 Includes copyrighted material of Insurance Services Office, Inc., with its permission          Page 1 of 16
                  (Ed. 04/14)
       Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 145 of 221
                                                                                                                              SB-300000-D
                                                                                                                                (Ed. 04/14)


           (3) Becomes aware by any other means that                                   (2) If we defend an insured against a "suit"
               "bodily injury" or "property damage" has                                    and an indemnitee of the insured is also
               occurred or has begun to occur.                                             named as a party to the "suit," we will
                                                                                           defend that indemnitee if all of the
      e. Damages because of "bodily injury" include                                        following conditions are met:
           damages claimed by any person or
           organization for care, loss of services or death                                 (a) The "suit" against the indemnitee
           resulting at any time from the "bodily injury."                                      seeks damages for which the insured
                                                                                                has assumed the liability of the
      f.   Coverage     Extension       -    Supplementary
                                                                                                indemnitee  in    a contract or
           Payments
                                                                                                agreement that is an "insured
           (1) In addition to the Limit of Insurance of                                         contract";
               Liability we will pay, with respect to any                                   (b) This insurance applies to such
               claim we investigate or settle, or any                                           liability assumed by the insured;
               "suit" against an insured we defend:
                                                                                            (c) The obligation to defend, or the cost
               (a) All expenses we incur.
                                                                                                of the defense of, that indemnitee,
               (b) Up to $1,000 for cost of bail bonds                                          has also been assumed by the
                   required because of accidents or                                             insured in the same "insured
                   traffic law violations arising out of the                                    contract";
                   use of any vehicle to which Business                                     (d) The allegations in the "suit" and the
                   Liability Coverage for "bodily injury"                                       information we know about the
                   applies. We do not have to furnish                                           "occurrence" are such that no conflict
                   these bonds.                                                                 appears to exist between the
               (c) The cost of bonds to release                                                 interests of the insured and the
                   attachments, but only for bond                                               interests of the indemnitee:
                   amounts within     our Limit of                                          (e) The indemnitee and the insured ask
                   Insurance. We do not have to furnish                                         us to conduct and control the defense
                   these bonds.                                                                 of that indemnitee against such "suit"
               (d) All reasonable expenses incurred by                                          and agree that we can assign the
                   the insured at our request to assist us                                      same counsel to defend the insured
                   in the investigation or defense of the                                       and the indemnitee; and
                   claim or "suit," including actual loss of                                (f) The indemnitee:
                   earnings up to $250 a day because of
                   time off from work.                                                            (i) Agrees in writing to:
               (e) All court costs taxed against the                                                   i.    Cooperate with us in the
                   insured in the "suit." However, these                                                     investigation, settlement or
                   payments do not include attorneys'                                                        defense of the "suit";
                   fees or attorney expenses taxed
                                                                                                       ii.   Immediately send us copies
                   against the insured.
                                                                                                             of any demands, notices,
               (f) Prejudgment       interest   awarded                                                      summonses or legal papers
                   against the insured on that part of the                                                   received in connection with
                   judgment we pay. If we make an offer                                                      the "suit";
                   to pay the Limit of Insurance, we will
                                                                                                       iii. Notify any other insurer
                   not pay any prejudgment interest
                   based on that period of time after the                                                   whose coverage is available
                   offer.                                                                                   to the indemnitee; and
                                                                                                       iv. Cooperate with us with
               (g) All interest on the full amount of any
                   judgment that accrues after entry of                                                    respect to coordinating other
                   the judgment and before we have                                                         applicable         insurance
                   paid, offered to pay, or deposited in                                                   available to the indemnitee;
                   court the part of the judgment that is                                                  and
                   within our Limit of Insurance.                                                 (ii) Provides     us     with     written
               These payments will not reduce the                                                      authorization to:
               Limits of Insurance.



SB-300000-D               Includes copyrighted material of Insurance Services Office, Inc., with its permission               Page 2 of 16
(Ed. 04/14)
                         Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 146 of 221
                                                                                                                                                 SB-300000-D
                                                                                                                                                   (Ed. 04/14)


                                          i.      Obtain records and other                                   applicable Limit of Insurance. We will pay
                                                  information related to the                                 reasonable expenses for:
                                                  "suit"; and
                                                                                                             (1) First aid administered at the time of an
                                          ii.     Conduct and control the                                        accident;
                                                  defense of the indemnitee in
                                                                                                             (2) Necessary medical, surgical, x-ray and
                                                  such "suit."
                                                                                                                 dental services, including prosthetic
                            (3) So long as the above conditions are met,                                         devices; and
                                attorneys' fees incurred by us in the
                                                                                                             (3) Necessary        ambulance,        hospital,
                                defense of that indemnitee, necessary
                                litigation expenses incurred by us and                                            professional nursing and funeral services.
                                necessary litigation expenses incurred by                    B. Exclusions
                                the indemnitee at our request will be paid
                                as         Supplementary         Payments.                        1.    Applicable To Business Liability Coverage
                                Notwithstanding      the    provisions  of                              This insurance does not apply to:
                                Paragraph 8.1.b.(2) Exclusions in Section
                                B - EXCLUSIONS, such payments will                                      a.   Expected Or Intended Injury
                                not be deemed to be damages for "bodily                                      "Bodily injury" or "property damage" expected
                                injury" and "property damage" and will not                                   or intended from the standpoint of the insured.
                                reduce the limits of insurance.                                              This exclusion does not apply to "bodily
                                Our obligation to defend an insured's                                        injury" resulting from the use of reasonable
                                indemnitee and to pay for attorneys' fees                                    force to protect persons or property.
                                and necessary litigation expenses as                                    b.   Contractual Liability
                                Supplementary Payments ends when:
                                                                                                             "Bodily injury" or "property damage" for which
                                (a) We have used up the applicable limit                                     the insured is obligated to pay damages by
                                    of insurance in the payment of                                           reason of the assumption of liability in a
                                    judgments or settlements; or                                             contract or agreement. This exclusion does
                                (b) The conditions set forth above, or the                                   not apply to liability for damages:
                                    terms of the agreement described in                                      (1) That the insured would have in the
                                    f. above are no longer met.                                                   absence of the contract or agreement; or
                    2.   Medical Expenses                                                                    (2) Assumed in a contract or agreement that
                         a. We will pay medical expenses as described                                             is an "insured contract," provided the
                            below for "bodily injury" caused by an                                                "bodily injury" or "property damage"
                            accident:                                                                             occurs subsequent to the execution of the
                                                                                                                  contract or agreement. Solely for the
                            (1) On premises you own or rent;                                                      purposes of liability assumed in an
                            (2) On ways next to premises you own or                                               "insured contract," reasonable attorney
                                rent; or                                                                          fees and necessary litigation expenses
                                                                                                                  incurred by or for a party other than an
                            (3) Because of your operations;                                                       insured are deemed to be damages
                            provided that:                                                                        because of "bodily injury" or "property
                                                                                                                  damage," provided:
                                (a) The accident takes place in the
                                                                                                                  (a) Liability to such party for, or for the
                                    "coverage territory" and during the
iiiiiiii                            policy period;                                                                    cost of, that party's defense has also
--                                                                                                                    been assumed in the same "insured

--
!!!!!!!!!!!!!!
                                (b) The expenses are incurred and
                                    reported to us within one year of the
                                    date of the accident; and
                                                                                                                      contract"; and
                                                                                                                  (b) Such attorney fees and          litigation
                                                                                                                        expenses are for defense of that
                                (c) The   injured person submits to                                                     party against a civil or alternative
                                    examination, at our expense, by                                                     dispute resolution proceeding in
                                    physicians of our choice as often as                                                which damages to which this
                                    we reasonably require.                                                              insurance applies are alleged.
                         b. We will make these payments regardless of                                   c.   Liquor Liability
                            fault. These payments will not exceed the
=                                                                                                            "Bodily injury" or "property damage" for which
                                                                                                             any insured may be held liable by reason of:

                 SB-300000-D                    Includes copyrighted material of Insurance Services Office, Inc., with its permission             Page 3 of 16
                 (Ed. 04/14)
       Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 147 of 221
                                                                                                                              SB-300000-D
                                                                                                                                (Ed. 04/14)


           (1) Causing or contributing to the intoxication                                   migration,    release       or    escape     of
               of any person;                                                                "pollutants":
           (2) The furnishing of alcoholic beverages to a                                    (a) At or from any premises, site or
               person under the legal drinking age or                                              location which is or was at any time
               under the influence of alcohol; or                                                  owned or occupied by, or rented or
                                                                                                   loaned to, any insured. However, this
           (3) Any    statute, ordinance or regulation
                                                                                                   subparagraph does not apply to:
               relating to the sale, gift, distribution or use
               of alcoholic beverages.                                                             (i)   "Bodily injury" if sustained within
                                                                                                         a building and caused by smoke,
           This exclusion applies even if the claims                                                     fumes, vapor or soot from
           allege negligence or other wrongdoing in:                                                     equipment used to heat, cool or
           (a) The    supervision, hiring, employment,                                                   dehumidify the building or
               training or monitoring of others by an                                                    equipment that is used to heat
               insured; or                                                                               water for personal use by the
                                                                                                         buildings occupants or their
           (b) Providing     or   failing   to    provide                                                guests;
               transportation with respect to any person
               that may be under the influence of alcohol                                          (ii) "Bodily     injury" or "property
                                                                                                         damage" for which you may be
           This exclusion applies only if you are in the                                                 held liable, if you are a contractor
           business of manufacturing, distributing,                                                      and the owner or lessee of such
           selling, serving or furnishing alcoholic                                                      premises, site or location has
           beverages.                                                                                    been added to your policy as an
                                                                                                         additional insured with respect to
      d.   Workers' Compensation And Similar Laws
                                                                                                         your       ongoing       operations
           Any obligation of the insured under a workers'                                                performed for that additional
           compensation,       disability  benefits    or                                                insured at that premises, site or
           unemployment compensation law or any                                                          location and such premises, site
           similar law.                                                                                  or location is not and never was
                                                                                                         owned or occupied by, or rented
      e.   Employer's Liability                                                                          or loaned to, any insured, other
           "Bodily Injury" to:                                                                           than that additional insured; or

           (1) An "employee" of the insured arising out                                            (iii) "Bodily injury" or "property
               of and in the course of:                                                                  damage" arising out of heat,
                                                                                                         smoke or fumes from a "hostile
               (a) Employment by the insured; or                                                         fire";
               (b) Performing     duties related to the                                      (b) At or from any premises, site or
                     conduct of the insured's business; or                                         location which is or was at any time
           (2) The spouse, child, parent, brother or                                               used by or for any insured or others
               sister of that "employee"                  as     a                                 for the handling, storage, disposal,
               consequence of (1) above.                                                           processing or treatment of waste;

           This exclusion applies:                                                           (c) Which are or were at any time
                                                                                                 transported, handled, stored, treated,
           (1) Whether the insured may be liable as an                                           disposed of, or processed as waste
               employer or in any other capacity; and                                            by or for:
           (2) To any obligation to share damages with                                             (i) Any insured; or
               or repay someone else who must pay
               damages because of the injury.                                                      (ii) Any person or organization for
                                                                                                         whom you may           be    legally
           This exclusion does not apply to liability                                                    responsible; or
           assumed by the insured under an "insured
           contract."                                                                        (d) At or from any premises, site or
                                                                                                   location on which any insured or any
      f.   Pollution                                                                               contractors or subcontractors working
                                                                                                   directly or indirectly on any insured's
           (1) "Bodily  injury" or "property damage"
                                                                                                   behalf are performing operations if
               arising out of the actual, alleged or
                                                                                                   the "pollutants" are brought on or to
               threatened discharge, dispersal, seepage,
                                                                                                   the premises, site or location in

SB-300000-D                Includes copyrighted material of Insurance Services Office, Inc., with its permission               Page 4 of 16
(Ed. 04/14)
                        Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 148 of 221
                                                                                                                                              SB-300000-D
                                                                                                                                                (Ed. 04/14)


                                      connection with such operations by                                      a. Request, demand, order or statutory
                                      such     insured,  contractor     or                                          or regulatory requirement that any
                                      subcontractor.    However,      this                                          insured or others test for, monitor,
                                      subparagraph does not apply to:                                               clean up, remove, contain, treat,
                                                                                                                    detoxify or neutralize, or in any way
                                      (i) "Bodily injury" or "property                                              respond to, or assess the effects of,
                                          damage" arising out of the                                                "pollutants"; or
                                          escape of fuels, lubricants or
                                          other operating fluids which are                                     b. Claim or "suit" by or on behalf of a
                                          needed to perform the normal                                              governmental authority for damages
                                          electrical,       hydraulic      or                                       because of testing for, monitoring,
                                          mechanical functions necessary                                            cleaning up, removing, containing,
                                          for the operation of "mobile                                              treating, detoxifying or neutralizing, or
                                          equipment" or its parts, if such                                          in any way responding to, or
                                          fuels,     lubricants    or   other                                       assessing the effects of, "pollutants."
                                          operating fluids escape from a
                                          vehicle part designed to hold,                                      However, this paragraph does not apply
                                          store or receive them. This                                         to liability for damages because of
                                          exception does not apply if the                                     "property damage" that the insured would
                                          "bodily injury" or "property                                        have in the absence of such request,
                                          damage" arises out of the                                           demand, order or statutory or regulatory
                                          intentional discharge, dispersal                                    requirement or such claim or "suit" by or
                                          or release of the fuels, lubricants                                 on behalf of a governmental authority.
                                          or other operating fluids, or if                          g. Aircraft, Auto Or Watercraft
                                          such fuels, lubricants or other
                                          operating fluids are brought on or                             "Bodily injury" or "property damage" arising
                                          to the premises, site or location                              out of the ownership, maintenance, use or
                                          with the intent that they be                                   entrustment to others of any aircraft, "auto" or
                                          discharged,        dispersed     or                            watercraft owned or operated by or rented or
                                          released      as part of the                                   loaned to any insured. Use includes operation
                                          operations being performed by                                  and "loading or unloading."
                                          such insured, contractor or                                    This exclusion applies even if the claims
                                          subcontractor;                                                 allege negligence or other wrongdoing in the
                                      (ii) "Bodily injury" or "property                                  supervision, hiring, employment, training or
                                           damage" sustained within a                                    monitoring of others by an insured, if the
                                           building and caused by the                                    "occurrence" which caused the "bodily injury"
                                           release of gases, fumes or                                    or "property damage" involved the ownership,
                                           vapors from materials brought                                 maintenance, use or entrustment to others of
                                           into that building in connection                              any aircraft, "auto" or watercraft that is owned
                                           with operations being performed                               or operated by or rented or loaned to any
                                           by you or on your behalf by a                                 insured.
                                           contractor or subcontractor; or                               This exclusion does not apply to:
                                      (iii) "Bodily injury" or "property                                 (1) An aircraft that is:
                                            damage" arising out of heat,
                                            smoke or fumes from a "hostile                                    (a) Hired, chartered, or loaned with a
                                            fire."                                                                paid crew; but

--
iiiiiiii
                               (e) At or from any premises, site or
                                   location on which any insured or any
                                                                                                              (b) Not owned by any insured;
                                                                                                         (2) A watercraft while ashore on premises
 -
!!!!!!!!!!!!!!                     contractors or subcontractors working
                                   directly or indirectly on any insured's
                                   behalf are performing operations if
                                                                                                             you own or rent;
                                                                                                         (3) A watercraft you do not own that is:
                                   the operations are to test for, monitor,
                                                                                                              (a) Less than 51 feet long; and
                                   clean up, remove, contain, treat,
                                   detoxify or neutralize, or in any way                                      (b) Not being used to carry persons or
                                   respond to, or assess the effects of,                                            property for a charge;
                                   "pollutants."
                                                                                                         (4) Parking an "auto" on, or on the ways next
=                          (2) Any loss, cost or expense arising out of                                       to, premises you own or rent, provided
                               any:

                 SB-300000-D                Includes copyrighted material of Insurance Services Office, Inc., with its permission              Page 5 of 16
                 (Ed. 04/14)
       Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 149 of 221
                                                                                                                           SB-300000-D
                                                                                                                             (Ed. 04/14)


               the "auto" is not owned by or rented or                                    (6) Any service, treatment, advice or
               loaned to you or the insured;                                                  instruction for the purpose of appearance
                                                                                              or skin enhancement, hair removal or
           (5) Liability assumed under any "insured
                                                                                              replacement or personal grooming;
                 contract" for the ownership, maintenance
                 or use of aircraft or watercraft; or                                     (7) Optometry or optical or hearing aid
                                                                                              services including the         prescribing,
           (6) "Bodily   injury" or "property damage"                                         preparation, fitting, demonstration or
               arising out of the operation of any of the                                     distribution of ophthalmic lenses and
               following equipment:                                                           similar products or hearing aid devices;
                 (a) Cherry pickers and similar devices
                                                                                          (8) Body piercing services;
                     mounted on automobile or truck
                     chassis and used to raise or lower                                   (9) Services in the practice of pharmacy;
                     workers; and
                                                                                          (10)Veterinary medicine services;
                 (b) Air    compressors,     pumps     and
                                                                                          (11) Mortician services; and
                     generators,     including   spraying,
                     welding,       building      cleaning,                               (12) Services rendered in connection with the
                     geophysical exploration, lighting and                                     creation       and/or        development,
                     well servicing equipment.                                                 modification, or repair of "software,"
      h.   Mobile Equipment                                                                    including, but not limited to design,
                                                                                               specifications, system or "software"
           "Bodily injury" or "property damage" arising                                        configuration and consultation.
           out of:
                                                                                          This exclusion applies even if the claims
           (1) The transportation of "mobile equipment"                                   allege negligence or other wrongdoing in the
                 by an "auto" owned or operated by or                                     supervision, hiring, employment, training or
                 rented or loaned to any insured; or                                      monitoring of others by an insured, if the
                                                                                          "occurrence" which caused the "bodily injury"
           (2) The use of "mobile equipment" in, or
                                                                                          or "property damage," or the offense which
               while in practice for, or while being                                      caused the "personal and advertising injury,"
               prepared for, any prearranged racing,                                      involved the rendering or failure to render any
               speed, demolition or stunting activity.                                    professional service.
      i.   War
                                                                                     k.   Damage To Property
           "Bodily injury" or "property damage" due to                                    "Property damage" to:
           war, whether or not declared, or any act or
           condition incident to war. War includes civil                                  (1) Property you own, rent or occupy,
           war, insurrection, rebellion or revolution. This                                   including any costs or expenses incurred
           exclusion applies only to liability assumed                                        by you, or any other person, organization
           under a contract or agreement.                                                     or entity, for repair, replacement,
                                                                                              enhancement, restoration or maintenance
      j.   Professional Services
                                                                                              of such property for any reason, including
           "Bodily injury," "property damage," "personal                                      prevention of injury to a person or
           and advertising injury" caused by the                                              damage to another's property;
           rendering or failure to render any professional                                (2) Premises you sell, give away or abandon,
           service. This includes but is not limited to:                                       if the "property damage" arises out of any
           (1) Legal, accounting or advertising services;                                      part of those premises;
           (2) Preparing, approving, or failing to prepare                                (3) Property loaned to you;
                 or approve maps, drawings, opinions,                                     (4) Personal property in the care, custody or
                 reports, surveys, change orders, designs                                      control of the insured;
                 or specifications;
                                                                                          (5) That particular part of real property on
           (3) Supervisory, inspection or engineering
                                                                                               which you or any contractor or
                 services;                                                                     subcontractor     working     directly or
           (4) Medical, surgical, dental, x-ray or nursing                                     indirectly on your behalf is performing
                 services treatment, advice or instruction;                                    operations, if the "property damage"
                                                                                               arises out of those operations; or
           (5) Any    health or therapeutic                service
               treatment, advice or instruction;

SB-300000-D                  Includes copyrighted material of Insurance Services Office, Inc., with its permission          Page 6 of 16
(Ed. 04/14)
                        Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 150 of 221
                                                                                                                                            SB-300000-D
                                                                                                                                              (Ed. 04/14)


                             (6) That particular part of any property that                           o.   Recall Of Products, Work Or Impaired
                                 must be restored, repaired or replaced                                   Property
                                 because "your work" was incorrectly
                                 performed on it.                                                         Damages claimed for any loss, cost or
                                                                                                          expense incurred by you or others for the loss
                             Paragraphs (1), (3) and (4) of this exclusion                                of use, withdrawal, recall, inspection, repair,
                             do not apply to "property damage" (other than                                replacement, adjustment, removal or disposal
                             damage by fire or explosion) to premises,                                    of:
                             including the contents of such premises,
                                                                                                          (1) "Your product";
                             rented to you for a period of 7 or fewer
                             consecutive days. A separate limit of                                        (2) "Your work"; or
                             insurance applies to Damage To Premises
                             Rented To You as described in Paragraph D.                                   (3) "Impaired property";
                             Liability And Medical Expenses Limit Of                                      if such product, work or property is withdrawn
                             Insurance.                                                                   or recalled from the market or from use by any
                             Paragraph (2) of this exclusion does not apply                               person or organization because of a known or
                             if the premises are "your work" and were                                     suspected defect, deficiency, inadequacy or
                             never occupied, rented or held for rental by                                 dangerous condition in it.
                             you.                                                                    p.   Personal And Advertising Injury
                             Paragraphs (3), (4), (5) and (6) of this                                     "Personal and advertising injury":
                             exclusion do not apply to liability assumed
                             under a sidetrack agreement.                                                 (1) Caused by or at the direction of the
                                                                                                              insured with the knowledge that the act
                             Paragraph (6) of this exclusion does not apply                                   would violate the rights of another and
                             to "property damage" included in the                                             would inflict "personal and advertising
                             "products- completed operations hazard."                                         injury";
                       I.    Damage To Your Product                                                       (2) Arising out of oral or written publication of
                             "Property damage" to "your product" arising                                      material, if done by or at the direction of
                             out of it or any part of it.                                                     the insured with knowledge of its falsity;

                        m.   Damage To Your Work                                                          (3) Arising out of oral or written publication of
                                                                                                              material whose first publication took place
                             "Property damage" to "your work" arising out                                     before the beginning of the policy period;
                             of it or any part of it and included in the
                             "products- completed operations hazard."                                     (4) Arising out of a criminal act committed by
                                                                                                              or at the direction of any insured;
                             This exclusion does not apply if the damaged
                             work or the work out of which the damage                                     (5) For which the insured has assumed
                             arises was performed on your behalf by a                                         liability in a contract or agreement. This
                             subcontractor.                                                                   exclusion does not apply to liability for
                                                                                                              damages that the insured would have in
                       n. Damage To Impaired Property Or Property                                             the absence of the contract or agreement;
                             Not Physically Injured
                                                                                                          (6) Arising out of a breach of contract, except
                             "Property damage" to "impaired property" or                                      an implied contract to use another's
                             property that has not been physically injured,                                   advertising idea in your "advertisement";
                             arising out of:
                                                                                                          (7) Arising out of the failure of goods,
iiiiiiii                     (1) A defect,    deficiency, inadequacy or                                       products or services to conform with any

--
!!!!!!!!!!!!!!
                                 dangerous condition in "your product" or
                                 "your work"; or
                             (2) A delay or failure by you or anyone acting
                                                                                                              statement of quality or performance made
                                                                                                              in your "advertisement";
                                                                                                          (8) Arising out of the wrong description of the
                                 on your behalf to perform a contract or                                      price of goods, products or services
                                 agreement in accordance with its terms.                                      stated in your "advertisement";
                             This exclusion does not apply to the loss of                                 (9) Committed by an insured whose business
                             use of other property arising out of sudden                                      is:
                             and accidental physical injury to "your
                             product" or "your work" after it has been put to                                  (a) Advertising, broadcasting, publishing
                                                                                                                   or telecasting;
=                            its intended use.


                 SB-300000-D                 Includes copyrighted material of Insurance Services Office, Inc., with its permission             Page 7 of 16
                 (Ed. 04/14)
       Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 151 of 221
                                                                                                                         SB-300000-D
                                                                                                                           (Ed. 04/14)


              (b) Designing or determining content of                                  Damage To Premises Rented To You Limit of
                  web-sites for others; or                                             Insurance applies to this coverage as
                                                                                       described in Paragraph D. Liability And
              (c) An Internet search, access, content
                                                                                       Medical Expenses Limits of Insurance.
                  or service provider.
                                                                                  q.   Electronic Data
              However, this exclusion does not apply to
              Paragraphs 14.a., b. and c. of "personal                                 Damages arising out of the loss of, loss of use
              and advertising injury" under Paragraph                                  of, damage to, corruption of, inability to
              F. Liability And Medical Expenses                                        access, or inability to manipulate electronic
              Definitions.                                                             data.
              For the purposes of this exclusion, the                                  As used in this exclusion, electronic data
              placing of frames, borders or links, or                                  means information, facts or programs stored
              advertising, for you or others anywhere                                  as or on, created or used on, or transmitted to
              on the Internet, by itself, is not considered                            or from computer software, including systems
              the business of advertising, broadcasting,                               and applications software, hard or floppy
              publishing or telecasting.                                               disks, CD-ROMs, tapes, drives, cells, data
                                                                                       processing devices or any other media which
          (10)Arising out of the actual, alleged or                                    are used with electronically controlled
              threatened discharge, dispersal, seepage,                                equipment.
              migration,    release     or escape    of
              "pollutants" at any time.                                     2.    Applicable To Medical Expenses Coverage
          (11) With respect to any loss, cost or expense                          We will not pay expenses for "bodily injury":
               arising out of any:
                                                                                  a. To any insured, except "volunteer workers."
              (a) Request, demand or order that any
                  insured or others test for, monitor,
                                                                                  b. To a person hired to do work for or on behalf
                  clean-up, remove, contain, treat,                                    of any insured or a tenant of any insured.
                  detoxify or neutralize or in any way                            c. To a person injured on that part of premises
                  respond to, or assess the effects of,                                you own or rent that the person normally
                  "pollutants"; or                                                     occupies.
              (b) Claim or "suit" by or on behalf of a                            d.   To a person, whether or not an "employee" of
                  governmental authority for damages                                   any insured, if benefits for the "bodily injury"
                  because of testing for, monitoring,                                  are payable or must be provided under a
                  cleaning up, removing, containing,                                   workers' compensation or disability benefits
                  treating, detoxifying or neutralizing or                             law or a similar law.
                  in any way responding to, or
                  assessing the effects of, "pollutants."                         e. To a person injured while taking part in
                                                                                       athletics.
          (12)Arising out of an electronic chatroom or
              bulletin board the insured hosts, owns or                           f.   Included within the "products - completed
              over which the insured exercises control.                                operations hazard."

          (13)Arising out of the infringement of                                  g. Excluded under Business Liability Coverage.
              copyright, patent, trademark, trade secret                          h. Due to war, whether or not declared, or any
              or other intellectual property rights.                                   act or condition incident to war. War includes
          However, this exclusion does not apply to                                    civil war, insurrection, rebellion or revolution.
          infringement, in your "advertisement," of                         3. Applicable To Both Business Liability Coverage
          copyright, trade dress or slogan.                                      And Medical Expenses Coverage -               Nuclear
          (14)Arising out of the unauthorized use of                             Energy Liability Exclusion
              another's name or product in your e-mail                            This insurance does not apply:
              address, domain name or metatags, or
              any other similar tactics to mislead                                a. Under Business Liability Coverage, to "bodily
              another's potential customers.                                           injury" or "property damage":
          Exclusions c., d., e., f., g., h., i., k., I., m., n.                        (1) With respect to which an insured under
          and o. in Section II - Liability do not apply to                                 the policy is also an insured under a
          damage by fire or explosion to premises while                                    nuclear energy liability policy issued by
          rented to you, or temporarily occupied by you                                    the Nuclear Energy Liability Insurance
          with permission of the owner. A separate                                         Association, Mutual Atomic Energy

SB-300000-D               Includes copyrighted material of Insurance Services Office, Inc., with its permission           Page 8 of 16
(Ed. 04/14)
                        Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 152 of 221
                                                                                                                                           SB-300000-D
                                                                                                                                             (Ed. 04/14)


                                Liability  Underwriters         or      Nuclear                         (1) "By-product material" has the meaning
                                Insurance Association of Canada, or                                         given it in the Atomic Energy Act of 1954
                                would be an insured under any such                                          or in any law amendatory thereof;
                                policy but for its termination upon
                                                                                                        (2) "Hazardous         properties"      include
                                exhaustion of its limit of liability; or
                                                                                                            radioactive, toxic or explosive properties;
                            (2) Resulting from the "hazardous properties"
                                                                                                        (3) "Nuclear facility" means:
                                of "nuclear material" and with respect to
                                which:                                                                       (a) Any "nuclear reactor'';
                                (a) Any    person or organization is                                         (b) Any equipment or device designed or
                                    required    to  maintain  financial                                            used for:
                                    protection pursuant to the Atomic
                                    Energy Act of 1954, or any law                                                 (i)   Separating the isotopes        of
                                    amendatory thereof; or                                                               uranium or plutonium;

                                (b) The insured is, or had this policy not                                         (ii) Processing   or utilizing "spent
                                    been issued would be, entitled to                                                    fuel"; or
                                    indemnity from the United States of                                            (iii) Handling,    processing        or
                                    America, or any agency thereof,                                                      packaging "waste";
                                    under any agreement entered into by
                                    the United States of America, or any                                     (c) Any equipment or device used for the
                                    agency thereof, with any person or                                           processing, fabricating or alloying of
                                    organization.                                                                "special nuclear material" if at any
                                                                                                                 time the total amount of such material
                        b. Under Medical       Expenses Coverage, to                                             in the custody of the insured at the
                            expenses incurred with respect to "bodily                                            premises where such equipment or
                            injury" resulting from the "hazardous                                                device is located consists of or
                            properties" of "nuclear material" and arising                                        contains more than 25 grams of
                            out of the operation of a "nuclear facility" by                                      plutonium or uranium 233 or any
                            any person or organization.                                                          combination thereof, or more than
                       c.   Under Business Liability Coverage, to "bodily                                        250 grams of uranium 235;
                            injury" or "property damage" resulting from the                                  (d) Any      structure, basin, excavation,
                            "hazardous properties" of the nuclear                                                  premises or place prepared or used
                            material"; if:                                                                         for the storage or disposal of "waste";
                            (1) The "nuclear material":                                                      and includes the site on which any of the
                                (a) Is at any "nuclear facility" owned by,                                   foregoing is located, all operations
                                    or operated by or on behalf of, an                                       conducted on such site and all premises
                                    insured; or                                                              used for such operations;

                                (b) Has been discharged or dispersed                                    (4) "Nuclear     material"  means    "source
                                    therefrom;                                                               material," "special nuclear material" or
                                                                                                             "byproduct material";
                            (2) The "nuclear material" is contained in
                                "spent fuel" or "waste" at any time                                     (5) "Nuclear reactor'' means an apparatus
                                possessed, handled, used, processed,                                         designed or used to sustain nuclear
                                stored, transported or disposed of by or                                     fission in a self-supporting chain reaction
                                on behalf of an insured; or                                                  or to contain a critical mass of fissionable
iiiiiiii                                                                                                     material;

-
i iiiiiii
!!!!!!!!!!!!!!
iiiiiiii
                            (3) The "bodily injury" or "property damage"
                                arises out of the furnishing by an insured
                                of services, materials, parts or equipment
                                                                                                        (6) "Property damage" includes all forms of
                                                                                                             radioactive contamination of property.
                                in connection with the planning,                                        (7) "Source material" has the meaning given
                                construction, maintenance, operation or                                      it in the Atomic Energy Act of 1954 or in
                                use of any "nuclear facility"; but if such                                   any law amendatory thereof;
                                facility is located within the United States
                                of America, its territories or possessions                              (8) "Special    nuclear material" has the
                                or Canada, this Exclusion (3) applies only                                   meaning given it in the Atomic Energy Act
                                to "property damage" to such "nuclear                                        of 1954 or in any law amendatory thereof;
                                facility" and any property thereat.
=                                                                                                       (9) "Spent fuel" means any fuel element or
                       d. As used in this exclusion:                                                        fuel component, solid or liquid, which has

                 SB-300000-D               Includes copyrighted material of Insurance Services Office, Inc., with its permission            Page 9 of 16
                 (Ed. 04/14)
        Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 153 of 221
                                                                                                                                  SB-300000-D
                                                                                                                                    (Ed. 04/14)


                been used or exposed to radiation in a                                  "employees"        or      "volunteer     workers"   are
                "nuclear reactor'';                                                     insureds for:
            (10) "Waste" means any waste material:                                      (1) "Bodily     injury"   or            "personal    and
                                                                                             advertising injury":
                (a) Containing    "by-product material"
                    other than the tailings or wastes                                        (a) To you, to your partners or members
                    produced by the extraction or                                                (if you are a partnership or joint
                    concentration of uranium or thorium                                          venture), to your members (if you are
                    from any one processed primarily for                                         a limited liability company), or to a
                    its "source material" content; and                                           co-"employee" while in the course of
                                                                                                 his or her employment or performing
                (b) Resulting from the operation by any
                                                                                                 duties related to the conduct of your
                    person or organization of any                                                business, or to your other "volunteer
                    "nuclear facility" included under                                            workers" while performing duties
                    Paragraph (a) and (b) of the definition
                                                                                                 related to the conduct of your
                    of "nuclear facility."                                                       business;
C. Who Is An Insured                                                                         (b) To the spouse, child, parent, brother
   1.   If you are designated in the Declarations as:                                            or sister of that co-"employee" as a
                                                                                                 consequence of Paragraph (a)
        a. An individual, you and your spouse are                                                above;
            insureds, but only with respect to the conduct
            of a business of which you are the sole                                          (c) For which there is any obligation to
            owner.                                                                               share damages with or repay
                                                                                                 someone else who must pay
        b. A partnership or joint venture, you are an                                            damages because of the injury
            insured. Your members, your partners and                                             described in Paragraphs (a) or (b); or
            their spouses are also insureds, but only with
            respect to the conduct of your business.                                         (d) Arising out of his or her providing or
                                                                                                 failing to provide professional health
        c. A limited liability company, you are an                                               care services.
            insured. Your members are also insureds, but
            only with respect to the conduct of your                                    (2) "Property damage" to property:
            business. Your managers are insureds, but                                        (a) Owned, occupied or used by,
            only with respect to their duties as your
            managers.                                                                        (b) Rented to, in the care, custody or
                                                                                                 control of, or over which physical
        d. An organization other than a partnership, joint                                       control is being exercised for any
            venture or limited liability company, you are                                        purpose by
            an insured. Your "executive officers" and
            directors are insureds, but only with respect to                                 you, any of your "employees," "volunteer
            their duties as your officers or directors. Your                                 workers," any partner or member (if you
            stockholders are also insureds, but only with                                    are a partnership or joint venture), or any
            respect to their liability as stockholders.                                      member (if you are a limited liability
                                                                                             company).
        e. A trust, you are an Insured. Your trustees are
            also insureds, but only with respect to their                          b. Any person (other than your "employee" or
            duties as trustees.                                                         "volunteer worker"), or any organization while
                                                                                        acting as your real estate manager.
   2.   Each of the following is also an insured:
                                                                                   c. Any person or organization having proper
        a. Your      "volunteer workers"       only while                               temporary custody of your property if you die,
            performing duties related to the conduct of                                 but only:
            your business, or your "employees," other
            than either your "executive officers" (if you are                           (1) With respect to liability arising out of the
            an organization other than a partnership, joint                                 maintenance or use of that property; and
            venture or limited liability company) or your
            managers (if you are a limited liability                                    (2) Until your legal representative has been
            company), but only for acts within the scope                                     appointed.
            of their employment by you or while                                    d. Your legal representative if you die, but only
            performing duties related to the conduct of                               with respect to duties as such. That
            your business. However, none of these                                     representative will have all your rights and
                                                                                      duties under this policy.

SB-300000-D                Includes copyrighted material of Insurance Services Office, Inc., with its permission                  Page 10 of 16
(Ed. 04/14)
                          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 154 of 221
                                                                                                                                          SB-300000-D
                                                                                                                                            (Ed. 04/14)


                    3.   With respect to "mobile equipment" registered in                            a. Injury or damages under the "products
                         your name under any motor vehicle registration                                   completed operations hazard" arising from all
                         law, any person is an insured while driving such                                 "occurrences" during the policy period is the
                         equipment along a public highway with your                                       Products-Completed Operations Aggregate
                         permission. Any other person or organization                                     Limit shown in the Declarations.
                         responsible for the conduct of such person is also
                         an insured, but only with respect to liability arising
                                                                                                     b. All other injury or damages, including medical
                         out of the operation of the equipment, and only if                               expenses, arising from all "occurrences"
                         no other insurance of any kind is available to that                              during the policy period is the General
                         person or organization for this liability. However,                              Aggregate Limit shown in the Declarations.
                         no person or organization is an insured with                                     This General Aggregate Limit applies
                         respect to:                                                                      separately to each of your "locations" owned
                         a. "Bodily injury" to a co-"employee" of the                                     by or rented to you.
                              person driving the equipment; or                                            "Location" means premises involving the
                         b. "Property damage" to property owned by,                                       same or connecting lots, or premises whose
                              rented to, in the charge of or occupied by you                              connection is interrupted only by a street,
                              or the employer of any person who is an                                     roadway or right-of-way of a railroad.
                              insured under this provision.                                               This aggregate Limit does not apply to
                    4.   Any organization you newly acquire or form, other                                "property damage" to premises rented to you
                         than a partnership or joint venture, and over which                              arising out of fire, lightning or explosion.
                         you maintain ownership of majority interest, will                     3.    Subject to item 2. above, the most we will pay for
                         qualify as a Named Insured if there is no other                             the sum of all damages because of all "bodily
                         similar insurance available to that organization.                           injury," "property damage" and medical expenses
                         However:                                                                    arising out of any one "occurrence" is the Liability
                         a. Coverage under this provision is afforded only                           and Medical Expense Limit shown in the
                              until the 9oth day after you acquire or form the                       Declarations.
                              organization or the end of the policy period,                          The most we will pay for all medical expenses
                              whichever is earlier;                                                  because of "bodily injury" sustained by any one
                         b. Bodily Injury and Property Damage coverage                               person is the Medical Expenses Limit shown in
                              does not apply to "bodily injury" or "property                         the Declarations.
                              damage" that occurred before you acquired or                     4.   Subject to item 2. above, the most we will pay for
                              formed the organization; and                                          the sum of all damages because of all "personal
                         c.   Personal and Advertising Injury coverage                              and advertising injury" sustained by any one
                              does not apply to "personal injury" or                                person or organization is the Personal and
                              "advertising injury" arising out of an offense                        Advertising Injury Limit shown in the Declarations.
                              committed before you acquired or formed the                      5.    The most we will pay under Business Liability
                              organization.                                                          Coverage for damages because of "property
                         No person or organization is an insured with                                damage" to premises rented to you, or in the case
                         respect to the conduct of any current or past                               of fire, while rented to you or temporarily occupied
                         partnership, joint venture or limited liability                             by you with permission of the owner, is the
                         company that is not shown as a Named Insured in                             Damage To Premises Rented To You Limit shown
                         the Declarations.                                                           in the Declarations.

                 D. Liability And       Medical     Expenses         Limits      Of                  The Damage to Premises Rented To You Limit

--
iiiiiiii



i iiiiiii
!!!!!!!!!!!!!!
                    Insurance
                    1.   The Limits of Insurance shown in the Declarations
                                                                                                     applies to all damage proximately caused by the
                                                                                                     same event, whether such damage results from
                                                                                                     fire, lightning, or explosion or any combination of
iiiiiiii
                         and the rules below fix the most we will pay                                the three.
                         regardless of the number of:
                                                                                                     If more than one limit of insurance under this
                         a. Insureds;                                                                policy and any endorsements attached thereto
                                                                                                     applies to any claim or "suit," the most we will pay
                         b. Claims made or "suits" brought; or                                       under this policy and the endorsements is the
                         c.   Persons or organizations making claims or                              single highest limit of liability of all coverages
                              bringing "suits."                                                      applicable to such claim or "suit." However, this
                                                                                                     paragraph does not apply to the Medical
=                   2. The most we will pay for:                                                     Expenses limit set forth in paragraph 3. above.

                 SB-300000-D                 Includes copyrighted material of Insurance Services Office, Inc., with its permission        Page 11 of 16
                 (Ed. 04/14)
           Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 155 of 221
                                                                                                                            SB-300000-D
                                                                                                                              (Ed. 04/14)


          The Limits of this policy apply separately to each                                   damage to which this insurance may also
          consecutive annual period and to any remaining                                       apply.
          period of less than 12 months, starting with the
                                                                                     d.   No insured will, except at that insured's own
          beginning of the policy period shown in the
                                                                                          cost, voluntarily make a payment, assume
          Declarations, unless the policy period is extended
          after issuance for an additional period of less than                            any obligation, or incur any expense, other
                                                                                          than for first aid, without our consent.
          12 months. In that case, the additional period will
          be deemed part of the last preceding period for                      3.    Financial Responsibility Laws
          purposes of determining the Limits of Insurance.
                                                                                     a. When this policy is certified as proof of
E.   Businessowners Liability Conditions                                                  financial responsibility for the future under the
     1.   Bankruptcy                                                                      provisions of any motor vehicle financial
                                                                                          responsibility law, the insurance provided by
          Bankruptcy or insolvency of the insured or of the                               the policy for "bodily injury" liability and
          insured's estate will not relieve us of our                                     "property damage" liability will comply with the
          obligations under this policy.                                                  provisions of the law to the extent of the
                                                                                          coverage and limits of insurance required by
     2.   Duties In The Event Of Occurrence, Offense,
                                                                                          that law.
          Claim Or Suit
                                                                                     b. With respect to "mobile equipment" to which
          a. You must see to it that we are notified as soon                              this insurance applies, we will provide any
              as practicable of an "occurrence" or an
                                                                                          liability, uninsured motorists, underinsured
              offense which may result in a claim. To the
                                                                                          motorists, no-fault or other coverage required
              extent possible, notice should include:
                                                                                          by any motor vehicle law. We will provide the
              (1) How, when and where the "occurrence"                                    required limits for those coverages.
                  or offense took place;                                       4.    Legal Action Against Us
              (2) The names and addresses of any injured
                                                                                     No person or organization has a right under this
                  persons and witnesses; and
                                                                                     policy:
              (3) The nature and location of any injury or
                                                                                     a. To join us as a party or otherwise bring us into
                  damage arising out of the "occurrence" or
                                                                                          a "suit" asking for damages from an insured;
                  offense.                                                                or
          b. If a claim is made or "suit" is brought against                         b. To sue us on this policy unless all of its terms
              any insured, you must:                                                      have been fully complied with.
              (1) Immediately record the specifics of the
                                                                                          A person or organization may sue us to
                  claim or "suit" and the date received; and
                                                                                          recover on an agreed settlement or on a final
              (2) Notify us as soon as practicable.                                       judgment against an insured; but we will not
                                                                                          be liable for damages that are not payable
              You must see to it that we receive written                                  under the terms of this policy or that are in
              notice of the claim or "suit" as soon as                                    excess of the applicable limit of insurance. An
              practicable.                                                                agreed settlement means a settlement and
          c. You and any other involved insured must:                                     release of liability signed by us, the insured
                                                                                          and the claimant or the claimant's legal
              (1) Immediately send us copies of any                                       representative.
                  demands, notices, summonses or legal
                  papers received in connection with the                       5.    Separation Of Insureds
                  claim or "suit";                                                   Except with respect to the Limits of Insurance in
              (2) Authorize us to obtain records and other                           this policy, and any rights or duties specifically
                  information;                                                       assigned in this policy to the first Named Insured,
                                                                                     this insurance applies:
              (3) Cooperate with us in the investigation, or
                  settlement of the claim or defense against                         a. As if each Named Insured were the only
                  the "suit"; and                                                         Named Insured; and

              (4) Assist us, upon our request, in the                                b. Separately to each insured against whom
                  enforcement of any right against any                                    claim is made or "suit" is brought.
                  person or organization that may be liable
                  to the insured because of injury or


SB-300000-D                  Includes copyrighted material of Insurance Services Office, Inc., with its permission          Page 12 of 16
(Ed. 04/14)
                         Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 156 of 221
                                                                                                                                             SB-300000-D
                                                                                                                                               (Ed. 04/14)


                    6.   Unintentional Failure to Disclose Hazards                                       merits in the territory described in Paragraph
                                                                                                         a. above or in a settlement we agree to.
                         It is agreed that based on our reliance on your
                         representations as to existing hazards, if                           5.    "Employee"        includes      a "leased    worker."
                         unintentionally you should fail to disclose all such                       "Employee"       does not       include a "temporary
                         hazards at the inception date of your policy, we                           worker."
                         shall not deny any coverage under this Coverage
                         Form because of such failure.                                        6.    "Executive officer'' means a person holding any of
                                                                                                    the officer positions created by your charter,
                 F. Liability And Medical Expenses Definitions                                      constitution, by-laws or any other similar
                                                                                                    governing document.
                    1.   "Advertisement" means a notice that is broadcast
                         or published to the general public or specific                       7.    "Hostile fire" means one which becomes
                         market segments about your goods, products or                              uncontrollable or breaks out from where it was
                         services for the purpose of attracting customers or                        intended to be.
                         supporters. For the purposes of this definition:
                                                                                              8.    "Impaired property" means tangible property, other
                         a. Notices that are published include material                             than "your product" or "your work," that cannot be
                             placed on the Internet or on similar electronic                        used or is less useful because:
                             means of communication; and
                                                                                                    a. It incorporates "your product" or "your work"
                         b. Regarding web-sites, only that part of a web-                                that is known or thought to be defective,
                             site that is about your goods, products or                                  deficient, inadequate or dangerous; or
                             services for the purposes of attracting
                             customers or supporters is considered an
                                                                                                    b. You have failed to fulfill the terms of a contract
                             advertisement.                                                              or agreement;

                    2.   "Auto" means a land motor vehicle, trailer or                              if such property can be restored to use by:
                         semitrailer designed for travel on public roads,                                (1) The repair, replacement, adjustment or
                         including any attached machinery or equipment.                                       removal of "your product" or "your work";
                         But "auto" does not include "mobile equipment."                                      or
                    3.   "Bodily injury" means bodily injury, sickness or                                (2) Your fulfilling the terms of the contract or
                         disease sustained by a person, including death                                      agreement.
                         resulting from any of these at any time.
                                                                                              9.    "Insured contract" means:
                    4.   "Coverage territory" means:
                                                                                                    a. A contract for a lease of premises. However,
                         a. The United States of America (including its                                  that portion of the contract for a lease of
                             territories and possessions), Puerto Rico and                               premises that indemnifies any person or
                             Canada;                                                                     organization for damage by fire to premises
                         b. International waters or airspace, but only if the                            while rented to you or temporarily occupied by
                             injury or damage occurs in the course of travel                             you with permission of the owner is not an
                                                                                                         "insured contract";
                             or transportation between any places included
                             in Paragraph a. above; or                                              b. A sidetrack agreement;
                         c. All other parts of the world if the injury or                           c. Any easement or license agreement, except
                             damage arises out of:                                                       in connection with construction or demolition
                             (1) Goods or products made or sold by you in                                operations on or within 50 feet of a railroad;
                                 the territory described in Paragraph a.                            d. An obligation, as required by ordinance, to
                                 above;                                                                  indemnify a municipality, except in connection
--
iiiiiiii

                                                                                                         with work for a municipality;
                             (2) The activities of a person whose home is
!!!!!!!!!!!!!!
iiiiiiii
                                 in the territory described in Paragraph a.                         e. An elevator maintenance agreement;
                                 above, but is away for a short time on
                                 your business; or                                                  f.   That part of any other contract or agreement
                                                                                                         pertaining to your business (including an
                             (3) "Personal and advertising injury" offenses                              indemnification of a municipality in connection
                                 that take place through the Internet or                                 with work performed for a municipality) under
                                 similar     electronic     means        of                              which you assume the tort liability of another
                                 communication;                                                          party to pay for "bodily injury" or "property
                             provided the insured's responsibility to pay                                damage" to a third person or organization.
=                            damages is determined in a "suit" on the
                                                                                                         Tort liability means a liability that would be


                 SB-300000-D                Includes copyrighted material of Insurance Services Office, Inc., with its permission           Page 13 of 16
                 (Ed. 04/14)
        Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 157 of 221
                                                                                                                          SB-300000-D
                                                                                                                            (Ed. 04/14)


           imposed by law in the absence of any                             12. "Mobile equipment" means any of the following
           contract or agreement.                                                 types of land vehicles, including any attached
                                                                                  machinery or equipment:
           Paragraph f. does not include that part of any
           contract or agreement:                                                 a. Bulldozers, farm machinery, forklifts and other
                                                                                       vehicles designed for use principally off public
           (1) That indemnifies a railroad for "bodily                                 roads;
               injury" or "property damage" arising out of
               construction or demolition operations,                             b. Vehicles maintained for use solely on or next
               within 50 feet of any railroad property and                             to premises you own or rent;
               affecting any railroad bridge or trestle,
               tracks, road beds, tunnel, underpass or
                                                                                  c. Vehicles that travel on crawler treads;
               crossing;                                                          d.   Vehicles, whether self-propelled or not, on
           (2) That indemnifies an architect, engineer or                              which are permanently mounted:
               surveyor for injury or damage arising out                               (1) Power cranes, shovels, loaders, diggers
               of:                                                                          or drills; or
               (a) Preparing, approving or failing to                                  (2) Road      construction or    resurfacing
                    prepare or approve maps, drawings,                                      equipment such as graders, scrapers or
                    opinions, reports, surveys, change                                      rollers;
                    orders, designs or specifications; or
                                                                                  e. Vehicles not described in Paragraphs a., b., c.
               (b) Giving directions or instructions, or                               or d. above that are not self-propelled and are
                    failing to give them, if that is the                               maintained primarily to provide mobility to
                    primary cause of the injury or                                     permanently attached equipment of the
                    damage; or                                                         following types:
               (c) Under which the insured, if an                                      (1) Air compressors, pumps and generators,
                   architect, engineer or surveyor,                                        including spraying, welding, building
                   assumes liability for an injury or                                      cleaning, geophysical exploration, lighting
                   damage arising out of the insured's                                     and well servicing equipment; or
                   rendering or failure to render
                   professional services, including those                              (2) Cherry pickers and similar devices used
                   listed in Paragraph (2) above and                                        to raise or lower workers;
                   supervisory,       inspection       or                         f.   Vehicles not described in Paragraphs a., b., c.
                   engineering services.                                               or d. above maintained primarily for purposes
   10. "Leased worker" means a person leased to you by                                 other than the transportation of persons or
       a labor leasing firm under an agreement between                                 cargo.
       you and the labor leasing firm, to perform duties                               However, self-propelled vehicles with the
       related to the conduct of your business. "Leased                                following types of permanently attached
       worker" does not include a "temporary worker."                                  equipment are not "mobile equipment" but will
   11. "Loading or unloading" means the handling of                                    be considered "autos":
       property:                                                                       (1) Equipment designed primarily for:
       a. After it is moved from the place where it is                                      (a) Snow removal;
           accepted for movement into or onto an
           aircraft, watercraft or "auto";                                                  (b) Road        maintenance,      but   not
                                                                                                  construction or resurfacing; or
       b. While it is in or on an aircraft, watercraft or
           "auto"; or                                                                       (c) Street cleaning;

       c. While it is being moved from an aircraft,                                    (2) Cherry pickers and similar devices
           watercraft or "auto" to the place where it is                                   mounted on automobile or truck chassis
           finally delivered;                                                              and used to raise or lower workers; and
       but "loading or unloading" does not include the                                 (3) Air compressors, pumps and generators,
       movement of property by means of a mechanical                                        including spraying, welding, building
       device, other than a hand truck, that is not                                         cleaning, geophysical exploration, lighting
       attached to the aircraft, watercraft or "auto."                                      and well servicing equipment.
                                                                            13. "Occurrence" means an accident, including
                                                                                continuous or repeated exposure to substantially
                                                                                the same general harmful conditions.

SB-300000-D               Includes copyrighted material of Insurance Services Office, Inc., with its permission           Page 14 of 16
(Ed. 04/14)
                         Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 158 of 221
                                                                                                                                          SB-300000-D
                                                                                                                                            (Ed. 04/14)


                    14. "Personal and advertising injury" means injury,                                      replacement, but which is otherwise
                        including consequential "bodily injury," arising out                                 complete, will be treated as completed.
                        of one or more of the following offenses:
                                                                                                        The "bodily injury" or "property damage" must
                        a. False arrest, detention or imprisonment;                                     occur away from premises you own or rent,
                                                                                                        unless your business includes the selling,
                        b. Malicious prosecution;                                                       handling or distribution of "your product" for
                        c. The wrongful eviction from, wrongful entry                                   consumption on premises you own or rent.
                             into, or invasion of the right of private                             b. Does not include "bodily injury" or "property
                             occupancy of a room, dwelling or premises                                  damage" arising out of:
                             that a person occupies, committed by or on
                             behalf of its owner, landlord or lessor;                                   (1) The transportation of property, unless the
                                                                                                            injury or damage arises out of a condition
                        d.   Oral or written publication, in any manner, of
                                                                                                            in or on a vehicle not owned or operated
                             material that slanders or libels a person or                                   by you, and that condition was created by
                             organization or disparages a person's or                                       the "loading or unloading" of that vehicle
                             organization's goods, products or services;                                    by any insured; or
                        e. Oral or written publication, in any manner, of                               (2) The existence of tools, uninstalled
                             material that violates a person's right of                                     equipment or abandoned or unused
                             privacy;                                                                       materials.
                        f.   The use of another's advertising idea in your                   17. "Property damage" means:
                             "advertisement"; or
                                                                                                   a. Physical injury to tangible property, including
                        g. Infringing upon another's copyright, trade                                   all resulting loss of use of that property. All
                             dress or slogan in your "advertisement."                                   such loss of use shall be deemed to occur at
                    15. "Pollutants" mean any solid, liquid, gaseous or                                 the time of the physical injury that caused it;
                        thermal irritant or contaminant, including smoke,                               or
                        vapor, soot, fumes, acids, alkalis, chemicals and                          b. Loss of use of tangible property that is not
                        waste. Waste includes materials to be recycled,                                 physically injured. All such loss of use shall be
                        reconditioned or reclaimed                                                      deemed to occur at the time of the
                    16. "Products- completed operations hazard":                                        "occurrence" that caused it.
                        a. Includes all "bodily injury" and "property                              For the purposes of this insurance, electronic data
                             damage" occurring away from premises you                              is not tangible property.
                             own or rent and arising out of "your product"                        As used in this definition, electronic data means
                             or "your work" except:                                               information, facts or programs stored as, created
                             (1) Products that are still in your physical                         or used on, or transmitted to or from computer
                                 possession; or                                                   software, including systems and applications
                                                                                                  software, hard or floppy disks, CD-ROMs, tapes,
                             (2) Work that has not yet been completed or                          drives, cells, data processing devices or any other
                                 abandoned. However, "your work" will be                          media which are used with electronically
                                 deemed completed at the earliest of the                          controlled equipment.
                                 following times:
                                                                                             18. "Software" means:
                                 (a) When all of the work called for in your
                                     contract has been completed.                                  a. Electronic data processing, recording or
                                                                                                        storage media such as films, tapes, cards,
iiiiiiii                         (b) When all of the work to be done at                                 discs, drums or cells; and
--
!!!!!!!!!!!!!!
iiiiiiii
                                     the job site has been completed if
                                     your contract calls for work at more
                                     than one job site.
                                                                                                   b. Data and programming records used for
                                                                                                        electronic data processing or electronically
                                                                                                        controlled equipment stored on such media;
                                 (c) When that part of the work done at                                 and
                                     the job site has been put to its
                                     intended use by any other person or                           c. Written or printed data, such as programs,
                                     organization other than another                                    routines, and symbolic languages, essential to
                                     contractor or subcontractor working                                the operation of computers; and
                                     on the same project.                                          d.   Documents containing information on the
=                                Work    that      may      need    service,                            operation and maintenance of computers.
                                 maintenance,      correction,   repair or

                 SB-300000-D               Includes copyrighted material of Insurance Services Office, Inc., with its permission          Page 15 of 16
                 (Ed. 04/14)
        Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 159 of 221
                                                                                                                         SB-300000-D
                                                                                                                           (Ed. 04/14)


   19. "Suit" means a civil proceeding in which damages                                      (c) A person or organization whose
       because of "bodily injury," "property damage,"                                            business or assets you have
       "personal and advertising injury" to which this                                           acquired; and
       insurance applies are alleged. "Suit" includes:
                                                                                        (2) Containers     (other    than    vehicles),
       a. An arbitration proceeding in which such                                           materials, parts or equipment furnished in
            damages are claimed and to which the                                            connection with such goods or products.
            insured must submit or does submit with our
            consent; or
                                                                                   b. Includes:
                                                                                        (1) Warranties or representations made at
       b. Any other alternative dispute resolution
            proceeding in which such damages are                                            any time with respect to the fitness,
            claimed and to which the insured submits with                                   quality, durability, performance or use of
            our consent.                                                                    "your product"; and

   20. "Temporary worker" means a person who is                                         (2) The providing of or failure to provide
       furnished to you to substitute for a permanent                                       warnings or instructions.
       "employee" on leave or to meet seasonal or short-                           c. Does not include vending machines or other
       term workload conditions.                                                        property rented to or located for the use of
   21. "Volunteer worker" means a person who is not                                     others but not sold.
       your "employee," and who donates his or her work                      23. "Your work":
       and acts at the direction of and within the scope of
       duties determined by you, and is not paid a fee,                            a.   Means:
       salary or other compensation by you or anyone                                    (1) Work or operations performed by you or
       else for their work performed for you.                                               on your behalf; and
   22. "Your product":                                                                  (2) Materials, parts or equipment furnished in
       a.   Means:                                                                          connection with such work or operations.

            (1) Any goods or products, other than real                             b. Includes:
                property, manufactured, sold, handled,                                  (1) Warranties or representations made at
                distributed or disposed of by:                                              any time with respect to the fitness,
                (a) You;                                                                    quality, durability, performance or use of
                                                                                            "your work"; and
                (b) Others trading under your name; or
                                                                                        (2) The providing of or failure to provide
                                                                                            warnings or instructions.




SB-300000-D                Includes copyrighted material of Insurance Services Office, Inc., with its permission        Page 16 of 16
(Ed. 04/14)
                           Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 160 of 221
                                                                                                                                  SB-300043-D
                                                                                                                                    (Ed. 06/11)



                           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                       WELFARE AND PENSION PLAN ERISA COMPLIANCE
                 This endorsement applies only to the EMPLOYEE DISHONESTY COVERAGE.

                 PROVISIONS                                                        4.   The Deductible provIsIon of the EMPLOYEE
                                                                                        DISHONESTY COVERAGE does not apply to loss
                 In compliance with certain provIsIons of the Employee
                                                                                        sustained by any Plan subject to ERISA which is
                 Retirement Income Security Act (ERISA):
                                                                                        insured under this insurance.
                 1.   If any Plan is insured jointly with any other entity under   5.   Limit of Insurance
                      this insurance, you or the Plan Administrator must
                      select a Limit of Insurance for the WELFARE AND                   The most we will pay in any one occurrence is the limit
                      PENSION PLAN ERISA COMPLIANCE COVERAGE                            of insurance shown in the Declarations for Welfare and
                      FORM that is sufficient to provide an amount of                   Pension Plan ERISA Compliance.
                      insurance for each Plan that is at least equal to that
                      required if each Plan were separately insured.                    If, during the policy period, the Plan assets increase
                                                                                        resulting in a Limit of Insurance applicable that is less
                 2.   If the Insured first named in the Declarations is an              than the amount required under ERISA, then that Limit
                      entity other than a Plan, any payment we make to that             of Insurance will be automatically increased to the
                      Insured for loss sustained by any Plan will be held by            Limit of Insurance equal to 10% of the total assets for
                      that Insured for the use and benefit of the Plan(s)               that Plan, but not to exceed the applicable maximum
                      sustaining the loss.                                              required Per Plan Limit of Insurance required under
                                                                                        ERISA.
                 3.   If two or more Plans are insured under this insurance,
                      any payment we make for loss:                                6.   "Employee" also includes any natural person who is:
                      a. Sustained by two or more Plans or                              a. A trustee, an officer, employee, administrator or a
                                                                                            manager, except an administrator or a manager
                      b. Of commingled funds or other property of two or                    who is an independent contractor, of any
                          more Plans                                                        Employee Welfare or Pension Benefit Plan
                      that arises out of one "occurrence," is to be shared by               (hereafter called Plan) insured under this
                      each Plan sustaining loss in the proportion that the                  insurance, and
                      amount of insurance required for each such Plan                   b. Your director or trustee while that person is
                      under ERISA provisions bears to the total of those
                                                                                            handling funds or other property of any Plan
                      amounts.                                                              insured under this insurance.




--
iiiiiiii

i iiiiiii

!!!!!!!!!!!!!!
iiiiiiii




=

                 SB-300043-D                                                                                                        Page 1 of 1
                 (Ed. 06/11)
         Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 161 of 221
                                                                                                                SB-300120-C
                                                                                                                  (Ed. 06/11)



         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     ADDITIONAL INSURED - OWNERS, LESSEES OR CONTRACTORS -
  SCHEDULED PERSON OR ORGANIZATION - WITH PRODUCTS COMPLETED
                     OPERATIONS COVERAGE
This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS LIABILITY COVERAGE FORM

                                                             SCHEDULE*

 Name Of Person Or Organization:




 * Information required to complete this Schedule, if not shown on this endorsement, will be shown in the Declarations.


A. The following is added to Paragraph C. Who Is An                   1. The rendering of, or the failure to render any
   Insured:                                                                professional    architectural,   engineering,    or
                                                                           surveying services, including:
    4. Any person(s) or organization(s) shown in the
        Schedule is also an additional insured, but only                   (a) The preparing, approving, or failing to prepare
        with respect to liability for "bodily injury," "property               or approve maps, shop drawings, opinions,
        damage" or "personal and advertising injury,"                          reports, surveys, field orders, change orders
        caused, in whole or in part, by:                                       or drawings and specifications; and
        a. Your acts or omissions; or                                      (b) Supervisory, inspection,     architectural   or
                                                                               engineering activities.
        b. The acts or omissions of those acting on your
            behalf                                                    2.   "Bodily Injury," "property damage," or "personal
                                                                           and advertising injury" arising out of any premises
        in the performance of your ongoing operations for
                                                                           or work for which the additional insured is
        the additional insured(s); at the location(s)
                                                                           specifically listed as an additional insured on
        designated above; or                                               another endorsement attached to this Policy.
        c. "Your work" that is included in the "products-          C. The following is added to Paragraph H. of the
            completed operations hazard" and performed                Businessowners Common Policy Conditions:
            for the additional insured, but only if this
            Policy provides such coverage, and only if the            H. Other Insurance
            written contract or written agreement requires
            you to provide the additional insured such                     This insurance is excess over any other insurance
                                                                           naming the additional insured as an insured
            coverage.
                                                                           whether primary, excess, contingent or on any
B. The insurance provided to the additional insured does                   other basis unless a written contract or written
    not apply to "bodily injury," "property damage," or                    agreement specifically requires that this insurance
    "personal and advertising injury" arising out of:                      be either primary or primary and noncontributing.




SB-300120-C                                                                                                       Page 1 of 1
(Ed. 06/11)
                             Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 162 of 221
                                                                                                                                     SB-300129-8
                                                                                                                                       (Ed. 01/08)



                             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                         TARGETED HACKER ATTACK
                  This endorsement modifies insurance provided under the following:

                       BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

                  The following coverage is added to your Businessowners               b. Paragraph 1.k.
                  Special Property Coverage Form under Paragraph A.6.
                                                                                  5.   The following additional exclusions apply:
                  Coverage Extensions. Unless otherwise stated, payments
                  made under this Coverage Extension are subject to and                With respect to this Coverage Extension, we will not
                  not in addition to the applicable Limits of Insurance.               pay for loss or damage caused directly or indirectly by
                                                                                       any of the following. Such loss or damage is excluded
                  Targeted Hacker Attack
                                                                                       regardless of any other cause or event that contributes
                  1.   We will pay up to the Limits of Insurance indicated in          concurrently or in any sequence to the loss.
                       Paragraphs 9. and 10. below, for the following:
                                                                                       a.   Programming errors or omissions, or incorrect
                       a.   Corruption, distortion, deletion, damage or                     instructions to a machine, including without
                            destruction of your "electronic data" caused by or              limitation, incorrect instructions to "electronic data
                            resulting from a "targeted hacker attack."                      processing equipment" from a user incorrectly
                                                                                            operating with, or committing an error using, an
                       b. Subject to paragraph 8. below, actual loss of                     input device (including, without limitation, a
                            Business Income you sustain due to the                          keyboard, mouse or touchpad) and corrupting,
                            necessary "suspension" of your "operations"                     distorting, deleting, damaging or destroying
                            during the       "period  of restoration."     The              "electronic data."
                            "suspension" must be caused by the necessary
                            interruption or suspension of your "electronic data        b. Misappropriation,      theft, copying, transfer or
                            processing equipment" resulting from a "targeted                unauthorized viewing of any property, proprietary
                            hacker attack" that corrupts, distorts, deletes,                or confidential information, "money," "securities,"
                            damages or destroys your "electronic data."                     "stock," "electronic data processing equipment"
                                                                                            "electronic media and data" or "electronic data"
                       c.   Subject to paragraph 8. below, with respect to a                including without limitation, the use of any
                            "suspension" of your "operations" as described in               computer to cause such misappropriation, transfer
                            paragraph 1.b. above, the "extra expense" (other                or copying.
                            than the expense to repair or replace property) to:
                                                                                       c. Errors or deficiency in design,           installation,
                            (1) Avoid or minimize the "suspension"           of             maintenance, repair or modification of your
                                business and to continue "operations"; or                   "electronic    data     processing     equipment,"
                                                                                            "electronic media and data" or "electronic data" or
                            (2) Minimize the "suspension" of business if you                any "electronic data processing equipment,"
                                cannot continue "operations."                               electronic devices, computer system or network to
                                                                                            which your "electronic data processing equipment"
                  2.   Worldwide coverage is provided under this Coverage
                                                                                            "electronic media and data" or "electronic data" is
                       Extension. The coverage territory as described in
                                                                                            connected or dependent; provided, however, this
                       Paragraph F.8.b does not apply to this Coverage
                                                                                            exclusion shall not apply with respect to any such
                       Extension.
iiiiiiii                                                                                    error or deficiency in design, installation,

-
!!!!!!!!!!!!!!!

!!!!!!!!!!!!!!!
iiiiiiii
                  3.   This Coverage Extension does not apply to:
                       a.   "Stock"; or
                                                                                            maintenance, repair or modification that is
                                                                                            exploited as part of an otherwise covered "
                                                                                            targeted hacker attack."
                       b. Property that is licensed, leased or rented to               d. Unexplained or indeterminable failure, malfunction
                            others.
                                                                                            or slowdown of a "electronic data processing
                  4.   The following exclusions as described in Section B.,                 equipment" "electronic media and data" or
                       Exclusions, of the Businessowners Special Property                   "electronic data."
                       Coverage Form do not apply to this Coverage                     e. Suspension, interruption, delay, disruption, loss of
                       Extension:                                                           functionality of, inaccessibility to, or inability to use
=                      a.   Paragraph 1.j.; and                                             or communicate with, any "electronic data


                  SB-300129-8                                                                                                          Page 1 of2
                  (Ed. 01/08)                                                                                                         (Version 1.0)
           Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 163 of 221
                                                                                                                  SB-300129-B
                                                                                                                    (Ed. 01/08)


          processing equipment," "electronic media and                 b. Ends on the date and time that the necessary
          data," "electronic data," computer resource,                     interruption or suspension of your "electronic data
          electronic device, computer system, computer                     processing equipment" ends, or would have
          network or equipment.                                            ended had you acted with due diligence and
                                                                           dispatch.
     f.   "Mass attack malware."
     g. "Mass system penetration."                                     Provided, however, that "period of restoration" shall
                                                                       not mean more than, or exceed, thirty (30) days. The
6.   The following definitions apply to this Coverage                  expiration date of this policy will not cut short the
     Extension:                                                        "period of restoration."

     a. Business Income means:                                    8.   We shall not be liable for any payment for the "extra
                                                                       expense" you incur, and loss of Business Income you
          (1) Net Income (Net Profit or Loss before Income             sustain, during the first 12 hours following the date and
              taxes) that would have been earned or                    time the necessary interruption or suspension of your
              incurred, including; and                                 "electronic data processing equipment" begins;
          (2) Continuing normal operating expenses                     provided, however, if the "business income and extra
              incurred, including payroll.                             expense" - 72 Hour Deductible endorsement is part of
                                                                       this policy, the "12 hours" reference in this paragraph
     b. Extra Expense means reasonable and necessary                   shall be changed to "72 hours" and the 72 hour
          expenses you incur during the "period of                     deductible stated in that endorsement shall apply with
          restoration" that you would not have incurred if             respect to this Coverage Extension.
          there had been no necessary interruption or
          suspension of your "electronic data processing          9.   The most we will pay in the aggregate under this
          equipment" resulting from a "targeted hacker                 Coverage Extension and the policy for all corruption,
          attack" that corrupts, distorts, deletes, damages or         distortion, deletion, damage, destruction or any other
          destroys your "electronic data." Provided,                   harm to "electronic data" (combined) caused by or
          however, that Extra Expense shall not mean the               resulting from a "targeted hacker attack," during each
          costs you incur to copy, research, replace or                separate 12 month period of this policy beginning with
          restore "electronic data."                                   the effective date of this policy, is $25,000 or the limit
                                                                       shown on the Declaration page.
7.   For purposes of this Coverage Extension only, the
     definition for "period of restoration" as set forth in the   10. The most we will pay in the aggregate under this
     Businessowners Special Property Coverage Form is                 Coverage Extension and the policy for all "extra
     changed to the following (the definition shall remained          expense" and loss of "business income" (combined)
     unchanged with respect to all other parts of the policy):        during each separate 12 month period of this policy
                                                                      beginning with the effective date of this policy is
     "Period of restoration" means the period of time that:           $25,000.
     a. Begins on the date and time of the necessary
          interruption or suspension of your "electronic data
          processing equipment"; and




SB-300129-B                                                                                                         Page 2 of2
(Ed. 01/08)                                                                                                        (Version 1.0)
                           Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 164 of 221
                                                                                                                              SB-300441-A
                                                                                                                                (Ed. 01/07)




                                               FIDUCIARY LIABILITY COVERAGE FORM
                 THIS IS A CLAIMS MADE COVERAGE FORM. PLEASE READ ALL PROVISIONS AND CONTACT YOUR AGENT IF
                 YOU HAVE ANY QUESTIONS. THIS INSURANCE APPLIES ONLY TO "WRONGFUL ACTS" THAT OCCUR BETWEEN
                 THE RETROACTIVE DATE AND THE END OF THE "POLICY PERIOD." THIS INSURANCE APPLIES ONLY TO
                 "CLAIMS" FIRST MADE AGAINST THE INSURED AFTER THE INCEPTION DATE AND BEFORE THE END OF THE
                 "POLICY PERIOD" OR ANY APPLICABLE EXTENDED REPORTING PERIOD AND REPORTED TO US IN
                 ACCORDANCE WITH THE PROVISIONS OF THIS FORM. UPON TERMINATION OF YOUR POLICY AN AUTOMATIC
                 EXTENDED REPORTING PERIOD WILL BE PROVIDED, AND A SUPPLEMENTAL EXTENDED REPORTING PERIOD
                 WILL BE AVAILABLE.



                 Various provisions in this Coverage Form restrict coverage. Read the entire Coverage Form carefully to determine rights,
                 duties and what is and is not covered.
                 Throughout this Coverage Form the terms "you" and "your'' refer to the Named Insured shown in the Declarations, and any
                 other person or organization qualifying as a Named Insured under this policy." The terms "we," "us" and "our'' refer to the
                 Stock Insurance Company named on the Declarations providing this insurance.
                 The word "insured" means any person or organization qualifying as such under Section II - Who Is An Insured.
                 Other words and phrases that appear in quotation marks have special meaning. Refer to Section Ill - Definitions.


                 SECTION I - INSURING AGREEMENTS                                     for under     paragraph    1.D.   -   Supplementary
                                                                                     Payments
                 A. Coverage
                                                                                 B. Defense
                     We will pay those sums in excess of the deductible
                     and subject to the limits of liability that the Insured         We have the right and duty to defend all "suits," even
                     becomes legally obligated to pay as "damages"                   if the allegations are groundless, false or fraudulent.
                     because of a claim resulting from a "wrongful act"              We shall have the right to appoint counsel and to
                     provided:                                                       make such investigation and defense of a "suit" as we
                                                                                     deem necessary. Alternatively we may, at our option,
                     1.   The "wrongful act" takes place in the "coverage            give our written consent to the defense of any such
                          territory";                                                "suit" to the insured. Our obligation to defend any
                     2.   The "wrongful act" did not occur before the                "suit" or pay any "damages" and "defense expenses"
                          Retroactive Date, if any, shown in the                     for any "claim" shall be completely fulfilled and
                          Declarations nor after the end of the "policy              extinguished if the limit of insurance has been
                          period"; and                                               exhausted by payment of "damages" or "defense
                                                                                     expenses."
                     3.   A "claim" arising out of a "wrongful act" is first
                                                                                 C. Consent To Settle
                          made against an insured, during the "policy
                          period" or Extended Reporting Period, if                   We shall not settle a "claim" without your written
iiiiiiii
                          applicable and is reported to us in accordance             consent . If you refuse to consent to a settlement or
                          with Section VIII, Conditions, paragraph C, Duties         compromise recommended by us, and acceptable to
-
iiiiiiii

!!!!!!!!!!!!!!
iiiiiiii
                     4.
                          in the event of a "Claim"; and
                          Prior to the inception date of this Coverage Form:
                                                                                     the claimant, then the applicable limit of insurance
                                                                                     under this Coverage Form shall be reduced to the
                                                                                     amount for which the "claim" could have been settled
                          a.   The Insured did not give notice to a prior            plus all "defense expenses" incurred up to the time
                               insurer of a "related claim";                         we made our recommendation.
                          b. The Insured did not give notice to a prior          D. Supplementary Payments
                               insurer of any such "wrongful        act"   or
                               "interrelated wrongful act."                          We will pay, with respect to any "claim" or "suit" we
                                                                                     investigate or settle, or any "suit" against an insured
=                    No other obligation or liability to pay sums or perform         we defend all "defense expenses." These payments
                     acts or services is covered unless explicitly provided

                 SB-300441-A                                                                                                    Page 1 of6
                 (Ed. 01/07)
          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 165 of 221
                                                                                                               SB-300441-A
                                                                                                                 (Ed. 01/07)


    are included within        and   reduce the Limits of                "suit" on the merits brought in the territory
    Insurance.                                                           described in Paragraph 1. above or in a
                                                                         settlement of a "claim" that we agree to.
SECTION II - WHO IS AN INSURED
                                                               C. "Damages" means sums, settlements, judgments
A. If you are designated in the Declarations as:                  (including any award of pre-judgment and post-
    1. A partnership or joint venture, you are an insured.        judgment interest) for which you are legally obligated
         Your partners or members are also insureds.              to pay on account of a covered "claim." "Damages"
                                                                  shall not include:
    2.   A limited liability company, you are an insured.
         Your members and managers are also insureds.               1. Any taxes, sanctions, criminal or civil fines, or
                                                                         penalties imposed by law other than:
    3.    An organization other than a partnership, joint
         venture or limited liability company, you are an                a.   The five percent or less or the twenty percent
         insured. Your directors, officers and trustees are                   or less penalty imposed upon an insured as a
         also insureds.                                                       Fiduciary under Section 502(i) or 502(1) of
                                                                              ERISA;
B. Your "plans" and their employees, directors, officers
   and trustees are also insureds.                                       b. Those civil fines or penalties imposed under
                                                                              42 USC 1320d-5(a) the Health Insurance
D. Your employees are also insureds, unless otherwise                         Portability and Accountability Act of 1996
    excluded in this policy.                                                  provided however that our maximum limit of
E. Any organization you newly acquire or form, other                          insurance for all such fines and penalties
    than a partnership, joint venture or limited liability                    shall be $10,000 in the aggregate, regardless
    company, and over which you maintain ownership or                         of the number of "claims" made or Insureds
    majority interest, will qualify as a Named Insured if no                  covered under this Coverage Form. This
    other similar insurance applies to that organization.                     sublimit of insurance is part of and not in
    You must notify us of such acquisition or formation as                    addition to the limit of insurance set forth on
    soon as practicable. However, coverage under this                         the Declarations.
    provision:                                                      2. Any amount for which an "insured person" is
    1.   Is afforded only until the 9oth day after you                   absolved from payment by reason            of any
         acquire or form the organization, or until the end              covenant, agreement or court order;
         of the "policy period," whichever is earlier; and          3.   Any matters deemed uninsurable under the law
    2.   Does not apply to an offense committed before                   pursuant to which this Policy is construed.
         you acquired or formed the organization.                   Notwithstanding anything to the contrary above,
No person or organization is an insured with respect to the         "damages" shall include punitive or exemplary
conduct of any current or past partnership, joint venture or        damages, if insurable, to the fullest extent permitted
limited liability company that is not shown as a Named              by any applicable law. Where you reasonably
Insured in the Declarations.                                        determine that punitive, exemplary or multiple
                                                                    damages are insurable under any applicable law, we
SECTION Ill - DEFINITIONS                                           shall not challenge that determination of insurability.
The following defined words shall have                         D. "Defense expenses" means all fees charged by
the same meaning throughout this Coverage                         attorneys designated by us, or by you, with our written
Form, whether expressed in the singular                           consent and all other reasonable and necessary fees,
or the plural.                                                    costs and expenses resulting from the investigation,
                                                                  adjustment, defense and appeal of a "claim" if
                                                                  incurred by us or you with our written consent,
A. "Claim" means:                                                 including the costs of appeal, attachment or similar
                                                                  bonds. We have no obligation to provide such bonds.
    1. A "suit"; or                                               "Defense Expenses" shall not include salaries,
    2. A written demand for monetary or non-monetary              wages, fees, overhead or benefit expenses
         damages made against an insured, arising out of          associated with the directors, officers, and employees
         a "wrongful act,"                                        of yours.
B. "Coverage territory" means:                                 E. "Domestic Partner" means any person qualifying as
                                                                  such under any federal, state or local laws or under
    1. The United States of America (including its                your employee benefit plans.
         territories or possessions) and Puerto Rico; or
                                                               F.   "ERISA or any Similar Act" means the Employee
    2.   All parts of the world if the "insured's"                  Retirement Income Security Act of 1974, as
         responsibility to pay "damages" is determined in a
SB-300441-A                                                                                                      Page 2 of6
(Ed. 01/07)
                            Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 166 of 221
                                                                                                                                 SB-300441-A
                                                                                                                                   (Ed. 01/07)


                      amended, or any similar common or statutory law of               identified on any list of hazardous substances issued
                      the United States, Canada or their states, territories or        by the United States Environmental Protection
                      provinces or any other jurisdiction anywhere in the              Agency or any state or local or foreign counterpart.
                      world.                                                           "Pollutants" also means, without limitation, any solid,
                                                                                       liquid, gaseous or thermal irritant or contaminant,
                 G. "Executive officer" means your chairperson, chief
                                                                                       including smoke, vapor, soot, fumes, acids, alkalis,
                    executive officer, president, chief financial officer and          chemicals or waste (including materials to be
                    in-house general counsel;                                          recycled, reconditioned or reclaimed), as well as any
                 H. "Insured Persons" means all of those natural person                air emission, odor, waste water, oil or oil products,
                    insureds who are your partners, trustees, members,                 infectious or medical waste, asbestos, or asbestos
                    managers, "executive officers," directors and                      products or any noise.
                    employees                                                     0. "Related claims" mean all claims arising out of a
                 I.   "Interrelated Wrongful Acts" means any "wrongful               single "wrongful act" or arising out of "interrrelated
                      acts" which are logically or causally connected by             wrongful acts."
                      reason of any common fact, circumstance, situation,         P.   "Suit" means a formal civil, criminal, administrative,
                      transaction or event.                                            or regulatory proceeding or investigation or an
                 J    "Pension Plan" means any employee pension                        arbitration against an "insured," including any appeal
                      benefit plan as defined in 29 U.S.C. §1002 subject to            therefrom.
                      regulation under "ERISA or any Similar Act." "Pension       Q. "Wrongful act" means any actual or alleged error,
                      plan" shall not include an excess benefit plan as              misstatement, misleading statement, act, omission,
                      defined in 29 U.S.C. §1002 or an employee stock
                                                                                     neglect or breach of duty by the insureds in the
                      ownership plan as defined in 26 U.S.C. §4975.
                                                                                     discharge of their duties in their capacities, or solely
                 K. "Plan" means:                                                    by reason of their status as fiduciaries or
                                                                                     administrators (as defined in "ERISA or any similar
                      a. Any "welfare plan" which was, is now, or                    act") of any "plan," including, without limitation:
                           hereafter becomes, sponsored solely by you, or
                           sponsored jointly by you and a labor organization,          (i) Counseling employees, beneficiaries or "plan"
                           solely for the benefit of your employees;                       participants with respect to any "plans";
                      b. Any "pension plan" which was, on or prior to the              (ii) Providing interpretations with respect to any
                           effective date of this Policy, sponsored solely by               "plan";
                           you, or sponsored jointly by you and a labor                (iii) Handling records in connection with any "plan";
                           organization, solely for the benefit of your
                           employees;                                                  (iv) Enrolling, terminating or canceling employees
                                                                                            under any "plan"; or
                      c.   Any "pension plan" which, after the effective date
                           of this Policy, becomes sponsored solely by you,            (v) Otherwise performing or failing to perform "ERISA
                           or jointly by you and a labor organization, solely              or any similar act" obligations relating to any
                           for the benefit of your employees, if and to the                "plan."
                           extent coverage with respect such "pension plan"
                                                                                  SECTION IV- EXTENDED REPORTING PERIOD
                           is afforded pursuant to Section XIV.1 of the
                           General Terms & Conditions of this Policy; or          A. If the first Named Insured cancels or non-renews this
                      d. Any government-mandated insurance for workers'                Coverage Form or if we decide not to offer any
                         compensation, unemployment, social security or                renewal terms for this Coverage Form, the first
                         disability benefits for employees of Named                    Named Insured shall have the right to purchase, upon
                         Company or any Subsidiary.                                    payment of an additional premium not to exceed

---
iiiiiiii




!!!!!!!!!!!!!!
                 L.   "Welfare Plan" means any employee welfare benefit
                      plan as defined in 29 U.S.C. §1002 subject to
                                                                                       200% of the annual premium for this coverage, an
                                                                                       extension of this Coverage Form for a period of 12
                                                                                       months immediately following the end of the "policy
iiiiiiii              regulation under ERISA or any Similar Act. Welfare               period," but only with respect to any "wrongful act"
                      Plan shall not include an excess benefit plan as                 committed before the earlier of the end of the "policy
                      defined in 29 U.S.C. §1002.                                      period";
                 M. "Policy Period" means the period from the effective                This period shall be referred to as the Extended
                    date of this Coverage Form to the expiration date                  Reporting Period.
                    stated on the Declarations, or its earlier cancellation
                                                                                  B. As a condition precedent to the right to purchase the
                    date.
                                                                                     Extended Reporting Period, the total premium for this
=                N. "Pollutants" means any substance exhibiting                      Coverage Form must have been paid. The right to
                    hazardous characteristics as, is or may be defined or            purchase the Extended Reporting Period shall end

                 SB-300441-A                                                                                                       Page 3 of6
                 (Ed. 01/07)
          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 167 of 221
                                                                                                                   SB-300441-A
                                                                                                                     (Ed. 01/07)


   unless we receive written notice and full payment of          4.        Prior Wrongful Acts of Subsidiaries
   the premium for such period within 30 days after the
   end of the "policy period."                                             For:
                                                                           (a) Any "wrongful act" by an insured of any of
C. If the Extended Reporting Period is purchased, the
    entire premium shall be deemed fully earned at its                         your subsidiaries, or by such subsidiary
    commencement without any obligation by us to return                        occurring before the date such entity became
    any portion thereof.                                                       a subsidiary, or
                                                                           (b) Any other "wrongful           act," whenever
D. There is no separate or additional limit of insurance
                                                                               occurring, which, together with a "wrongful
   for the Extended Reporting Period.
                                                                               act" described in (a) above, would constitute
SECTION V- LIMIT OF INSURANCE                                                  "interrelated wrongful acts."
   Your rights and ours are stated in the attached Single        5.        Assumed Liability
   Limit of Insurance Endorsement For Employment
   Practices/Fiduciary Liability Coverage Forms                            Based upon, directly or indirectly arising out of or
                                                                           in any way involving the insured's assumption of
SECTION VI - EXCLUSIONS                                                    the liability of others in any oral or written contract
                                                                           or agreement, unless such liability would have
A. Exclusions Applicable to Damages and Defense
                                                                           attached to an Insured in the absence of such
   Expenses
                                                                           agreement.
   We will not be liable to pay any "damages" or                B. Exclusions Applicable to Non-Monetary Relief
   "defense expenses" under this Coverage Form in
   connection with any "claim" made against an insured:               We will not be liable to pay any "damages" under this
                                                                      Coverage Form that represent:
    1.   Bodily Injury/Property Damage
                                                                      1. The return or reversion to you of any contribution
         For any actual or alleged bodily injury (including
                                                                           or asset of any "plan";
         death), sickness, disease of any person, or
         damage to or destruction of any tangible property            2. Any costs incurred by an insured to comply with
         including loss of use;                                            any order for remedial, preventive, injunctive or
                                                                           other non-monetary relief, or to comply with an
    2.   Violation of Law
                                                                           agreement to provide such relief;
         For any actual or alleged violation of any law
                                                                      3.   Benefits due or to become due under any "plan,"
         governing workers' compensation, unemployment                     or benefits which would be due under any "plan"
         insurance, social security, disability benefits or                if such "plan" complied with all applicable law,
         any other similar federal, state or local statutory
                                                                           except to the extent that:
         or regulatory law or common law anywhere in the
         world except the Consolidated Omnibus Budget                      i.     An "insured person" is legally obligated to
         Reconciliation Act of 1985 or the Health                                 pay such benefits as a personal obligation,
         Insurance Portability and Accountability Act of                          and
         1996 or any amendments to such laws or any
         rules or regulations promulgated under such
                                                                           ii.    Recovery for the benefits is based upon a
         laws.                                                                    covered "wrongful act''; or

    3.   Pollution                                                    4. An employer's contributions owed to a "plan" and
                                                                           other amounts for which the insureds are legally
         Based upon, directly or indirectly arising out of or              obligated to pay by reason of the failure to collect
         in any way involving: any nuclear reaction,                       such contributions.
         radiation or contamination, or any actual, alleged
                                                                SECTION VII - CONDITIONS
         or threatened discharge, release, escape, or
         disposal of, or exposure to, "pollutants"; any         A. Bankruptcy
         request, direction or order that any of the
         insureds test for, monitor, clean up, remove,                Bankruptcy or insolvency of the insured or of the
         contain, treat, detoxify, neutralize or in any way           "insured's" estate will not relieve us of our obligations
         respond to or assess the effect of "pollutants" or           under this policy.
         nuclear reaction, radiation or contamination, or       B. Duties In The Event Of A "Claim"
         any voluntary decision to do so; or any actual or
         alleged property damage, or bodily injury,                   1.   If, during the "policy period' or any Extended
         sickness, disease or death of any person                          Reporting Period, if applicable, any "claim" is first
         resulting from any of the aforementioned matters.                 made against the "insured," the insured shall, as
                                                                           a condition precedent to our obligations under
                                                                           this Coverage Form, give us written notice as

SB-300441-A                                                                                                          Page 4 of6
(Ed. 01/07)
                          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 168 of 221
                                                                                                                            SB-300441-A
                                                                                                                              (Ed. 01/07)


                         soon as practicable but in no event later than           2.   In the case of an investigation, on the earliest of
                         ninety (90) days after the end of the "policy                 the date of service upon or other receipt by the
                         period" or the Extended Reporting Period, if                  insured of a written notice or subpoena from the
                         applicable.                                                   investigating authority identifying such "insured
                                                                                       person" as an individual against whom a formal
                    2. You must:                                                       proceeding may be commenced;
                         a. Immediately send us copies of any demands,            3.   In the case of a written demand for monetary
                             notices, summonses or legal papers received               damages or non monetary relief, upon the
                             in connection with the "claim";                           insured's receipt of such written demand.
                         b. Authorize us to obtain records and other           E. Other Insurance
                             information; and
                                                                                  The Other Insurance clause, Section H. of the
                         c. Cooperate with us in the investigation or             Common Policy Conditions is deleted and replaced
                             settlement of the "claim" or defense of the          with the following:
                             "suit."
                                                                                  If any "damages" and "defense expenses" resulting
                    3.   No insured shall voluntarily make a payment,
                                                                                  from any "claim" are insured under any other policies,
                         assume any obligation, or incur any expense              this Coverage Form shall apply only to the extent the
                         without our written consent.                             "damages" and "defense expenses" exceed the
                 C. Duties in the Event of A "Wrongful Act" That May              amount paid under such other insurance, whether
                    Result In A "Claim"                                           such other insurance is stated to be primary,
                                                                                  contributory, excess, contingent or otherwise, unless
                    If, during the "policy period," you first become aware        such other insurance is written only as specific
                    of a specific "wrongful act" which may reasonably             excess insurance over this Coverage Form.
                    give rise to a future "claim," and during the "policy
                    period" give written notice to us of:                      F. Section IV. Estates, Legal Representatives and
                                                                                  Spouses/Domestic Partners
                    1. The names of any potential claimants and a
                         description of the "wrongful act" which forms the        Section L. of the Common Policy Conditions, Transfer
                         basis of their potential "claim";                        Of Your Rights And Duties Under This Policy, is
                                                                                  deleted in its entirety and replaced as follows:
                    2.   The identity of the specific insureds allegedly
                         responsible for such specific "wrongful act'';           The estates, heirs, legal representatives, assigns,
                                                                                  spouses and any "domestic partner'' of "insured
                    3.   The consequences which have resulted or may              persons" shall be considered insureds under this
                         result from such specific "wrongful act'';               Coverage Form; provided, however, coverage is
                    4.   The nature of the potential monetary damages             afforded to such estates, heirs, legal representatives,
                         which may be sought in consequence of such               assigns and spouses only for a "claim "arising solely
                         specific "wrongful act''; and                            out of their status as such and, in the case of a
                                                                                  spouse or "domestic partner," where such "claim"
                    5. The circumstances by which you first became                seeks damages from marital community property,
                         aware of such specific "wrongful act'';                  jointly held property or property transferred from the
                    Then any "claim" otherwise covered pursuant to this           "insured person" to the spouse or "domestic partner."
                    Coverage Form which is subsequently made and                  No coverage is provided for any act, error or omission
                    which arises out of such "wrongful act" shall be              of an estate, heir, legal representative, assign, spouse
                    deemed to have been first made and reported to us             or "domestic partner." All terms and conditions of this
                    by you at the time we received such written notice. No        Coverage Form, including without limitation the
                    coverage is provided for fees and expenses incurred           deductible applicable to "damages" and "defense
iiiiiiii
                    prior to the time such notice results in a "claim."           expenses" incurred by the "insured person" shall also
                                                                                  apply to "damages" and "defense expenses" incurred
-
!!!!!!!!!!!!!!
iiiiiiii
                 D. When a "Claim" is Deemed Made
                    A "claim" shall be deemed made:
                                                                                  by such estates, heirs, legal representatives, assigns,
                                                                                  spouses and "domestic partners."
                                                                               G. No Action Against Us
                    1.   In the case of a civil, criminal, administrative or
                         regulatory proceeding or arbitration, on the             1.   No action shall be taken against us unless, as a
                         earliest of the date of service upon or other                 condition precedent, there shall have been full
                         receipt by the insured of a complaint, indictment,            compliance with all the provisions of this
                         notice of charge or similar document against the              Coverage Form nor until the amount of your
                         insured in such proceeding or arbitration;                    obligation to pay shall have been finally
=                                                                                      determined either by final and nonappealable


                 SB-300441-A                                                                                                  Page 5 of6
                 (Ed. 01/07)
           Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 169 of 221
                                                                                                                SB-300441-A
                                                                                                                  (Ed. 01/07)


          judgment against you after trial or by written                       completed, provided you are cooperating in
          agreement by you, the claimant and us.                               completing such transfer.
     2.   No person or organization shall have any right              3.   Upon receipt of such notice, you, must:
          under this Coverage Form to join us a party to
          any "suit" against you to determine your liability,
                                                                           a. Cooperate in the transfer of control of
          nor shall we be impleaded by you or your legal                       "claims"; and
          representatives in any such "suit."                              b. Arrange for the defense of such "claim" within
H. Transfer Of Rights Of Recovery Against Others To                            such time period as agreed to between you
     Us                                                                        and us. Arrangements for the defense of
                                                                               such "claim" must be made as soon as
     If the insured has rights to recover all or part of any                   practicable.
     payment we have made under this Coverage Form
                                                                      4.   We will take no action with respect to defense for
     those rights are transferred to us. The insured must
     do nothing after a "claim" is made to impair them. At                 any "claim" if such "claim" is reported to us after
     our request, the insured will bring "suit" or transfer                the applicable limit of insurance is exhausted. It
     those rights to us and help us enforce them.                          becomes the your responsibility to arrange
                                                                           defense for such "claim."
     In no event shall the insured be entitled to recoup
                                                                      5.   You will reimburse us as soon as practicable for
     from recoveries any amount to satisfy any deductible
     until after all amounts which we are required to pay or               expenses we incur in taking those steps we deem
                                                                           appropriate in accordance with Paragraph 2.
     do pay under this Coverage Form are reimbursed to
     us.                                                                   above.

I.   Transfer Of Duties When Limit Of Insurance Is
                                                                      6.   The exhaustion of the applicable limit of
     Exhausted                                                             insurance and the resulting end of our duty to
                                                                           defend will not be affected by our failure to
     1.   If we conclude that, based on "claims" which                     comply with any of the provisions of this
          have been reported to us and to which this                       Condition.
          insurance may apply, the limit of insurance is
          likely to be exhausted in the payment of
                                                                 J.   Named Insured Authorization
          "damages" or "defense expenses," we will notify             The insureds agree that the first named insured will
          the first named insured, in writing, to that effect;        act on behalf of all insureds with respect to giving of
     2.   When the limit of insurance has actually been               all notice to us (except notices provided in Section VII.
                                                                      Paragraph B and C), the receipt of notices from us,
          exhausted by payments of "damages" or
          "defense expenses," we will:                                the payment of the premiums, the receipt of any
                                                                      return premiums that may become due under this
          a.   Notify the first "named insured" in writing, as        Coverage       Form,     and    the    acceptance     of
               soon as practicable, that such limit has been          endorsements.
               exhausted and that our obligations under this
                                                                 K. Assignment of Interest
               Coverage Form shall be deemed completely
               fulfilled and extinguished;                            Assignment of interest under this Coverage Form
          b.   Initiate, and cooperate in, the transfer of            shall not bind us unless its consent is endorsed to this
               control, to any appropriate insured, of all            Coverage Form.
               open "claims" to you; and                         L. Common Policy Conditions
          c.   Take such steps, as we deem appropriate, to            Unless otherwise stated in this Coverage Form, all of
               avoid a default in, or continue the defense of,        the terms and conditions of the Businessowners
               such "claims" until such transfer is                   Common Policy Conditions shall be included and
                                                                      incorporated into this Coverage Form.




SB-300441-A                                                                                                       Page 6 of6
(Ed. 01/07)
                          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 170 of 221
                                                                                                                             SB-300449-A
                                                                                                                               (Ed. 01/07)



                                SINGLE LIMIT OF INSURANCE ENDORSEMENT FOR
                          EMPLOYMENT PRACTICES/FIDUCIARY LIABILITY COVERAGE FORMS

                 In consideration of the premium paid for this Policy, it is hereby understood and agreed that the following endorsement is
                 applicable to the Employment Practices Liability and Fiduciary Liability Coverage Forms:


                 SINGLE LIMIT OF INSURANCE/DEDUCTIBLE                               Example No. 1
                 A. The Employment Practices/Fiduciary Liability single                  EPL Deductible: $5,000
                    limit of insurance shown in the Declarations and
                                                                                         Employment Practices/Fiduciary Single Limit of
                    subject to the provisions of the Employment Practices
                    Liability and Fiduciary Liability Coverage Forms is the              Insurance: $100,000
                    total amount we will pay as "damages" and "defense                   "Damages" and "Defense Expenses": $75,000
                    expenses" under both the Employment Practices
                    Liability and Fiduciary Liability Coverage Forms                     The EPL Deductible will be subtracted from the
                    combined, regardless of the number of insureds,                      amount of "damages" and "defense expenses" in
                    "claims" made or persons or entities making "claims"                 calculating the amount payable:
                    under such Coverage Forms. If "related claims" are                   $75,000 - $5,000 = $70,000 Amount Payable
                    subsequently made against the insured and reported
                    to us, all such "related claims," whenever made, shall          Example No. 2
                    be considered a single "claim" first made and reported               EPL Deductible: $5,000
                    to us within the "policy period" in which the earliest of
                    the "related claims" was first made and reported to us.              Employment Practices/Fiduciary Single Limit of
                                                                                         Insurance: $100,000
                 B. The Employment Practices/Fiduciary Liability single
                    limit of insurance shown in the Declarations shall be                "Damages" and "Defense Expenses": $120,000
                    our maximum aggregate limit of insurance for all                     The EPL Deductible will be subtracted from the
                    "damages" and "defense expenses" under the                           amount of "damages" and "defense expenses"
                    Employment Practices Liability and Fiduciary Liability               ($120,000- $5,000 = $115,000). Since the amount
                    Coverage Forms combined, regardless of the number                    of the "damages" and "defense expenses" minus
                    of:                                                                  the EPL Deductible exceeds the Employment
                                                                                         Practices/Fiduciary Liability single limit of
                     1.   Insureds;                                                      insurance, the policy will pay the full Employment
                    2.    "Claims";                                                      Practices/Fiduciary Liability Single Limit of
                                                                                         Insurance ($100,000).
                    3.    "Damages" or "defense expenses" incurred; or
                                                                                D. Subject to Paragraph E. below, we may pay any part
                    4.    Claimants;                                                or all of the EPL Deductible amount to effect
                    Our obligations under both the Employment Practices             settlement of any "claim" and, upon notification of the
                    Liability and Fiduciary Liability Coverage Forms, shall         action taken, you shall promptly reimburse us for such
                    be completely fulfilled and extinguished if the                 part of the EPL Deductible amount as has been paid
                    Employment Practices/Fiduciary Liability single limit of        by us.
                    insurance is exhausted by payment of "damages" or           E.. No deductible applies with respect to any "claim"
                    "defense expenses."                                             against any "insured person" if you are not permitted
                 C. We will pay "damages" and "defense expenses" in                 to advance "defense expenses" or to indemnify such

--
iiiiiiii
                    excess of the EPL Deductible shown on the                       "insured person" for "damages" by reason of:
                    Declarations, up to the applicable Employment                   1. Financial insolvency; or
!!!!!!!!!!!!!!
iiiiiiii            Practices/Fiduciary Liability single limit of insurance.
                                                                                    2.   A good faith determination by you that such
                                                                                         payment is not permitted under the broadest
                                                                                         construction of applicable law




=

                 SB-300449-A                                                                                                   Page 1 of 1
                 (Ed. 01/07)
          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 171 of 221
                                                                                                             SB-300450-A
                                                                                                               (Ed. 01/07)




                  EMPLOYMENT PRACTICES LIABILITY COVERAGE FORM
THIS IS A CLAIMS MADE COVERAGE FORM. PLEASE READ ALL PROVISIONS AND CONTACT YOUR AGENT IF
YOU HAVE ANY QUESTIONS. THIS INSURANCE APPLIES ONLY TO "WRONGFUL ACTS" THAT OCCUR BETWEEN
THE RETROACTIVE DATE AND THE END OF THE "POLICY PERIOD." THIS INSURANCE APPLIES ONLY TO
"CLAIMS" FIRST MADE AGAINST THE INSURED AFTER THE INCEPTION DATE AND BEFORE THE END OF THE
"POLICY PERIOD" OR ANY APPLICABLE EXTENDED REPORTING PERIOD AND REPORTED TO US IN
ACCORDANCE WITH THE PROVISIONS OF THIS FORM. UPON TERMINATION OF YOUR POLICY AN AUTOMATIC
EXTENDED REPORTING PERIOD WILL BE PROVIDED, AND A SUPPLEMENTAL EXTENDED REPORTING PERIOD
WILL BE AVAILABLE.



Various provisions in this Coverage Form restrict coverage. Read the entire Coverage Form carefully to determine rights,
duties and what is and is not covered.
Throughout this Coverage Form the terms "you" and "your'' refer to the Named Insured shown in the Declarations, and any
other person or organization qualifying as a Named Insured under this policy." The terms "we," "us" and "our'' refer to the
Stock Insurance Company named on the Declarations providing this insurance.
The word "insured" means any person or organization qualifying as such under Section II Who Is An Insured.
Other words and phrases that appear in quotation marks have special meaning. Refer to Section Ill Definitions.


SECTION I - INSURING AGREEMENTS                                    No other obligation or liability to pay sums or perform
                                                                   acts or services is covered unless explicitly provided
A. Coverage
                                                                   for under paragraph 1.D. -Supplementary Payments
    We will pay those sums in excess of the deductible         B. Defense
    and subject to the limits of liability that the Insured
    becomes legally obligated to pay as "damages"                  We have the right and duty to defend all "suits," even if
    because of a "claim" resulting from a "wrongful                the allegations are groundless, false or fraudulent. We
    employment practice" provided:                                 shall have the right to appoint counsel and to make
                                                                   such investigation and defense of a "suit" as we deem
    1.   The "wrongful employment practice" takes place in
                                                                   necessary. Alternatively we may, at our option, give
         the "coverage territory";
                                                                   our written consent to the defense of any such "suit" to
    2.   The "wrongful employment practice" did not occur          the insured. Our obligation to defend any "suit" or pay
         before the Retroactive Date, if any, shown in the         any "damages" and "defense expenses" for any
         Declarations nor after the end of the "policy             "claim" shall be completely fulfilled and extinguished if
         period"; and                                              the limit of insurance has been exhausted by payment
                                                                   of "damages" or "defense expenses."
    3.   A "claim" arising out of a "wrongful employment
         practice" is first made against an insured, during    C. Consent To Settle
         the "policy period" or Extended Reporting Period,
                                                                   We shall not settle a "claim" without your written
         if applicable and is reported to us in accordance
                                                                   consent. If you refuse to consent to a settlement or
         with Section VIII, Conditions, paragraph C, Duties
                                                                   compromise recommended by us, and acceptable to
         in the event of a "Claim"; and
                                                                   the claimant, then the applicable limit of insurance
    4.   Prior to the inception date of this Coverage Form:        under this Coverage Form shall be reduced to the
                                                                   amount for which the "claim" could have been settled
         a. the Insured did not give notice to a prior             plus all "defense expenses" incurred up to the time we
             insurer of a "related claim";                         made our recommendation.
         b. the Insured did not give notice to a prior         D. Supplementary Payments
             insurer of any such "wrongful employment
             practice" or "interrelated wrongful employment        We will pay, with respect to any "claim" or "suit" we
             practice."                                            investigate or settle, or any "suit" against an insured
                                                                   we defend all "defense expenses." These payments
                                                                   are included within and reduce the Limits of Insurance.

SB-300450-A                                                                                                    Page 1 of7
(Ed. 01/07)
                      Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 172 of 221
                                                                                                                               SB-300450-A
                                                                                                                                 (Ed. 01/07)


            SECTION II - WHO IS AN INSURED                                         1.   criminal or civil fines or penalties imposed by law;
            A. If you are designated in the Declarations as:                       2.   taxes;
                1. A partnership or joint venture, you are an insured.             3.   liquidated or the multiple portion of any multiplied
                     Your partners or members are also insureds.                        damages, amounts which may be deemed
                                                                                        uninsurable under the law pursuant to which this
                2.   A limited liability company, you are an insured.
                                                                                        policy shall be construed;
                     Your members and managers are also insureds.
                                                                                   4.   compensation earned by the claimant in the
                3. An organization other than a partnership, joint                      course of employment but unpaid by the Insured,
                     venture or limited liability company, you are an                   including salary, wages, commissions, bonus or
                     insured. Your "executive officers" and directors                   incentive compensation;
                     are also insureds.
                                                                                   5.   any amounts for which an Insured is liable due to
            B. Your "employees" are also insureds, unless otherwise                     breach of any written contract of employment;
                excluded in this policy.
                                                                                   6.   amounts representing medical or            insurance
            C. Any organization you newly acquire or form, other than                   premiums or benefit claim payments;
                a partnership, joint venture or limited liability company,
                and over which you maintain ownership or majority                  7.   any amount for which an Insured is absolved from
                interest, will qualify as a Named Insured if no other                   payment by reason of any covenant, agreement or
                similar insurance applies to that organization. You                     court order; or
                must notify us of such acquisition or formation as soon
                as practicable. However, coverage under this
                                                                                   8.   future salary, wages or commissions of a claimant
                                                                                        who is hired, promoted or reinstated to
                provision:
                                                                                        employment pursuant to a settlement of, order in,
                1.   Is afforded only until the 9oth day after you                      or other resolution of any "claim"
                     acquire or form the organization, or until the end of
                     the policy period, whichever is earlier; and                  Notwithstanding anything to the contrary above,
                                                                                   "damages" shall include punitive or exemplary
                2.   Does not apply to an offense committed before                 damages, if insurable, to the fullest extent permitted by
                     you acquired or formed the organization.                      any applicable law. Where you reasonably determine
                                                                                   that punitive, exemplary or multiple damages are
            No person or organization is an insured with respect to the
                                                                                   insurable under any applicable law, we shall not
            conduct of any current or past partnership, joint venture or           challenge that determination of insurability.
            limited liability company that is not shown as a Named
            Insured in the Declarations.                                      D. "Defense expenses" means all fees charged by
                                                                                 attorneys designated by us, or by you, with our written
            SECTION Ill - DEFINITIONS
                                                                                 consent and all other reasonable and necessary fees,
            The following defined words shall have the same meaning              costs and expenses resulting from the investigation,
            throughout this Coverage Form, whether expressed in the              adjustment, defense and appeal of a "claim" if incurred
            singular or the plural.                                              by us or you with our written consent, including the
                                                                                 costs of appeal, attachment or similar bonds. We have
            A. "Claim" means a "suit" or written demand for monetary             no obligation to provide such bonds. "Defense
                damages against an insured and made by or on behalf              Expenses" shall not include salaries, wages, fees,
                of a natural person who is an "employee" or applicant            overhead or benefit expenses associated with the
                for employment for a "wrongful employment practice."             directors, officers, and employees of yours.
            B. "Coverage territory" means:                                    E. "Domestic Partner" means any person qualifying as
                1.   The United States of America (including its                 such under any federal, state or local laws or under
                                                                                 your employee benefit plans.
 --
iiiiiiii             territories or possessions) and Puerto Rico; or


---
i iiiiiii
                2.   All parts of the world if the insured's responsibility
                     to pay "damages" is determined in a "suit" on the
                     merits brought in the territory described in
                                                                              F.   "EEOC Proceeding" means an investigative
                                                                                   proceeding before the Equal Employment Opportunity
                                                                                   Commission or an adjudicatory or investigative

  -                  Paragraph 1. above or in a settlement of a "claim"
                     that we agree to.
                                                                                   proceeding before any similar federal, state or local
                                                                                   government body whose purpose is to address
                                                                                   "wrongful employment practices."
            C. "Damages" means sums (including back pay and
               front pay), settlements, judgments (including any              G. "Employee" means all of your past, present or future
               award of pre-judgment and post-judgment interest) for             full-time or part-time employees, including seasonal
               which you are legally obligated to pay on account of a            and temporary employees and employees leased or
=              covered "claim." "Damages" shall not include:                     loaned to you. "Employee" does not include an
                                                                                 independent contractor.

            SB-300450-A                                                                                                          Page 2 of7
            (Ed. 01/07)
          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 173 of 221
                                                                                                                 SB-300450-A
                                                                                                                   (Ed. 01/07)


H. "ERISA or any Similar Act" means the Employee                     3.   Violation of any federal, state or local laws
   Retirement Income Security Act of 1974, as amended,                    (whether common-law or statutory) concerning
   or any similar common or statutory law of the United                   employment or discrimination in employment,
   States, Canada or their states, territories or provinces               including the Americans with Disabilities Act of
   or any other jurisdiction anywhere in the world.                       1992, the Civil Rights Act of 1991, the Age
                                                                          Discrimination in Employment Act of 1967, Title
I.   "Executive officer" means your chairperson, chief
                                                                          VII of the Civil Rights Act of 1964 and the Civil
     executive officer, president, chief financial officer and
                                                                          Rights Act of 1866;
     in-house general counsel, and, the director of human
     resources or equivalent position;                               4.   Sexual harassment or other unlawful harassment
                                                                          in the work place;
J.   "Insured Persons" means all of those natural person
     insureds who are your partners, members, managers,              5.   Wrongful deprivation of career opportunity or
     "executive officers," directors and "employees"                      failure to employ or promote;
K. "Interrelated Wrongful Employment Practices"                      6.   Wrongful discipline of "employees";
   means any "wrongful employment practices" which are
                                                                     7.   Retaliation against "employees" for the exercise of
   logically or causally connected by reason of any
                                                                          any legally protected right or for engaging in any
   common fact, circumstance, situation, transaction or
                                                                          legally protected activity;
   event.
L.   "Policy Period" means the period from the effective             8.   Negligent evaluation of "employees";
     date of this Coverage Form to the expiration date               9.   Failure to adopt adequate workplace                 or
     stated on the Declarations, or its earlier cancellation              employment policies and procedures;
     date.
                                                                     10. Employment-related defamation or invasion of
M. "Pollutants" means any substance exhibiting                           privacy; or
   hazardous characteristics as, is or may be defined or
   identified on any list of hazardous substances issued             11. Employment-related       wrongful       infliction   of
   by the United States Environmental Protection Agency                  emotional distress.
   or any state or local or foreign counterpart. "Pollutants"    SECTION IV- EXTENDED REPORTING PERIOD
   also means, without limitation, any solid, liquid,
   gaseous or thermal irritant or contaminant, including         A. If the first Named Insured cancels or non-renews this
   smoke, vapor, soot, fumes, acids, alkalis, chemicals or           Coverage Form or if we decide not to offer any
   waste     (including    materials to      be    recycled,         renewal terms for this Coverage Form, the first Named
   reconditioned or reclaimed), as well as any air                   Insured shall have the right to purchase, upon
   emission, odor, waste water, oil or oil products,                 payment of an additional premium not to exceed 200%
   infectious or medical waste, asbestos, or asbestos                of the annual premium for this coverage, an extension
   products or any noise.                                            of this Coverage Form for a period of 12 months
                                                                     immediately following the end of the "policy period,"
N. "Related claims" mean all claims arising out of a                 but only with respect to any "wrongful employment
   single "wrongful employment practice" or arising out of           practice" committed before the earlier of the end of the
   "interrelated wrongful employment practices."                     "policy period";
0. "Suit" means a formal civil, administrative, or                   This period shall be referred to as the Extended
   regulatory    proceeding    (including    an    "EEOC             Reporting Period.
   Proceeding") or investigation or an arbitration against
   an insured, including any appeal therefrom.                   B. As a condition precedent to the right to purchase the
                                                                    Extended Reporting Period, the total premium for this
P. "Wrongful Employment Practice" means any actual                  Coverage Form must have been paid. The right to
   or alleged error, misstatement, misleading statement,            purchase the Extended Reporting Period shall end
   act, omission, neglect or breach of duty committed or            unless we receive written notice and full payment of
   attempted by the "insured persons" in their capacity as          the premium for such period within 30 days after the
   such or by you constituting or related to                        end of the "policy period."
     1.   Wrongful dismissal or discharge or termination of      C. If the Extended Reporting Period is purchased, the
          employment, whether actual or constructive;               entire premium shall be deemed fully earned at its
     2.   Employment-related misrepresentation;                     commencement without any obligation by us to return
                                                                    any portion thereof.
                                                                 D. There is no separate or additional limit of insurance for
                                                                     the Extended Reporting Period.



SB-300450-A                                                                                                         Page 3 of7
(Ed. 01/07)
                      Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 174 of 221
                                                                                                                           SB-300450-A
                                                                                                                             (Ed. 01/07)


            SECTION V - LIMIT OF INSURANCE                                                law anywhere in the world governing an
                                                                                          employer's obligation to notify or bargain with
                Your rights and ours are stated in the attached Single                    others in advance of any facility closing or
                Limit of Insurance Endorsement For Employment                             mass layoff.
                Practices/Fiduciary Liability Coverage Forms
                                                                                   f.     The National Labor Relations Act, as
            SECTION VI - EXCLUSIONS
                                                                                          amended, or any other federal, state or local
            A. Exclusions Applicable to Damages and Defense                               statutory or regulatory law or common law
               Expenses                                                                   anywhere in the world governing employees'
                                                                                          rights and the employers duties with respect
                We will not be liable to pay any "damages" or "defense                    to unions, bargaining, strikes, boycotts,
                expenses" under this Coverage Form in connection                          picketing, lockouts or collective activities.
                with any "claim" made against an insured:
                                                                                   However, this exclusion shall not apply to any
                1.   Bodily Injury/Property Damage                                 "claim" alleging retaliation or wrongful dismissal or
                     For any actual or alleged bodily injury (including            discharge or termination of employment whether
                     death), sickness, disease of any person, or                   actual or constructive, because of a claimant's
                     damage to or destruction of any tangible property             exercise of a right pursuant to any such laws;
                     including loss of use except that this exclusion         3.   Pollution
                     shall not apply to allegations of emotional distress,
                     humiliation or mental anguish;                                Based upon, directly or indirectly arising out of or
                                                                                   in any way involving: any nuclear reaction,
                2.   Violation of Law                                              radiation or contamination, or any actual, alleged
                     Based upon, directly or indirectly arising out of, or         or threatened discharge, release, escape, or
                     in any way involving any actual or alleged violation          disposal of, or exposure to, "pollutants"; any
                     of:                                                           request, direction or order that any of the insureds
                                                                                   test for, monitor, clean up, remove, contain, treat,
                     a.   (i) "ERISA or any Similar Act," (ii) the                 detoxify, neutralize or in any way respond to or
                          Consolidated Omnibus Budget Reconciliation               assess the effect of "pollutants" or nuclear
                          Act of 1985 (COBRA), as amended, or (iii)                reaction, radiation or contamination, or any
                          any other federal, state or local statutory law          voluntary decision to do so; or any actual or
                          or common law anywhere in the world                      alleged property damage, or bodily injury,
                          governing any employee benefit program,                  sickness, disease or death of any person resulting
                          policy, plan or arrangement of any type,                 from any of the aforementioned matters. However,
                          including but not limited to laws governing              this exclusion shall not apply to any "claim"
                          retirement or pension benefit programs,                  alleging retaliation or wrongful dismissal or
                          welfare plans, insurance plan, employee stock            discharge or termination of employment whether
                          option ownership or employee stock purchase              actual or constructive, because of a claimant's
                          plans or deferred compensation programs;                 exercise of a right pursuant to any such laws;
                     b.   Any law governing workers' compensation,            4.   Prior Wrongful Acts of Subsidiaries
                          unemployment insurance, social security,
                          disability benefits or any other similar federal,        For:
                          state or local statutory or regulatory law or            (a) Any "wrongful employment practice" by an
                          common law anywhere in the world;                            insured of any of your subsidiaries, or by such
                     c.   The Occupational Safety and Health Act of                    subsidiary occurring before the date such
                          1970 (OSHA), as amended, or any other                        entity became a subsidiary, or
                          federal, state or local statutory or regulatory          (b) Any other "wrongful employment practice,"
--
iiiiiiii
                          law or common law anywhere in the world                      whenever occurring, which, together with a
--
---
i iiiiiii
                          governing workplace safety and health;
                     d. The Fair Labor Standards Act (except the
                                                                                       "wrongful employment practice" described in
                                                                                       (a) above, would constitute "interrelated
                          Equal Pay Act), as amended, or any other                     wrongful employment practices."
-                         federal, state or local statutory law or common
                          law anywhere in the world governing wage,
                                                                              5.   Assumed Liability

                          hour and payroll policies;                               Based upon, directly or indirectly arising out of or
                                                                                   in any way involving the insured's assumption of
                     e.   The Workers' Adjustment and Retraining                   the liability of others in any oral or written contract
                          Notification Act, Public Law 100-379 (1988),             or agreement, unless such liability would have
                          as amended, or any other federal, state or               attached to an Insured in the absence of such
=                         local statutory or regulatory law or common              agreement;

            SB-300450-A                                                                                                      Page 4 of7
            (Ed. 01/07)
         Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 175 of 221
                                                                                                              SB-300450-A
                                                                                                                (Ed. 01/07)


B. Exclusions Applicable to Non-Monetary Relief                 C. Duties in the Event of A "Wrongful Employment
                                                                   Practice" That May Result In A "Claim"
   We will not be liable to pay any "damages" under this
   Coverage Form that represent                                    If, during the "policy period," you first become aware of
                                                                   a specific "wrongful employment practice" which may
   1.   The cost of any non-monetary relief, including
                                                                   reasonably give rise to a future "claim," and during the
        without limitation any costs associated with               "policy period" give written notice to us of:
        compliance with any injunctive relief of any kind or
        nature imposed by any judgment or settlement;              1.   The names of any potential claimants and a
                                                                        description of the "wrongful employment practice"
   2.   The costs associated with providing any
                                                                        which forms the basis of their potential "claim";
        reasonable accommodations required by, made
        as a result of, or to conform with the requirements        2.   The identity of the specific insureds allegedly
        of the Americans With Disabilities Act and any                  responsible   for   such    specific  "wrongful
        amendments thereto or any similar federal, state                employment practice";
        or local statute, regulation, or common laws;
                                                                   3.   The consequences which have resulted or may
   3.   Amounts determined to be owing under an                         result from such specific "wrongful employment
        express contract with or express severance                      practice";
        obligation of yours; however, this exclusion shall
                                                                   4.   The nature of the potential monetary damages
        not apply if and to the extent that liability would
        have attached to such insured in the absence of                 which may be sought in consequence of such
        the express contract with or obligation of yours ; or           specific "wrongful employment practice"; and

   4.   Medical or insurance benefits to which the                 5.   The circumstances by which you first became
        claimant allegedly was entitled or would have                   aware of such specific "wrongful employment
        been entitled had you provided the claimant with a              practice";
        continuation or conversion of insurance.                   Then any "claim" otherwise covered pursuant to this
SECTION VII - CONDITIONS                                           Coverage Form which is subsequently made and
                                                                   which arises out of such "wrongful employment
A. Bankruptcy                                                      practice" shall be deemed to have been first made and
                                                                   reported to us by you at the time we received such
   Bankruptcy or insolvency of the insured or of the               written notice. No coverage is provided for fees and
   "insured's" estate will not relieve us of our obligations       expenses incurred prior to the time such notice results
   under this policy.                                              in a "claim."
B. Duties In The Event Of A "Claim"                             D. When a "Claim" is Deemed Made
   1.   If, during the "policy period' or any Extended             A "claim" shall be deemed made:
        Reporting Period, if applicable, any "claim" is first
        made against the "insured," the insured shall, as a        1.   In the case of a civil, administrative or regulatory
        condition precedent to our obligations under this               proceeding or arbitration, on the earliest of the
        Coverage Form, give us written notice as soon as                date of service upon or other receipt by the
        practicable but in no event later than ninety (90)              insured of a complaint, or similar document
        days after the end of the "policy period" or the                against the insured in such proceeding or
        Extended Reporting Period, if applicable.                       arbitration;
   2.   You must:                                                  2.   In the case of an investigation, on the earliest of
                                                                        the date of service upon or other receipt by the
        a.   Immediately send us copies of any demands,
                                                                        insured of a written notice or subpoena from the
             notices, summonses or legal papers received                investigating authority identifying such "insured
             in connection with the "claim";                            person" as an individual against whom a formal
        b. Authorize us to obtain records and other                     proceeding may be commenced;
           information; and                                        3.   In the case of a written demand for monetary
        c.   Cooperate with us in the investigation or                  damages, upon the insured's receipt of such
             settlement of the "claim" or defense of the                written demand.
             "suit."                                            E. Other Insurance
   3.   No insured shall voluntarily make a payment,               The Other Insurance clause, Section H. of the
        assume any obligation, or incur any expense                Common Policy Conditions is deleted and replaced
        without our written consent.                               with the following:



SB-300450-A                                                                                                     Page 5 of7
(Ed. 01/07)
                    Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 176 of 221
                                                                                                                          SB-300450-A
                                                                                                                            (Ed. 01/07)


              If any "damages" and "defense expenses" resulting               request, the insured will bring "suit" or transfer those
              from any "claim" are insured under any other policies,          rights to us and help us enforce them.
              this Coverage Form shall apply only to the extent the
              "damages" and "defense expenses" exceed the                     In no event shall the insured be entitled to recoup from
              amount paid under such other insurance, whether                 recoveries any amount to satisfy any deductible until
                                                                              after all amounts which we are required to pay or do
              such other insurance is stated to be primary,
                                                                              pay under this Coverage Form are reimbursed to us.
              contributory, excess, contingent or otherwise, unless
              such other insurance is written only as specific excess    I.   Transfer Of Duties When Limit Of Insurance Is
              insurance over this Coverage Form.                              Exhausted
           F. Section IV. Estates, Legal Representatives and                  1.   If we conclude that, based on "claims" which have
              Spouses/Domestic Partners                                            been reported to us and to which this insurance
              Section L. of the Common Policy Conditions, Transfer                 may apply, the limit of insurance is likely to be
              Of Your Rights And Duties Under This Policy, is                      exhausted in the payment of "damages" or
              deleted in its entirety and replaced as follows:                     "defense expenses," we will notify the first named
                                                                                   insured, in writing, to that effect;
              The estates, heirs, legal representatives, assigns,
                                                                              2.   When the limit of insurance has actually been
              spouses and any "domestic partner'' of "insured
                                                                                   exhausted by payments of "damages" or "defense
              persons" shall be considered insureds under this
                                                                                   expenses," we will:
              Coverage Form; provided, however, coverage is
              afforded to such estates, heirs, legal representatives,              a. Notify the first named insured in writing, as
              assigns and spouses only for a "claim "arising solely                     soon as practicable, that such limit has been
              out of their status as such and, in the case of a spouse                  exhausted and that our obligations under this
              or "domestic partner," where such "claim" seeks                           Coverage Form shall be deemed completely
              damages from marital community property, jointly held                     fulfilled and extinguished;
              property or property transferred from the "insured
              person" to the spouse or "domestic partner." No                      b. Initiate, and cooperate in, the transfer of
              coverage is provided for any act, error or omission of                    control, to any appropriate insured, of all open
              an estate, heir, legal representative, assign, spouse or                  "claims" to you; and
              "domestic partner." All terms and conditions of this                 c.   Take such steps, as we deem appropriate, to
              Coverage Form, including without limitation the                           avoid a default in, or continue the defense of,
              deductible applicable to "damages" and "defense                           such "claims" until such transfer is completed,
              expenses" incurred by the "insured person" shall also                     provided you are cooperating in completing
              apply to "damages" and "defense expenses" incurred                        such transfer.
              by such estates, heirs, legal representatives, assigns,
              spouses and "domestic partners."                                3.   Upon receipt of such notice, you must:

           G. No Action Against Us                                                 a. Cooperate in the transfer of control of
                                                                                        "claims"; and
              1.   No action shall be taken against us unless, as a
                   condition precedent, there shall have been full                 b. Arrange for the defense of such "claim" within
                   compliance with all the provisions of this                           such time period as agreed to between you
                   Coverage Form nor until the amount of your                           and us. Arrangements for the defense of such
                   obligation to pay shall have been finally                            "claim" must be made as soon as practicable.
                   determined either by final and nonappealable               4. We will take no action with respect to defense for
                   judgment against you after trial or by written                  any "claim" if such "claim" is reported to us after
                   agreement by you, the claimant and us.                          the applicable limit of insurance is exhausted. It
              2.   No person or organization shall have any right                  becomes your responsibility to arrange defense
iiiiiiii
                   under this Coverage Form to join us a party to any              for such "claim."

----               "suit" against you to determine your liability, nor
                   shall we be impleaded by you or your legal
                   representatives in any such "suit."
                                                                              5. You will reimburse us as soon as practicable for
                                                                                   expenses we incur in taking those steps we deem
                                                                                   appropriate in accordance with Paragraph 2.
-          H. Transfer Of Rights Of Recovery Against Others To
              Us
                                                                                   above.
                                                                              6. The exhaustion of the applicable limit of insurance
              If the insured has rights to recover all or part of any              and the resulting end of our duty to defend will not
              payment we have made under this Coverage Form                        be affected by our failure to comply with any of the
              those rights are transferred to us. The insured must do              provisions of this Condition.
              nothing after a "claim" is made to impair them. At our
=

           SB-300450-A                                                                                                      Page 6 of7
           (Ed. 01/07)
          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 177 of 221
                                                                                                             SB-300450-A
                                                                                                               (Ed. 01/07)


J.   Named Insured Authorization                                K. Assignment of Interest
     The insureds agree that the first named insured will act        Assignment of interest under this Coverage Form shall
     on behalf of all insureds with respect to giving of all         not bind us unless its consent is endorsed to this
     notice to us (except notices provided in Section VII.           Coverage Form.
     Paragraph B and C), the receipt of notices from us, the
     payment of the premiums, the receipt of any return
                                                                L.   Common Policy Conditions
     premiums that may become due under this Coverage                Unless otherwise stated in this Coverage Form, all of
     Form, and the acceptance of endorsements.                       the terms and conditions of the Business Owners
                                                                     Common Policy Conditions Endorsement shall be
                                                                     included and incorporated into this Coverage Form.




SB-300450-A                                                                                                   Page 7 of7
(Ed. 01/07)
                            Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 178 of 221
                                                                                                                                                     SB-300456-A
                                                                                                                                                       (Ed. 07/07)



                            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       CONCURRENT CAUSATION, EARTH MOVEMENT & WATER EXCLUSION
                                              CHANGES
                  This endorsement modifies insurance provided under the following:

                      BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

                  A. Section B. EXCLUSIONS the first paragraph of 8.1. is                                  Action, and such resulting loss or damage is
                     deleted in its entirety and replaced by the following:                                not otherwise excluded, we will pay for the
                                                                                                           loss or damage caused by that fire, building
                      1.   We will not pay for loss or damage directly or                                  glass breakage or Volcanic Action.
                           indirectly caused by or resulting from any of the
                           following regardless of: (a) the causes of the                                   Volcanic action means direct loss or damage
                           excluded event; or (b) other causes of the loss; or                              resulting from the eruption of a volcano when
                           (c) any other causes or events, whether or not                                   the loss or damage is caused by:
                           insured under this Policy, which may have                                        (a) Airborne volcanic blast or airborne shock
                           contributed concurrently or in any sequence with                                      waves;
                           the excluded event to produce the loss; or (d)
                           whether the event occurred suddenly or gradually,                                (b) Ash, dust or particulate matter; or
                           involved isolated or widespread damage, arose                                    (c) Lava flow.
                           from natural or external forces or acts or
                           omissions of man, or occurred as a result of any                                 All volcanic eruptions that occur within any
                           combination of any of the following:                                             168 hour period will constitute a single
                                                                                                            occurrence.
                  B. Section B. EXCLUSIONS exclusion 8.1.b. Earth
                     Movement deleted in its entirety and replaced by the                                   Volcanic action does not include the cost to
                     following:                                                                             remove ash, dust or particulate matter that
                                                                                                            does not cause direct physical loss or
                      b.   Earth Movement                                                                   damage to the Covered Property.
                           (1) Earthquake, including any earth sinking, rising
                                                                                           C. Section B. EXCLUSIONS exclusion 8.1.g. Water is
                               or shifting related to such event;                             deleted in its entirety and replaced by the following:
                           (2) Landslide, including any earth sinking, rising                    g. Water
                               or shifting related to such event;
                                                                                                      (1) "Flood," surface water, waves, tides, tidal
                           (3) Mine subsidence, meaning subsidence of a
                                                                                                            waves, overflow of any body of water,
                               man-made mine, whether or not mining                                         including release of water held by a dam, levy
                               activity has ceased;                                                         or dike or by a water or flood control device,
                           (4) Earth sinking (other than sinkhole collapse),                                or their spray, all whether driven by wind or
                               rising or shifting, including soil conditions                                not;
                               which cause settling, cracking or other                                (2) Mudslide or mudflow;
                               disarrangement of foundations or other parts
                               of realty. Soil conditions include contraction,                        (3) Water or sewage that backs up or overflows
                               expansion,     freezing,   thawing,   erosion,                             from a sewer, drain or sump; or
                               improperly compacted soil and the action of
                                                                                                      (4) Water under the ground surface pressing on,
                               water under the ground surface.
iiiiiiii                                                                                                    or flowing or seeping through:


-----
!!!!!!!!!!!!!!!
                           Also, Earth Movement, as described in (1) through
                                                                                                            (a) Foundations,           walls,   floors   or   paved
                           (4) applies to acts or omissions of man or any
                                                                                                                 surfaces;
                           other cause or combination of causes listed

-                          above. But if Earth Movement, as described in (1)
                           through (4) above, results in fire or explosion, and
                           such resulting loss or damage is not otherwise
                                                                                                            (b) Basements, whether paved or not; or
                                                                                                            (c) Doors, windows or other openings.
                           excluded, we will pay for the loss or damage                          But if water, as described in g.(1) through g.(4) above,
                           caused by that fire or explosion.                                     results in fire, explosion, or sprinkler leakage not
                           (5) Volcanic eruption, explosion or effusion. But if                  otherwise excluded, we will pay for the loss or damage
                               volcanic eruption, explosion or effusion results                  caused by that fire, explosion, or sprinkler leakage.
=                              in fire, building glass breakage or Volcanic

                  SB-300456-A                 Includes copyrighted material of Insurance Services Office, Inc., with its permission.                     Page 1 of2
                  (Ed. 07/07)
        Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 179 of 221
                                                                                                                    SB-300456-A
                                                                                                                      (Ed. 07/07)


D. Wherever the word "flood" appears in the Commercial                      areas, whether caused by natural occurrences, acts or
   Property Coverage Part, it is amended to a defined                       omissions of man or any other cause or combination of
   term, as per the following, and is added to the                          causes.
   Definitions section of each applicable coverage part.
                                                                            All flooding in a continuous or protracted event will
   "Flood" means a general and temporary condition of                       constitute a single flood.
   partial or complete inundation of normally dry land




SB-300456-A              Includes copyrighted material of Insurance Services Office, Inc., with its permission.      Page 2 of2
(Ed. 07/07)
                     Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 180 of 221
                                                                                                                           SB-300596-A
                                                                                                                             (Ed. 01/08)



                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                             IDENTITY THEFT/RECOVERY SERVICES ENDORSEMENT
                      IDENTITY THEFT/RECOVERY CASE MANAGEMENT SERVICE AND EXPENSE
                                             REIMBURSEMENT
           This endorsement modifies insurance provided under the following:

               BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

           The following changes apply to the Businessowners                        authorized representative of an "identity recovery
           Special Property Coverage Form:                                          insured," whether acting alone or in collusion with
                                                                                    others. However, this exclusion shall not apply to
           A. IDENTITY RECOVERY COVERAGE                                            the interests of an "insured" who has no
               The following is added to Paragraph 5. Additional                    knowledge of or involvement in such fraud,
               Coverages:                                                           dishonesty or criminal act.

               We will provide the Case Management Service and                 3.   Loss other than "identity recovery expenses."
               Expense Reimbursement Coverage indicated below if               4.   An "identity theft" that is first discovered by the
               all of the following requirements are met:                           "identity recovery insured" prior to or after the
               1.   There has been an "identity theft" involving the                policy period for which this coverage applies. This
                    personal identity of an "identity recovery insured"             exclusion applies whether or not such "identity
                    under this policy; and                                          theft" began or continued during the period of
                                                                                    coverage.
               2.   Such "identity theft" is first discovered by the
                    "identity recovery insured" during the policy period       5.   An "identity theft" that is not reported to us within
                    for which this Identity Recovery coverage is                    60 days after it is first discovered by the "identity
                    applicable; and                                                 recovery insured."

               3.   Such "identity theft" is reported to us as soon as         6.   An "identity theft" that is not reported in writing to
                    practicable but in no event later than 60 days after            the police.
                    it is first discovered by the "identity recovery       C. LIMITS OF INSURANCE
                    insured."
                                                                               1.   Case Management Service is available as needed
               If all three of the requirements listed above have been              for any one "identity theft" for up to 12 consecutive
               met, then we will provide the following to the "identity             months from the inception of the service.
               recovery insured":                                                   Expenses we incur to provide Case Management
               1.   Case Management Service                                         Service do not reduce the amount of limit available
                                                                                    for Expense Reimbursement coverage.
                    Services of an "identity recovery case manager''
                    as needed to respond to the "identity theft''; and
                                                                               2.   Expense Reimbursement coverage is subject to a
                                                                                    limit of $25,000 annual aggregate per "identity
               2.   Expense Reimbursement                                           recovery insured." Regardless of the number of
                                                                                    claims, this limit is the most we will pay for the
                    Reimbursement of necessary and reasonable
                                                                                    total of all loss or expense arising out of all
                    "identity recovery expenses" incurred as a direct
                                                                                    "identity thefts" to any one "identity recovery
                    result of the "identity theft."
                                                                                    insured" which are first discovered by the "identity
-
iiiiiiii
               This coverage is additional insurance.                               recovery insured" during a 12-month period


----
iiiiiiii
           B. EXCLUSIONS
               The following additional exclusions are added to
                                                                                    starting with the beginning of the present annual
                                                                                    policy period.      If an "identity theft" is first
                                                                                    discovered in one policy period and continues into

-              Section B. - Exclusions and apply to this coverage:
               We do not cover loss or expense arising from any of
                                                                                    other policy periods, all loss and expense arising
                                                                                    from such "identity theft" will be subject to the
                                                                                    aggregate limit applicable to the policy period
               the following:                                                       when the "identity theft" was first discovered.
               1.   Theft of a professional or business identity.                   a.   Legal costs as provided under paragraph d. of
               2. Any fraudulent, dishonest or criminal act by an                        the definition of "identity recovery expenses"
                                                                                         are part of, and not in addition to the Expense
=                   "identity recovery insured," or any person aiding or
                                                                                         Reimbursement coverage limit.
                    abetting an "identity recovery insured," or by any

           SB-300596-A                                                                                                       Page 1 of 3
           (Ed. 01/08)
           Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 181 of 221
                                                                                                                   SB-300596-A
                                                                                                                     (Ed. 01/08)


          b. Lost Wages and Child and Elder Care                             As respects Expense Reimbursement coverage,
               Expenses as provided under paragraphs e.                      the "identity recovery insured" must send to us
               and f. of the definition of "identity recovery                within 60 days after our request, receipts, bills or
               insured" are jointly subject to a sublimit of                 other records that support his or her claim for
               $250. per day, not to exceed $5,000. in total.                "identity recovery expenses."
               This sublimit is part of, and not in addition to
                                                                        2.   Services
               the Expense Reimbursement coverage limit.
               Coverage is limited to lost wages and                         The following conditions apply as respects any
               expenses incurred within 12 months after the                  services provided by us or our designees to any
               first discovery of the "identity theft" by the                "identity   recovery    insured"   under    this
               "identity recovery insured."                                  endorsement:
          c.   Mental Health Counseling as provided under                    a. Our ability to provide helpful services in the
               paragraph g. of the definition of "identity                        event of an "identity theft" depends on the
               recovery expenses" is subject to a sublimit of                     cooperation, permission and assistance of the
               $1,000. This sublimit is part of, and not in                       "identity recovery insured."
               addition to the Expense Reimbursement
               coverage limit.      Coverage is limited to                   b. All services may not be available or applicable
               counseling that takes place within 12 months                       to all individuals.   For example, "identity
               after the first discovery of the "identity theft"                  recovery insureds" who are minors or foreign
               by the "identity recovery insured."                                nationals may not have credit records that can
                                                                                  be provided or monitored. Service in Canada
D. DEDUCTIBLE                                                                     will be different from service in the United
     Case Management Service is not subject to a                                  States and Puerto Rico in accordance with
     deductible.                                                                  local conditions.
                                                                             c.   We do not warrant or guarantee that our
     Expense Reimbursement coverage is subject to a
     deductible of $250.      Any one "identity recovery                          services will end or eliminate all problems
     insured" shall be responsible for only one deductible                        associated with an "identity theft" or prevent
     under this Identity Recovery Coverage during any one                         future "identity thefts."
     policy period.                                                     3.   Computer Security
E.   CONDITIONS                                                              It is the responsibility of each "identity recovery
     The following additional conditions are added to                        insured" to use and maintain his or her computer
     Section F. - Commercial Property Conditions and                         system security, including personal firewalls, anti-
     apply to this coverage:                                                 virus software and proper disposal of used hard
                                                                             drives.
     1.   Assistance and Claims
                                                                   F.   DEFINITIONS
          For assistance, the "identity recovery insured"
          should call the Identity Recovery Help Line at 1-             With respect to the provisions of this endorsement
          877-CNA-ASAP (1-877-262-2727) CNA Claims.                     only, the following definitions are added to Section G.
                                                                        - Property Definitions:
          The Identity Recovery Help Line can provide the
          "identity recovery insured" with:                             1.   "Identity Recovery Case Manager'' means one or
                                                                             more individuals assigned by us to assist an
          a. Information and advice for how to respond to                    "identity recovery insured" with communications
               a possible "identity theft''; and                             we deem necessary for re-establishing the
                                                                             integrity of the personal identity of the "identity
          b. Instructions for how to submit a service                        recovery insured."       This includes, with the
               request for Case Management Service and/or                    permission and cooperation of the "identity
               a claim form for Expense Reimbursement                        recovery insured," written and telephone
               Coverage.                                                     communications with law enforcement authorities,
          In some cases, we may provide Case                                 governmental agencies, credit agencies and
          Management services at our expense to an                           individual creditors and businesses.
          "identity recovery insured" prior to a determination          2.   "Identity Theft" means the fraudulent use of the
          that a covered "identity theft" has occurred. Our                  social security number or other method of
          provision of such services is not an admission of                  identifying an "identity recovery insured." This
          liability under the policy. We reserve the right to                includes fraudulently using the personal identity of
          deny further coverage or service if, after                         an "identity recovery insured" to establish credit
          investigation, we determine that a covered                         accounts, secure loans, enter into contracts or
          "identity theft" has not occurred.                                 commit crimes.

SB-300596-A                                                                                                          Page 2 of 3
(Ed. 01/08)
                    Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 182 of 221
                                                                                                                          SB-300596-A
                                                                                                                            (Ed. 01/08)


                   "Identity theft" does not include the fraudulent                e.   Lost Wages
                   use of a business name, d/b/a/ or any other
                   method of identifying a business activity.                           Actual lost wages of the "identity recovery
                                                                                        insured" for time reasonable and necessarily
                   "Identity theft" does not include the unauthorized                   taken away from work and away from the
                   use of a valid credit card, credit account or bank                   work premises.       Time away from work
                   account. However, "identity theft" does include                      includes partial or whole work days. Actual
                   the fraudulent alteration of account profile                         lost wages may include payment for vacation
                   information, such as the address to which                            days, discretionary days, floating holidays and
                   statements are sent.                                                 paid personal days. Actual lost wages does
                                                                                        not include sick days or any loss arising from
              3.   "Identity Recovery Expenses" means the
                                                                                        time taken away from self employment.
                   following when they are reasonable and                               Necessary time off does not include time off
                   necessary expenses that are incurred in the                          to do tasks that could reasonable have been
                   United States or Canada as a direct result of an                     done during non-working hours.
                   "identity theft'':
                                                                                   f.   Child and Elder Care Expenses
                   a. Costs for re-filing applications for loans,
                        grants or other credit instruments that are                     Actual costs for supervision of children or
                        rejected solely as a result of an "identity theft."             elderly or infirm relatives or dependents of the
                                                                                        "identity recovery insured" during time
                   b. Costs for notarizing affidavits or other similar                  reasonable and necessarily taken away from
                        documents, long distance telephone calls and                    such supervision.         Such care must be
                        postage solely as a result of your efforts to                   provided by a professional care provider who
                        report an "identity theft" or amend or rectify                  is not a relative of the "identity recovery
                        records as to your true name or identity as a                   insured."
                        result of an "identity theft."
                                                                                   g.   Mental Health Counseling
                   c. Costs for up to twelve (12) credit reports from
                        established credit bureaus dated within 12                      Actual costs for counseling from a licensed
                        months after your knowledge or discovery of                     mental health professional. Such care must
                        an "identity theft."                                            be provided by a professional care provider
                                                                                        who is not a relative of the "identity recovery
                   d.   Legal Costs
                                                                                        insured."
                        Fees and expenses for an attorney approved            4.   "Identity    Recovery      Insured"     means       the
                        by us for:                                                 following:
                        (1) Defending any civil suit brought against
                                                                                   a.   The owner of the entity insured under this
                            an "identity recovery insured" by a                         policy who meets any of the following criteria:
                            creditor or collection agency or entity
                            acting on behalf of a creditor for non-                     (1) A sole proprietor of the insured entity;
                            payment of goods or services or default
                                                                                        (2) A partner in the insured entity; or
                            on a loan as a result of an "identity theft'';
                            and                                                         (3) An individual having an ownership
                        (2) Removing any civil judgment wrongfully
                                                                                            position of 20% or more of the insured
                            entered against an "identity recovery                           entity.
                            insured" as a result of the "identity theft."


iiiiiiii




----
-

=

           SB-300596-A                                                                                                      Page 3 of 3
           (Ed. 01/08)
          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 183 of 221
                                                                                                                             SB-300849-A
                                                                                                                               (Ed. 07/09)



          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       RECORDING AND DISTRIBUTION OF MATERIAL OR
                       INFORMATION IN VIOLATION OF LAW EXCLUSION
This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS LIABILITY COVERAGE FORM

A. The following exclusion is added to Section B.                         B. The following exclusion is added to Section B.
    EXCLUSIONS of           the    Businessowners          Liability         EXCLUSIONS, Paragraph p. Personal And Advertising
    Coverage Form:                                                              Injury:
    2.   Exclusions                                                             2.   Exclusions
         This insurance does not apply to:                                           This insurance does not apply to:
         q.   Recording And Distribution Of Material Or                              (15)Recording And Distribution Of Material Or
              Information In Violation Of Law                                            Information In Violation Of Law
              "Bodily injury" or "property damage" arising                                 "Personal and advertising injury" arising
              directly or indirectly out of any action or                                  directly or indirectly out of any action or
              omission that violates or is alleged to violate:                             omission that violates or is alleged to violate:
              (1) The Telephone Consumer Protection Act                                    (1) The Telephone Consumer Protection Act
                  (TCPA), including any amendment of or                                        (TCPA), including any amendment of or
                  addition to such law;                                                        addition to such law;
              (2) The CAN-SPAM Act of 2003, including                                      (2) The CAN-SPAM Act of 2003, including
                  any amendment of or addition to such                                         any amendment of or addition to such
                  law;                                                                         law;
              (3) The Fair Credit Reporting Act (FCRA),                                    (3) The Fair Credit Reporting Act (FCRA),
                  and any amendment of or addition to                                          and any amendment of or addition to
                  such law, including the Fair and Accurate                                    such law, including the Fair and Accurate
                  Credit Transaction Act (FACTA); or                                           Credit Transaction Act (FACTA); or
              (4) Any federal, state or local statute,                                     (4) Any federal, state or local statute,
                  ordinance or regulation, other than the                                      ordinance or regulation, other than the
                  TCPA, CAN-SPAM Act of 2003 or FCRA                                           TCPA, CAN-SPAM Act of 2003 or FCRA
                  and their amendments and additions, that                                     and their amendments and additions, that
                  addresses, prohibits, or limits the printing,                                addresses, prohibits, or limits the printing,
                  dissemination,     disposal,      collecting,                                dissemination,     disposal,      collecting,
                  recording,      sending,       transmitting,                                 recording,      sending,       transmitting,
                  communicating or distribution of material                                    communicating or distribution of material
                  or information.                                                              or information.




SB-300849-A                  Includes copyrighted material of Insurance Services Office, Inc., with its permission.            Page 1 of 1
(Ed. 07/09)
                      Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 184 of 221
                                                                                                                          SB-146823-B
                                                                                                                            (Ed. 01/08)



                      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                     BUSINESS INCOME AND EXTRA EXPENSE - DEPENDENT PROPERTY
            This endorsement modifies insurance provided under the following:

                BUSINESS INCOME AND EXTRA EXPENSE COVERAGE FORM
                BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

            The following coverage is added to your Businessowners                       resulting from any Covered Cause of Loss at
            Special Property Coverage Form under Paragraph A.6.                          the premises of the Dependent Property;
            Coverage Extensions.                                                     b. Ends on the date when the property at the
            Unless otherwise stated, payments made under the                             premises of the Dependent Property should
            following Coverage Extension is subject to and not in                        be repaired, rebuilt or replaced with
            addition to the applicable Limits of Insurance.                              reasonable speed and similar quality; and

            Business Income and Extra Expense -            Dependent                 c. Does not include any increased period
            Property                                                                     required due to the enforcement of any
                                                                                         ordinance or law that:
                1.   When the Declarations show that you have
                     coverage for Business Income and Extra                              (1) Regulates the construction, use or repair,
                     Expense, you may extend that insurance to apply                         or requires the tearing down of any
                     to the actual loss of Business Income you sustain                       property; or
                     and reasonable and necessary Extra Expense you                      (2) Requires any insured or others to test for,
                     incur due to the "suspension" of your "operations"                      monitor, clean up, remove, contain, treat,
                     during the "period of restoration." The                                 detoxify or neutralize, or in any way
                     "suspension" must be caused by direct physical                          respond to, or assess the effects of
                     loss or damage at the premises of a Dependent                           "pollutants."
                     Property, caused by or resulting from a Covered
                     Cause of Loss.                                             4.   This Coverage Extension:
                2.   Dependent Property means property operated by                   a. Applies to Dependent Property premises
                     other whom you depend on to:                                        located within the Coverage Territory; and
                     a. Deliver materials or services (other than                    b. Does not apply when you have more specific
                          "water supply services," "communication                        insurance under any other policy.
                          supply services" or "power supply services")          5.   We will reduce the amount of your Business
                          to you, or to others for your account                      Income loss, other than Extra Expense, to the
                          (Contributing Locations);
                                                                                     extent you can resume "operations" in whole or in
                     b. Accept your products or services (Recipient                  part, by using any other available:
                          Locations);                                                a. Source of materials; or
                     c.   Manufacture products for delivery to your                  b. Outlet for your products.
                          customers     under    contract  of  sale
                          (Manufacturing Locations); or                         6.   The most we will pay for Business Income and
                                                                                     Extra Expense under this Coverage Extension is
                     d. Attract customers to your business (Leader
                                                                                     $10,000, or the limit shown in the Declarations,
                        Locations).
                                                                                     whichever is higher, regardless of the number of

 --
iiiiiiii
                3.   With respect to this Coverage Extension, the                    described premises or number of Dependent
                                                                                     Properties involved.

---
i iiiiiii            "period of restoration":
                     a. Begins 24 hours after the time of direct
                          physical loss or damage caused by or
                                                                                7.   Payments made under this Coverage Extension
                                                                                     are in addition to the applicable Limits of
  -                                                                                  Insurance.




=

            SB-146823-B                                                                                                      Page 1 of 1
            (Ed. 01/08)
                     Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 185 of 221
                                                                                                                        SB-146824-B
                                                                                                                          (Ed. 01/08)



                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                      BUSINESS INCOME AND EXTRA EXPENSE -
                                           NEWLY ACQUIRED LOCATIONS
           This endorsement modifies insurance provided under the following:

               BUSINESS INCOME AND EXTRA EXPENSE COVERAGE FORM
               BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

           The following coverage is added to your Businessowners              2.   The most we will pay under this coverage for the
           Special Property Coverage Form under Paragraph A.6.                      sum of Business Income and Extra Expense
           Coverage Extensions.                                                     incurred is $250,000 at each location.
           Unless otherwise stated, payments made under the                    3.   Insurance under this extension for each newly
           following Coverage Extension is subject to and not in                    acquired location will end when any of the
           addition to the applicable Limits of Insurance.                          following first occurs:
           Business Income and Extra Expense - Newly Acquired                       a. This policy expires;
           Premises
                                                                                    b. 90 days expire after you acquire or begin to
               1.   When the Declarations show that you have                             construct the property;
                    coverage for Business Income and Extra
                    Expense, you may extend that insurance to apply
                                                                                    c. You report the location to us;
                    to the actual loss of Business Income and                       d.   The Business Income or Extra Expense is
                    necessary Extra Expense you incur due to the                         more specifically insured.
                    "suspension" of your "operations" during the
                    "period of restoration." The "suspension" must be               We will charge you additional premium for
                    caused by or resulting from a Covered Cause of                  locations reported from the date you acquire the
                    Loss at any premises you newly acquire by                       property.
                    purchase or lease (other than at fairs, trade shows        4.   Payments made under this Coverage Extension
                    or exhibitions).                                                are in addition to the applicable Limits of
                                                                                    Insurance.




iiiiiiii




-----
-

=

           SB-146824-B                                                                                                   Page 1 of 1
           (Ed. 01/08)
                  Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 186 of 221
                                       151 N. Franklin St.
                                       Chicago, IL 60606




            Policy Number    From Policy Period To               Coverage Is Provided By                 Agency
            B2067314575 06/01/19        06/01/20         Transportation Insurance Company           089080650
                        Named Insured And Address                                           Agent
            ALBUQUERQUE AMBULATORY EYE SURGERY CENTER               WESTERN ASSURANCE CORP.
            LLC                                                     3701 PASEO DEL NORTE
            8801 Horizon Blvd NE                                    PO BOX 94600 (87199)
            ALBUQUERQUE, NM 87113                                   ALBUQUERQUE, NM 87113




                                         **     PAYMENT PLAN SCHEDULE       **


                                 THE BILLING FOR THIS POLICY WILL BE
                                 FORWARDED TO YOU DIRECTLY FROM CNA.



                                 THE PREMIUM AMOUNT FOR THIS TRANSACTION
                                 IS      $4,851 . 00 .



                                 THIS PREMIUM WILL BE INVOICED BY CNA ON
                                 A SEPARATE STATEMENT ACCORDING TO THE
                                 PAYMENT OPTION YOU SELECT.




                                                                                           ISSUE DATE 04/07/19
iiiiiii,;




----
-

=
           Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 187 of 221




 --
iiiiiiii




---
  -

=                                END OF COPY
5/5/2020                                 Case   1:21-cv-00280-KWR-JFR
                                          Proclamation                                Document
                                                       on Declaring a National Emergency             1-1
                                                                                         Concerning the NovelFiled  03/26/21
                                                                                                              Coronavirus          Page 188
                                                                                                                          Disease (COVID-19)     of 221
                                                                                                                                             Outbreak I The White House




                                                                                         PROCLAMATIONS




                           Proclamation on Declaring a National
                             Emergency Concerning the Novel
                         Coronavirus Disease (COVID-19) Outbreak
                                                                                     Issued on: March 13, 2020



                                                                                             * * *
           In December 2019, a novel (new) coronavirus known as SARS-CoV-2 ("the virus") was first detected in Wuhan, Hubei
           Province, People's Republic of China, causing outbreaks of the coronavirus disease COVI D-19 that has now spread
           globally. The Secretary of Health and Human Services (HHS) declared a public health emergency on January 31, 2020,
           under section 319 of the Public Health Service Act (42 U.S.C. 247d), in response to COVID-19. I have taken sweeping
           action to control the spread of the virus in the United States, including by suspending entry of foreign nationals seeking
           entry who had been physically present within the prior 14 days in certain jurisdictions where COVID-19 outbreaks have
           occurred, including the People's Republic of China, the Islamic Republic of Iran, and the Schengen Area of Europe. The
           Federal Government, along with State and local governments, has taken preventive and proactive measures to slow the
                                                                                                                                                                          EXHIBIT
https://www.whitehouse.gov/presidential-actions/proclamation-declaring-national-emergency-concerning-novel-coronavirus-disease-covid-19-outbreak/                                   1/3
                                                                                                                                                                            2
5/5/2020                                 Case   1:21-cv-00280-KWR-JFR
                                          Proclamation                                Document
                                                       on Declaring a National Emergency             1-1
                                                                                         Concerning the NovelFiled  03/26/21
                                                                                                              Coronavirus          Page 189
                                                                                                                          Disease (COVID-19)     of 221
                                                                                                                                             Outbreak I The White House

           spread of the virus and treat those affected, including by instituting Federal quarantines for individuals evacuated from
           foreign nations, issuing a declaration pursuant to section 319F-3 of the Public Health Service Act (42 U.S.C. 247d-6d),
           and releasing policies to accelerate the acquisition of personal protective equipment and streamline bringing new
           diagnostic capabilities to laboratories. On March 11, 2020, the World Health Organization announced that the COVID-19
           outbreak can be characterized as a pandemic, as the rates of infection continue to rise in many locations around the
           world and across the United States.


           The spread of COVID-19 within our Nation's communities threatens to strain our Nation's healthcare systems. As of
           March 12, 2020, 1,645 people from 47 States have been infected with the virus that causes COVID-19. It is incumbent on
           hospitals and medical facilities throughout the country to assess their preparedness posture and be prepared to surge
           capacity and capability. Additional measures, however, are needed to successfully contain and combat the virus in the
           United States.


           NOW, THEREFORE, I, DONALD J. TRUMP, President of the United States, by the authority vested in me by the Constitution
           and the laws of the United States of America, including sections 201 and 301 of the National Emergencies Act (50 U.S.C.
           1601 et seq.) and consistent with section 1135 of the Social Security Act (SSA), as amended (42 U.S.C. 1320b-5), do
           hereby find and proclaim that the COVID-19 outbreak in the United States constitutes a national emergency, beginning
           March 1, 2020. Pursuant to this declaration, I direct as follows:


           Section 1. Emergency Authority. The Secretary of HHS may exercise the authority under section 1135 of the SSA to
           temporarily waive or modify certain requirements of the Medicare, Medicaid, and State Children's Health Insurance
           programs and of the Health Insurance Portability and Accountability Act Privacy Rule throughout the duration of
           the public health emergency declared in response to the COVID-19 outbreak.



https://www.whitehouse.gov/presidential-actions/proclamation-declaring-national-emergency-concerning-novel-coronavirus-disease-covid-19-outbreak/                         2/3
5/5/2020                                 Case   1:21-cv-00280-KWR-JFR
                                          Proclamation                                Document
                                                       on Declaring a National Emergency             1-1
                                                                                         Concerning the NovelFiled  03/26/21
                                                                                                              Coronavirus          Page 190
                                                                                                                          Disease (COVID-19)     of 221
                                                                                                                                             Outbreak I The White House

           Sec. 2. Certification and Notice. In exercising this authority, the Secretary of HHS shall provide certification and advance
           written notice to the Congress as required by section 1135(d) of the SSA (42 U.S.C. 1320b-S(d)).


           Sec. _3. General Provisions. (a) Nothing in this proclamation shall be construed to impair or otherwise affect:


           (i) the authority granted by law to an executive department or agency, or the head thereof; or


           (ii) the functions of the Director of the Office of Management and Budget relating to budgetary, administrative, or
           legislative proposals.


           (b) This proclamation shall be implemented consistent with applicable law and subject to the availability of
           appropriations.


           (c) This proclamation is not intended to, and does not, create any right or benefit, substantive or procedural,
           enforceable at law or in equity by any party against the United States, its departments, agencies, or entities, its officers,
           employees, or agents, or any other person.


           IN WITNESS WHEREOF, I have hereunto set my hand this thirteenth day of March, in the year of our Lord two thousand
           twenty, and of the Independence of the United States of America the two hundred and forty-fourth.


                                                                                      DONALD J. TRUMP




https://www.whitehouse.gov/presidential-actions/proclamation-declaring-national-emergency-concerning-novel-coronavirus-disease-covid-19-outbreak/                         3/3
Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 191 of 221




                                                                     EXHIBIT
                                                                         3
Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 192 of 221
Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 193 of 221
Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 194 of 221
Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 195 of 221
      Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 196 of 221




                           AMENDED PUBLIC HEALTH ORDER
                        NEW MEXICO DEPARTMENT OF HEALTH
                      CABINET SECRETARY KATHYLEEN M. KUNKEL

                                            MARCH 16, 2020

                    Public Health Emergency Order Limiting Mass Gatherings
                     and Implementing Other Restrictions Due to COVID-19

         WHEREAS, on January 30, 2020, the World Health Organization (WHO) announced the
  emergence of a novel Coronavirus Disease 2019 (referred to as “COVID-19”) that had not
  previously circulated in humans, but has been found to have adapted to humans such that it is
  contagious and easily spread from one person to another and one country to another;

         WHEREAS, on January 31, 2020, the United States Department of Health and Human
  Services (HHS) Secretary declared a public health emergency as a precautionary tool to facilitate
  preparation and availability of resources to assure that the federal government had appropriate
  resources to combat the spread of the COVID-19 virus in our nation through its support of state
  and community-led preparedness and response efforts;

          WHEREAS, as of March 15, 2020, the New Mexico Department of Health has confirmed
  thirteen (13) cases of individuals infected with COVID-19 in New Mexico;

          WHEREAS, on March 11, 2020, Michelle Lujan Grisham, the Governor of the State of
  New Mexico, declared in Executive Order 2020-004 (“EO 2020-004”) that a Public Health
  Emergency exists in New Mexico under the Public Health Emergency Response Act, and invoked
  the All Hazards Emergency Management Act by directing all cabinets, departments and agencies
  to comply with the directives of the declaration and the further instructions of the Department of
  Health;

        WHEREAS, as of March 12, 2020, I issued a Public Health Emergency Order to Limit
  Mass Gatherings Due to COVID-19, which limited certain public gatherings;

           WHEREAS, the further spread of COVID-19 in the State of New Mexico poses a threat
  to the health, safety, wellbeing and property of the residents in the State due to, among other things,
  illness from COVID-19, illness-related absenteeism from employment (particularly among public
  safety and law enforcement personnel and persons engaged in activities and businesses critical to
  the economy and infrastructure of the State), and potential closures of schools or other places of
  public gathering; and

        WHEREAS, the New Mexico Department of Health possesses legal authority pursuant to
  the Public Health Act, NMSA 1978, Sections 24-1-1 to -40, the Public Health Emergency
  Response Act, NMSA 1978, Sections 12-10A-1 to -10, the Department of Health Act, NMSA
  1978, Sections 9-7-1 to -18, the authority granted in EO 2020-004, and in any inherent

                                          OFFICE OF THE SECRETARY
EXHIBIT       1190 St. Francis Dr., Suite N4100 • P.O. Box 26110 • Santa Fe, New Mexico • 87502
                         (505) 827-2613 • FAX: (505) 827-2530 • www.nmhealth.org
  4
   Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 197 of 221




constitutional police powers of the New Mexico state government, to preserve and promote public
health and safety, to adopt isolation and quarantine, and to close public places and forbid
gatherings of people when deemed necessary by the Department for the protection of public health.

        NOW, THEREFORE, I, Kathyleen M. Kunkel, Cabinet Secretary of the New Mexico
Department of Health, in accordance with the authority vested in me by the Constitution and the
Laws of the State of New Mexico, do hereby declare the current outbreak of COVID-19 a condition
of public health importance as defined in the New Mexico Public Health Act, NMSA 1978, Section
24-1-2(A) as an infection, a disease, a syndrome, a symptom, an injury or other threat that is
identifiable on an individual or community level and can reasonably be expected to lead to adverse
health effects in the community, and that poses an imminent threat of substantial harm to the
population of New Mexico.

       The following definitions are adopted for the purposes of this Order:

       Definitions: As used in this Public Health Order, the following terms shall have the
meaning given to them, except where the context clearly requires otherwise:

                 (1)    “Condition of public health importance” means an infection, a disease, a
        syndrome, a symptom, an injury or other threat that is identifiable on an individual or
        community level and can reasonably be expected to lead to adverse health effects in the
        community.
                 (2)     “Disease” means an illness, including those caused by infectious agents or
their toxic products which may be transmitted to a susceptible host.
                 (3)     “Individuals” means natural persons.
                 (4)     “Gathering” means any grouping together of individuals in a single
connected location.
                 (5)     “Mass gathering” means any public or private gathering that brings together
one hundred (100) or more individuals in a single room or connected space in close proximity to
one another, such as an auditorium, stadium, arena, large conference room, meeting hall, theaters,
or any other confined indoor or outdoor space, but does not include normal operations at airports,
or other spaces where 100 or more individuals may be in transit. “Mass gathering” also does not
include family gatherings such as weddings or funerals, shelters, retail stores or grocery stores,
typical office environments, courthouses, correctional and detention facilities, schools and
educational institutions, hospitals, clinics, nursing homes, and other health care and congregate
care facilities, and places of worship operating during “normal business hours”.
                 (6)     “Normal business hours” means the normal workday or typical time of
        operation for a “typical office environment”.
                 (7)     “Secretary” or “Secretary of Health” means the Cabinet Secretary of the
Department of Health.
                 (8)     “Typical office environments” includes private entities, governmental
organizations, political subdivisions, or other entities engaged in commercial, industrial, or
professional activities. “Typical office environments” does not include restaurants, bars,
breweries, eateries, and other similar service establishments.




                                                 2
Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 198 of 221




    I HEREBY DIRECT AS FOLLOWS:

    (1) All Mass Gatherings are hereby prohibited under the powers and authority set forth in
        the New Mexico Public Health Act, and all regulations promulgated pursuant thereto.

    (2) All restaurants, bars, breweries, eateries, and other food service establishments shall
        operate at no greater than fifty percent of maximum occupancy, and no greater than
        fifty percent of seating capacity. Individual tables and booths may not seat more than
        six people, and all occupied tables and booths must be separated by at least six feet.
        Patrons may not be seated at bars and standing patrons shall not be served.

    (3) All casinos and horse racing facilities, and attendant restaurant or bar operations shall
        close during the pendency of this Order. This directive excludes those casinos
        operating on Tribal lands.

    I FURTHER DIRECT as follows:

(1) This Order shall be broadly disseminated in English, Spanish and other appropriate
    languages to the citizens of the State of New Mexico.

(2) This Order declaring restrictions based upon the existence of a condition of public health
    importance shall not abrogate any disease-reporting requirements set forth in the New
    Mexico Public Health Act.

(3) This Order shall remain in effect for the duration of Executive Order 2020-004. This Order
    may be renewed consistent with any direction from the Governor.

    I FURTHER ADVISE the public to take the following preventive precautions:

-   New Mexico citizens are strongly advised to stay at home and undertake only those
    outings absolutely necessary for their health, safety, or welfare.
-   Avoid contact with people who are sick.
-   Wash your hands often with soap and water for at least 20 seconds, especially after blowing
    your nose, coughing, or sneezing, or having been in a public place. If soap and water are
    not available, use a hand sanitizer that contains at least 60% alcohol.
-   To the extent possible, avoid touching high-touch surfaces in public places – elevator
    buttons, door handles, handrails, handshaking with people, etc. Use a tissue or your sleeve
    to cover your hand or finger if you must touch something.
-   Avoid touching your face, nose, eyes, etc.
-   Clean and disinfect your home to remove germs: practice routine cleaning of frequently
    touched surfaces (for example: tables, doorknobs, light switches, handles, desks, toilets,
    faucets, sinks & cell phones).
-   Avoid crowds, especially in poorly ventilated spaces. Your risk of exposure to respiratory
    viruses like COVID-19 may increase in crowded, closed-in settings with little air
    circulation if there are people in the crowd who are sick.
-   Avoid all non-essential travel including plane trips and cruise ships.




                                             3
   Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 199 of 221




        THIS ORDER amends the Public Health Emergency Order to Limit Mass Gatherings Due
to COVID-19 issued on March 12, 2020, supersedes any other previous orders, proclamations, or
directives in conflict. This Order shall take effect immediately and shall remain in effect until
otherwise rescinded.


ATTEST:                                     DONE AT THE EXECUTIVE OFFICE
                                            THIS 16TH DAY OF MARCH 2020

_____________________________               WITNESS MY HAND AND THE GREAT
MAGGIE TOULOUSE OLIVER                      SEAL OF THE STATE OF NEW MEXICO
SECRETARY OF STATE

                                            _____________________________________
                                            KATHYLEEN M. KUNKEL
                                            SECRETARY OF THE STATE OF NEW MEXICO
                                            DEPARTMENT OF HEALTH




                                               4
      Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 200 of 221




                                 PUBLIC HEALTH ORDER
                         NEW MEXICO DEPARTMENT OF HEALTH
                       CABINET SECRETARY KATHYLEEN M. KUNKEL

                                             MARCH 23, 2020

              Public Health Emergency Order Closing All Businesses and Non-Profit
                         Entities Except for those Deemed Essential and
             Providing Additional Restrictions on Mass Gatherings Due to COVID-19



          WHEREAS, on March 11, 2020, because of the spread of the novel Coronavirus Disease
   2019 (“COVID-19”), Michelle Lujan Grisham, the Governor of the State of New Mexico, declared
   that a Public Health Emergency exists in New Mexico under the Public Health Emergency
   Response Act, and invoked her authority under the All Hazards Emergency Management Act;

          WHEREAS, COVID-19 continues to spread in New Mexico and nationally. Since,
   Executive Order 2020-004 was issued, COVID-19 infections in the United States have increased
   from 1,000 confirmed cases to over 30,000 confirmed cases;

            WHEREAS, the further spread of COVID-19 in the State of New Mexico poses a threat
   to the health, safety, wellbeing and property of the residents in the State due to, among other things,
   illness from COVID-19, illness-related absenteeism from employment (particularly among public
   safety and law enforcement personnel and persons engaged in activities and businesses critical to
   the economy and infrastructure of the State), potential displacement of persons, and closures of
   schools or other places of public gathering; and

          WHEREAS, social distancing is the sole way New Mexicans can minimize the spread of
   COVID-19 and currently constitutes the most effective means of mitigating the potentially
   devastating impact of this pandemic in New Mexico; and

          WHEREAS, the New Mexico Department of Health possesses legal authority pursuant to
   the Public Health Act, NMSA 1978, Sections 24-1-1 to -40, the Public Health Emergency
   Response Act, NMSA 1978, Sections 12-10A-1 to -10, the Department of Health Act, NMSA
   1978, Sections 9-7-1 to -18, and inherent constitutional police powers of the New Mexico state
   government, to preserve and promote public health and safety, to adopt isolation and quarantine,
   and to close public places and forbid gatherings of people when deemed necessary by the
   Department for the protection of public health.

         NOW, THEREFORE, I, Kathyleen M. Kunkel, Cabinet Secretary of the New Mexico
   Department of Health, in accordance with the authority vested in me by the Constitution and the
   Laws of the State of New Mexico, and as directed by the Governor pursuant to the full scope of
   her emergency powers under the All Hazard Emergency Management Act as invoked through

                                           OFFICE OF THE SECRETARY
EXHIBIT        1190 St. Francis Dr., Suite N4100 • P.O. Box 26110 • Santa Fe, New Mexico • 87502
                          (505) 827-2613 • FAX: (505) 827-2530 • www.nmhealth.org
  5
   Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 201 of 221




Executive Order 2020-004, do hereby declare the current outbreak of COVID-19 a condition of
public health importance as defined in the New Mexico Public Health Act, NMSA 1978, Section
24-1-2(A) as an infection, a disease, a syndrome, a symptom, an injury or other threat that is
identifiable on an individual or community level and can reasonably be expected to lead to adverse
health effects in the community, and that poses an imminent threat of substantial harm to the
population of New Mexico.

       The following definitions are adopted for the purposes of this Order:

       Definitions: As used in this Public Health Order, the following terms shall have the
meaning given to them, except where the context clearly requires otherwise:

                (1)    “Condition of public health importance” means an infection, a disease, a
syndrome, a symptom, an injury or other threat that is identifiable on an individual or community
level and can reasonably be expected to lead to adverse health effects in the community.
                (2)    “Disease” means an illness, including those caused by infectious agents or
their toxic products which may be transmitted to a susceptible host.
                (3)    “Essential business” means any business or non-profit entity falling within
one or more of the following categories:

                  a. Health care operations including hospitals, walk-in-care health facilities,
                     emergency veterinary and livestock services, pharmacies, medical
                     wholesale and distribution, home health care workers or aides for the
                     elderly, emergency dental facilities, nursing homes, residential health care
                     facilities, research facilities, congregate care facilities, intermediate care
                     facilities for those with intellectual or developmental disabilities, supportive
                     living homes, home health care providers, and medical supplies and
                     equipment manufacturers and providers;

                  b. Homeless shelters, food banks, and other services providing care to indigent
                     or needy populations;

                  c. Childcare facilities necessary to provide services to those workers
                     employed by essential businesses and essential non-profit entities;

                  d. Grocery stores, all food and beverage stores, supermarkets, food banks,
                     farmers’ markets and vendors who sell food, convenience stores, and other
                     businesses that generate the majority of their revenue from the sale of
                     canned food, dry goods, fresh fruits and vegetables, pet food, feed, and other
                     animal supply stores, fresh meats, fish, and poultry, and any other
                     household consumer products;

                  e. Farms, ranches, and other food cultivation, processing, or packaging
                     operations;




                                                2
Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 202 of 221




           f. All facilities used by law enforcement personnel, first responders,
              firefighters, emergency management personnel, and dispatch operators;

           g. Infrastructure operations including, but not limited to, public works
              construction, commercial and residential construction and maintenance,
              airport operations, public transportation, airlines, taxis, private
              transportation providers water, gas, electrical, oil drilling, oil refining,
              natural resources extraction or mining operations, nuclear material research
              and enrichment, those attendant to the repair and construction of roads and
              highways, solid waste collection and removal, trash and recycling
              collection, processing and disposal, sewer, data and internet providers, data
              centers, technology support operations, and telecommunications systems;

           h. Manufacturing operations involved in food processing, manufacturing
              agents, chemicals, fertilizer, pharmaceuticals, sanitary products, household
              paper products, microelectronics/semi-conductor, primary metals
              manufacturers, electrical equipment, appliance, and component
              manufacturers, and transportation equipment manufacturers;

           i. Services necessary to maintain the safety and sanitation of residences or
              essential businesses including security services, custodial services,
              plumbers, electricians, and other skilled trades;

           j. Media services including television, radio, and newspaper operations;

           k. Gas stations, automobile repair facilities, and retailers who generate the
              majority of their revenue from the sale of automobile repair products;

           l. Hardware stores;

           m. Laundromats and dry cleaner services;

           n. Utilities, including their contractors and suppliers, engaged in power
              generation, fuel supply and transmission, water and wastewater supply;

           o. Funeral homes, crematoriums and cemeteries;

           p. Banks, credit unions, insurance providers, payroll services, brokerage
              services, and investment management firms;

           q. Real estate services including brokers, title companies, and related services.

           r. Businesses providing mailing and shipping services, including post office
              boxes;




                                         3
   Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 203 of 221




                  s. Laboratories and defense and national security-related operations
                     supporting the United States government or a contractor to the United States
                     government;

                  t. Restaurants, but only for delivery or carry out and local breweries or
                     distillers but only for carry out;

                  u. Professional services, such as legal or accounting services, but only where
                     necessary to assist in compliance with legally mandated activities; and

                  v. Logistics and businesses that store, ship or deliver groceries, food, goods or
                     services directly to residences or retailers.

               (4)    “Individuals” means natural persons.
               (5)    “Gathering” means any grouping together of individuals in a single
connected location.
               (6)    “Mass gathering” means any public or private gathering that brings together
five (5) or more individuals in a single room or connected space, confined outdoor space or an
open outdoor space where individuals are within six (6) feet of each other, but does not include
the presence of five (5) or more individuals where those individuals regularly reside. “Mass
gathering” does not include “individuals” congregated in a church, synagogue, mosque, or other
place of worship.

       I HEREBY DIRECT AS FOLLOWS:

       (1) All Mass Gatherings are hereby prohibited under the powers and authority set forth in
           the New Mexico Public Health Act, and all regulations promulgated pursuant thereto.

       (2) All businesses, except those entities identified as “essential businesses”, are hereby
           directed to reduce the in-person workforce at each business or business location by
           100%. “Essential businesses” may remain open provided they minimize their
           operations and staff to the greatest extent possible. Further, all essential businesses
           shall, to the greatest extent possible, adhere to social distancing protocol and maintain
           at least six-foot social distancing from other individuals, avoid person-to-person
           contact, and direct employees to wash their hands frequently. Further, all essential
           businesses shall ensure that all surfaces are cleaned routinely.

       (3) This Order only requires the closure of physical office spaces, retail spaces, or other
           public spaces of a business and does not otherwise restrict the conduct of business
           operations through telecommuting or otherwise working from home in which an
           employee only interacts with clients or customers remotely.

       (4) All casinos and horse racing facilities shall close during the pendency of this Order.
           This directive excludes those casinos operating on Tribal lands.
       (5) Hotels, motels, RV parks, and other places of lodging shall not operate at more than
           fifty percent of maximum occupancy. Health care workers who are engaged in the




                                                4
   Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 204 of 221




          provision of care to New Mexico residents or individuals utilizing lodging facilities for
          extended stays or as temporary housing shall not be counted for purposes of
          determining maximum occupancy.

       (6) All call centers situated in New Mexico are directed to reduce their in-person workforce
           by 100%.

       (7) The New Mexico Department of Public Safety, the New Mexico Department of
           Homeland Security and Emergency Management, the Department of the Environment,
           and all other State departments and agencies are authorized to take all appropriate steps
           to ensure compliance with this Order.

       (8) All public and private employers are required to comply with this Order and any
           instructions provided by State departments or agencies regarding COVID-19.

       (9) In order to minimize the shortage of health care supplies and other necessary goods,
           grocery stores and other retailers are hereby directed to limit the sale of medications,
           durable medical equipment, baby formula, diapers, sanitary care products, and hygiene
           products to three items per individual. NMSA 1978, § 12-10A-6 (2012).


       I FURTHER DIRECT as follows:

   (1) This Order shall be broadly disseminated in English, Spanish and other appropriate
       languages to the citizens of the State of New Mexico.

   (2) This Order declaring restrictions based upon the existence of a condition of public health
       importance shall not abrogate any disease-reporting requirements set forth in the New
       Mexico Public Health Act.

   (3) This Order shall remain in effect for the duration of Executive Order 2020-004. This Order
       may be renewed consistent with any direction from the Governor.

       I FURTHER ADVISE the public to take the following preventive precautions:

   -   New Mexico citizens should stay at home and undertake only those outings absolutely
       necessary for their health, safety, or welfare.
   -   Retailers should take appropriate action consistent with this order to reduce hoarding and
       ensure that all New Mexicans can purchase necessary goods.
   -   Avoid crowds.
   -   Avoid all non-essential travel including plane trips and cruise ships.

        THIS ORDER amends the Public Health Emergency Order to Limit Mass Gatherings Due
to COVID-19 issued on March 19, 2020, supersedes any other previous orders, proclamations, or
directives in conflict.




                                                5
  Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 205 of 221




ATTEST:                           DONE AT THE EXECUTIVE OFFICE
                                  THIS 24TH DAY OF MARCH 2020

_____________________________     WITNESS MY HAND AND THE GREAT
MAGGIE TOULOUSE OLIVER            SEAL OF THE STATE OF NEW MEXICO
SECRETARY OF STATE

                                  _____________________________________
                                  KATHYLEEN M. KUNKEL
                                  SECRETARY OF THE STATE OF NEW MEXICO
                                  DEPARTMENT OF HEALTH




                                    6
         Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 206 of 221
                                                  NEW MEXICO
               MICHELLE LUJAN GRISHAM             1113:1~.n•,13~11,1:1            KATHYLEEN M. KUNKEL
                     GOVERNOR
                                                  H~AlTH                           CABINET SECRETARY




                                    PUBLIC HEALTH ORDER
                            NEW MEXICO DEPARTMENT OF HEALTH
                          CABINET SECRETARY KATHYLEEN M. KUNKEL

                                                 MARCH 24, 2020

          Public Health Emergency Order Imposing Temporary Restrictions on Non-Essential
            Health Care Services, Procedures, and Surgeries; Providing Guidance on those
               Restrictions; and Requiring a Report from Certain Health Care Providers

             WHEREAS, on January 30, 2020, the World Health Organization announced the
      emergence of a novel Coronavirus Disease 2019 ("COVID- 19") that had not previously circulated
      in humans, but has been found to have adapted to humans such that it is contagious and easily
      spread from one person to another and one country to another;

             WHEREAS, on January 31, 2020, the United States Department of Health and Human
      Services Secretary declared a public health emergency as a precautionary tool to facilitate
      preparation and availability of resources to assure that the federal government had appropriate
      resources to combat the spread of the COVID-19 virus in our nation through its suppmi of state
      and community-led preparedness and response efforts;

               WHEREAS, on March 11 , 2020, the New Mexico Department of Health confinned the
      first cases of individuals infected with COVID-19 in New Mexico and additional cases have been
      confinned each day since then;

              WHEREAS, on March 11 , 2020, Michelle Lujan G1isham, the Governor of the State of
      New Mexico, declared in Executive Order 2020-004 ("EO 2020-004") that a Public Health
      Emergency exists in New Mexico under the Public Health Emergency Response Act, and invoked
      the All Hazards Emergency Management Act by directing all cabinets, depatiments and agencies
      to comply with the directives of the declaration and the fmiher instructions of the Department of
      Health;

               WHEREAS, the fmiher spread of COVID-19 in the State of New Mexico poses a threat
      to the health, safety, wellbeing and prope1iy of the residents in the State due to, among other things,
      illness from the COVID-19, illness-related absenteeism from employment (particularly among
      public safety and law enforcement personnel and persons engaged in activities and businesses
      c1itical to the economy and infrastructure of the State), the potential for displacements of persons,
      and potential closures of schools or other places of public gathering;

             WHEREAS, the United States Centers for Disease Control and Prevention ("CDC")
      recommends the use of personal protective equipment ("PPE")-including gloves, medical masks,
      goggles or a face shield, gowns, and in some cases respirators (N95 or FFP2 standard or equivalent)
      and aprons- for patients and health care workers as an essential part of treating and preventing the
      spread of COVID-19;

EXHIBIT
  6
                                              OFFICE OF THE SECRETARY
                  1190 St. Francis Dr., Suite N4100 • P.O. Box 26110 • Santa Fe, New Mexico• 87502
                             (SOS) 827-2613 • FAX: (SOS) 827-2530 • www.nmhealth.org               ~
                                                                                                    .i-"'''
                                                                                                       !
                                                                                                            0 \-\l-'lhto



                                                                                                            ■
                                                                                                            .
                                                                                                              'p~,.~


                                                                                                       '1--~ :...
                                                                                                            ~,,
                                                                                                                     $
                                                                                                                          ,
                                                                                                                               ,,o-
                                                                                                                                   ·\
                                                                                                                                   .:,,t§
                                                                                                            , ,., 4 CCRf.J )\\P.
   Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 207 of 221




         WHEREAS, due to delayed deliveries of PPE from the Strategic National Stockpile, the
high demand for PPE throughout the United States and globally, and other supply chain
interference related to the COVID-19 pandemic, there is both a statewide and national shortage of
PPE and the PPE supplies of New Mexico's hospitals, health care facilities, and first responders
are critically low;

         WHEREAS, local, national, and global health experts predict that the expected continued
rise in cases of COVID-19 will strain the capacity and resources of health care providers, including
available space and equipment in health care facilities; and

        WHEREAS, during a declared Public Health Emergency, the New Mexico Department of
Health possesses legal authority pursuant to the Public Health Emergency Response Act to "utilize,
secure or evacuate health care facilities for public use." NMSA 1978, § 12-10A-6(A)(l). The
Department of Health is also permitted to "regulate or ration health care supplies" if "a public
health emergency results in a statewide or regional shortage of health care supplies." § l 2-!0A-
6(A)(2), (B). This authority permits the Department of Health to "control, restrict and regulate the
allocation, sale, dispensing or distribution of health care supplies." § 12-!0A-6(B). The
Department of Health also has authority to "control and abate the causes of disease, especially
epidemics" and to "maintain and enforce rules for the control of conditions of public health
importance." NMSA 1978, § 24-l-3(C) & (Q).

        NOW, THEREFORE, I, Kathyleen M. Kunkel, Cabinet Secretary of the New Mexico
Department of Health, in accordance with the authority vested in me by the Constitution and the
Laws of the State of New Mexico, and through the Public Health Emergency declared in EO 2020-
004 and by virtue of the Governor's direction under her power to "provide those resources and
services necessary to avoid or minimize economic or physical harm until a situation becomes
stabilized," NMSA 1978, § 12-10-4(B)(3), do hereby ORDER and DIRECT as follows:

        I.      All hospitals and other health care facilities, ambulatory surgical facilities, dental,
orthodontic and endodontic offices in the State of New Mexico are prohibited from providing non-
essential health care services, procedures, and surgeries.

        2.      For purposes of this Order, "non-essential health care services, procedures, and
surgeries" include those which can be delayed for three (3) months without undue risk to the
patient's health. Examples of criteria to consider in distinguishing between essential and non-
essential actions include: (a) threat to a patient's life; (b) threat of permanent dysfunction of an
extremity, including teeth, jaws, and eyes; (c) risk of metastasis or progression of staging; (d)
prenatal and postnatal care; and (e) any other factors that will conserve medical resources without
creating an undue risk of pennanent harm to patients.

        3.     This Order's prohibition on non-essential health care services, procedures, and
surgeries is not meant to apply to: (a) the provision of emergency medical care or any actions
necessary to provide treatment to patients with emergency or urgent medical needs; (b) any surgery
or treatment that if not perfonned would result in a serious condition ofa patient worsening (e.g.,




                                                   2
   Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 208 of 221




removing a cancerous tumor or a surgery intended to manage an infection); and (c) the full suite
of family planning services.

        4.     The prohibition on non-essential health care services, procedures, and surgeries will
take effect on March 27, 2020.

         5.     Within tlu·ee (3) days of the date of this Order, each health care provider or facility
that is subject to the prohibition on non-essential health care services, procedures, and surge1i es
shall submit to the New Mexico Department of Health a policy addressing how it will comply with
this Order and identifying those procedures that will generally be deemed essential and non-
essential.

        6.      A person who willfully violates this Order may be subject to civ il admini strative
penalties, including fines up to $5,000 per violation, in addition to other civil or c1iminal penalties
that may be available at law.

       I FURTHER DIRECT as follows:

   (1) This Order shall be broadly disseminated in English, Spanish and other appropriate
       languages to the citizens of the State of New Mexico.

   (2) This Order declaring restrictions based upon the existence of a condition of public health
       importance shall not abrogate any disease-repo1iing requirements set fo1ih in the New
       Mexico Public Health Act.

   (3) This Order shall remain in effect for the duration of Executi ve Order 2020-004. This Order
       may be renewed consistent with any direction from the Governor.

        THIS ORDER supersedes any other previous orders, proclamations, or directives in
conflict. This Order shall take effect immediately and shall remain in effect for the duration
indicated in the Order unless otherwise rescinded.




ATTEST:                                        DONE AT THE EXECUTIVE OFFICE
                                               THIS 24TH DAY OF MARCH 2020
~~ C)-l_;__,                                   WITNESS MY HAND AND THE GREAT
MAGGIE TOULOUSE OLIVER                         SEAL OF THE STATE OF NEW MEXICO
SECRETARY OF STATE




                                                                       TATE OF NEW MEXICO
                                                               T OF HEALTH




                                                  3
Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 209 of 221




                                                                  EXHIBIT
                                                                         7
        Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 210 of 221
North State Deli, LLC v. The Cincinnati Ins. Co., 2020 WL 6281508 (2020)




                                      2020 WL 6281508 (N.C.Super.) (Trial Order)
                                           Superior Court of North Carolina.
                                                   Durham County

  NORTH STATE DELI, LLC d/b/a Lucky's Delicatessen, Mothers & Sons, LLC d/b/a Mothers & Sons Trattoria,
     Mateo Tapas, L.L.C. d/b/a Mateo Bar De Tapas, Saint James Shellfish LLC d/b/a Saint James Seafood,
     Calamari Enterprises, Inc. d/b/a Parizade, Bin 54, LLC d/b/a Bin 54, Arya, Inc. d/b/a City Kitchen and
  Village Burger, Grasshopper LLC d/b/a Nasher Cafe, Verde Cafe Incorporated d/b/a Local 22, Floga, Inc. d/
   b/a Kipos Greek Taverna, Kuzlna, LLC d/b/a Golden Fleece, Vin Rouge, Inc. d/b/a Vin Rouge, Kipos Rose
   Garden Club LLC d/b/a Rosewater, and Gira Sole, Inc. d/b/a Farm Table and Gatehouse Tavern, Plaintiffs,
                                                        v.
                THE CINCINNATI INSURANCE COMPANY; The Cincinnati Casualty Company;
                  Morris Insurance Agency Inc.; and Does 1 Through 20, Inclusive, Defendants.

                                                    No. 20-CVS-02569.
                                                     October 9, 2020.


               Order Denying the Rule 12(b)(6) Motion to Dismiss the Second Amended Complaint Filed
               by Defendants the Cincinnati Insurance Company and the Cincinnati Casualty Company


Stuart M. Paynter, Gagan Gupta, 106 S. Churton Street, Suite 200, Hillsborough, NC 27278, for plaintiffs.

Andrew A. Vanore III, Post Office Box 1729, Raleigh, NC 27602-1729, for defendant, The Cincinnati Insurance Company.

Kendra Stark, Justin M. Puleo, 421 Fayetteville Street, Suite 330, Raleigh, NC 27601, for defendant Morris Insurance Agency,
Inc.

                                                    Orlando F. Hudson, Jr.

 *1 THIS MATTER was heard on September 23, 2020, before Senior Resident Superior Court Judge Orlando F. Hudson, Jr.,
with Gagan Gupta appearing for the plaintiff-restaurants (including North State Deli, LLC d/b/a Lucky's Delicatessen; Mothers
& Sons, LLC d/b/a Mothers & Sons Trattoria; Mateo Tapas, L.L.C. d/b/a Mateo Bar de Tapas; Saint James Shellfish LLC d/b/
a Saint James Seafood; Calamari Enterprises, Inc. d/b/a Parizade; Bin 54, LLC d/b/a Bin 54; Arya, Inc. d/b/a City Kitchen and
Village Burger; Grasshopper LLC d/b/a Nasher Cafe; Verde Cafe Incorporated d/b/a Local 22; Floga, Inc. d/b/a Kipos Greek
Taverna; Kuzina, LLC d/b/a Golden Fleece; Vin Rouge, Inc. d/b/a Vin Rouge; Kipos Rose Garden Club LLC d/b/a Rosewater;
and Gira Sole, Inc. d/b/a Farm Table and Gatehouse Tavern (collectively, “Plaintiffs”)), and Brian Reid and Drew Vanore
appearing for defendant-insurers The Cincinnati Insurance Company and The Cincinnati Casualty Company (collectively,
“Defendants”). Defendants brought a Rule 12(b)(6) Motion to Dismiss in Lieu of Answer to Plaintiffs' Complaint (“Motion”)
with respect to Count I (Declaratory Judgment), Count II (Declaratory Judgment), and Count III (Breach of Contract). 1

THE COURT, having considered the pleadings, the Motion, the briefs filed in support of and in opposition to the Motion, the
oral arguments of counsel at the hearing on the Motion, the applicable law, and other appropriate matters of record, DENIES
Defendants' Motion.

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED AS FOLLOWS:
  (1) Plaintiffs state a viable claim for relief under Count I of the Second Amended Complaint, seeking a declaratory judgment
     against Defendants pursuant to N.C. Gen. Stat. § 1-253 et seq., ascertaining entitlement to coverage under insurance policy
     contracts entered into between Plaintiffs and Defendants.
                                                                                                        EXHIBIT
               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                            8              1
          Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 211 of 221
North State Deli, LLC v. The Cincinnati Ins. Co., 2020 WL 6281508 (2020)




    (2) Plaintiffs state a viable claim for relief under Count II of the Second Amended Complaint, seeking a declaratory judgment
       against Defendants pursuant to N.C. Gen. Stat. § 1-253 et seq., ascertaining entitlement to coverage under insurance policy
       contracts entered into between Plaintiffs and Defendants.

    *2 (3) Plaintiffs state a viable claim for relief under Count III of the Second Amended Complaint, seeking damages and
     other relief for breach of contract against Defendants pursuant to their failure to provide benefits due under the insurance
     policy contracts as described in Counts I and II.



This the 7 th day of October, 2020.

<<signature>>

ORLANDO F. HUDSON, JR.

SENIOR RESIDENT SUPERIOR COURT JUDGE




                                                           Footnotes


1        The operative pleading to which this Order applies is the Second Amended Complaint. For background, the Motion was
         filed by defendant The Cincinnati Insurance Company on August 7, 2020. After Plaintiffs and The Cincinnati Insurance
         Company exchanged full briefing on the Motion, the Court granted a Consent Motion for Leave to File Second Amended
         Complaint, consented to by all the parties captioned herein. The sole amendment made by the Second Amended
         Complaint was the addition of another defendant-insurer, The Cincinnati Casualty Company. Because Plaintiffs and
         Defendants jointly stipulated that the Second Amended Complaint resulted in no substantive changes to the Motion or
         the related briefings and arguments, and that the Motion and related briefings and arguments applied with equal force to
         the newly-added defendant entity, this Order is entered with respect to Counts I-III as those counts are alleged against
         both The Cincinnati Insurance Company and The Cincinnati Casualty Company in the Second Amended Complaint.

End of Document                                                      © 2020 Thomson Reuters. No claim to original U.S. Government Works.




                 © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                  2
        Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 212 of 221
Studio 417, Inc. v. Cincinnati Insurance Company, --- F.Supp.3d ---- (2020)




     KeyCite Yellow Flag - Negative Treatment                     West Headnotes (15)
Declined to Follow by T & E Chicago LLC v. Cincinnati Insurance
Company, N.D.Ill., November 19, 2020
                                                                  [1]   Federal Civil Procedure            Construction of
                  2020 WL 4692385                                       pleadings
    Only the Westlaw citation is currently available.                   Federal Civil Procedure       Matters deemed
           United States District Court, W.D.                           admitted; acceptance as true of allegations in
             Missouri, Southern Division.                               complaint
                                                                        When deciding a motion to dismiss complaint
           STUDIO 417, INC., et al., Plaintiffs,
                                                                        for failure to state a claim, the factual allegations
                         v.
                                                                        of a complaint are assumed true and construed
            The CINCINNATI INSURANCE                                    in favor of the plaintiff, even if it strikes a
                COMPANY, Defendant.                                     savvy judge that actual proof of those facts is
                                                                        improbable. Fed. R. Civ. P. 12(b)(6).
                  Case No. 20-cv-03127-SRB
                              |
                     Signed 08/12/2020
                                                                  [2]   Federal Courts         Insurers and insurance
Synopsis                                                                State law controls the construction of insurance
Background: Insureds, businesses which had purchased                    policies where case is based on diversity
all-risk property insurance policies, brought action against            jurisdiction.
property insurer, seeking declaratory judgment and class
certification and alleging breach of contract arising from
insurer's denial of coverage for losses resulting from            [3]   Insurance        Questions of law or fact
COVID-19 pandemic. Property insurer moved to dismiss.
                                                                        Under Missouri law, the interpretation of an
                                                                        insurance policy is a question of law to be
                                                                        determined by the court.
Holdings: The District Court, Stephen R. Bough, J., held that:
                                                                        2 Cases that cite this headnote
[1] insureds adequately alleged that they incurred direct
physical loss;                                                    [4]   Insurance        Construction or enforcement as
                                                                        written
[2] insureds plausibly stated claim for civil authority
                                                                        Insurance        Entire contract
coverage;
                                                                        Missouri courts read insurance contracts as a
[3] insureds plausibly stated claim for ingress and egress              whole and determine the intent of the parties,
coverage;                                                               giving effect to that intent by enforcing the
                                                                        contract as written.
[4] insureds plausibly stated claim for dependent property
coverage; and
                                                                  [5]   Insurance        Reasonableness
[5] insureds plausibly stated claim for sue and labor coverage.         Insurance      Favoring coverage or
                                                                        indemnity; disfavoring forfeiture
                                                                        In Missouri, insurance policies are to be given a
Motion denied.
                                                                        reasonable construction and interpreted so as to
                                                                        afford coverage rather than defeat coverage.
Procedural Posture(s): Motion to Dismiss for Failure to
State a Claim.
                                                                                                        EXHIBIT
                 © 2020 Thomson Reuters. No claim to original U.S. Government Works.                            9               1
        Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 213 of 221
Studio 417, Inc. v. Cincinnati Insurance Company, --- F.Supp.3d ---- (2020)


                                                                       lived on and was active on inert physical
 [6]    Insurance     Understanding of Ordinary or                     surfaces, that it was emitted into air, and that
        Average Persons                                                COVID-19 attached to and deprived insureds of
        Under Missouri law, insurance policy terms are                 their property and made it unsafe and unusable.
        given the meaning which would be attached by
        an ordinary person of average understanding if                 10 Cases that cite this headnote
        purchasing insurance.
                                                                [11]   Insurance       Construction as a whole
                                                                       Insurance       Entire contract
 [7]    Insurance       Ambiguity in general
                                                                       Court, in interpreting insurance policy, must give
        Under Missouri law, when interpreting insurance                meaning to all policy terms and, where possible,
        policy terms, the central issue is determining                 harmonize those terms in order to accomplish the
        whether any ambiguity exists, which occurs                     intention of the parties.
        where there is duplicity, indistinctness, or
        uncertainty in the meaning of the words used in
        the contract.
                                                                [12]   Insurance     Acts of government or
                                                                       governmental actors
                                                                       Insureds, restaurants and salon which had
 [8]    Insurance       Construction or enforcement as
                                                                       purchased all-risk insurance policies, plausibly
        written
                                                                       stated claim for civil authority coverage under
        Under Missouri law, if insurance policies are                  policy during COVID-19 pandemic; insureds
        unambiguous, they will be enforced as written                  alleged that they suffered physical loss, which
        absent a statute or public policy requiring                    was applicable to other property, and that
        coverage.                                                      civil authorities issued closure and stay-at-home
                                                                       orders throughout two states, which included
                                                                       property other than insureds' premises, and
 [9]    Insurance       Ambiguity, Uncertainty or                      while insureds admitted that closure orders
        Conflict                                                       allowed restaurant premises to remain open
        Under Missouri law, if language in insurance                   for food preparation, take-out, and delivery
        policies is ambiguous, it will be construed                    and that they did not prohibit access to salon
        against the insurer.                                           premises, they alleged that closure order required
                                                                       businesses that provided personal services to
                                                                       suspend operations and prohibited inside seating
 [10]   Insurance       Risks or Losses Covered and                    at restaurants.
        Exclusions
                                                                       1 Cases that cite this headnote
        Insurance     Acts of government or
        governmental actors
                                                                [13]   Insurance       Business Interruption; Lost
        Insureds, businesses which had purchased all-
                                                                       Profits
        risk insurance policies, adequately alleged
        that they incurred direct physical loss during                 Insureds, businesses which had purchased all-
        COVID-19 pandemic, as necessary to obtain                      risk insurance policies, plausibly stated claim for
        coverage under property insurance policies;                    ingress and egress coverage under policy during
        insureds alleged causal relationship between                   COVID-19 pandemic; insureds alleged that they
        COVID-19 and their alleged losses, in that                     suffered physical loss, in that COVID-19 was
        COVID-19 resulted in government orders                         physical substance that lived on inert physical
        requiring closure of businesses, and also alleged              surfaces and had attached to and deprived
        that COVID-19 was physical substance that                      insureds of their property, and also alleged that
                                                                       both COVID-19 and resulting closure orders


              © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                            2
        Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 214 of 221
Studio 417, Inc. v. Cincinnati Insurance Company, --- F.Supp.3d ---- (2020)


        that government issued to businesses rendered
        premises unsafe for ingress and egress.
                                                                                          ORDER
        12 Cases that cite this headnote
                                                              STEPHEN R. BOUGH, UNITED STATES DISTRICT
 [14]   Insurance       Business Interruption; Lost           JUDGE
        Profits
                                                               *1 Before the Court is Defendant The Cincinnati Insurance
        Insureds, businesses which had purchased all-         Company's (“Defendant”) Motion to Dismiss. (Doc. #20.) For
        risk insurance policies, plausibly stated claim       the reasons set forth below, the motion is DENIED.
        for dependent property coverage under policy
        during COVID-19 pandemic; insureds alleged
        that they suffered physical loss, in that                I. BACKGROUND
        COVID-19 was physical substance that lived            Because this matter comes before the Court on a
        on inert physical surfaces and had attached           motion to dismiss, the following allegations in Plaintiffs’
        to and deprived insureds of their property,           First Amended Class Action Complaint (the “Amended
        and also alleged that they suffered loss of
                                                              Complaint”) are taken as true. (Doc. #16);      Ashcroft v.
        materials, services, and customers because of
                                                              Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d
        COVID-19 and resulting closure orders issued
                                                              868 (2009) (internal citations and quotation marks omitted)
        by government to businesses.
                                                              (quoting        Bell Atlantic Corp. v. Twombly, 550 U.S. 544,
        13 Cases that cite this headnote
                                                              570, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007));            Zink v.
                                                                                                                 1
                                                              Lombardi, 783 F.3d 1089, 1098 (8th Cir. 2015).
 [15]   Insurance       Minimizing loss
        Insureds, businesses which had purchased all-         The named Plaintiffs in this case are Studio 417, Inc. (“Studio
        risk insurance policies, plausibly stated claim       417”), Grand Street Dining, LLC (“Grand Street”), GSD
        for sue and labor coverage under policy during        Lenexa, LLC (“GSD”), Trezomare Operating Company, LLC
        COVID-19 pandemic; insureds alleged that,             (“Trezomare”), and V's Restaurant, Inc. (“V's Restaurant”)
        in complying with closure orders issued by            (collectively, the “Plaintiffs”). Studio 417 operates hair salons
        government to businesses and by suspending            in the Springfield, Missouri, metropolitan area. Grand Street,
        operations, they incurred expenses in connection      GSD, Trezomare, and V's Restaurant own and operate full-
        with reasonable steps to protect covered              service dining restaurants in the Kansas City metropolitan
        property.                                             area.

                                                              Plaintiffs purchased “all-risk” property insurance policies
                                                              (the “Policies”) from Defendant for their hair salons and
                                                              restaurants. (Doc. #1-1, ¶ 26.) All-risk policies cover all risks
Attorneys and Law Firms                                       of loss except for risks that are expressly and specifically
                                                              excluded. The Policies include a Building and Personal
Jack Thomas Hyde, Thomas A. Rottinghaus, Tyler Hudson,
                                                              Property Coverage Form and Business Income (and Extra
Wagstaff & Cartmell, Jeremy M. Suhr, Brandon J.B.
                                                              Expense) Coverage Form. Defendant issued each Plaintiff a
Boulware, Boulware Law LLC, Todd M. Johnson, Votava
                                                              separate policy, and all were in effect during the applicable
Nantz & Johnson LLC, Kansas City, MO, for Plaintiffs.
                                                              time period. The parties agree that the Policies contain the
Daniel G. Litchfield, Pro Hac Vice, Litchfield Cavo LLP,      same relevant language.
Chicago, IL, Ericka Hammett, Pro Hac Vice, Litchfield Cavo
LLP, Milwaukee, WI, Kelvin J. Fisher, Michael Lloyd Brown,    The Policies provide that Defendant would pay for “direct
Wallace Saunders, Overland Park, KS, for Defendant.           ‘loss’ unless the ‘loss’ is excluded or limited” therein. (Doc.
                                                              #16, ¶ 27.) A “Covered Cause of Loss” “is defined to mean
                                                              accidental [direct] physical loss or accidental [direct] physical



              © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                           3
         Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 215 of 221
Studio 417, Inc. v. Cincinnati Insurance Company, --- F.Supp.3d ---- (2020)


damage.” (Doc. #16, ¶ 31) (emphasis supplied); (Doc. #1-1,                       ingress or egress at a ‘premises’
             2
pp. 24, 57.) The Policies do not define “physical loss” or                       shown in the Declarations due to
“physical damage.” The Policies also “do not include, and                        direct ‘loss’ by a Covered Cause of
are not subject to, any exclusion for losses caused by viruses                   Loss at a location contiguous to such
or communicable diseases.” (Doc. #16, ¶ 13.) A loss, as                          ‘premises.’ However, coverage does
defined above, is a prerequisite to invoke the different types of                not apply if ingress or egress from
coverage sought in this lawsuit. (See Doc. #21, p. 15.) These                    the ‘premises’ is prohibited by civil
coverages are set forth below.                                                   authority.


First, the Policies provide for Business Income coverage.
Under this coverage, Defendant agreed to:                           (Doc. #1-1, p. 95.)

                                                                    Fourth, the Policies provide “Dependent Property” coverage.
             pay for the actual loss of ‘Business                   This coverage applies if the insured suffers a loss of Business
             Income’ ... you sustain due to                         Income because of a suspension of its business “caused
             the necessary ‘suspension’ of your                     by direct ‘loss’ to ‘dependent property.’ ” (Doc. #1-1, pp.
             ‘operations’ during the ‘period of                     63-64.) “Dependent property means property operated by
             restoration.’ The suspension must be                   others whom [the insured] depend[s] on to ... deliver materials
             caused by direct ‘loss’ to property at a               or services to [the insured] ... [a]ccept [the insured's] products
             ‘premises’ caused by or resulting from                 or services ... [and] [a]ttract customers to [the insured's]
             any Covered Cause of Loss.                             business.” (Doc. #1-1, p. 64.)

                                                                    Finally, the Policies provide what is commonly known as
                                                                    “Sue and Labor” coverage. In relevant part, the Policies
(Doc. #1-1, pp. 37-38.)
                                                                    require the insured to “take all reasonable steps to protect
                                                                    the Covered Property from further damage,” and to keep a
Second, the Policies provide “Civil Authority” coverage. This
                                                                    record of expenses incurred to protect the Covered Property
coverage applies to:
                                                                    for consideration in the settlement of the claim. (Doc. #1-1,
   *2 the actual loss of ‘Business Income’ sustained ‘and           pp. 49-50.) The Policies do not exclude or limit losses from
  necessary Extra Expense’ sustained ‘caused by action              viruses, pandemics, or communicable diseases. (Doc. #16, ¶
  of civil authority that prohibits access to’ the Covered          28.)
  Property when a Covered Cause of Loss causes direct
  damage to property other than the Covered Property, the           Plaintiffs seek coverage under the Policies for losses caused
  civil authority prohibits access to the area immediately          by the Coronavirus (“COVID-19”) pandemic. Plaintiffs
  surrounding the damaged property, and ‘the action of              allege that over the last several months, it is likely that
  civil authority is taken in response to dangerous physical        customers, employees, and/or other visitors to the insured
  conditions resulting from the damage or continuation of the       properties were infected with COVID-19 and thereby infected
  Covered Cause of Loss that caused the damage[.]’                  the insured properties with the virus. (Doc. #1-1, ¶ 60.)
                                                                    Plaintiffs allege that COVID-19 “is a physical substance,”
(Doc. #16, ¶ 42.)                                                   that it “live[s] on” and is “active on inert physical surfaces,”
                                                                    and is “emitted into the air.” (Doc. #16, ¶¶ 47, 49-60.)
Third, the Policies provide “Ingress and Egress” coverage.          Plaintiffs further allege that the presence of COVID-19
This coverage is specified as follows:                              “renders physical property in their vicinity unsafe and
                                                                    unusable,” and that they “were forced to suspend or reduce
                                                                    business at their covered premises.” (Doc. #1-1, ¶¶ 14, 58,
             We will pay for the actual loss of                     102.)
             ‘Business Income’ you sustain and
             necessary Extra Expense you sustain                    In response to the COVID-19 pandemic, civil authorities in
             caused by the prevention of existing                   Missouri and Kansas issued orders requiring the suspension



                 © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                               4
        Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 216 of 221
Studio 417, Inc. v. Cincinnati Insurance Company, --- F.Supp.3d ---- (2020)


of business at various establishments, including Plaintiffs’      dismiss, a complaint must contain sufficient factual matter,
businesses (the “Closure Orders”). The Closure Orders “have       accepted as true, to state a claim to relief that is plausible on
required and continue to require Plaintiffs to cease and/or
                                                                  its face.”   Iqbal, 556 U.S. at 678, 129 S.Ct. 1937 (quoting
significantly reduce operations at, and ... have prohibited
and continue to prohibit access to, the[ir] premises.” (Doc.         Twombly, 550 U.S. at 570, 127 S.Ct. 1955). “A claim has
#16, ¶¶ 106-107.) Plaintiffs allege that the presence of          facial plausibility when the plaintiff pleads factual content
COVID-19 and the Closure Orders caused a direct physical          that allows the court to draw the reasonable inference that
loss or direct physical damage to their premises “by denying      the defendant is liable for the misconduct alleged.” Ash v.
use of and damaging the covered property, and by causing          Anderson Merchs., LLC, 799 F.3d 957, 960 (8th Cir. 2015)
a necessary suspension of operations during a period of
restoration.” (Doc. #16, ¶¶ 102.) Plaintiffs allege that their    (quoting      Iqbal, 556 U.S. at 678, 129 S.Ct. 1937). When
losses are covered by the Business Income, Civil Authority,       deciding a motion to dismiss, “[t]he factual allegations of
Ingress and Egress, Dependent Property, and Sue and Labor         a complaint are assumed true and construed in favor of the
coverages discussed above. (Doc. #16, ¶¶ 103-108.) Plaintiffs     plaintiff, even if it strikes a savvy judge that actual proof of
provided Defendant notice of their losses, but Defendant          those facts is improbable.” Data Mfg., Inc. v. United Parcel
denied the claims. (Doc. #16, ¶¶ 110-115.)                        Serv., Inc., 557 F.3d 849, 851 (8th Cir. 2009) (citations and
                                                                  quotations omitted).
 *3 On April 27, 2020, Plaintiffs filed this lawsuit against
Defendant. The Amended Complaint asserts claims for a              [2] [3] [4] [5] Because this case is based on diversity
declaratory judgment and for breach of contract based on          jurisdiction, “state law controls the construction of [the]
Business Income coverage (Counts I, II), Extra Expense            insurance policies[.]” J.E. Jones Const. Co. v. Chubb & Sons,
coverage (Counts III, IV), Dependent Property coverage            Inc., 486 F.3d 337, 340 (8th Cir. 2007). Under Missouri law,
(Counts V, VI), Civil Authority coverage (Counts VII, VIII),      “[t]he interpretation of an insurance policy is a question of
Extended Business Income coverage (Counts IX, X), Ingress
                                                                  law to be determined by the Court.”    Lafollette v. Liberty
and Egress coverage (Counts XI, XII), and Sue and Labor
                                                                  Mut. Fire Ins. Co., 139 F. Supp. 3d 1017, 1021 (W.D. Mo.
coverage (Counts XIII, XIV). The Amended Complaint also
                                                                  2015) (quoting Mendota Ins. Co. v. Lawson, 456 S.W.3d
seeks class certification for 14 nationwide classes (one for
each cause of action) and a Missouri Subclass that consists of    898, 903 (Mo. App. W.D. 2015)). 3 “Missouri courts read
“all policyholders who purchased one of Defendant's policies      insurance contracts ‘as a whole and determine the intent
in Missouri and were denied coverage due to COVID-19.”            of the parties, giving effect to that intent by enforcing the
(Doc. #16, ¶¶ 117-125; see also Doc. #21, pp. 12-13.)             contract as written.’ ”     Id. (citing Thiemann v. Columbia
                                                                  Pub. Sch. Dist., 338 S.W.3d 835, 840 (Mo. App. W.D. 2011)).
Defendant responded to the Amended Complaint by filing            “Insurance policies are to be given a reasonable construction
the pending motion to dismiss under Federal Rule of Civil         and interpreted so as to afford coverage rather than to defeat
Procedure 12(b)(6). Defendant's overarching argument is that
                                                                  coverage.”   Cincinnati Ins. Co. v. German St. Vincent
the Policies provide coverage “only for income losses tied to
                                                                  Orphan Ass'n, Inc., 54 S.W.3d 661, 667 (Mo. App. E.D.
physical damage to property, not for economic loss caused
                                                                  2001).
by governmental or other efforts to protect the public from
disease ... the same direct physical loss requirement applies
                                                                   *4 [6] [7] [8] [9] “Policy terms are given the meaning
to all the coverages for which Plaintiffs sue.” (Doc. #21, p.
                                                                  which would be attached by an ordinary person of average
8.) Even if a loss is adequately alleged, Defendant argues that
                                                                  understanding if purchasing insurance.” Vogt v. State Farm
the Amended Complaint fails to state a claim as to each type
                                                                  Life Ins. Co., 963 F.3d 753, 763 (8th Cir. 2020) (applying
of coverage at issue. Plaintiffs oppose the motion, and the
                                                                  Missouri law) (quotations omitted). When interpreting policy
parties’ arguments are addressed below.
                                                                  terms, “the central issue ... is determining whether any
                                                                  ambiguity exists, which occurs where there is duplicity,
   II. LEGAL STANDARD                                             indistinctness, or uncertainty in the meaning of the words used
 [1] Rule 12(b)(6) provides that a defendant may move to          in the contract.” Id. (quotations omitted). If the “insurance
dismiss for “failure to state a claim upon which relief can be    policies are unambiguous, they will be enforced as written
granted.” Fed. R. Civ. P. 12(b)(6). “To survive a motion to       absent a statute or public policy requiring coverage. If the


               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                              5
         Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 217 of 221
Studio 417, Inc. v. Cincinnati Insurance Company, --- F.Supp.3d ---- (2020)


language is ambiguous, it will be construed against the            material existence: perceptible especially through the senses
insurer.” Id. (quotations omitted).                                and subject to the laws of nature.” Merriam-Webster,
                                                                   www.merriam-webster.com/dictionary/physical (last visited
                                                                   August 12, 2020). “Loss” is “the act of losing possession”
  III. DISCUSSION                                                  and “deprivation.” Merriam-Webster, www.merriam-
                                                                   webster.com/dictionary/loss (last visited August 12, 2020).
   A. Plaintiffs Have Adequately Alleged a Direct
   “Physical Loss” Under the Policies.
                                                                    [10] Applying these definitions, Plaintiffs have adequately
Defendant's first argument is that Plaintiffs have not
                                                                   alleged a direct physical loss. Plaintiffs allege a causal
adequately pled a “physical loss” as required by the Policies.
                                                                   relationship between COVID-19 and their alleged losses.
(Doc. # 21, pp. 7-8, 15-16, 19-25; Doc. #37, pp. 2-10.)
                                                                   Plaintiffs further allege that COVID-19 “is a physical
Defendant argues that “direct physical loss requires actual,
                                                                   substance,” that it “live[s] on” and is “active on inert
tangible, permanent, physical alteration of property.” (Doc.
                                                                   physical surfaces,” and is also “emitted into the air.” (Doc.
#21, p. 19) (citing cases). Defendant claims that the Policies
                                                                   #16, ¶¶ 47, 49-60.) COVID-19 allegedly attached to and
provide property insurance coverage, and “are designed to
                                                                   deprived Plaintiffs of their property, making it “unsafe and
indemnify loss or damage to property, such as in the case
                                                                   unusable, resulting in direct physical loss to the premises and
of a fire or storm. [COVID-19] does not damage property;
                                                                   property.” (Doc. #16, ¶ 58.) Based on these allegations, the
it hurts people.” (Doc. #21, p. 7.) According to Defendant,
                                                                   Amended Complaint plausibly alleges a “direct physical loss”
the requirement of a tangible physical loss applies to—and
                                                                   based on “the plain and ordinary meaning of the phrase.” Vogt,
precludes—each type of coverage sought in this case.
                                                                   963 F.3d at 763.

In response, Plaintiffs agree that “physical loss” and “physical
                                                                    *5 [11] Second, the Court “must give meaning to all
damage” are “the key phrases” in the Policies. (Doc. #31, p.
                                                                   [policy] terms and, where possible, harmonize those terms in
7.) However, Plaintiffs emphasize that the Policies expressly
                                                                   order to accomplish the intention of the parties.” Macheca
cover “physical loss or physical damage.” (Doc. #31, p. 11)
                                                                   Transp. v. Philadelphia Indem. Ins. Co., 649 F.3d 661, 669
(emphasis supplied). This “necessarily means that either a
                                                                   (8th Cir. 2011) (applying Missouri law). Here, the Policies
‘loss’ or ‘damage’ is required, and that ‘loss’ is distinct
                                                                   provide coverage for “accidental physical loss or accidental
from ‘damage.’ ” (Doc. #31, p. 11.) As such, Plaintiffs
                                                                   physical damage.” (Doc. #1-1, p. 57) (emphasis supplied).
argue that Defendant's focus on an actual physical alteration
                                                                   Defendant conflates “loss” and “damage” in support of
ignores the coverage for a “physical loss.” Plaintiffs further
                                                                   its argument that the Policies require a tangible, physical
argue that Defendant could have defined “physical loss”
                                                                   alteration. However, the Court must give meaning to both
and “physical damage,” but failed to do so. Plaintiffs argue
this case should not be disposed of on a motion to dismiss         terms. See      Nautilus Grp., Inc. v. Allianz Global Risks
because “even if [Defendant's] interpretation of the policy        US, No. C11-5281BHS, 2012 WL 760940, at * 7 (W.D.
language is reasonable ... Plaintiffs’ interpretation is also      Wash. Mar. 8, 2012) (stating that “if ‘physical loss’ was
reasonable[.]” (Doc. #31, p. 11.)                                  interpreted to mean ‘damage,’ then one or the other would be
                                                                   superfluous”).
Upon review of the record, the Court finds that Plaintiffs
have adequately stated a claim for direct physical loss.           The Court's finding that Plaintiffs have adequately stated a
First, because the Policies do not define a direct
                                                                   claim is supported by case law. In       Hampton Foods, Inc.
“physical loss” the Court must “rely on the plain and
                                                                   v. Aetna Cas. & Sur. Co., 787 F.2d 349 (8th Cir. 1986), the
ordinary meaning of the phrase.” Vogt, 963 F.3d at
                                                                   relevant provision provided that “[t]his policy insures against
763; Mansion Hills Condo. Ass'n v. Am. Family Mut.
                                                                   loss of or damage to the property insured ... resulting from
Ins. Co., 62 S.W.3d 633, 638 (Mo. App. E.D. 2001)
(recognizing that standard dictionaries should be consulted        all risks of direct physical loss[.]” Id. at 351. Applying
for determining ordinary meaning). The Merriam-Webster             Missouri law, the Eighth Circuit found this provision was
dictionary defines “direct” in part as “characterized by close     ambiguous and affirmed the district court's decision that it
logical, causal, or consequential relationship.” Merriam-          covered “any loss or damage due to the danger of direct
Webster, www.merriam-webster.com/dictionary/direct (last           physical loss[.]”   Id. at 352 (emphasis in original).
visited August 12, 2020). “Physical” is defined as “having


                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                            6
        Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 218 of 221
Studio 417, Inc. v. Cincinnati Insurance Company, --- F.Supp.3d ---- (2020)


In Mehl v. The Travelers Home & Marine Ins. Co., Case             Defendant argues that “[a] seminal case concerning the direct
No. 16-CV-1325-CDP (E.D. Mo. May 2, 2018), the plaintiff
                                                                  physical loss requirement is    Source Food Tech., Inc. v.
discovered brown recluse spiders in his home. Id. at p.
                                                                  U.S. Fid. & Guar. Co., 465 F.3d 834 (8th Cir. 2006).” (Doc.
1. The plaintiff unsuccessfully attempted to eliminate the
spiders, and then left the home. Id. The plaintiff considered     #21, pp. 19-20.) However,  Source Food was decided in
the property uninhabitable and filed a claim under his            the summary judgment context and under Minnesota law.
homeowners insurance policy for loss of use of the property.         Source Food, 465 F.3d at 834-36. Moreover, the facts
Id. After his insurance company denied the claim, the plaintiff
filed suit for breach of contract. The insurance company          of    Source Foods are distinguishable. In that case, the
moved for summary judgment and argued that the policy only        insured's beef was not allowed to cross from Canada into
covered “direct physical loss” which required “actual physical    the United States because of an embargo related to mad cow
damage.” Id. at p. 2.                                             disease.   Id. at 835. Because of the embargo, the insured
                                                                  was unable to fill orders and had to find a new supplier.
Mehl rejected this argument. As in this case, the Mehl policy     Importantly, there was no evidence that the beef was actually
did not define “physical loss” and the insurance company
                                                                  contaminated.     Id.
“point[ed] to no language in the policy that would lead a
reasonable insured to believe that actual physical damage
                                                                   *6 The insured sought coverage based on a provision
is required for coverage.” Id. Although the policy in Mehl
                                                                  requiring “direct physical loss to property.” The district court
provided coverage for “loss of use,” Mehl supports the
                                                                  denied coverage, and the Eighth Circuit affirmed, explaining
conclusion that “physical loss” is not synonymous with
                                                                  that:
physical damage. Id.

Other courts have similarly recognized that even absent a
physical alteration, a physical loss may occur when the                        [a]lthough Source Food's beef product
property is uninhabitable or unusable for its intended purpose.                in the truck could not be transported to
                                                                               the United States due to the closing of
See     Port Auth. of New York and New Jersey v. Affiliated                    the border to Canadian beef products,
FM Ins. Co., 311 F.3d 226, 236 (3d Cir. 2002) (affirming                       the beef product on the truck was
denial of coverage but recognizing that “[w]hen the presence                   not—as Source Foods concedes—
of large quantities of asbestos in the air of a building is                    physically contaminated or damaged
such as to make the structure uninhabitable and unusable,                      in any manner. To characterize
then there has been a distinct [physical] loss to its owner”);                 Source Food's inability to transport its
   Prudential Prop. & Cas. Ins. Co. v. Lilliard-Roberts, CV–                   truckload of beef product across the
01–1362–ST, 2002 WL 31495830, at * 9 (D. Or. June 18,                          border and sell the beef product in
2002) (citing case law for the proposition that “the inability                 the United States as direct physical
to inhabit a building [is] a ‘direct, physical loss’ covered                   loss to property would render the word
                                                                               ‘physical’ meaningless.
by insurance”);      General Mills, Inc. v. Gold Medal Ins.
Co., 622 N.W.2d 147, 152 (Minn. Ct. App. 2001) (“We
have previously held that direct physical loss can exist
without actual destruction of property or structural damage          Id. at 838.
to property; it is sufficient to show that insured property is
injured in some way.”).                                           The facts alleged in this case do not involve the transportation
                                                                  of uncontaminated physical products. Instead, Plaintiffs
To be sure, and as argued by Defendant, there is case law         allege that COVID-19 is a highly contagious virus that
in support of its position that physical tangible alteration is   is physically “present ... in viral fluid particles,” and is
required to show a “physical loss.” (Doc. #21, pp. 19-25;         “deposited on surfaces or objects.” (Doc. #16, ¶¶ 47, 50.)
Doc. #37, pp. 3-10.) 4 However, Plaintiffs correctly respond      Plaintiffs further allege that this physical substance is likely
that these cases were decided at the summary judgment stage,      on their premises and caused them to cease or suspend
are factually dissimilar, and/or are not binding. For example,


               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                             7
         Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 219 of 221
Studio 417, Inc. v. Cincinnati Insurance Company, --- F.Supp.3d ---- (2020)


                                                                   is not causing direct physical loss to Plaintiffs’ premises, it is
operations. Unlike      Source Foods, the Plaintiffs expressly
                                                                   not causing direct physical loss to other property.” (Doc. #21,
allege physical contamination. Finally,   Source Foods             p. 27.)
recognized (under Minnesota law) that physical loss could
be found without structure damage.       Source Foods, 465         This argument is rejected for substantially the same reasons
F.3d at 837 (stating that property could be “physically            as discussed above. Plaintiffs adequately allege that they
contaminated ... by the release of asbestos fibers”). Neither      suffered a physical loss, and such loss is applicable to other
                                                                   property. Additionally, Plaintiffs allege that civil authorities
  Source Foods nor the other cases cited by Defendant              issued closure and stay at home orders throughout Missouri
warrant dismissal under Rule 12(b)(6).                             and Kansas, which includes property other than Plaintiffs’
                                                                   premises.
Defendant's reply brief cites recent out-of-circuit decisions
which found that COVID-19 does not cause direct physical           Defendant's second argument is that civil authority coverage
loss. (Doc. #37, pp. 5-6.) For example, Defendant relies           “requires that access to Plaintiffs’ premises be prohibited by
on Social Life Magazine, Inc. v. Sentinel Ins. Co., Ltd.,          an order of Civil Authority. But, none of the orders Plaintiffs
1:20-cv-03311-VEC (S.D.N.Y. 2020). Defendant argues that           allege prohibit access to their premises. To the contrary, the
“Social Life famously states that the virus damages lungs,         Plaintiffs admit ... that the Closure Orders allowed restaurant
not printing presses.” (Doc. #37, p. 6.) But the present case      premises to remain open for food preparation, take-out and
is not about whether COVID-19 damages lungs, and the               delivery. Likewise, Plaintiffs concede that the Closure Orders
presence of COVID-19 on premises, as is alleged here, is not       did not prohibit access to salon premises.” (Doc. #21, pp.
a benign condition. Regardless of the allegations in Social        28-29) (citations omitted).
Life or other cases, Plaintiffs here have plausibly alleged that
COVID-19 particles attached to and damaged their property,         Upon review of the record, the Court finds that Plaintiffs
which made their premises unsafe and unusable. 5 This is           have adequately alleged that their access was prohibited. With
enough to survive a motion to dismiss.                             respect to Studio 417's hair salons, the Amended Complaint
                                                                   alleges that a Closure Order “required hair salons and all
Defendant also contends that if Plaintiffs’ interpretation         other businesses that provide personal services to suspend
is accepted, physical loss would be found “whenever a              operations.” (Doc. #16, ¶ 67.) With respect to Plaintiffs’
business suffers economic harm.” (Doc. #21, p. 22; Doc.            restaurants, the Closure Orders mandated “that all inside
#37, p. 2.) That is not what the Court holds here. Although        seating is prohibited in restaurants,” and that “every person
Plaintiffs allege economic harm, that harm is tethered to          in the State of Missouri shall avoid eating or drinking at
their alleged physical loss caused by COVID-19 and the             restaurants,” with limited exceptions for “drive-thru, pickup,
Closure Orders. (Doc. #1-1, ¶¶ 106-107) (alleging that the         or delivery options.” (Doc. #16, ¶¶ 71-80.)
COVID-19 pandemic and Closure Orders required Plaintiffs
to “cease and/or significantly reduce operations at, and ...       At the motion to dismiss stage, these allegations plausibly
have prohibited and continue to prohibit access to, the            allege that access was prohibited to such a degree as to trigger
premises.”) 6 For all these reasons, the Court finds that          the civil authority coverage. Compare        TMC Stores, Inc. v.
Plaintiffs have adequately alleged a direct physical loss under    Federated Mut. Ins. Co., No. A04-1963, 2005 WL 1331700,
the Policies. 7                                                    at * 4 (Minn. Ct. App. June 7, 2005) (“Because access
                                                                   remained and the level of business was not dramatically
                                                                   decreased, the civil authority section of the insurance policy
   B. Plaintiffs Have Plausibly Stated a Claim for Civil           is inapplicable and the district court did not err in granting
   Authority Coverage.                                             summary judgment.”). This is particularly true insofar as the
 *7 [12] Defendant next argues that Plaintiffs’ claim for          Policies require that the “civil authority prohibits access,” but
civil authority coverage should be dismissed for failure to        does not specify “all access” or “any access” to the premises.
state a claim. Defendant presents two arguments in support         For these reasons, Plaintiffs have adequately stated a claim
of dismissal. Defendant first contends that civil authority        for civil authority coverage.
coverage requires “direct physical loss to property other than
the Plaintiffs’ property,” and that “[j]ust as the Coronavirus



                  © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                             8
         Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 220 of 221
Studio 417, Inc. v. Cincinnati Insurance Company, --- F.Supp.3d ---- (2020)


                                                                      #1-1, p. 64.) The Amended Complaint adequately alleges that
   C. Plaintiffs Have Plausibly Stated a Claim for Ingress            Plaintiffs suffered a loss of materials, services, and lack of
   and Egress Coverage.                                               customers as a result of COVID-19 and the Closure Orders.
 [13] Defendant argues that Plaintiffs’ claim for ingress and         The Court therefore finds that Plaintiffs have adequately
egress coverage should be dismissed for two reasons. First,           stated a claim for dependent property coverage.
Defendant argues that such coverage “requires both a direct
physical loss at a location contiguous to the insured's property
and the prevention of access to the insured's property as a              E. Plaintiffs Have Plausibly Stated a Claim for Sue
result of that direct physical loss,” and that Plaintiffs fail to        and Labor Coverage.
allege a direct physical loss to any location. (Doc. #21, p.           [15] Finally, Defendant moves to dismiss Plaintiffs’ claim
30.) For substantially the same reasons discussed above, this         for sue and labor coverage. Defendant argues that this is not an
argument is rejected.                                                 additional coverage, but instead imposes a duty on the insured
                                                                      to prevent further damage and to keep a record of expenses
Second, Defendant argues that this “coverage does not apply           incurred in the event of a covered loss. Defendant argues that
if ingress or egress from the ‘premises’ is prohibited by civil       because Plaintiffs have failed to adequately allege a covered
authority.” (Doc. #21, p. 24; Doc. #1-1, p. 95.) Defendant            loss, a claim has not been stated for this coverage.
contends that “[h]ere, the Closure Orders issued by civil
authorities are the only identified causes of Plaintiffs’ alleged     However, regardless of the title of this claim, Defendant
losses.” (Doc. #21, p. 30.) However, Plaintiffs have alleged          acknowledges that in the event of a covered loss, “the insured
that both COVID-19 and the Closure Orders rendered the                can recover these expenses[.]” (Doc. #21, p. 31.) As discussed
premises unsafe for ingress and egress. (Doc. #1-1, p. 3, ¶           above, the Court finds that Plaintiffs have adequately stated
14 (“Plaintiffs were forced to suspend or reduce business at          a claim for a covered loss. Moreover, Plaintiffs allege that
their covered premises due to COVID-19 and the ensuing                in complying with the Closure Orders and by suspending
orders issued by civil authorities[.]”). The Court finds that         operations, they “incurred expenses in connection with
Plaintiffs have adequately stated a claim for ingress and egress      reasonable steps to protect Covered Property.” (Doc. #16,
coverage.                                                             ¶ 250.) Consequently, the Court finds that Plaintiffs have
                                                                      adequately stated a claim for sue and labor coverage.

   D. Plaintiffs Have Plausibly Stated a Claim for                    In sum, Defendant's motion to dismiss will be denied in its
   Dependent Property Coverage.                                       entirety. The Court emphasizes that Plaintiffs have merely
 *8 [14] Defendant argues that Plaintiffs’ claim for                  pled enough facts to proceed with discovery. Discovery will
dependent property coverage should be dismissed for two               shed light on the merits of Plaintiffs’ allegations, including the
reasons. First, Defendant argues that this coverage “requires         nature and extent of COVID-19 on their premises. In addition,
both a direct physical loss to dependent property and a               the Court emphasizes that all rulings herein are subject to
necessary suspension of the insured's business as a result            further review following discovery. Subsequent case law
of that direct physical loss.” (Doc. #21, p. 30.) Defendant           in the COVID-19 context, construing similar insurance
contends that “[h]ere, again, the [Amended] Complaint does            provisions, and under similar facts, may be persuasive. If
not allege any facts that show direct physical loss at any            warranted, Defendant may reassert its arguments at the
location, let alone a dependent property.” (Doc. #21, pp.             summary judgment stage.
30-31.) For substantially the same reasons discussed above,
this argument is rejected.
                                                                        IV. CONCLUSION
Second, Defendant argues that Plaintiffs have failed to               Accordingly, Defendant The Cincinnati Insurance Company's
adequately allege a suspension of their businesses because            Motion to Dismiss (Doc. #20) is DENIED.
of the lack of material or services from a “dependent
property.” (Doc. #21, pp. 30-31.) As stated above, dependent          IT IS SO ORDERED.
property is defined as “property operated by others whom [the
insured] depend[s] on to ... deliver materials or services to
[the insured] ... [a]ccept [the insured's] products or services ...
[or] [a]ttract customers to [the insured's] business.” (Doc.


                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                  9
        Case 1:21-cv-00280-KWR-JFR Document 1-1 Filed 03/26/21 Page 221 of 221
Studio 417, Inc. v. Cincinnati Insurance Company, --- F.Supp.3d ---- (2020)



All Citations

--- F.Supp.3d ----, 2020 WL 4692385




                                                      Footnotes


1      The Amended Complaint is 54 pages long and contains 253 separate allegations. This Order only discusses
       those allegations and issues necessary to resolve the pending motion.
2      All page numbers refer to the pagination automatically generated by CM/ECF.
3      Defendant notes that Kansas law may apply to one policy, but contends that Missouri and Kansas law are
       indistinguishable for purposes of the pending motion. (Doc. #21, p. 13 n.10.) Plaintiffs do not challenge this
       assertion. For purposes of this Order, the Court assumes that Missouri law applies.
4      See also Scott G. Johnson, “What Constitutes Physical Loss or Damage in a Property Insurance Policy?” 54
       Tort Trial & Ins. Prac. L.J. 95, 96 (2019) (“[W]hen the insured property's structure is unaltered, at least to the
       naked eye ... [c]ourts have not uniformly interpreted the physical loss or damage requirement[.]”)
5      Defendant also relies on Gavrilides Mgmt. Co., LLC v. Michigan Ins. Co., Case No. 20-258-CB (Ingham
       County, Mich. July 1, 2020) (transcript regarding defendant's motion for summary disposition). (Doc. #37-2.)
       Gavrilides is distinguishable, in part, because the court recognized that “the complaint also states a[t] no time
       has Covid-19 entered the Soup Shop of the Bistro ... and in fact, states that it has never been present in
       either location.” (Doc. #37-2, p. 21.)
6      Defendant argues that COVID-19 does not present a physical loss because “the virus either dies naturally
       in days, or it can be wiped away.” (Doc. #21, pp. 24-25.) However, as stated, a physical loss has been
       adequately alleged insofar as the presence of COVID-19 and the Closure Orders prohibited or significantly
       restricted access to Plaintiffs’ premises. See   Gregory Packaging, Inc. v. Travelers Prop. Cas. Co. of
       Am., 2014 WL 6675934, at * 6 (D.N.J. Nov. 25, 2014) (recognizing that “courts considering non-structural
       property damage claims have found that buildings rendered uninhabitable by dangerous gases or bacteria
       suffered direct physical loss or damage”). Defendant also argues that Plaintiffs have failed to adequately
       allege that COVID-19 was actually present on their premises. Based on Plaintiffs’ allegations, and because
       of COVID-19's wide-spread, this argument is also rejected.
7      Although it appears to be persuasive, the Court need not address Defendant's additional argument that the
       Amended Complaint fails to allege “physical damage.”


End of Document                                            © 2020 Thomson Reuters. No claim to original U.S. Government Works.




                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                       10
